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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         Miami Division
                                       www.flsb.uscourts.gov

In re:

MIAMI INTERNATIONAL MEDICAL CENTER, LLC 1                                       Case No. 18-12741-LMI
d/b/a THE MIAMI MEDICAL CENTER,                                                 Chapter 11

          Debtor.
                                                                     /

    DEBTOR’S MOTION FOR ENTRY OF (A) AN ORDER APPROVING BIDDING
PROCEDURES, (B) APPROVING CERTAIN PROTECTIONS TO STALKING HORSE
   PURCHASER, (C) APPROVING NOTICE PROCEDURES, AND (D) AN ORDER
 (I) APPROVING THE ASSET PURCHASE AGREEMENT, (II) AUTHORIZING THE
SALE OF ALL OR SUBSTANTIALLY ALL OF THE ASSETS OF THE DEBTOR FREE
      AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND OTHER
   INTERESTS, (III) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF
       CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES, (IV)
  SCHEDULING DATES TO CONDUCT AUCTION AND HEARING TO CONSIDER
       FINAL APPROVAL OF SALE, AND (V) GRANTING RELATED RELIEF


                    (Expedited Hearing Requested on April 12, 2018 at 1:30 p.m.)

                  The Debtor is a regional acute care hospital that provided a limited
                  suite of medical services from its opening in February 2016 until it
                  voluntarily requested temporary suspension of its operating license
                  from the State of Florida Agency for Health Care Administration
                  (“AHCA”) in October 2017. Since its shutdown in October 2017,
                  the Debtor has not had any patients under its care. The Debtor
                  carries significant secured and unsecured debt, and despite
                  currently not operating, the Debtor continues to incur significant
                  monthly expenses which it proposes to fund with a DIP Loan (as
                  defined herein) funded by the Stalking Horse Purchaser (as defined
                  herein). In addition, the Debtor’s most valuable asset is its AHCA
                  hospital license (discussed in greater detail herein), which is
                  currently inactive and is set to expire in October 2018. The
                  process to transfer the AHCA hospital license to a potential
                  purchaser other than the Stalking Horse Purchaser will require a

1The   Debtor’s current mailing address is 5959 NW 7 St, Miami, FL 33126 and its EIN ends 4362.




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                  lengthy approval process (possibly up to 7 months). Given the
                  Debtor’s monthly expenses and the amount of available funds
                  under the DIP Loan, coupled with the time necessary to market
                  and sell its assets and transfer the AHCA hospital license, the
                  Debtor requests that the Court set the instant Motion for hearing on
                  an expedited basis in order to allow the sale process (and related
                  marketing) proposed herein to begin immediately.

        Miami International Medical Center, LLC d/b/a The Miami Medical Center (the

“Debtor”), by and through its undersigned counsel and pursuant to 11 U.S.C. §§ 105, 363 and

365 and Fed. R. Bankr. P. 2002, 6004, 6006, and 9014, and Local Rules 2002-1(C)(2), 6004-1,

6006-1, and 9075-1, files this motion (the “Motion”) for the entry of (a) an order, substantially

in the form attached hereto as Exhibit A (the “Bidding Procedures Order”), approving proposed

bid and notice procedures (the “Bidding Procedures”) and proposed bid protections to be

provided to the Stalking Horse Purchaser; and (b) an order, substantially in the form to be filed

with the Court at a later date (the “Sale Order”), (i) approving an asset purchase agreement,

substantially in the form attached hereto as Exhibit B (the “Asset Purchase Agreement”), for

the sale of all or substantially all of the Debtor’s assets to Variety Children’s Hospital d/b/a

Nicklaus Children’s Hospital (the “Stalking Horse Purchaser” or “VCH”), or to the

Successful Bidder2 to be identified at the Auction, as defined below, (ii) authorizing the sale of

all or substantially all of the assets of the Debtor free and clear of all liens, claims,

encumbrances, and other interests (collectively, the “Claims and Interests”), (iii) scheduling

dates to conduct the Auction and hearing to consider final approval of the sale, (iv) authorizing

the assumption and assignment of certain executory contracts and unexpired leases (the

“Assigned Contracts”) to the Stalking Horse Purchaser or the Successful Bidder, and (v)

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Asset
    Purchase Agreement, or the Bidding Procedures, as applicable.




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granting such other and further relief as is just and proper. In further support of the Motion, the

Debtor respectfully states as follows:

              LOCAL BANKRUPTCY RULE 6004-1 CONCISE STATEMENT

       In accordance with Local Bankruptcy Rule 6004-1, below is a summary of the nature of

the Debtor’s request:

   •   Identity of the Purchaser. Because the sale is subject to higher and better offers, the
       identity of the purchaser is currently unknown. However, the Stalking Horse Purchaser is
       Variety Children’s Hospital d/b/a Nicklaus Children’s Hospital, which is prepared to
       execute the Asset Purchase Agreement with the Debtor for the purchase of all or
       substantially all of the Debtor’s Assets. The Stalking Horse Purchaser is an affiliate of
       CHV, which in turns owns a membership interest in the Debtor through MHH, (pg. 1 of
       the Asset Purchase Agreement).

   •   The Sale Terms

            o The Purchase Price: Credit Bid in the approximate amount of $30,000,000.00,
              plus the Assumed Liabilities (pgs. 4-5 of the Asset Purchase Agreement).
            o Deposit: N/A
            o Warranties: The sale is “AS IS, WHERE IS, WITH ALL FAULTS, AND NO
              WARRANTIES EXPRESS OR IMPLIED,” as further detailed in the Asset
              Purchase Agreement (pg. 21 of the Asset Purchase Agreement).
            o Closing Date: Within five (5) business days of all of the conditions to Closing set
              forth in Articles 7 and 8 of the Asset Purchase Agreement having been satisfied or
              waived, or (ii) such other date agreed to in writing by Buyer and Seller (pg. 4 of
              the Asset Purchase Agreement).
            o Closing Conditions: Entry of the Sale Order in form and substance acceptable to
              the Stalking Horse Purchaser, among other conditions (pg. 16 of the Asset
              Purchase Agreement).

   •   The Auction Terms

            o Higher and Better Offers: The sale is subject to higher and better offers (pg. 5 of
              Bidding Procedures Order).
            o Proposed Auction Date: Sixty (60) days following entry of the Bidding
              Procedures Order (as defined below) (pg. 5 of Bidding Procedures Order).
            o Proposed Bid Deadline: Two (2) business days before the Auction (pg. 5 of
              Bidding Procedures Order).
            o Minimum Incremental Bid:         $100,000.00, unless the Debtor decides a
              higher/lower amount during the Auction (pg. 19 of Bidding Procedures Order).
            o Initial Overbid Amount: Credit Bid Amount, plus the Assumed Liabilities, plus
              $150,000.00, plus any adjustments required, if applicable, necessary to pay all

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                 transaction fees (including to the Debtor’s Investment Banker) to the extent the
                 sale to an entity other than the Stalking Horse Purchaser produces insufficient
                 cash to pay such transaction fees. (pg. 16 of Bidding Procedures Order).

   •   Requirements of Competing Bidders

            o Minimum Deposit: $1,500,000.00.
            o Documentation Requirements: Amongst other items, (i) documents evidencing
              the financial ability to consummate a transaction and substantial likelihood of
              obtaining necessary regulatory approvals in the sole and absolute discretion of the
              Debtor, (ii) executed Asset Purchase Agreement (in clean and redline) in
              substantially similar form as the Asset Purchase Agreement approved by the
              Court, and (iii) compliance with the Bidding Procedures (as defined below).

   •   Purchaser Protections Not Otherwise Described

            o Proposed Break-up Fee: Three percent (3%) of the outstanding DIP Loan amount.
            o There are no matching rights, except for the Stalking Horse Purchaser’s right to
              credit bid.

   •   The Debtor does have a policy of prohibiting the transfer of personally identifiable
       information, the proposed sale is consistent with the policy, and the Debtor does not
       believe a consumer privacy ombudsman is required under Section 322 of the Bankruptcy
       Code.

   •   Identity of All Known Lienholders. The Stalking Horse Purchaser has a first position
       senior secured lien on substantially all of the Assets being sold pursuant to the proposed
       Asset Purchase Agreement. There are numerous junior lienholders claiming an interest
       in such Assets.

   •   Statement Requesting Dates for Hearings and Auction. As discussed above, the Debtor
       requests an expedited hearing on this Motion.

                                          Jurisdiction and Venue

       1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this

case and this Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       2. The statutory bases for the relief requested herein are sections 105(a), 363, and 365 of

the Bankruptcy Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rules 2002, 6004, and

6006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2002-

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1(C)(2), 6004-1, and 6006-1 of the Local Rules of Bankruptcy Practice and Procedure of the

United      States     Bankruptcy         Court       for      the     Southern        District      of     Florida

(the “Local Bankruptcy Rules”).

                                                  Background

         3. On March 9, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code, and an order for relief under section 301 of the

Bankruptcy Code was entered in this case (the “Chapter 11 Case”).

         4. The Debtor has been authorized to remain in possession of its property and to

continue in the operation and management of its business as a debtor in possession pursuant to

Section 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in

this case. On March 22, 2018, the Office of the United States Trustee appointed an unsecured

creditors committee. See ECF No. 66.

         5. The Debtor is a regional acute care hospital that provided a limited suite of medical

services from its opening in February 2016 until it voluntarily requested temporary suspension of

its operating license from AHCA in October 2017. Since its shutdown in October 2017, the

Debtor has not had any patients under its care.

         6. The Debtor is a Florida limited liability company.                    The Debtor’s members are

comprised of (i) Miami Hospital Holdings, LLC (“MHH”), which owns approximately sixty-

nine percent (69%) of the Debtor’s membership interests; and (ii) individual physicians and

physician groups (but no individual group owns more than 10% of the Debtor), which

collectively own thirty-one (31%) of the Debtor’s remaining membership interests.

         7. MHH, in turn, is owned equally by Children’s Health Ventures, Inc. (“CHV”), and

NueHealth, LLC (“NueHealth”). CHV is an affiliate of the Stalking Horse Purchaser.


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        8.     The land and building housing the hospital facility (the “Hospital Facility”) was

acquired by the Debtor in early 2014, and then sold to HC-5959 N.W. 7th Street, LLC (“HC59”),

on April 21, 2014.

        9. On April 30, 2014, the Debtor entered into a lease agreement with HC59 pursuant to

which the Debtor agreed to lease the Property from HC59 (the “Lease”). Pursuant to the Lease

and subsequent modifications thereto, the Debtor was required to make monthly rent payments to

HC-5959 in the approximate amount of $970,000.00. VCH was a limited guarantor of the Lease.

        10. After April 30, 2014, the Debtor renovated the Hospital Facility into a state-of-the-

art, high-end facility that offered patients concierge medical care across a number of different

specialties.

        11. On August 4, 2015, the Debtor entered into that certain Loan Agreement (the “Loan

Agreement”) with MidFirst Bank (“MidFirst”) pursuant to which MidFirst agreed to lend Forty

Million Dollars ($40,000,000) (the “Loan”) to the Debtor. The Loan was evidenced by that

certain revolving promissory note in the principal face amount of Eleven Million Two Hundred

Thousand Dollars ($11,200,000) (the “Revolving Note”) and that certain promissory note in the

principal face amount of Twenty-Eight Million Eight Hundred Thousand Dollars ($28,800,000)

(the “Term Note”). VCH was a limited guarantor of the Loan.

        12. From the date the Debtor commenced operations through October 2017, the Debtor

struggled to generate sufficient revenue to cover its expenses due to, among other reasons,

obstacles in attracting sufficient patient volume. As a result of its liquidity constraints, the

Debtor has been unable to pay its expenses as they became due, including its obligations under

the Lease and Loan Agreement. Since its inception, the Debtor has relied on funding from its

members in order to sustain its operations.


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       13. Due to the Debtor’s financial situation, on July 26, 2017, the Debtor retained

Bayshore Partners, LLC (“Bayshore”), to provide the Debtor investment banking services and

market the Debtor’s assets for sale. With the aid of Bayshore, numerous companies in the

healthcare industry expressed serious interest in acquiring the Assets (as defined below) of the

Debtor. Specifically, as a result of Bayshore’s pre-bankruptcy marketing efforts, twelve of forty-

eight parties contacted by Bayshore executed confidentiality agreements and were provided a

copy of the Confidential Information Memorandum regarding the Debtor. Of these twelve

parties, several provided written indications of interest and conducted due diligence of the

Debtor.

       14. On January 14, 2018, VCH entered into that certain Assignment for Note Purchase

and Partial Assignment of Security Agreement dated as of January 24, 2018 (the “Assignment”),

pursuant to which MidFirst assigned all of its right, title and interest to the Term Note as well as

that portion of that certain Security Agreement (Assets) dated August 4, 2015 signed by Debtor

in favor of MidFirst to VCH, which covers all of the Debtor’s equipment, medical equipment,

computer equipment, computer hardware, computer software, computer software licenses,

medical supplies, furniture and hospital beds and all proceeds and products thereof described in

that certain UCC-1 Financing Statement No. 201504643818 filed with the Florida Secured

Transaction Registry. At the time of the Assignment, the Loan was in default. As of the Petition

Date, the outstanding balance under the Term Note was not less than $26,273,693.19 (together

with accrued interest, costs, expenses, and fees, the “Term Loan Balance”). Pursuant to the

Assignment, MidFirst retained its security interest and first position liens in the Debtor’s cash

and accounts receivable (which are not being used or sold by the Debtor).




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       15. In addition, on February 15, 2018, the Debtor and the Stalking Horse Purchaser

entered into that certain Loan Agreement and Promissory Note which were amended on March

8, 2018, through which the Stalking Horse Purchaser agreed to lend the Debtor $2,232,392.03

       16. The Debtor believes the sale of its Assets through a Section 363 sale process will

maximize the value of the Debtor’s Assets.

                                               Assets to be Sold

       17. The purpose of the sale process will be to provide for a sale of substantially all of the

Debtor’s assets and operations, the assumption and assignment of certain executory contracts and

the transfer of the Debtor’s AHCA hospital license (collectively, the “Assets”), as a going

concernto the party that submits the highest and best offer in accordance with the Bidding

Procedures (as described more fully below).

                               The Stalking Horse Purchaser’s Proposal

       18. Prior to the Petition Date, the Stalking Horse Purchaser expressed an interest in

acquiring the Debtor’s assets through a credit bid of amounts owed related to the Term Loan

Balance and DIP Loan (as defined below). To facilitate an orderly sale process and maintain the

Debtor’s business and assets, the Stalking Horse Purchaser also agreed to fund the Debtor’s

postpetition financing needs, through a proposed senior secured debtor-in-possession credit

agreement up to the amount of $3,372,781 (the “DIP Loan”). Accordingly, on March 9, 2018,

the Debtor filed its Emergency Motion for Entry of Interim and Final Orders (a) Authorizing

Debtor in Possession to Obtain Post-Petition Financing Pursuant to 11 U.S.C. 364(c) and (d) and

Fed.R.Bankr.P. 4001(c); and (b) Scheduling Final Hearing (the “DIP Motion”)[ECF No. 9],

which requests Court approval of the DIP Loan.

       19. An Interim Order (a) Authorizing Debtor in Possession to Obtain Post-Petition

Financing Pursuant to 11 U.S.C. 364(c) and (d) and Fed.R.Bankr.P. 4001(c); and (b) Scheduling
                                                         8
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Final Hearing was entered on March 15, 2018 [ECF No. 44], which provided interim relief

through an advance of $40,000.00 to the Debtor under the DIP Loan. Thereafter, on March 23,

2018, the Court entered its Second Interim Order (a) Authorizing Debtor in Possession to Obtain

Post-Petition Financing Pursuant to 11 U.S.C. 364(c) and (d) and Fed.R.Bankr.P. 4001(c); and

(b) Scheduling Final Hearing [ECF No. 68], which provided interim relief through an additional

advance of $1,099,477.00, and set a final hearing on the DIP Motion for April 12, 2018. As of

the filing date of this Motion, the Stalking Horse Purchaser has advanced to the Debtor

$1,139,477 on an interim basis under the DIP Loan.

       20. As a result of the Term Loan Balance and the current amount funded pursuant to the

DIP Loan, the Stalking Horse Purchaser holds today not less than approximately $27,400,000.00

in secured indebtedness owed by the Debtor (in addition to any other amounts funded under the

DIP Loan, the “Secured Debt Amount” or “Credit Bid Amount”).

       21. To ensure the Debtor receives the highest and best offer for the sale of substantially

all of its assets, the Debtor, together with Bayshore, will pursue a marketing process for the sale

of the Debtor’s assets and contact a number of potential strategic investors and financial

investors that might be interested in purchasing the Debtor’s assets. To the extent the Debtor

receives competitive offers, based on certain qualification criteria described in detail below, the

Debtor will conduct an auction to determine the highest and best bid for the Debtor’s assets (the

“Auction”). The primary purpose of the sale process will be to provide for a sale of substantially

all of the Debtor’s Assets.

                                     The Asset Purchase Agreement

       22. As described above, the Debtor has negotiated with the Stalking Horse Purchaser the

terms of a possible acquisition. These negotiations culminated in the Asset Purchase Agreement

with the Stalking Horse Purchaser. The Debtor believes that, subject to the receipt of higher and
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better proposals through the Bidding Procedures, the Asset Purchase Agreement represents the

best alternative currently available.

          23. Through the Asset Purchase Agreement, the Stalking Horse Purchaser proposes to

purchase the Assets via a credit bid of its Secured Debt Amount, as well as pay all costs and

expenses necessary to consummate the transaction contemplated by the Asset Purchase

Agreement.

                                             Bidding Procedures3

          24. The Debtor will solicit bids for the Assets utilizing the Bidding Procedures,

substantially in the form attached as Exhibit 1 to the Bidding Procedures Order. The Bidding

Procedures describe, among other things, the assets available for sale, the manner in which bids

become “qualified,” the coordination of diligence efforts among bidders and the Debtor, the

receipt and negotiation of bids received, the conduct of any Auction, and the selection and

approval of the Successful Bidder. The price to be paid by the Successful Bidder for the Assets

will be established at the Auction.

          25. The Bidding Procedures were developed to best meet the Debtor’s competing needs

to conduct an expedited sale process and to promote participation and active bidding. Moreover,

the Bidding Procedures reflect the Debtor’s objective of conducting the Auction in a controlled,

but fair and open, fashion, while ensuring that the highest and best bid is generated for the

Assets.

          26. The following sets forth a summary of the key provisions of the Bidding Procedures:



3   The summary of the Bidding Procedures contained in this Motion is qualified in its entirety by reference to the
    Bidding Procedures. Any conflict between the terms described in this Motion and the Bidding Procedures shall
    be resolved in favor of the Bidding Procedures.




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                                          Marketing Process

    (a)       Contact Parties: The Debtor, in consultation with Bayshore, will develop a list of
              parties (in addition to the Stalking Horse Purchaser) who the Debtor and Bayshore
              believe may potentially be interested in consummating a competing transaction
              for the Assets (any such transaction, an “Alternative Transaction”) and have the
              financial ability to do so, which list includes both potential strategic investors and
              potential financial investors (each, individually, a “Contact Party”, and
              collectively, the “Contact Parties”). The Debtor and Bayshore will contact the
              Contact Parties to explore their interest in pursuing an Alternative Transaction.
              The Contact Parties may include parties whom the Debtor or its advisors have
              previously contacted regarding a transaction, regardless of whether such parties
              expressed any interest, at such time, in pursuing a transaction. The Debtor will
              continue to discuss and may supplement the list of Contact Parties throughout the
              marketing process, as appropriate.

    (b)       Information Package: The Debtor may distribute to each Contact Party an
              “Information Package,” comprising:

              (i)      A cover letter;

              (ii)     A copy of these Bidding Procedures and the Motion;

              (iii)    A copy of a confidentiality agreement; and

              (iv)     Such other materials as the Debtor and Bayshore deem appropriate under
                       the circumstances including, but not limited to, preliminary “teaser”
                       information.

    (c)       Access to Diligence Materials: To receive access to due diligence information
              (the “Diligence Materials”), a party must submit to the Debtor an executed
              confidentiality agreement in the form and substance satisfactory to the Debtor and
              the Debtor shall have a reasonable basis to believe that the party has the financial
              capability to consummate an Alternative Transaction. A party who qualifies for
              access to Diligence Materials shall be a “Preliminary Interested Buyer.” All due
              diligence requests must be directed to Bayshore.

    (d)       Due Diligence from Bidders: Each Preliminary Interested Buyer and Qualified
              Bidder (as defined below) shall comply with all reasonable requests for additional
              information and due diligence access by the Debtor or its advisors regarding such
              Bidder and its contemplated transaction. Failure by a Preliminary Interested
              Buyer to comply with requests related to due diligence access will be a basis for
              the Debtor to determine that such bidder is not a Qualified Bidder. Failure by a
              Qualified Bidder (other than the Stalking Horse Purchaser) to comply with
              requests for additional information and due diligence access will be a basis for the
              Debtor to determine that a bid made by such Qualified Bidder is not a Qualified
              Bid.

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                                   Auction Qualification Process

    (a)       To be eligible to participate in the Auction, each offer, solicitation or proposal
              (each, a “Bid”), and each party submitting such a Bid (each, a “Bidder”), must be
              determined by the Debtor to satisfy each of the conditions set forth below. A Bid
              will not be considered qualified for the Auction if such Bid does not satisfy each
              of the following conditions:

              (i)      Good Faith Deposit: Each Bid must be accompanied by a deposit in the
                       amount of $1,500,000 to an non-interest-bearing escrow account to be
                       identified and established by the Debtor (the “Good Faith Deposit”). The
                       Stalking Horse Purchaser shall not be required to submit a Good Faith
                       Deposit.

              (ii)     Bids for Portions of Debtor’s Assets: A Bid may offer to purchase all or
                       substantially all of the Debtor’s Assets or only a portion of the Debtor’s
                       Assets; provided that the Debtor determine, in its sole discretion, that the
                       aggregate consideration offered by any Bid or combination of Bids for all
                       or substantially all of the Debtor’s assets satisfies the “Minimum Bid”
                       requirements set forth in clause (v) below.

              (iii)    Same or Better Terms: Each Bid must be on terms that, in the Debtor’s
                       business judgment, are the same or better than the terms of the Asset
                       Purchase Agreement.

              (iv)     Executed Agreement: Each Bid must be based on the Asset Purchase
                       Agreement and must include executed transaction documents, signed by
                       an authorized representative of such Bidder, pursuant to which the Bidder
                       proposes     to    effectuate    an    Alternative    Transaction    (the
                       “Modified Purchase Agreement”). A Bid shall also include a copy of the
                       Asset Purchase Agreement marked against the Modified Purchase
                       Agreement to show all changes requested by the Bidder (including those
                       related to purchase price and to remove all provisions that apply only to
                       the Stalking Horse Purchaser).

              (v)      Minimum Bid: A Bid or any combination of Bids for all or substantially
                       all of the Debtor’s Assets must propose a minimum purchase price equal
                       to or greater than $[XX] in cash, which amount would equal the Credit
                       Bid Amount of the Stalking Horse Purchaser and include an additional
                       $150,000, plus any Assumed Liabilities, plus any adjustments required, if
                       applicable, necessary to pay all transaction fees (including to the Debtor’s
                       Investment Banker) to the extent the sale to an entity other than the
                       Stalking Horse Purchaser produces insufficient cash to pay such
                       transaction fees.




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              (vi)     Designation of Assigned Contracts and Leases: A Bid must identify any
                       and all executory contracts and unexpired leases of the Debtor that the
                       Bidder wishes to have assumed and assigned to it at closing pursuant to an
                       Alternative Transaction.

              (vii)    Assumption of Liabilities: A Bid must provide for the payment or
                       assumption of at least all or substantially all of the Assumed Liabilities.

              (viii) Corporate Authority: A Bid must include written evidence reasonably
                     acceptable to the Debtor demonstrating appropriate corporate
                     authorization to consummate the proposed Alternative Transaction;
                     provided that, if the Bidder is an entity specially formed for the purpose of
                     effectuating the Alternative Transaction, then the Bidder must furnish
                     written evidence reasonably acceptable to the Debtor of the approval of
                     the Alternative Transaction by the equity holder(s) of such Bidder.

              (ix)     Proof of Ability to Perform: A Bid must include written evidence that the
                       Debtor concludes in its sole discretion (in consultation with its advisors)
                       demonstrates that the Bidder has the ability to close the Alternative
                       Transaction and provide adequate assurance of future performance under
                       all contracts to be assumed and assigned in such Alternative Transaction.
                       Such information must include, inter alia, the following:

                                a. contact names and numbers for verification of financing
                                   sources;

                                b. evidence of the Bidder’s internal resources and proof of
                                   unconditional debt or equity funding commitments to close the
                                   Alternative Transaction;

                                c. evidence of the Bidder’s ability to satisfy regulatory and
                                   licensing requirements;

                                d. the Bidder’s current financial statements (audited if they exist)
                                   or other similar financial information reasonably acceptable to
                                   the Debtor; and

                                e. any such other form of financial disclosure or credit-quality
                                   support information or enhancement reasonably acceptable to
                                   the Debtor demonstrating that such Bidder has the ability to
                                   close the Alternative Transaction.

              (x)      Contingencies: Each Bid (a) may not contain representations and
                       warranties, covenants, or termination rights materially more onerous in the
                       aggregate to the Debtor than those set forth in the Asset Purchase
                       Agreement and (b) may not be conditioned on obtaining financing or any
                       internal approval, or on the outcome or review of due diligence, but may

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                          be subject to the accuracy in all material respects of specified
                          representations and warranties at the Closing.

                 (xi)     Irrevocable: Each Bid must be irrevocable through the Auction date,
                          provided that if such Bid is accepted as the Successful Bid or the Backup
                          Bid at the Auction, such Bid shall continue to remain irrevocable, subject
                          to the terms and conditions of the Bidding Procedures.

                 (xii)    Bid Deadline: The following parties must receive a Bid in writing, on or
                          before two business days before the Auction at 4:00 p.m. (prevailing
                          Eastern Time) (the “Bid Deadline”): (a) the Debtor, 5959 NW 7 St,
                          Miami, FL 33126, Attn: Jeffrey Mason; (b) counsel for the Debtor,
                          Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200
                          South Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin,
                          Esq., and Daniel N. Gonzalez, Esq.; (c) counsel to the Stalking Horse
                          Purchaser, DLA Piper LLP (US), 200 South Biscayne Boulevard, Suite
                          2500, Miami, Florida 33131, Attn: Joshua Kaye, Esq., Thomas Califano,
                          Esq., and Rachel Nanes, Esq; and (d) Bayshore Partners, LLC, 401 E. Las
                          Olas Blvd, Suite 2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders
                          and Steve Zuckerman.

        A Bid received from a Bidder before the Bid Deadline that meets the above
requirements for the applicable assets shall constitute a “Qualified Bid” for such assets, and
such Bidder shall constitute a “Qualified Bidder” for such assets. Notwithstanding anything
herein to the contrary, the Asset Purchase Agreement submitted by the Stalking Horse Purchaser
shall be deemed a Qualified Bid, and the Stalking Horse Purchaser a Qualified Bidder. In
addition, the Stalking Horse Purchaser will receive a copy of any Bids submitted to the Debtor,
and the Debtor shall inform counsel to the Stalking Horse Purchaser whether the Debtor will
consider such Bids to be Qualified Bids no later than three (3) days prior to the Auction.

                                                    Auction

        If one or more Qualified Bids for the Debtor’s assets (other than the Asset Purchase
Agreement submitted by the Stalking Horse Purchaser) are received by the Bid Deadline, the
Debtor will conduct an Auction to determine the highest and best Qualified Bid or combination
of Qualified Bids for any of the Debtor’s Assets. This determination shall take into account any
factors the Debtor reasonably deems relevant to the value of the Qualified Bid to the estate and
may include, among other things, the following: (a) the amount and nature of the consideration;
(b) the number, type, and nature of any changes to the Asset Purchase Agreement requested by
each Bidder; (c) the extent to which such modifications are likely to delay closing of the sale or
sales of the Debtor’s Assets and the cost to Debtor of such modifications or delay; (d) the total
consideration to be received by Debtor; (e) the likelihood of the Bidder’s ability to close a
transaction, obtain necessary regulatory and licensing approvals and the timing thereof; and
(f) the net benefit to the Debtor’s estate (collectively, the “Bid Assessment Criteria”). If no
Qualified Bid (other than the Asset Purchase Agreement) is received by the Bid Deadline, the
Debtor may determine not to conduct the Auction. Unless otherwise agreed to by the Stalking
Horse Purchaser in its sole discretion, only Qualified Bidders may participate in the Auction.

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                                          Procedures for Auction

       The Auction shall take place on [________________] at 10:00 a.m. (prevailing Eastern
Time) at the offices of counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200 Southeast
Financial Center, 200 South Biscayne Boulevard, Miami, Florida 33131, or such other place and
time as the Debtor shall notify all Qualified Bidders, including, without limitation, the Stalking
Horse Purchaser, counsel for the Stalking Horse Purchaser and other invitees. The Auction shall
be conducted according to the following procedures:

       Only the Debtor, Bayshore, the Stalking Horse Purchaser, and any other Qualified
Bidder, in each case, along with their representatives and counsel, shall attend the Auction in
person, and only the Stalking Horse Purchaser and any other Qualified Bidders will be entitled to
make any Bids at the Auction.

       (b)       The Debtor Shall Conduct the Auction: The Debtor and its professionals shall
                 direct and preside over the Auction. Other than as expressly set forth herein, the
                 Debtor may conduct the Auction in the manner it determines will result in the
                 highest, best, or otherwise financially superior offer for the Debtor’s Assets. At
                 the start of the Auction, the Debtor shall describe the terms of the highest and best
                 Qualified Bid or Qualified Bids received prior to the Bid Deadline (each such
                 highest and best Qualified Bid, the “Auction Baseline Bid”). Each Qualified
                 Bidder participating in the Auction must confirm that it (a) has not engaged in any
                 collusion with respect to the bidding or sale of any of the assets described herein
                 and (b) has reviewed and understands and accepts the Bidding Procedures.

                 (i)      Terms of Overbids: An “Overbid” is any bid made at the Auction
                          subsequent to the Debtor’s announcement of the respective
                          Auction Baseline Bid for such Auction. To submit an Overbid for
                          purposes of this Auction, a Bidder must comply with the following
                          conditions:

                 (ii)     Minimum Overbid Increments: Any Overbid after and above the
                          respective Auction Baseline Bid shall be made in increments valued at not
                          less than $100,000. Additional consideration in excess of the amount set
                          forth in the respective Auction Baseline Bid may include cash and/or
                          noncash consideration.

                 (iii)    Stalking Horse Purchaser May Credit Bid: The Stalking Horse Purchaser
                          shall be permitted to bid at the Auction, if any, and shall be permitted to
                          credit bid the Credit Bid Amount pursuant to any Overbid in connection
                          with each round of bidding in the Auction.

                 (iv)     Remaining Terms Are the Same as for Qualified Bids: Except as modified
                          herein, an Overbid at the Auction must comply with the conditions for a
                          Qualified Bid set forth above, provided, however, that the Bid Deadline
                          shall not apply. Any Overbid must remain open and binding on the Bidder
                          until and unless the Debtor accept a higher Overbid.

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                       At the Debtor’s discretion, to the extent not previously provided (which
                       shall be determined by the Debtor), a Bidder submitting an Overbid at any
                       Auction must submit, as part of its Overbid, written evidence (in the form
                       of financial disclosure or credit-quality support information or
                       enhancement reasonably acceptable to the Debtor) demonstrating such
                       Bidder’s ability to close the Alternative Transaction proposed by such
                       Overbid.

              (v)      Announcement of Overbids: The Debtor shall announce at the Auction
                       the material terms of each Overbid.

              (vi)     Consideration of Overbids: The Debtor reserves the right, in its
                       reasonable business judgment, to make one or more continuances of the
                       Auction to, among other things: facilitate discussions between the Debtor
                       and individual Bidders; allow individual Bidders to consider how they
                       wish to proceed; and give Bidders the opportunity to provide the Debtor
                       with such additional evidence as the Debtor in its reasonable business
                       judgment may require, that the Bidder has sufficient internal resources, or
                       has received sufficient non-contingent debt and/or equity funding
                       commitments, to consummate the proposed Alternative Transaction at the
                       prevailing Overbid amount.

    (c)       Backup Bidder: Notwithstanding anything in the Bidding Procedures to the
              contrary, if an Auction is conducted, the Bidder or Bidders with the next highest
              or otherwise best Bid or combination of Bids at the Auction, as determined by the
              Debtor, in the exercise of its business judgment, will be designated as the
              potential backup bidder (collectively, the “Potential Backup Bidder”). In the
              event that a Bidder or Bidders other than the Stalking Horse Purchaser are
              identified by the Debtor as the Potential Backup Bidder, such Bidder or Bidders
              shall be required to serve as the backup bidder or backup bidders (collectively, the
              “Backup Bidder”). Except for the Stalking Horse Purchaser, the Backup Bidder
              shall be required to keep its initial Bid or combination of Bids (or if the Backup
              Bidder submitted one or more Overbids at the Auction, the final respective
              Overbid) (the “Backup Bid”) open and irrevocable until the earlier of 5:00 p.m.
              (prevailing Eastern Time) on the date that is thirty (30) days after the date of the
              Auction (the “Outside Backup Date”) or the closing of the transaction with the
              Successful Bidder, which is later.

              Following the Sale Hearing, if the Successful Bidder fails to consummate an
              approved transaction, because of a breach or failure to perform on the part of such
              Successful Bidder, the Debtor may designate the Backup Bidder to be the new
              Successful Bidder, and the Debtor will be authorized, but not required, to
              consummate the transaction or transactions, with the Backup Bidder without
              further order of the Bankruptcy Court. In such case, the defaulting Successful
              Bidder’s deposit shall be forfeited to the Debtor, and the Debtor specifically
              reserves the right to seek all available damages from the defaulting Successful
              Bidder. The deposit of the Backup Bidder shall be held by the Debtor until the

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              earlier of 72 hours after (i) the closing of the transaction or transactions with the
              Successful Bidder and (ii) the Outside Backup Date.

    (d)       Additional Procedures: The Debtor may announce at the Auction additional
              procedural rules that are reasonable under the circumstances for conducting the
              Auction so long as such rules are not inconsistent in any material respect with the
              Bidding Procedures or the Asset Purchase Agreement.

    (e)       Consent to Jurisdiction as Condition to Bidding: The Stalking Horse Purchaser,
              all Qualified Bidders, and all Bidders at the Auction shall be deemed to have
              consented to the core jurisdiction of the Bankruptcy Court to enter an order or
              orders, which shall be binding in all respects, in any way related to the Debtor,
              this chapter 11 case, the Bidding Procedures, the Asset Purchase Agreement, the
              Auction, or the construction and enforcement of any Alternative Transaction
              documents and waived any right to a jury trial in connection with any disputes
              relating to the Debtor, this Chapter 11 case, the Bidding Procedures, the Asset
              Purchase Agreement, the Auction, or the construction and enforcement of any
              Alternative Transaction documents.

    (f)       Sale Is As Is/Where Is: The Assets of the Debtor sold pursuant to the Bidding
              Procedures, shall be conveyed at Closing in their then-present condition, “AS IS,
              WITH ALL FAULTS, AND WITHOUT ANY WARRANTIES
              WHATSOEVER, EXPRESS OR IMPLIED,” as further detailed in the Asset
              Purchase Agreement.

    (g)       Closing the Auction: The Auction shall continue until there is only one Qualified
              Bid or combination of Qualified Bids for the Assets of the Debtor sold pursuant to
              the Bidding Procedures that the Debtor determines in its reasonable business
              judgment, after consultation with its financial and legal advisors, is the highest
              and best Qualified Bid at the Auction for the Assets. Thereafter, the Debtor shall
              select one Qualified Bid, which produces the highest and best recovery to the
              estate, as the overall highest and best Qualified Bid (the “Successful Bid,” and
              each Bidder submitting such Successful Bid, a “Successful Bidder”). In making
              this decision, the Debtor, in consultation with its financial and legal advisors,
              shall consider the Bid Assessment Criteria.

              The Auction shall close when the Successful Bidder for the Debtor’s Assets
              submits fully executed sale and transaction documents memorializing the terms of
              the Successful Bid.

              Promptly following the Debtor’s selection of the Successful Bid and the
              conclusion of the Auction, the Debtor shall announce the Successful Bid and
              Successful Bidder and shall file with the Bankruptcy Court notice of the
              Successful Bid and Successful Bidder.




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                                      Return of Good Faith Deposit

        The Good Faith Deposits of all Qualified Bidders shall be held in one or more non-
interest-bearing escrow accounts by the Debtor, but shall not become property of the Debtor’s
estate absent further order of the Court. The Good Faith Deposit of any Qualified Bidder that is
neither a Successful Bidder nor a Backup Bidder shall be returned to such Qualified Bidder not
later than five (5) business days after the Sale Hearing. The Good Faith Deposit of the Backup
Bidder, if any, shall be returned to the respective Backup Bidder on the date that is the earlier of
72 hours after (a) the closing of the transaction with the Successful Bidder for the Assets and (b)
the Outside Backup Date. If a Successful Bidder timely closes its winning transaction, its Good
Faith Deposit shall be credited towards the purchase price.

                                            Reservation of Rights

         Except as otherwise provided in the Asset Purchase Agreement, the Bidding Procedures
or the Sale Order, the Debtor further reserves the right as it may reasonably determine to be in
the best interest of its estate, to: (a) determine which bidders are Qualified Bidders; (b)
determine which Bids are Qualified Bids; (c) determine which Qualified Bid is the highest and
best proposal and which is the next highest and best proposal; (d) reject any Bid that is (1)
inadequate or insufficient, (2) not in conformity with the requirements of the Bidding Procedures
or the requirements of the Bankruptcy Code or (3) contrary to the best interests of the Debtor and
its estate; (e) waive terms and conditions set forth herein with respect to all potential bidders; (f)
impose additional terms and conditions with respect to all potential bidders; (g) extend the
deadlines set forth herein; (h) continue or cancel the Auction and/or Sale Hearing in open court
without further notice; and (i) modify the Bidding Procedures or implement additional
procedural rules that are reasonable under the circumstances for conducting the Auction so long
as such rules are not inconsistent in any material respect with the Bidding Procedures or the
Asset Purchase Agreement. Notwithstanding the foregoing, the Stalking Horse Purchaser shall
be a Qualified Bidder and shall be entitled to credit bid the Credit Bid Amount.

                                    Proposed Assumption Procedures

          27. To facilitate and effect the sale of the Assets, the Debtor seeks authority to assume

and assign certain of the Debtor’s executory contracts and unexpired leases (each a “Contract or

Lease” and, collectively, the “Contracts and Leases”) designated in the Asset Purchase

Agreement, consistent with the procedures established in the Bidding Procedures Order and the

Asset Purchase Agreement. The Debtor proposes that the procedures set forth in the Bidding

Procedures Order apply whether the Stalking Horse Purchaser or another party is the Successful

Bidder.

          28. The proposed Assumption Procedures are as follows:

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            a)       Notice. As soon as practicable after entry of the Bidding
                     Procedures Order, the Debtor will serve the notice attached as
                     Exhibit 3 to the Bidding Procedures Order (the “Cure Notice”)
                     on the counterparty to the Contract or Lease.

            b)       Content of Cure Notice. The Cure Notice will contain the
                     following information: (i) the title of the Contract to be assumed;
                     (ii) the name of the counterparty to the Contract; (iii) any
                     applicable cure amounts, whether arising prepetition or
                     postpetition (the “Cure Amount”); and (iv) the deadline by which
                     any such Contract or Lease counterparty must object.

            c)       Objections. Objections to the proposed Cure Amount and
                     adequate assurance of future performance of obligations to the
                     counterparties to each Contract or Lease must: (i) be in writing;
                     (ii) set forth the nature of the objector’s claims against or interests
                     in the Debtor’s estate, and the basis for the objection and the
                     specific grounds therefore; (iii) comply with the Bankruptcy
                     Rules and the Local Bankruptcy Rules and Orders of this Court;
                     and (iv) be filed with the Court and served upon the Debtor, the
                     Stalking Horse Purchaser, and the U.S. Trustee, so as to be
                     received no later than 4:00 p.m. (Eastern time) on
                     [_______________].

            d)       Effects of Filing an Objection to a Cure Notice. A properly filed
                     and served objection to a Cure Notice will reserve such objecting
                     party’s rights against the Debtor with respect to the relevant cure
                     objection, but will not constitute an objection to the remaining
                     relief requested in the Motion.

                                               Relief Requested

       29. The Debtor respectfully requests the entry of (a) an order approving the Bidding

Procedures and the bid protections; and (b) an order (i) approving the Asset Purchase Agreement

for the sale of all of the Debtor’s Assets to the Stalking Horse Purchaser or the

Successful Bidder, (ii) authorizing the sale of all or substantially all of the Assets of the Debtor

free and clear of all Claims and Interests, (iii) authorizing the assumption and assignment of the

Assigned Contracts to the Stalking Horse Purchaser or the Successful Bidder, and (iv) granting

such other and further relief as is just and proper.



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                                                   Basis for Relief

II.       The Bidding Procedures Are Appropriate and in the Best Interests of the Debtor, Its
          Estate, and Its Creditors.

          A.        The Proposed Notice of the Bidding Procedures Is Appropriate.

          30. The Debtor seeks to sell the Assets through a publicized sale and Auction. The

Debtor and Bayshore have prepared an initial list of Contact Parties who will receive a copy of

the Information Package, and will contact the Contact Parties to explore their interest in pursuing

an Alternative Transaction.             The list of Contact Parties will be specifically designed to

encompass those parties who the Debtor believes may be potentially interested in pursuing an

Alternative Transaction and who the Debtor reasonably believes may have the financial

resources to consummate an Alternative Transaction. The Bidding Procedures are designed to

elicit bids from one or more parties and to encourage a robust Auction of the Assets, maximizing

the value for the Debtor’s estate and its creditors.

          31. Under Bankruptcy Rule 2002(a) and (c), the Debtor is required to notify creditors of

the proposed sale of the Assets, including a disclosure of the time and place of any Auction, the

terms and conditions of a sale, and the deadline for filing any objections.

          32. The Debtor will also serve the notice of this Motion on other interested parties as

described below. The Debtor believes that the foregoing notice is sufficient to provide effective

notice of the Bidding Procedures and the Auction to potentially interested parties in a manner

designed to maximize the chance of obtaining the broadest possible participation in the Debtor’s

marketing process, while minimizing costs to the estate. Accordingly, the Debtor respectfully

requests that the Court find that the proposed notice procedures set forth in this Motion are

sufficient, and that no other or further notice of the Bidding Procedures or the Auction is

required.


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       B.        The Bidding Procedures Are Appropriate and Will Maximize Value.

       33. Bidding procedures should be approved when they provide a benefit to the debtor’s

estate by maximizing the value of the debtor’s assets. See In re Edwards, 228 B.R. 552, 361

(Bankr. E.D. Pa. 1998) (“The purpose of procedural bidding orders is to facilitate an open and

fair public sale designed to maximize value for the estate.”).

       34. The paramount goal in any proposed sale of property of the estate is to maximize the

proceeds received by the estate. See In re Mushroom Transp. Co., 382 F.3d 325, 339 (3d Cir.

2004) (debtor in possession “had a fiduciary duty to protect and maximize the estate’s assets”);

Official Comm. of Unsecured Creditors of Cybergenics, Corp. v. Chinery, 330 F.3d 548, 573 (3d

Cir. 2003) (same); Four B. Corp. v. Food Barn Stores, Inc. (In re Barn Stores, Inc.), 107 F.3d

558, 564-65 (8th Cir. 1997) (in bankruptcy sales, “a primary objective of the Code [is] to

enhance the value of the estate at hand”).

       35. To that end, courts uniformly recognize that procedures to enhance competitive

bidding are consistent with the goal of maximizing the value received by the estate and therefore

are appropriate in the context of bankruptcy transactions. See In re O’Brien Envtl. Energy, Inc.,

181 F.3d 527, 537 (3d Cir. 1999); see also Official Comm. of Subordinated Bondholders v.

Integrated Res. Inc. (In re Integrated Res. Inc.), 147 B.R. 650, 659 (S.D.N.Y. 1992) (bidding

procedures “encourage bidding . . . maximize the value of the debtor’s assets”).

       36. The Debtor believes that the Bidding Procedures will promote active bidding from

any seriously interested parties that may exist and will dispel any doubt as to the best and highest

offer reasonably available for the Assets. The Bidding Procedures will allow the Debtor to

conduct the Auction in a controlled, fair and open fashion that will encourage participation by

financially capable bidders who demonstrate the ability to close an Alternative Transaction. The

Debtor also believes that the Bidding Procedures will establish the parameters under which the
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value of any Alternative Transaction may be tested at the Auction. In summary, the Debtor

believes that the Bidding Procedures will encourage bidding, that they are consistent with other

procedures previously approved by courts in this and other districts and that the Bidding

Procedures are appropriate under the relevant standards governing auction proceedings and

bidding incentives in bankruptcy proceedings. See In re Friendly’s Ice Cream Corp., No. 11-

13167 (Bankr. D. Del. Oct. 5, 2011).

       37. Thus, the Bidding Procedures are reasonable, appropriate and within the Debtor’s

sound business judgment under the circumstances because the Bidding Procedures are designed

to maximize the value to be received by the Debtor’s estate.

       C.        The Initial and Subsequent Overbids Are Appropriate.

       38. One important component of the Bidding Procedures is the “overbid” provision. The

Minimum Bid, which is the amount of the lowest possible first overbid above the Credit Bid

Amount, must represent an amount equal to at least the Credit Bid Amount plus $150,000, plus

any Assumed Liabilities, plus any adjustments required, if applicable, necessary to pay all

transaction fees (including to the Debtor’s Investment Banker) to the extent the sale an entity

other than the Stalking Horse Purchaser produces insufficient cash to pay such transaction fees.

Subsequent bids must be in minimum increments of at least $100,000 (the “Minimum

Overbid”), provided that the Debtor shall retain the right to modify the bid increment

requirements at the Auction.

       39. The Debtor believes that such Minimum Overbid is reasonable under the

circumstances, and will enable the Debtor to maximize the value for such assets while limiting

any chilling effect in the marketing process.




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         D.      The Proposed Notice Procedures for the Assigned Contracts and the
                 Identification of Related Cure Amounts Are Appropriate.

         40. Except as may otherwise be agreed to in the Successful Bid or by the parties to an

Assigned Contract, at the closing of the sale, the Successful Bidder shall cure those defaults

under the Assigned Contracts that need to be cured in accordance with section 365(b) of the

Bankruptcy Code, by (a) payment of the undisputed Cure Amount or (b) reserving amounts with

respect to any disputed Cure Amounts.

III.     Approval Of The Proposed Sale Transaction Is Appropriate And In The Best
         Interests Of The Estate.

         A.      The Sale of the Assets is Authorized by Section 363 of the Bankruptcy Code
                 as a Sound Exercise of the Debtor’s Business Judgment.

         41. Section 363 of the Bankruptcy Code provides that a debtor, “after notice and a

hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b). Although section 363 of the Bankruptcy Code does not specify a

standard for determining when it is appropriate for a court to authorize the use, sale, or lease of

property of the estate, courts routinely authorize sales of a debtor’s assets if such sale is based

upon the sound business judgment of the debtor. See Meyers v. Martin (In re Martin), 91 F.3d

389, 395 (3d Cir. 1996); In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D. Del.

1999).

         42. Courts typically consider the following factors in determining whether a proposed

sale satisfies this standard: (a) whether a sound business justification exists for the sale;

(b) whether adequate and reasonable notice of the sale was given to interested parties;

(c) whether the sale will produce a fair and reasonable price for the property; and (d) whether the

parties have acted in good faith. See In re Delaware & Hudson Ry. Co., 124 B.R. at 176; In re

Phoenix Steel Corp., 82 B.R. 334, 335-36 (Bankr. D. Del. 1987).


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       43. A sound business purpose for the sale of a debtor’s assets outside the ordinary course

of business may be found where such a sale is necessary to preserve the value of assets for the

estate, its creditors or interest holders. See, e.g., In re Abbotts Dairies of Pa., Inc., 788 F.2d 143

(3d Cir. 1986); In re Lionel Corp., 722 F.2d 1063 (2d Cir. 1983).

       44. Furthermore, “[w]here the debtor articulates a reasonable basis for its business

decisions (as distinct from a decision made arbitrarily or capriciously), courts will generally not

entertain objections to the debtor’s conduct.”               Comm. of Asbestos-Related Litigants and/or

Creditors v. Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 616 (Bankr.

S.D.N.Y. 1986). There is a presumption that “in making a business decision the directors of a

corporation acted on an informed basis, in good faith and in the honest belief that the action was

in the best interests of the company.” In re Integrated Res., 147 B.R. at 656 (quoting Smith v.

Van Gorkom, 488 A.2d 858, 872 (Del. 1985)). Thus, if a debtor’s actions satisfy the business

judgment rule, then the transaction in question should be approved under section 363(b)(1) of the

Bankruptcy Code. Indeed, when applying the business judgment standard, courts show great

deference to a debtor’s business decisions. See Pitt v. First Wellington Canyon Assocs. (In re

First Wellington Canyon Assocs.), 1989 WL 106838, at *3 (N.D. Ill. 1989) (“Under this test, the

debtor’s business judgment . . . must be accorded deference unless shown that the bankrupt’s

decision was taken in bad faith or in gross abuse of the bankrupt’s retained discretion.”).

       45. The true value of the Assets will be tested through the Auction pursuant to the

Bidding Procedures. Consequently, the fairness and reasonableness of the consideration to be

paid by the Successful Bidder ultimately will be demonstrated by adequate “market exposure”

and an open and fair Auction process — the best means for establishing whether a fair and

reasonable price is being paid.


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       46. Thus, the Debtor submits that the Asset Purchase Agreement with the Successful

Bidder will constitute the highest and best offer for the Assets, and will provide a greater

recovery for the Debtor’s estate than would be provided by any other available alternative. As

such, the Debtor’s determination to sell the Assets through an Auction process and subsequently

to enter into the Asset Purchase Agreement with the Successful Bidder will be a valid and sound

exercise of the Debtor’s business judgment.                   The Debtor will submit evidence at the

Sale Hearing to support these conclusions. Therefore, the Debtor requests that the Court make a

finding that the proposed sale of the Assets is a proper exercise of the Debtor’s business

judgment and is rightly authorized.

       B.        The Sale of the Acquired Assets Free and Clear of Claims and Interests is
                 Authorized by Section 363 of the Bankruptcy Code.

       47. The Debtor further submits that it is appropriate to sell the Assets free and clear of all

Claims and Interests, pursuant to section 363(f) of the Bankruptcy Code, with any such Claims

and Interests attaching to the net sale proceeds of the Assets, as and to the extent applicable.

Section 363(f) of the Bankruptcy Code authorizes a debtor to sell assets free and clear of liens,

claims, interests, and encumbrances if:

       (a)       applicable nonbankruptcy law permits sale of such property free and clear of such
                 interests;

       (b)       such entity consents;

       (c)       such interest is a lien and the price at which such property is to be sold is greater
                 than the value of all liens on such property;

       (d)       such interest is in bona fide dispute; or

       (e)       such entity could be compelled, in a legal or equitable proceeding, to accept a
                 money satisfaction of such interest.




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11 U.S.C. § 363(f); see also In re Elliot, 94 B.R. 343, 345 (E.D. Pa. 1988) (section 363(f) is

written in the disjunctive; the court may approve a sale “free and clear” provided at least one of

the subsections is met).

       48. This provision is supplemented by section 105(a) of the Bankruptcy Code, which

provides that “[t]he Court may issue any order, process or judgment that is necessary or

appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a).

       49. Because section 363(f) of the Bankruptcy Code is drafted in the disjunctive,

satisfaction of any one of its five requirements will suffice to permit the sale of the Assets “free

and clear” of all Claims and Interests. In re Dundee Equity Corp., 1992 Bankr. LEXIS 436, at

*12 (Bankr. S.D.N.Y. Mar. 6, 1992) (“[s]ection 363(f) is in the disjunctive, such that the sale free

of the interest concerned may occur if any one of the conditions of § 363(f) have been met.”);

Mich. Emp’t Sec. Comm’n v. Wolverine Radio Co. (In re Wolverine Radio Co.), 930 F.2d 1132,

1147 n.24 (6th Cir. 1991) (stating that section 363(f) of the Bankruptcy Code is written in the

disjunctive; holding that the court may approve the sale “free and clear” provided at least one of

the subsections of section 363(f) of the Bankruptcy Code is met).

       50. The Debtor believes that one or more of the tests of section 363(f) of the Bankruptcy

Code will be satisfied with respect to the transfer of the Assets pursuant to the Asset Purchase

Agreement. In particular, the Debtor believes that at least section 363(f)(2) of the Bankruptcy

Code will be met because each of the parties holding liens on the Assets, if any, will consent, or

absent any objection to this motion, will be deemed to have consented to, the sale and transfer of

the Assets. Any lienholder also will be adequately protected by having its liens, if any, attach to

the sale proceeds received by the Debtor for the sale of the Assets to the Successful Bidder, in

the same order of priority, with the same validity, force and effect that such creditor had prior to


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such sale, subject to any claims and defenses the Debtor and its estate may possess with respect

thereto. Accordingly, section 363(f) of the Bankruptcy Code authorizes the sale and transfer of

the Assets free and clear any such Claims and Interests.

       C.        The Successful Bidder is a Good Faith Purchaser and is Entitled to the Full
                 Protection of Section 363(m) of the Bankruptcy Code, and the Transfer and
                 Sale of the Assets Does Not Violate Section 363(n) of the Bankruptcy Code.

       51. Section 363(m) of the Bankruptcy Code provides:

                 The reversal or modification on appeal of an authorization under
                 subsection (b) or (c) of this section of a sale or lease of property
                 does not affect the validity of a sale or lease under such
                 authorization to an entity that purchased or leased such property in
                 good faith, whether or not such entity knew of the pendency of the
                 appeal, unless such authorization and such sale or lease were
                 stayed pending appeal.

11 U.S.C. § 363(m). While the Bankruptcy Code does not define “good faith,” the Third Circuit

in In re Abbotts Dairies of Pa., Inc. held that:

                 [t]he requirement that a [buyer] act in . . . good faith speaks to the
                 integrity of his conduct in the course of the sale proceedings.
                 Typically, the misconduct that would destroy a [buyer’s] good
                 faith status at a judicial sale involves fraud, collusion between the
                 [proposed buyer] and other bidders or the trustee, or an attempt to
                 take grossly unfair advantage of other bidders.

788 F.2d at 147 (citation omitted).

       52. As such, a party would have to show fraud or collusion between the

Successful Bidder and the Debtor or other Bidders to demonstrate a lack of good faith. See

Kabro Assocs. of West Islip, L.L.C. v. Colony Hill Assocs. (In re Colony Hill Assocs.), 111 F.3d

269, 276 (2d Cir. 1997) (“[t]ypically, the misconduct that would destroy a [buyer]’s good faith

status at a judicial sale involves fraud, collusion between the [buyer] and other bidders or the

trustee or an attempt to take grossly unfair advantage of other bidders”); see also In re Angelika




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Films, 57th, Inc., 1997 WL 283412, at *7 (S.D.N.Y. 1997); In re Bakalis, 220 B.R. 525, 537

(Bankr. E.D.N.Y. 1998).

       53. By the time of execution of the Asset Purchase Agreement, the Debtor and the

Successful Bidder will have engaged in thorough arms-length negotiations over the terms of the

Asset Purchase Agreement. In addition, the Successful Bidder will have complied with the terms

and conditions of the Bidding Procedures Order. Notwithstanding the fact that the Stalking

Horse Purchaser is an affiliate of CHV, which in turns owns a membership interest in the Debtor

through MHH, the Stalking Horse Purchaser has acted in the utmost good faith. The Stalking

Horse Purchaser has funded the Debtor’s expenses and operations in a manner calculated to

maximize the value of the Debtor’s assets.

       54. Moreover, in this case, there will be absolutely no fraud of any kind. The Debtor will

ensure that the Asset Purchase Agreement does not constitute an avoidable transaction pursuant

to section 363(n) of the Bankruptcy Code, and, as a result, the Successful Bidder should receive

the protections afforded good faith purchasers by section 363(m) of the Bankruptcy Code.

Accordingly, the Debtor requests that the Court make a finding at the Sale Hearing that the Asset

Purchase Agreement reached with the Successful Bidder was at arms’-length and is entitled to

the full protections of section 363(m) of the Bankruptcy Code.

       D.        Credit Bidding Should Be Authorized under Section 363(k) of the
                 Bankruptcy Code.

       55. A secured creditor is allowed to “credit bid” the amount of its claim in a sale. Section

363(k) of the Bankruptcy Code provides, in relevant part, that unless the court for cause orders

otherwise, the holder of a claim secured by property that is the subject of the sale “may bid at

such sale, and, if the holder of such claim purchases such property, such holder may offset such

claim against the purchase price of such property.” 11 U.S.C. § 363(k). Even if a secured

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creditor is undersecured as determined in accordance with section 506(a) of the Bankruptcy

Code, section 363(k) allows such secured creditor to bid the total face value of its claim and does

not limit the credit bid to the claim’s economic value. See Cohen v. KB Mezzanine Fund II, LP

(In re Submicron Sys. Corp.), 432 F.3d 448, 459-60 (3d Cir. 2006) (explaining that “[i]t is well

settled among district court and bankruptcy courts that creditors can bid the full face value of

their secured claims under section 363(k)”).

       56. The Stalking Horse Purchaser is entitled to credit bid some or all of its claims in the

Debtor’s collateral pursuant to section 363(k) of the Bankruptcy Code. Because the Stalking

Horse Purchaser holds claims that are secured by substantially all of the Assets, the Stalking

Horse Purchaser should be allowed to credit bid the Credit Bid Amount in order to purchase the

Assets under the Asset Purchase Agreement.

       E.        Assumption and Assignment of the Assigned Contracts Is Authorized by
                 Section 365 of the Bankruptcy Code.

       57. Sections 365(a) and (b) of the Bankruptcy Code authorize a debtor in possession to

assume, subject to the court’s approval, executory contracts or unexpired leases of the debtor.

Under section 365(a) of the Bankruptcy Code, a debtor, “subject to the court’s approval, may

assume or reject any executory contract or unexpired lease of the debtor.” 11 U.S.C. § 365(a).

Section 365(b)(1) of the Bankruptcy Code, in turn, codifies the requirements for assuming an

unexpired lease or executory contract of a debtor, providing that:

       (b)(1) If there has been a default in an executory contract or unexpired lease of
       the debtor, the trustee may not assume such contract or lease unless, at the time of
       assumption of such contract or lease, the trustee —

                 (A)   cures, or provides adequate assurance that the trustee will
                 promptly cure, such default . . .;

                 (B)     compensates, or provides adequate assurance that the
                 trustee will promptly compensate, a party other than the debtor to


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                 such contract or lease, for any actual pecuniary loss to such party
                 resulting from such default; and

                 (C)    provide adequate assurance of future performance under
                 such contract or lease.

11 U.S.C. § 365(b)(l).

       58. The standard in determining whether an executory contract or unexpired lease should

be assumed is the “business judgment” test, which requires a debtor to determine that the

requested assumption or rejection would be beneficial to its estate. See Sharon Steel Corp. v.

Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36, 40 (3d Cir. 1989); see also NLRB v. Bildisco &

Bildisco, 465 U.S. 513, 523 (1984)(describing business judgment test as “traditional”)

(superceded in part by 11 U.S.C. § 1113).

       59. Courts generally will not second-guess a debtor’s business judgment concerning the

assumption of an executory contract. See In re Decora Indus., Inc., 2002 WL 32332749, at *8

(D. Del. 2002); Official Comm. for Unsecured Creditors v. Aust (In re Network Access Solutions,

Corp., 330 B.R. 67, 75 (Bankr. D. Del. 2005) (“The standard for approving the assumption of an

executory contract is the business judgment rule”); In re Exide Techs., 340 B.R. 222, 239 (Bankr.

D. Del. 2006) (“The propriety of a decision to reject an executory contract is governed by the

business judgment standard”); see also Phar Mor, Inc. v. Strouss Bldg. Assocs., 204 B.R. 948,

952 (N.D. Ohio 1997) (“Courts should generally defer to a debtor’s decision whether to reject an

executory contract.”)(citation omitted).

       60. In     the   present     case,    the    Debtor’s      assumption       and     assignment      of       the

Assigned Contracts to the Successful Bidder will meet the business judgment standard and

satisfies the requirements of section 365 of the Bankruptcy Code. As discussed above, the

transactions contemplated by the Asset Purchase Agreement will provide significant benefits to

the Debtor’s estate. Because the Debtor cannot obtain the benefits of the Asset Purchase
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Agreement without the assumption of the Assigned Contracts, the assumption of these

Assigned Contracts is undoubtedly a sound exercise of the Debtor’s business judgment.

         61. Further, a debtor in possession may assign an executory contract or an unexpired

lease of the debtor if it assumes the agreement in accordance with section 365(a) of the

Bankruptcy Code, and provides adequate assurance of future performance by the assignee,

whether or not there has been a default under the agreement. See 11 U.S.C. § 365(f)(2).

Significantly, among other things, adequate assurance may be provided by demonstrating the

assignee’s financial health and experience in managing the type of enterprise or property

assigned. See, e.g., In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986) (stating that

adequate assurance of future performance is present when the prospective assignee of a lease

from the debtor has financial resources and has expressed willingness to devote sufficient

funding to the business in order to give it a strong likelihood of succeeding).

         62. The meaning of “adequate assurance of future performance” depends on the facts and

circumstances of each case, but should be given “practical, pragmatic construction.”                           EBG

Midtown South Corp. v. McLaren/Hart Envtl. Eng’g Corp. (In re Sanshoe Worldwide Corp.),

139 B.R. 585, 592 (S.D.N.Y. 1992) (citations omitted), aff’d, 993 F.2d 300 (2d Cir. 1993);

Carlisle Homes, Inc. v. Azzari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J.

1988).

         63. Pursuant to the Bidding Procedures, the Debtor will require potential Bidders to

provide evidence constituting adequate assurance of future performance, to be provided to

counterparties to Assigned Contracts upon their request.                        Moreover, counterparties to

Assigned Contracts will have the opportunity to object to adequate assurance of future




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performance by any of the Bidders. Accordingly, the Debtor submits that the assumption and

assignment of the Assigned Contracts as set forth herein should be approved.

       64. In addition, under section 365(d)(4) of the Bankruptcy Code, the Debtor is allotted an

initial 120-day period to assume or reject executory contracts and nonresidential real property

leases. A court may grant an extension of up to an additional 90 days after the initial 120-day

period for cause shown.

       65. To assist in the assumption, assignment and sale of the Assigned Contracts, the

Debtor also requests that the Sale Order provide that anti-assignment provisions in the

Assigned Contracts shall not restrict, limit or prohibit the assumption, assignment and sale of the

Assigned Contracts and are deemed and found to be unenforceable anti-assignment provisions

within the meaning of section 365(f) of the Bankruptcy Code.

       66. Section 365(f)(1) of the Bankruptcy Code permits a debtor to assign unexpired leases

and contracts free from such anti-assignment restrictions, providing, in pertinent part, that:

                 [N]otwithstanding a provision in an executory contract or
                 unexpired lease of the debtor, or in applicable law, that prohibits,
                 restricts, or conditions the assignment of such contract or lease, the
                 trustee may assign such contract or lease under paragraph (2) of
                 this subsection.

11 U.S.C. § 365(f)(l).

       67. Section 365(f)(l) of the Bankruptcy Code, by operation of law, invalidates provisions

that prohibit, restrict, or condition assignment of an executory contract or unexpired lease. See,

e.g., Coleman Oil Co., Inc. v. The Circle K Corp. (In re The Circle K Corp.), 127 F. 3d 904, 910-

11 (9th Cir. 1997) (“no principle of bankruptcy or contract law precludes us from permitting the

Debtors here to extend their leases in a manner contrary to the leases’ terms, when to do so will

effectuate the purposes of section 365”) cert. denied, 522 U.S. 1148 (1998). Section 365(f)(3) of

the Bankruptcy Code goes beyond the scope of section 365(f)(1) of the Bankruptcy Code by
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prohibiting enforcement of any clause creating a right to modify or terminate the contract or

lease upon a proposed assumption or assignment thereof. See, e.g., In re Jamesway Corp., 201

B.R. 73 (Bankr. S.D.N.Y. 1996) (section 365(f)(3) of the Bankruptcy Code prohibits

enforcement of any lease clause creating right to terminate lease because it is being assumed or

assigned, thereby indirectly barring assignment by debtor; all lease provisions, not merely those

entitled anti-assignment clauses, are subject to court’s scrutiny regarding anti-assignment effect).

       68. Other courts have recognized that provisions that have the effect of restricting

assignments cannot be enforced. See In re Rickel Home Ctrs., Inc., 240 B.R. 826, 831 (D. Del.

1998) (“In interpreting Section 365(f) [sic], courts and commentators alike have construed the

terms to not only render unenforceable lease provisions which prohibit assignment outright, but

also lease provisions that are so restrictive that they constitute de facto anti-assignment

provisions.”). Similarly, in In re Mr. Grocer, Inc., the court noted that:

                 [the] case law interpreting § 365(f)(l) of the Bankruptcy Code
                 establishes that the court does retain some discretion in
                 determining that lease provisions, which are not themselves ipso
                 facto anti-assignment clauses, may still be refused enforcement in
                 a bankruptcy context in which there is no substantial economic
                 detriment to the landlord shown, and in which enforcement would
                 preclude the bankruptcy estate from realizing the intrinsic value of
                 its assets.

77 B.R. 349, 354 (Bankr. D.N.H. 1987). Thus, the Debtor requests that any anti-assignment

provisions be deemed not to restrict, limit or prohibit the assumption, assignment and sale of the

Assigned Contracts and be deemed and found to be unenforceable anti-assignment provisions

within the meaning of section 365(f) of the Bankruptcy Code.

                                                     Notice

       69. Notice of this Motion has been given to the following parties or, in lieu thereof, to

their counsel, if known: (a) the Office of the United States Trustee for the Southern District of

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Florida; (b) counsel to the proposed Stalking Horse Purchaser; (c) the Committee; and (d) any

party that may have a particular interest in this Motion. The Debtor submits that, in light of the

nature of the relief requested, no other or further notice need be given.

                                              No Prior Request

       70. No prior request for the relief sought in this Motion has been made to this or any

other court.

       WHEREFORE, the Debtor respectfully requests that the Court enter (a) the Bidding

Procedures Order, (b) the Sale Order, and (c) an Order granting such other and further relief as is

just and proper.

                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on March 30, 2018, a true and correct copy of the foregoing

was served via the Court's Notice of Electronic Filing upon Registered Users set forth on the

attached list. Upon the docketing of the Notice of Hearing for the foregoing, service of both this

motion and the Notice of Hearing thereon will be made via U.S. Mail upon all parties on the

Matrix and Patient Matrix and a supplemental certificate of service shall be filed.

                                                              s/ Peter D. Russin
                                                              Peter D. Russin, Esquire
                                                              Fla. Bar No. 765902
                                                              prussin@melandrussin.com
                                                              Daniel N. Gonzalez, Esquire
                                                              Fla. Bar No. 592749
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                                                              MELAND RUSSIN & BUDWICK, P.A.
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                                                              Counsel for Debtor in Possession




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Mailing Information for Case 18-12741-LMI
Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

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   •   Daniel N Gonzalez dgonzalez@melandrussin.com,
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                       EXHIBIT A

                Bidding Procedures Order
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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                         Miami Division
                                       www.flsb.uscourts.gov

In re:

MIAMI INTERNATIONAL MEDICAL CENTER, LLC 1                                     Case No. 18-12741-LMI
d/b/a THE MIAMI MEDICAL CENTER,                                               Chapter 11

          Debtor.
                                                                    /

             ORDER (A) APPROVING BIDDING PROCEDURES;
(B) APPROVING CERTAIN PROTECTIONS TO STALKING HORSE PURCHASER;
     (C) APPROVING FORM AND MANNER OF NOTICES; (D) APPROVING
 FORM OF ASSET PURCHASE AGREEMENT; (E) AUTHORIZING THE SALE OF
 ALL OR SUBSTANTIALLY ALL OF THE ASSETS OF THE DEBTOR FREE AND
CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS; (F)
      AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
EXECUTORY CONTRACTS AND UNEXPIRED LEASES; (G) SCHEDULING DATES

1The   Debtor’s current mailing address is 5959 NW 7 St, Miami, FL 33126 and its EIN ends 4362.




                                                        1
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  TO CONDUCT AUCTION AND HEARING TO CONSIDER FINAL APPROVAL OF
              SALE; AND (H) GRANTING RELATED RELIEF

        THIS CAUSE came before the Court on April ___, 2018 at __:__ _.m., upon the motion

(the “Motion”) of the above-captioned debtor in possession (the “Debtor”) for entry of an order

(A) approving Bidding Procedures,2 substantially in the form attached hereto as Exhibit 1, (B)

approving certain protections to Variety Children’s Hospital, d/b/a Nicklaus Children’s Hospital,

a Florida non-profit corporation (the “Stalking Horse Purchaser”), (C) approving form and

manner of notices, (D) approving form of asset purchase agreement, (E) authorizing the sale of

substantially all of the Debtor’s Assets free and clear of all liens, claims, encumbrances and other

interests, (F) authorizing the assumption and assignment of certain executory contracts and

unexpired leases, (G) scheduling dates to conduct an auction and hearing to consider final

approval of sale, and (H) certain related relief (this “Bidding Procedures Order”); and the Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before the Court (the “Hearing”); and the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor, it is

FOUND, CONCLUDED AND DETERMINED THAT:

        A.       The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Rule 7052 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), made applicable to this proceeding pursuant to Bankruptcy Rule 9014.


2Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion,
the Asset Purchase Agreement, or the Bidding Procedures, as applicable.




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       B.      The Court has jurisdiction over the Motion and the transactions contemplated by

the Asset Purchase Agreement pursuant to 28 U.S.C. §§ 157 and 1334, and this matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). Venue in this district is proper

under 28 U.S.C. §§ 1408 and 1409.

       C.      The statutory bases for the relief requested in the Motion are sections 105(a), 363,

and 365 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”); Bankruptcy

Rules 2002(a)(2), 6004, and 6006; and Rules 2002-1(C)(2), 6004-1, and 6006-1 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

Southern District of Florida (the “Local Bankruptcy Rules”).

       D.      Good and sufficient notice of the Motion and the relief sought therein has been

given under the circumstances, and no other or further notice is required except as set forth

herein with respect to the Sale Hearing.        A reasonable opportunity to object or be heard

regarding the relief provided herein has been afforded to parties in interest.

       E.      The Debtor’s proposed notice of the Bidding Procedures is appropriate and

reasonably calculated to provide all interested parties with timely and proper notice of the

Auction, the sale of substantially all of the Debtor’s Assets, the Bidding Procedures to be

employed in connection therewith, and the Sale Hearing.

       F.      The Cure Notice (defined below) attached hereto as Exhibit 2 is reasonably

calculated to provide all non-Debtor counterparties (the “Contract Parties”) to the Debtor’s

executory contracts and unexpired leases (each a “Contract or Lease” and, collectively, the

“Contracts and Leases”) with proper notice of the potential assumption and assignment of their

executory contract or unexpired lease and any Cure Amounts (defined below) relating thereto,

although the mere listing of any executory contract or unexpired lease on the Cure Notice does



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not require or guarantee that such executory contract or unexpired lease will be assumed and

assigned, and all rights of the Debtor with respect to such Contracts and Leases are reserved.

        G.      The Debtor has articulated good and sufficient reasons for the Court to:

(1) approve the Bidding Procedures; (2) set the Sale Hearing and approve the manner of notice of

the Motion and the Sale Hearing; (3) approve the procedures for the assumption and assignment

of certain executory contracts and unexpired leases (collectively, the “Assigned Contracts”),

including notice of proposed Cure Amounts (defined below); and (4) approve the Break-Up Fee

as provided in the Asset Purchase Agreement and in this Bidding Procedures Order.

        H.      The Break-Up Fee to be paid under the circumstances described herein to the

Stalking Horse Purchaser (1) is an actual and necessary cost of preserving the Debtor’s estate

within the meaning of Bankruptcy Code section 503(b); (2) is commensurate to the real and

substantial benefits conferred upon the Debtor’s estate by the entry of the Stalking Horse

Purchaser into the Asset Purchase Agreement; and (3) is reasonable and appropriate in light of

the size and nature of the proposed transaction, the commitments that have been made and the

efforts that have been or will be expended by the Stalking Horse Purchaser.

        I.      The Debtor has demonstrated a compelling and sound business justification for

authorizing the payment of the Break-Up Fee to the Stalking Horse Purchaser under the

circumstances, timing and procedures set forth in the Motion.

        J.      The entry of this Bidding Procedures Order is in the best interests of the Debtor,

its estate, its creditors, and other parties in interest.

        K.      The Bidding Procedures are reasonably designed to maximize the value to be

achieved for the Assets.

        L.      The proposed sale of the Assets is consistent with section 363(b)(1)(A) of the



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Bankruptcy Code and the Debtor’s existing privacy policy, and no consumer privacy

ombudsman is necessary in connection with the sale or sales of the Debtor’s Assets.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1. The Motion is GRANTED to the extent set forth herein.

        2. Any and all objections and responses to the Motion that have not been withdrawn,

waived, settled or resolved, and all reservations of rights included therein, are hereby overruled

and denied.

        3. The Bidding Procedures, attached hereto as Exhibit 1, are hereby approved in all

respects and shall govern all bid and bid proceedings relating the sale of the Debtor’s Assets.

The Debtor is authorized to take any and all actions necessary to implement the Bidding

Procedures.

        4. The failure specifically to include or reference any particular provision of the Bidding

Procedures in this Order shall not diminish or impact the effectiveness of such procedure, it

being the intent of the Court that the Bidding Procedures be authorized and approved in their

entirety.

        5. The Debtor may pursue a sale of the Assets and enter into the transactions

contemplated by the Asset Purchase Agreement by conducting an Auction in accordance with

the Bidding Procedures.

        6. The Bid Deadline is [______________].          All Potential Bidders are required to

provide copies of their bids so as to be received by the following parties on or before the Bid

Deadline: [INSERT PARTIES].

        7. The Auction, if necessary under the Bidding Procedures, shall take place on

[__________] at 10:00 a.m. (prevailing Eastern Time) at the offices of counsel for the Debtor,



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Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200 South Biscayne

Boulevard, Miami, Florida 33131, or such other place and time as the Debtor shall notify all

Qualified Bidders, including, without limitation, the Stalking Horse Purchaser, counsel for the

Stalking Horse Purchaser and other invitees. The Auction shall be conducted in accordance with

the Bidding Procedures.

       8. The Sale Hearing shall be held before the Court on [_________ at __:_0 _.m.

(prevailing Eastern Time)].

       9. Objections, if any, to the sale of the Assets and the transaction contemplated by the

Asset Purchase Agreement, or the relief requested in the Motion must: (a) be in writing;

(b) comply with the Bankruptcy Rules and the Local Bankruptcy Rules; (c) be filed with the

clerk of the Bankruptcy Court for the Southern District of Florida (or filed electronically via

CM/ECF), on or before 4:00 p.m. (prevailing Eastern Time) on [_____________] (the

“Sale Objection Deadline”); and be served such that they are actually received by the Sale

Objection Deadline to: (a) the Debtor, 5959 NW 7 St, Miami, FL 33126, Attn: Jeffrey Mason;

(b) counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center,

200 South Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and Daniel

N. Gonzalez, Esq.; (c) counsel to the Stalking Horse Purchaser, DLA Piper LLP (US), 200 South

Biscayne Boulevard, Suite 2500, Miami, Florida 33131, Attn: Joshua Kaye, Esq., Thomas

Califano, Esq., and Rachel Nanes, Esq.,; and (d) Bayshore Partners, LLC, 401 E. Las Olas Blvd,

Suite 2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman.

       10. The Stalking Horse shall constitute a Qualified Bidder (as defined in the Bidding

Procedures) for all purposes and in all respects with regard to the Bidding Procedures.    The




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Stalking Horse is permitted to credit bid the Credit Bid Amount pursuant to section 363(k) of the

Bankruptcy Code.

       11. The Debtor is hereby authorized, in the exercise of its sound business judgment, to

pay the Stalking Horse, as set forth in the Asset Purchase Agreement and pursuant to the Bidding

Procedures, and the Break-Up Fee, subject to the terms of this Bidding Procedures Order and the

Asset Purchase Agreement. The payment of the Break-Up Fee shall be conditioned on the

consummation of a sale to a party that is not the Stalking Horse Purchaser.

       12. The notice of the proposed sale of the Debtor’s Assets, substantially in the form

attached hereto as Exhibit 3 (the “Sale Notice”), is hereby approved.

       13. On or before three (3) business days after entry of this Bidding Procedures Order, the

Debtor will cause the Sale Notice to be sent by first-class mail postage prepaid, to the

following: (a) all creditors or their counsel known to the Debtor to assert a lien (including any

security interest), claim, right, interest or encumbrance of record against all or any portion of the

Assets; (b) the U.S. Trustee; (c) the creditors listed on the Debtor’s list of 20 largest unsecured

creditors; (d) all applicable federal, state and local taxing and regulatory authorities of the Debtor

or recording offices or any other governmental authorities that, as a result of the sale of the

Assets, may have claims, contingent or otherwise, in connection with the Debtor’s ownership of

the Assets or have any known interest in the relief requested by the Motion; (e) counsel to the

Stalking Horse Purchaser; (f) all parties in interest who have requested notice pursuant to

Bankruptcy Rule 2002; (g) all parties to any litigation involving the Debtor; (h) all Contract

Parties of the Debtor; and (i) all potential Bidders previously identified or otherwise known to

the Debtor.




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       14. The notice of potential assumption and assignment of the Contracts and Leases,

substantially in the form attached hereto as Exhibit 2 (the “Cure Notice”), is hereby approved.

       15. On or before ten (10) business days after the entry of this Bidding Procedures Order,

the Debtor shall serve by first class mail, overnight delivery, facsimile or electronic mail, as the

case may be and in the Debtor’s sole discretion, the Cure Notice on all Contract Parties. The

Cure Notice shall identify the Contracts and Leases and provide the corresponding cure amounts

that the Debtor believes must be paid to cure all prepetition defaults under the Contracts and

Leases (the “Cure Amounts”).

       16. Unless the Contract Party to any Contract or Lease files an objection to its scheduled

Cure Amount or to the assumption and assignment of a Contract or Lease, and serves a copy of

the such objection so as to be received no later than the Sale Objection Deadline to: (a) the

Debtor, 5959 NW 7 St, Miami, FL 33126, Attn: Jeffrey Mason; (b) counsel for the Debtor,

Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200 South Biscayne

Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and Daniel N. Gonzalez, Esq.; (c)

counsel to the Stalking Horse Purchaser, DLA Piper LLP (US), 200 South Biscayne Boulevard,

Suite 2500, Miami, Florida 33131, Attn: Joshua Kaye, Esq., Thomas Califano, Esq. and Rachel

Nanes, Esq.; and (d) Bayshore Partners, LLC, 401 E. Las Olas Blvd, Suite 2360, Fort

Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman; such Contract Party shall be

forever barred and estopped from objecting (1) to the Cure Amount and from asserting that any

additional amounts are due or defaults exist, (2) that any conditions to assumption and

assignment must be satisfied under such Contract or Lease before it can be assumed and assigned

or that any required consent to assignment has not been given or (3) that the Stalking Horse

Purchaser has not provided adequate assurance of future performance.



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       17. In accordance with the Bidding Procedures, promptly following the Debtor’s

selection of the Successful Bid and the conclusion of the Auction, the Debtor shall announce the

Successful Bid and shall file with the Bankruptcy Court a notice of the Successful Bid and

Successful Bidder. Only if the Stalking Horse Purchaser is not the Successful Bidder for the

Debtor’s assets, the Contract Parties shall have until the Sale Hearing to object to the assumption

and assignment of a Contract or Lease solely on the issue of whether the Successful Bidder (if

not the Stalking Horse Purchaser) can provide adequate assurance of future performance as

required by section 365 of the Bankruptcy Code (each an “Adequate Assurance Objection”);

provided, however, that if the Stalking Horse Purchaser is the sole Successful Bidder, all

Adequate Assurance Objections must be filed by the Sale Objection Deadline. All objections to

the assumption and assignment of Contracts and Leases that do not relate to the issue of whether

the Successful Bidder can provide adequate assurance of future performance must be filed by the

Sale Objection Deadline.

       18. In the event of a timely filed objection and dispute regarding: (a) any Cure Amount

with respect to any of the Contracts and Leases; (b) the ability of the Successful Bidder

(including the Stalking Horse Purchaser) to provide adequate assurance of future performance as

required by section 365 of the Bankruptcy Code, if applicable, under a Contract or Lease; or (c)

any other matter pertaining to assumption, the Cure Amount shall be paid as soon as reasonably

practicable after the Closing and following the entry of a final order resolving the dispute and

approving the assumption of such Contract of Lease; provided, however, that the Debtor is

authorized to settle any dispute regarding the amount of any Cure Amount or assignment to the

Successful Bidder (including the Stalking Horse Purchaser) without any further notice to or

action, order or approval of the Court.



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        19. Within five (5) business days after the Closing Date, the Debtor will file a complete

list of the Contracts and Leases that were assumed and assigned as Assigned Contracts, as of the

Closing Date, in connection with the sales of the Assets.

        20. The Auction and/or Sale Hearing may be continued by the Debtor from time to time,

for an aggregate period of up to five business (5) days without further notice to creditors or other

parties in interest other than by announcement of said continuance before the Court on the date

scheduled for the Sale Hearing.

        21. Except as otherwise provided in the Asset Purchase Agreement or this Bidding

Procedures Order, the Debtor’s rights are reserved, as they may reasonably determine to be in the

best interests of its estate, to: (a) determine which bidders are Qualified Bidders; (b) determine

which Bids are Qualified Bids; (c) determine which Qualified Bid is the highest and best

proposal and which is the next highest and best proposal; (d) reject any Bid that is (1) inadequate

or insufficient, (2) not in conformity with the requirements of the Bidding Procedures or the

requirements of the Bankruptcy Code or (3) contrary to the best interests of the Debtor and its

estate; (e) waive terms and conditions set forth herein with respect to all potential bidders; (f)

impose additional terms and conditions with respect to all potential bidders; (g) extend the

deadlines set forth herein; (h) continue or cancel the Auction and/or Sale Hearing in open court

without further notice; and (i) modify the Bidding Procedures or implement additional

procedural rules that are reasonable under the circumstances for conducting the Auction so long

as such rules are not inconsistent in any material respect with the Bidding Procedures or the

Asset Purchase Agreement. Notwithstanding the foregoing, the Stalking Horse Purchaser shall

be deemed a Qualified Bidder and shall be entitled to credit bid the Credit Bid Amount in the

Sale.



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         22. To the extent that any Chapter 11 plan confirmed in this case or any order confirming

any such plan or any other order in this case (including any order entered after any conversion of

this case to a case under Chapter 7 of the Bankruptcy Code) alters, conflicts with or derogates

from the provisions of this Bidding Procedures Order, the provisions of this Bidding Procedures

Order shall control, including, without limitation, provisions related to the payment of the Break-

Up Fee to the Stalking Horse Purchaser. The Debtor’s obligations under this Bidding Procedures

Order, the provision of this Bidding Procedures Order and the portions of the Asset Purchase

Agreement pertaining to the Bidding Procedures (including all obligations to pay the Expense

Reimbursement) shall survive confirmation of any plan of reorganization or discharge of claims

thereunder and shall be binding upon the Debtor, and the reorganized or reconstituted Debtor, as

the case may be, after the effective date of a confirmed plan in the Debtor’s case (including any

order entered after any conversion of this case to a case under Chapter 7 of the Bankruptcy

Code).

         23. Notwithstanding anything to the contrary contained herein, (1) any payment made, or

authorization contained, hereunder shall be subject to the requirements imposed on the Debtor

under any order approving debtor-in-possession financing (a “DIP Order”), and (2) any claim for

which payment is authorized pursuant to this Order that is treated as an administrative expense of

the Debtor’s estate shall be and is subject and subordinate to any and all claims, liens, security

interests, and priorities granted to the Lender (as defined in the DIP Order) in accordance with

and subject to the terms of the applicable DIP Order, and payment on any such claim shall be

subject to any and all restrictions on payments in the DIP Order and any other order of the Court.

         24. The stays provided for in Bankruptcy Rules 6004(h) and 6006(d) are hereby waived

and this Bidding Procedures Order shall be effective immediately upon its entry.



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       25. All time periods set forth in this Bidding Procedures Order shall be calculated in

accordance with Bankruptcy Rule 9006(a).

       26. The Debtor is authorized to take all actions necessary to effectuate the relief granted

pursuant to this Bidding Procedures Order in accordance with the motion.

       27. The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Bidding Procedures Order.


                                                ###

Submitted By:
Peter D. Russin, Esquire
Florida Bar No. 765902
prussin@melandrussin.com
MELAND RUSSIN & BUDWICK, P.A.
Attorneys for Debtor-in-Possession
3000 Southeast Financial Center
200 South Biscayne Boulevard
Miami, Florida 33131
Telephone:     (305) 358-6363
Telefax:       (305) 358-1221

Copies Furnished To:
Peter D. Russin, Esquire, is directed to serve copies of this Order on all parties in interest and to
file a Certificate of Service.




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                       EXHIBIT 1

                    Bidding Procedures
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                                                                         1
                                       BIDDING PROCEDURES

       By the Motion dated March [__], 2018, Miami International Medical Center, LLC d/b/a
The Miami Medical Center (the “Debtor”), sought approval of, among other things, the
procedures through which it will determine the highest or otherwise best price for the sale of
substantially all of its assets (the “Assets”) described in the Asset Purchase Agreement by and
among, Variety Children’s Hospital d/b/a Nicklaus Children’s Hospital, as purchaser (the
“Stalking Horse Purchaser”), and the Debtor, as seller, dated as of March [__], 2018 (the “Asset
Purchase Agreement”), a copy of which is attached as Exhibit C to the Motion.

       On [________], 2018 the United States Bankruptcy Court for the Southern District of
Florida (the “Bankruptcy Court”) entered an order (the “Bidding Procedures Order”), which,
among other things, authorized the Debtor to determine the highest or otherwise best price for
the Assets through the process and procedures set forth below (the “Bidding Procedures”).

                                             Marketing Process

        (a)      Contact Parties: The Debtor, in consultation with Bayshore, will develop a list of
                 parties (in addition to the Stalking Horse Purchaser) who the Debtor and Bayshore
                 believe may potentially be interested in consummating a competing transaction
                 for the Assets (any such transaction, an “Alternative Transaction”) and have the
                 financial ability to do so, which list includes both potential strategic investors and
                 potential financial investors (each, individually, a “Contact Party”, and
                 collectively, the “Contact Parties”). The Debtor and Bayshore will contact the
                 Contact Parties to explore their interest in pursuing an Alternative Transaction.
                 The Contact Parties may include parties whom the Debtor or its advisors have
                 previously contacted regarding a transaction, regardless of whether such parties
                 expressed any interest, at such time, in pursuing a transaction. The Debtor will
                 continue to discuss and may supplement the list of Contact Parties throughout the
                 marketing process, as appropriate.

        (b)      Information Package: The Debtor may distribute to each Contact Party an
                 “Information Package,” comprising:

                 (i)     A cover letter;

                 (ii)    A copy of these Bidding Procedures and the Motion;

                 (iii)   A copy of a confidentiality agreement; and

1   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion
    for approval of, among other things, these Bidding Procedures or in the Asset Purchase Agreement, as
    applicable.




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       (iv)    Such other materials as the Debtor and Bayshore deem appropriate under
               the circumstances including, but not limited to, preliminary “teaser”
               information.

(c)    Access to Diligence Materials: To receive access to due diligence information
       (the “Diligence Materials”), a party must submit to the Debtor an executed
       confidentiality agreement in the form and substance satisfactory to the Debtor and
       the Debtor shall have a reasonable basis to believe that the party has the financial
       capability to consummate an Alternative Transaction. A party who qualifies for
       access to Diligence Materials shall be a “Preliminary Interested Buyer.” All due
       diligence requests must be directed to Bayshore.

(d)    Due Diligence from Bidders: Each Preliminary Interested Buyer and Qualified
       Bidder (as defined below) shall comply with all reasonable requests for additional
       information and due diligence access by the Debtor or its advisors regarding such
       Bidder and its contemplated transaction. Failure by a Preliminary Interested
       Investor to comply with requests related to due diligence access will be a basis for
       the Debtor to determine that such bidder is not a Qualified Bidder. Failure by a
       Qualified Bidder (other than the Stalking Horse Purchaser) to comply with
       requests for additional information and due diligence access will be a basis for the
       Debtor to determine that a bid made by such Qualified Bidder is not a Qualified
       Bid.

                         Auction Qualification Process

(a)    To be eligible to participate in the Auction, each offer, solicitation or proposal
       (each, a “Bid”), and each party submitting such a Bid (each, a “Bidder”), must be
       determined by the Debtor to satisfy each of the conditions set forth below. A Bid
       will not be considered qualified for the Auction if such Bid does not satisfy each
       of the following conditions:

       (i)     Good Faith Deposit: Each Bid must be accompanied by a deposit in the
               amount of $1,500,000 to an non-interest-bearing escrow account to be
               identified and established by the Debtor (the “Good Faith Deposit”). The
               Stalking Horse Purchaser shall not be required to submit a Good Faith
               Deposit.

       (ii)    Bids for Portions of Debtor’s Assets: A Bid may offer to purchase all or
               substantially all of the Debtor’s Assets or only a portion of the Debtor’s
               Assets; provided that the Debtor determine, in its sole discretion, that the
               aggregate consideration offered by any Bid or combination of Bids for all
               or substantially all of the Debtor’s assets satisfies the “Minimum Bid”
               requirements set forth in clause (v) below.

       (iii)   Same or Better Terms: Each Bid must be on terms that, in the Debtor’s
               business judgment, are the same or better than the terms of the Asset
               Purchase Agreement.

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 (iv)    Executed Agreement: Each Bid must be based on the Asset Purchase
         Agreement and must include executed transaction documents, signed by
         an authorized representative of such Bidder, pursuant to which the Bidder
         proposes     to    effectuate    an    Alternative    Transaction    (the
         “Modified Purchase Agreement”). A Bid shall also include a copy of the
         Asset Purchase Agreement marked against the Modified Purchase
         Agreement to show all changes requested by the Bidder (including those
         related to purchase price and to remove all provisions that apply only to
         the Stalking Horse Purchaser).

 (v)     Minimum Bid: A Bid or any combination of Bids for all or substantially
         all of the Debtor’s Assets must propose a minimum purchase price equal
         to or greater than $[XX] in cash, which amount would equal the Credit
         Bid Amount of the Stalking Horse Purchaser and include an additional
         $150,000, plus any Assumed Liabilities, plus any adjustments required, if
         applicable, necessary to pay all transaction fees (including to the Debtor’s
         Investment Banker) to the extent the sale to an entity other than the
         Stalking Horse Purchaser produces insufficient cash to pay such
         transaction fees.

 (vi)    Designation of Assigned Contracts and Leases: A Bid must identify any
         and all executory contracts and unexpired leases of the Debtor that the
         Bidder wishes to have assumed and assigned to it at closing pursuant to an
         Alternative Transaction.

 (vii)   Assumption of Liabilities: A Bid must provide for the payment or
         assumption of at least all or substantially all of the Assumed Liabilities.

 (viii) Corporate Authority: A Bid must include written evidence reasonably
        acceptable to the Debtor demonstrating appropriate corporate
        authorization to consummate the proposed Alternative Transaction;
        provided that, if the Bidder is an entity specially formed for the purpose of
        effectuating the Alternative Transaction, then the Bidder must furnish
        written evidence reasonably acceptable to the Debtor of the approval of
        the Alternative Transaction by the equity holder(s) of such Bidder.

 (ix)    Proof of Ability to Perform: A Bid must include written evidence that the
         Debtor concludes in its sole discretion (in consultation with its advisors)
         demonstrates that the Bidder has the ability to close the Alternative
         Transaction and provide adequate assurance of future performance under
         all contracts to be assumed and assigned in such Alternative Transaction.
         Such information must include, inter alia, the following:




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                             a. contact names and numbers for verification of financing
                                sources;

                             b. evidence of the Bidder’s internal resources and proof of
                                unconditional debt or equity funding commitments to close the
                                Alternative Transaction;

                             c. evidence of the Bidder’s ability to satisfy regulatory and
                                licensing requirements;

                             d. the Bidder’s current financial statements (audited if they exist)
                                or other similar financial information reasonably acceptable to
                                the Debtor; and

                             e. any such other form of financial disclosure or credit-quality
                                support information or enhancement reasonably acceptable to
                                the Debtor demonstrating that such Bidder has the ability to
                                close the Alternative Transaction.

              (x)     Contingencies: Each Bid (a) may not contain representations and
                      warranties, covenants, or termination rights materially more onerous in the
                      aggregate to the Debtor than those set forth in the Asset Purchase
                      Agreement and (b) may not be conditioned on obtaining financing or any
                      internal approval, or on the outcome or review of due diligence, but may
                      be subject to the accuracy in all material respects of specified
                      representations and warranties at the Closing.

              (xi)    Irrevocable: Each Bid must be irrevocable through the Auction date,
                      provided that if such Bid is accepted as the Successful Bid or the Backup
                      Bid at the Auction, such Bid shall continue to remain irrevocable, subject
                      to the terms and conditions of the Bidding Procedures.

              (xii)   Bid Deadline: The following parties must receive a Bid in writing, on or
                      before [two business days before the Auction] at 4:00 p.m. (prevailing
                      Eastern Time) (the “Bid Deadline”): (a) the Debtor, 5959 NW 7 St,
                      Miami, FL 33126, Attn: Jeffrey Mason; (b) counsel for the Debtor,
                      Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200
                      South Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin,
                      Esq., and Daniel N. Gonzalez, Esq.; (c) counsel to the Stalking Horse
                      Purchaser, DLA Piper LLP (US), 200 South Biscayne Boulevard, Suite
                      2500, Miami, Florida 33131, Attn: Joshua Kaye, Esq., Thomas Califano,
                      Esq. and Rachel Nanes, Esq.; and (d) Bayshore Partners, LLC, 401 E. Las
                      Olas Blvd, Suite 2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders
                      and Steve Zuckerman.

       A Bid received from a Bidder before the Bid Deadline that meets the above
requirements for the applicable assets shall constitute a “Qualified Bid” for such assets, and
such Bidder shall constitute a “Qualified Bidder” for such assets. Notwithstanding anything
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herein to the contrary, the Asset Purchase Agreement submitted by the Stalking Horse Purchaser
shall be deemed a Qualified Bid, and the Stalking Horse Purchaser a Qualified Bidder. In
addition, the Stalking Horse Purchaser will receive a copy of any Bids submitted to the Debtor,
and the Debtor shall inform counsel to the Stalking Horse Purchaser whether the Debtor will
consider such Bids to be Qualified Bids no later than three (3) days prior to the Auction.

                                             Auction

        If one or more Qualified Bids for the Debtor’s assets (other than the Asset Purchase
Agreement submitted by the Stalking Horse Purchaser) are received by the Bid Deadline, the
Debtor will conduct an Auction to determine the highest and best Qualified Bid or combination
of Qualified Bids for any of the Debtor’s Assets. This determination shall take into account any
factors the Debtor reasonably deems relevant to the value of the Qualified Bid to the estate and
may include, among other things, the following: (a) the amount and nature of the consideration;
(b) the number, type, and nature of any changes to the Asset Purchase Agreement requested by
each Bidder; (c) the extent to which such modifications are likely to delay closing of the sale or
sales of the Debtor’s Assets and the cost to Debtor of such modifications or delay; (d) the total
consideration to be received by Debtor; (e) the likelihood of the Bidder’s ability to close a
transaction, obtain necessary regulatory and licensing approvals and the timing thereof; and
(f) the net benefit to the Debtor’s estate (collectively, the “Bid Assessment Criteria”). If no
Qualified Bid (other than the Asset Purchase Agreement) is received by the Bid Deadline, the
Debtor may determine not to conduct the Auction. Unless otherwise agreed to by the Stalking
Horse Purchaser in its sole discretion, only Qualified Bidders may participate in the Auction.

                                    Procedures for Auction

       The Auction shall take place on [________________] at 10:00 a.m. (prevailing Eastern
Time) at the offices of counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200 Southeast
Financial Center, 200 South Biscayne Boulevard, Miami, Florida 33131, or such other place and
time as the Debtor shall notify all Qualified Bidders, including, without limitation, the Stalking
Horse Purchaser, counsel for the Stalking Horse Purchaser and other invitees. The Auction shall
be conducted according to the following procedures:

       Only the Debtor, Bayshore, the Stalking Horse Purchaser, and any other Qualified
Bidder, in each case, along with their representatives and counsel, shall attend the Auction in
person, and only the Stalking Horse Purchaser and any other Qualified Bidders will be entitled to
make any Bids at the Auction.

       (b)     The Debtor Shall Conduct the Auction: The Debtor and its professionals shall
               direct and preside over the Auction. Other than as expressly set forth herein, the
               Debtor may conduct the Auction in the manner it determines will result in the
               highest, best, or otherwise financially superior offer for the Debtor’s Assets. At
               the start of the Auction, the Debtor shall describe the terms of the highest and best
               Qualified Bid or Qualified Bids received prior to the Bid Deadline (each such
               highest and best Qualified Bid, the “Auction Baseline Bid”). Each Qualified
               Bidder participating in the Auction must confirm that it (a) has not engaged in any


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 collusion with respect to the bidding or sale of any of the assets described herein
 and (b) has reviewed and understands and accepts the Bidding Procedures.

 (i)     Terms of Overbids: An “Overbid” is any bid made at the Auction
         subsequent to the Debtor’s announcement of the respective
         Auction Baseline Bid for such Auction. To submit an Overbid for
         purposes of this Auction, a Bidder must comply with the following
         conditions:

 (ii)    Minimum Overbid Increments: Any Overbid after and above the
         respective Auction Baseline Bid shall be made in increments valued at not
         less than $100,000. Additional consideration in excess of the amount set
         forth in the respective Auction Baseline Bid may include cash and/or
         noncash consideration.

 (iii)   Stalking Horse Purchaser May Credit Bid: The Stalking Horse Purchaser
         shall be permitted to bid at the Auction, if any, and shall be permitted to
         credit bid the Credit Bid Amount pursuant to any Overbid in connection
         with each round of bidding in the Auction.

 (iv)    Remaining Terms Are the Same as for Qualified Bids: Except as modified
         herein, an Overbid at the Auction must comply with the conditions for a
         Qualified Bid set forth above, provided, however, that the Bid Deadline
         shall not apply. Any Overbid must remain open and binding on the Bidder
         until and unless the Debtor accept a higher Overbid.

         At the Debtor’s discretion, to the extent not previously provided (which
         shall be determined by the Debtor), a Bidder submitting an Overbid at any
         Auction must submit, as part of its Overbid, written evidence (in the form
         of financial disclosure or credit-quality support information or
         enhancement reasonably acceptable to the Debtor) demonstrating such
         Bidder’s ability to close the Alternative Transaction proposed by such
         Overbid.

 (v)     Announcement of Overbids: The Debtor shall announce at the Auction
         the material terms of each Overbid.

 (vi)    Consideration of Overbids: The Debtor reserves the right, in its
         reasonable business judgment, to make one or more continuances of the
         Auction to, among other things: facilitate discussions between the Debtor
         and individual Bidders; allow individual Bidders to consider how they
         wish to proceed; and give Bidders the opportunity to provide the Debtor
         with such additional evidence as the Debtor in its reasonable business
         judgment may require, that the Bidder has sufficient internal resources, or
         has received sufficient non-contingent debt and/or equity funding
         commitments, to consummate the proposed Alternative Transaction at the
         prevailing Overbid amount.

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(c)    Backup Bidder: Notwithstanding anything in the Bidding Procedures to the
       contrary, if an Auction is conducted, the Bidder or Bidders with the next highest
       or otherwise best Bid or combination of Bids at the Auction, as determined by the
       Debtor, in the exercise of its business judgment, will be designated as the
       potential backup bidder (collectively, the “Potential Backup Bidder”). In the
       event that a Bidder or Bidders other than the Stalking Horse Purchaser are
       identified by the Debtor as the Potential Backup Bidder, such Bidder or Bidders
       shall be required to serve as the backup bidder or backup bidders (collectively, the
       “Backup Bidder”). Except for the Stalking Horse Purchaser, the Backup Bidder
       shall be required to keep its initial Bid or combination of Bids (or if the Backup
       Bidder submitted one or more Overbids at the Auction, the final respective
       Overbid) (the “Backup Bid”) open and irrevocable until the earlier of 5:00 p.m.
       (prevailing Eastern Time) on the date that is thirty (30) days after the date of the
       Auction (the “Outside Backup Date”) or the closing of the transaction with the
       Successful Bidder, which is later.

       Following the Sale Hearing, if the Successful Bidder fails to consummate an
       approved transaction, because of a breach or failure to perform on the part of such
       Successful Bidder, the Debtor may designate the Backup Bidder to be the new
       Successful Bidder, and the Debtor will be authorized, but not required, to
       consummate the transaction or transactions, with the Backup Bidder without
       further order of the Bankruptcy Court. In such case, the defaulting Successful
       Bidder’s deposit shall be forfeited to the Debtor, and the Debtor specifically
       reserves the right to seek all available damages from the defaulting Successful
       Bidder. The deposit of the Backup Bidder shall be held by the Debtor until the
       earlier of 72 hours after (i) the closing of the transaction or transactions with the
       Successful Bidder and (ii) the Outside Backup Date.

(d)    Additional Procedures: The Debtor may announce at the Auction additional
       procedural rules that are reasonable under the circumstances for conducting the
       Auction so long as such rules are not inconsistent in any material respect with the
       Bidding Procedures or the Asset Purchase Agreement.

(e)    Consent to Jurisdiction as Condition to Bidding: The Stalking Horse Purchaser,
       all Qualified Bidders, and all Bidders at the Auction shall be deemed to have
       consented to the core jurisdiction of the Bankruptcy Court to enter an order or
       orders, which shall be binding in all respects, in any way related to the Debtor,
       this chapter 11 case, the Bidding Procedures, the Asset Purchase Agreement, the
       Auction, or the construction and enforcement of any Alternative Transaction
       documents and waived any right to a jury trial in connection with any disputes
       relating to the Debtor, this Chapter 11 case, the Bidding Procedures, the Asset
       Purchase Agreement, the Auction, or the construction and enforcement of any
       Alternative Transaction documents.

(f)    Sale Is As Is/Where Is: The Assets of the Debtor sold pursuant to the Bidding
       Procedures, shall be conveyed at Closing in their then-present condition, “AS IS,
       WITH ALL FAULTS, AND WITHOUT ANY WARRANTIES

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               WHATSOEVER, EXPRESS OR IMPLIED,” as further detailed in the Asset
               Purchase Agreement.

       (g)     Closing the Auction: The Auction shall continue until there is only one Qualified
               Bid or combination of Qualified Bids for the Assets of the Debtor sold pursuant to
               the Bidding Procedures that the Debtor determines in its reasonable business
               judgment, after consultation with its financial and legal advisors, is the highest
               and best Qualified Bid at the Auction for the Assets. Thereafter, the Debtor shall
               select one Qualified Bid, which produces the highest and best recovery to the
               estate, as the overall highest and best Qualified Bid (the “Successful Bid,” and
               each Bidder submitting such Successful Bid, a “Successful Bidder”). In making
               this decision, the Debtor, in consultation with its financial and legal advisors,
               shall consider the Bid Assessment Criteria.

               The Auction shall close when the Successful Bidder for the Debtor’s Assets
               submits fully executed sale and transaction documents memorializing the terms of
               the Successful Bid.

               Promptly following the Debtor’s selection of the Successful Bid and the
               conclusion of the Auction, the Debtor shall announce the Successful Bid and
               Successful Bidder and shall file with the Bankruptcy Court notice of the
               Successful Bid and Successful Bidder.

                                  Return of Good Faith Deposit

        The Good Faith Deposits of all Qualified Bidders shall be held in one or more non-
interest-bearing escrow accounts by the Debtor, but shall not become property of the Debtor’s
estate absent further order of the Court. The Good Faith Deposit of any Qualified Bidder that is
neither a Successful Bidder nor a Backup Bidder shall be returned to such Qualified Bidder not
later than five (5) business days after the Sale Hearing. The Good Faith Deposit of the Backup
Bidder, if any, shall be returned to the respective Backup Bidder on the date that is the earlier of
72 hours after (a) the closing of the transaction with the Successful Bidder for the Assets and (b)
the Outside Backup Date. If a Successful Bidder timely closes its winning transaction, its Good
Faith Deposit shall be credited towards the purchase price.

                                      Reservation of Rights

         Except as otherwise provided in the Asset Purchase Agreement, the Bidding Procedures
or the Sale Order, the Debtor further reserves the right as it may reasonably determine to be in
the best interest of its estate, to: (a) determine which bidders are Qualified Bidders; (b)
determine which Bids are Qualified Bids; (c) determine which Qualified Bid is the highest and
best proposal and which is the next highest and best proposal; (d) reject any Bid that is (1)
inadequate or insufficient, (2) not in conformity with the requirements of the Bidding Procedures
or the requirements of the Bankruptcy Code or (3) contrary to the best interests of the Debtor and
its estate; (e) waive terms and conditions set forth herein with respect to all potential bidders; (f)
impose additional terms and conditions with respect to all potential bidders; (g) extend the
deadlines set forth herein; (h) continue or cancel the Auction and/or Sale Hearing in open court

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without further notice; and (i) modify the Bidding Procedures or implement additional
procedural rules that are reasonable under the circumstances for conducting the Auction so long
as such rules are not inconsistent in any material respect with the Bidding Procedures or the
Asset Purchase Agreement. Notwithstanding the foregoing, the Stalking Horse Purchaser shall
be a Qualified Bidder and shall be entitled to credit bid the Credit Bid Amount.

Dated [_______]

                                                   s/ Peter D. Russin
                                                   Peter D. Russin, Esquire
                                                   Fla. Bar No. 765902
                                                   prussin@melandrussin.com
                                                   Daniel N. Gonzalez, Esquire
                                                   Fla. Bar No. 592749
                                                   dgonzalez@melandrussin.com
                                                   MELAND RUSSIN & BUDWICK, P.A.
                                                   3200 Southeast Financial Center
                                                   200 South Biscayne Boulevard
                                                   Miami, Florida 33131
                                                   Telephone: (305) 358-6363
                                                   Facsimile: (305) 358-1221
                                                   Counsel for Debtor in Possession




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                       EXHIBIT 2

                       Cure Notice
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division
                                      www.flsb.uscourts.gov

In re:

MIAMI INTERNATIONAL MEDICAL CENTER, LLC 1                                      Case No. 18--12741-LMI
d/b/a THE MIAMI MEDICAL CENTER,                                                Chapter 11

         Debtor.
                                                                    /

             NOTICE TO COUNTERPARTIES TO POTENTIALLY ASSUMED
               EXECUTORY CONTRACTS AND UNEXPIRED LEASES2

        PLEASE TAKE NOTICE that on March [___], 2018, Miami International Medical
Center, LLC d/b/a The Miami Medical Center (the “Debtor”), filed a motion [ECF No. [XX]]
(the “Sale Motion”) with the United States Bankruptcy Court for the Southern District of Florida
(the “Bankruptcy Court”) which seeks approval of key dates, times and procedures related to the
sale of substantially all of the Debtor’s Assets (the “Assets”) to Variety Children’s Hospital d/b/a
Nicklaus Children’s Hospital (the “Stalking Horse Purchaser”) contemplated by the Asset
Purchase Agreement. On [______], 2018, the Bankruptcy Court approved the Bidding
Procedures. On [________], 2018, the Debtor intends to seek approval of, among other things,
the sale of the Assets, including the assumption and assignment of certain executory contracts
and unexpired leases. To the extent that there are any inconsistencies between the
Bidding Procedures and the summary description of the terms and conditions contained in this
Notice, the terms of the Bidding Procedures shall control.

     YOU ARE RECEIVING THIS NOTICE BECAUSE YOU OR ONE OF YOUR
AFFILIATES IS A COUNTERPARTY TO AN EXECUTORY CONTRACT OR
UNEXPIRED LEASE WITH THE DEBTOR AS SET FORTH ON EXHIBIT A
                 3
ATTACHED HERETO.

       PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures, the
Debtor may assume and assign to the Stalking Horse Purchaser the executory contract(s) or
unexpired lease(s) listed on Exhibit A attached hereto (each, an “Assigned Contract”) to which
you are a counterparty. The Debtor has conducted a review of its books and records and has
determined that the cure amount for unpaid monetary obligations under such Assigned Contract

1   The Debtor’s current mailing address is 5959 NW 7 St, Miami, FL 33126 and its EIN ends 4362.

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
    Procedures or the Bidding Procedures Order, as applicable.

3   This Notice is being sent to counterparties to Executory Contracts and Unexpired Leases. This Notice is not an
    admission by the Debtor that such contract or lease is executory or unexpired.




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is as set forth on Exhibit A attached hereto (the “Cure Amount”). If you disagree with the
proposed Cure Amount, object to the proposed assignment to the Stalking Horse
Purchaser of the Assigned Contract(s) or object to the Stalking Horse Purchaser’s ability
to provide adequate assurance of future performance with respect to any Assigned
Contracts, you must file an objection with the Bankruptcy Court no later than 4:00 p.m.
(prevailing Eastern Time) on [______________](the “Objection Deadline”) and serve such
objection upon: (a) the Debtor, 5959 NW 7 St, Miami, FL 33126, Attn: Jeffrey Mason; (b)
counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200
South Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and Daniel N.
Gonzalez, Esq.; (c) counsel to the Stalking Horse Purchaser, Joshua Kaye, Esq., Thomas
Califano, Esq., and Rachel Nanes, Esq., DLA Piper LLP (US), 200 South Biscayne Boulevard,
Suite 2500, Miami, Florida 33131; and (d) Bayshore Partners, LLC, 401 E. Las Olas Blvd, Suite
2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman.

        PLEASE TAKE FURTHER NOTICE that the Debtor proposes that if no objection to
(a) the Cure Amount(s), (b) the proposed assignment of the Assigned Contract(s) to the Stalking
Horse Purchaser or (c) adequate assurance of the Stalking Horse Purchaser’s ability to perform is
filed by Objection Deadline, (1) you will be deemed to have stipulated that the Cure Amount(s)
as determined by the Debtor is correct, (2) you shall be forever barred, stopped, and enjoined
from asserting any additional cure amount under the Assigned Contract(s) and (3) you will be
forever barred from objecting to the assignment of the Assigned Contract(s) to the Stalking
Horse Purchaser.

       PLEASE TAKE FURTHER NOTICE that, promptly following the Debtor’s selection
of the Successful Bid and the conclusion of the Auction, the Debtor shall file with the
Bankruptcy Court notice of the Successful Bid and Successful Bidder. In the event the Stalking
Horse Purchaser is not the Successful Bidder at the Auction, any counterparty to an Assigned
Contract shall have the right to object to the Successful Bidder’s ability to perform on or before
the Sale Hearing scheduled for [___________] at [_____] (prevailing Eastern Time). To the
extent such counterparty does not object in accordance herewith, the Bankruptcy Court may
enter an order forever barring such counterparty to an Assigned Contract from objecting to the
adequate assurance of the Successful Bidder’s ability to perform.

        PLEASE TAKE FURTHER NOTICE that with respect to any Assigned Contract
assumed and assigned to the Successful Bidder (including the Stalking Horse Purchaser), no
assumption and assignment or rejection shall be effective until the filing of a Notice of Closing
and Contract Treatment, which shall be filed within two (2) days after Closing. In addition, the
assumption of each such Assigned Contract may be conditioned upon the disposition of all issues
with respect to such Assigned Contract.

        PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures, with
respect to any Assigned Contract, in the event of a dispute regarding: (a) the amount of any Cure
Amount; (b) the ability of the Successful Bidder (including the Stalking Horse Purchaser) to
provide “adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code), if applicable, under such Assigned Contract; or (c) any other matter
pertaining to assumption, the Cure Amounts shall be paid as soon as reasonably practicable after
the Closing and following the entry of a final order resolving the dispute and approving the
assumption of such Assigned Contract; provided, however, that the Debtor may settle any
dispute regarding the amount of any Cure Amount or assignment to the Successful Bidder

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(including the Stalking Horse Purchaser) without any further notice to or action, order or
approval of the Bankruptcy Court.

        PLEASE THAT FURTHER NOTICE THAT notwithstanding anything herein, this
Notice shall not be deemed to be an assumption, adoption, rejection or termination of the
Assigned Contracts. Moreover, the Debtor explicitly reserves its rights, in its sole discretion, to
reject or assume each Assigned Contract pursuant to section 365(a) of the Bankruptcy Code and
nothing herein (a) alters in any way the prepetition nature of the Assigned Contracts or the
validity, priority or amount of any claims of a counterparty to an Assigned Contract against the
Debtor that may arise under such Assigned Contract, (b) creates a postpetition contract or
agreement, or (c) elevates to administrative expense priority any claims of an counterparty to an
Assigned Contract against the Debtor that may arise under such Assigned Contract.


Dated [_______]

                                                     s/ Peter D. Russin
                                                     Peter D. Russin, Esquire
                                                     Fla. Bar No. 765902
                                                     prussin@melandrussin.com
                                                     Daniel N. Gonzalez, Esquire
                                                     Fla. Bar No. 592749
                                                     dgonzalez@melandrussin.com
                                                     MELAND RUSSIN & BUDWICK, P.A.
                                                     3200 Southeast Financial Center
                                                     200 South Biscayne Boulevard
                                                     Miami, Florida 33131
                                                     Telephone: (305) 358-6363
                                                     Facsimile: (305) 358-1221
                                                     Counsel for Debtor in Possession




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                                     EXHIBIT A

[Counterparty Name]         [Contract/Lease]                        Cure Amount
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                       EXHIBIT 3

                       Sale Notice
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division
                                      www.flsb.uscourts.gov

In re:

MIAMI INTERNATIONAL MEDICAL CENTER, LLC1                                       Case No. 18-12741-LMI
d/b/a THE MIAMI MEDICAL CENTER,                                                Chapter 11

         Debtor.
                                                                    /

                          NOTICE OF AUCTION AND SALE HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.      On March [__], 2018, Miami International Medical Center, LLC d/b/a The Miami
                 Medical Center (the “Debtor”), filed a motion for entry of an order (the “Bidding
                 Procedures Order”), among other things, (a) approving Bidding Procedures2 for
                 the sale of substantially all of the assets owned by the Debtor (the “Assets”), as
                 described in the Asset Purchase Agreement by and between Variety Children’s
                 Hospital d/b/a Nicklaus Children’s Hospital (the “Stalking Horse Purchaser”) and
                 the Debtor, dated as of [_______], 2018 (the “Asset Purchase Agreement”);
                 (b) approving the Asset Purchase Agreement and payments thereunder;
                 (c) approving the form and manner of notice of the Auction on the Assets and the
                 Sale Hearing; (d) approving procedures relating to the assumption and assignment
                 of contracts and leases; and (e) scheduling a sale hearing (the “Sale Hearing”) to
                 consider the sale of the Assets and setting objection and bidding deadlines with
                 respect to the Sale. The motion additionally requests entry of an order (the “Sale
                 Order”) approving (1) the sale of the Assets free and clear of liens, claims,
                 encumbrances and interests contemplated by the Asset Purchase Agreement; (2)
                 assumption and assignment of certain executory contracts and unexpired leases;
                 and (3) certain related relief.

         2.      On April [______], 2018, the United States Bankruptcy Court for the Southern
                 District of Florida entered the Bidding Procedures Order [ECF No. ___].
                 Pursuant to the Bidding Procedures Order, the Auction for the Assets shall take
                 place on [________], 2018 at 10:00 a.m. (prevailing Eastern Time) at the
                 offices of counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200
                 Southeast Financial Center, 200 South Biscayne Boulevard, Miami, Florida
                 33131, or such other place and time as the Debtor shall notify all Qualified

1   The Debtor’s current mailing address is 5959 NW 7 St, Miami, FL 33126 and its EIN ends 4362.

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the motion.




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      Bidders, including, without limitation, the Stalking Horse Purchaser. Only parties
      that have submitted a Qualified Bid in accordance with the Bidding Procedures,
      attached to the Bidding Procedures Order as Exhibit 1, by no later than [_____],
      2018 at 4:00 p.m. (Eastern Time) (the “Bid Deadline”) may participate at the
      Auction. Any party that wishes to take part in this process and submit a bid for
      the Assets must submit a competing bid prior to the Bid Deadline and in
      accordance with the Bidding Procedures. Parties interested in receiving
      information regarding the sale of the Assets should contact the Debtor’s
      investment bankers, Bayshore Partners, LLC, 401 E. Las Olas Blvd, Suite 2360,
      Fort Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman,
      telephone (954) 358-3800 x302 for Scott Saunders and x308 for Steve
      Zuckerman,      and     email    addresses      ssaunders@farlieturner.com    and
      szuckerman@farlieturner.com.

3.    The Sale Hearing to consider approval of the Sale of the Assets to the Stalking
      Horse Purchaser or to a Successful Bidder (as defined in the Bidding Procedures)
      free and clear of all liens, claims and encumbrances will be held before the
      Honorable [_____], United States Bankruptcy Judge, [__________________],
      Courtroom No. [___] Miami, Florida 33131 on [____________], 2018 at [_____]
      (prevailing Eastern Time), [or at such earlier date as counsel may be heard].
      The Sale Hearing may be continued from time to time without further notice to
      creditors or parties in interest other than by announcement of the continuance in
      open court on the date scheduled for the Sale Hearing.

4.    Objections, if any, to the sale of the Assets contemplated by the Asset Purchase
      Agreement, or the relief requested in the motion (including with respect to Cure
      Amounts and adequate assurance) must: (a) be in writing; (b) comply with the
      Bankruptcy Rules and the Local Rules; (c) be filed with the clerk of the
      Bankruptcy Court for the Southern District of Florida, [___________________],
      Miami, Florida 33131 (or filed electronically via CM/ECF), on or before 4:00
      p.m. (prevailing Eastern Time) on [__________], 2018, or such earlier date and
      time as the Debtor may agree and (d) be served, so as to be received no later than
      4:00 p.m. (prevailing Eastern Time) on the same day, upon: (a) the Debtor, 5959
      NW 7 St, Miami, FL 33126, Attn: Jeffrey Mason; (b) counsel for the Debtor,
      Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200 South
      Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and
      Daniel N. Gonzalez, Esq.; (c) counsel to the Stalking Horse Purchaser, Joshua
      Kaye, Esq., Thomas Califano, Esq. and Rachel Nanes, Esq., DLA Piper LLP
      (US), 2500 Southeast Financial Center, 200 South Biscayne Boulevard, Miami,
      Florida 33131; and (d) Bayshore Partners, LLC, 401 E. Las Olas Blvd, Suite
      2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman.

5.    In the event that the Stalking Horse Purchaser is not the Successful Bidder at the
      Auction, the non-Debtor party to any Assigned Contract(s) will have until the
      Sale Hearing to object to the Successful Bidder’s ability to perform under such
      Assigned Contract(s).

6.    This Notice and the Sale Hearing are subject to the fuller terms and conditions of
      the motion, the Bidding Procedures Order and the Bidding Procedures, which


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             shall control in the event of any conflict and the Debtor encourages parties in
             interest to review such documents in their entirety. Copies of the motion, the
             Asset Purchase Agreement, the Bidding Procedures, and/or the Bidding
             Procedures Order may be obtained by written request to counsel to the Debtor,
             Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200 South
             Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and
             Daniel N. Gonzalez, Esq. In addition, copies of the aforementioned pleadings
             may be found on the Pacer website, http://ecf.flsb.uscourts.gov.

Dated [_______]

                                                s/ Peter D. Russin
                                                Peter D. Russin, Esquire
                                                Fla. Bar No. 765902
                                                prussin@melandrussin.com
                                                Daniel N. Gonzalez, Esquire
                                                Fla. Bar No. 592749
                                                dgonzalez@melandrussin.com
                                                MELAND RUSSIN & BUDWICK, P.A.
                                                3200 Southeast Financial Center
                                                200 South Biscayne Boulevard
                                                Miami, Florida 33131
                                                Telephone: (305) 358-6363
                                                Facsimile: (305) 358-1221
                                                Counsel for Debtor in Possession




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                       EXHIBIT B

                       Sale Order

                     [To Be Provided]
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                       EXHIBIT C

                Asset Purchase Agreement
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Exhibit C


                      ASSET PURCHASE AND SALE AGREEMENT

       THIS ASSET PURCHASE AND SALE AGREEMENT (this “Agreement”) is made and
entered into as of March [__], 2018 (the “Effective Date”), between Miami International
Medical Center, LLC, a Florida limited liability company (“Seller”) and Variety Children’s
Hospital d/b/a Nicklaus Children’s Hospital, a Florida not-for-profit corporation, or its assigns
(“Variety”).

                                          RECITALS

       A.      Prior to the Petition Date (as defined below), Seller operated a hospital licensed
under Chapter 395, Part I and Chapter 408, Part II, of the Florida Statutes, located at 5959 NW
7th Street, Miami, Florida 33126-3129 (the “Facility”), and owns the “Assets” as described
below plus the continuing business operations in the Facility (collectively, the “Business”).

       B.      On August 4, 2015, Seller entered into that certain Loan Agreement, by and
between Seller and MidFirst Bank, a federally charted savings association (“MidFirst”), as
amended on January 29, 2016, June 24, 2016 and August 4, 2017 (collectively, the “Loan
Agreement”), and in connection therewith, Seller signed that certain Amended and Restated
Promissory Note (Revolver) dated August 4, 2017 in the original principal face amount of
$17,600,000.00, and a certain Amended and Restated Promissory Note (Term) dated January 29,
2016 in the principal face amount of $28,800,000.00 (the “Term Note”).

        C.     Pursuant to that certain Assignment for Note Purchase and Partial Assignment of
Security Agreement dated as of January 24, 2018, by and between Variety and MidFirst,
MidFirst assigned to Variety all of its right, title and interest to the Term Note as well as that
portion of that certain Security Agreement (Assets) dated August 4, 2015 (the “MidFirst UCC
Assignment”) signed by Seller in favor of MidFirst which covers all of Seller’s equipment,
medical equipment, computer equipment, computer hardware, computer software, computer
software licenses, medical supplies, furniture and hospital beds and all proceeds and products
thereof described in that certain UCC-1 Financing Statement No. 201504643818 filed with the
Florida Secured Transaction Registry, including, without limitation, those items owned by Seller
as more particularly described on Exhibit “A” thereto (the “Equipment”).

       D.    Accordingly, as of the Petition Date, Seller owes Variety not less than
$26,273,693.19 under the Term Note (together with accrued interest, costs, expenses and fees,
the “Term Note Balance”) and Variety holds a first priority security interest in the Equipment.

       E.     On March 9, 2018 (the “Petition Date”), Seller filed a voluntary petition for relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United
States Bankruptcy Court for the Southern District of Florida (the “Bankruptcy Court”), thereby
commencing a chapter 11 case (Case No. 18-12741-LMI) (the “Bankruptcy Case”).

       F.      Pursuant to that certain Order Granting Debtor’s Motion for Entry of Interim and
Final Orders (A) Authorizing Debtor in Possession to Obtain Post-Petition Financing Pursuant
to 11 U.S.C. § 364(c) and (d) and Fed. R. Bankr. P. 4001(c); and (B) Scheduling Final Hearing
entered by the Bankruptcy Court [ECF No. __], Variety has agreed to provide Seller with debtor-
in-possession financing up to the amount of $3,372,781.00 (the “DIP Loan”).


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       G.      Subject to the terms and conditions of this Agreement, the Bidding Procedures
Order and the Sale Order (as defined below), Seller desires to sell, assign and transfer, and
Variety or its designated affiliate (the “Buyer”) desires to purchase and acquire, the Assets (as
defined below) of the Seller (the “Sale”).

        H.      Variety believes that Buyer’s acquisition of the Assets is in furtherance of Buyer’s
not-for-profit purposes and mission.

       I.     If deemed necessary by Buyer, Seller agrees to enter into such agreements
including, without limitation an Operations Transfer Agreement and Interim Management
Agreement, to facilitate the transactions contemplated herein.

      NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and
agreements hereinafter contained, the parties agree as follows:

                                     TERMS AND CONDITIONS

ARTICLE 1. PURCHASE AND SALE OF ASSETS

        1.1    Purchase and Sale. Subject to the terms and conditions of this Agreement, Seller
agrees to sell, convey, transfer, assign and deliver to Buyer free of all liens, interests,
encumbrances, leases, security interests, restrictions, pledges, claims, causes of action, liabilities,
obligations, options, contractual commitments, rights of first refusal, successor liabilities, rights
of offset and recoupment and defenses (collectively, the “Claims and Encumbrances”), and
Buyer agrees to purchase from Seller, all of Seller’s right, title and interest in and to substantially
all of the assets of Seller used primarily in connection with the operation of the Business,
including, without limitation, the following assets of Seller as such assets shall exist on the
Closing Date (as defined below), all of which are referred to herein collectively as the “Assets”
(but excluding Excluded Assets (as defined below)):

               (i)    all tangible personal property used or held for use in the Business,
including, without limitation, the furniture, equipment, and inventory located at the Facility and
otherwise set forth on Schedule 1.1(i);

                 (ii)   the Equipment set out on Schedule 1.1(ii);1

                 (iii) to the extent assignable or transferable, all non-residential real property and
personal property leases with respect to the operation of the Business as set out on Schedule
1.1(iii) to be identified by the Buyer;

               (iv) to the extent assignable or transferable, that certain hospital license issued
to Seller by the State of Florida, Agency for Health Care Administration (“AHCA”), under
license number 4008 (the “License”), and any other general intangibles identified by Buyer
related to the ownership, possession, lease or use of the Assets of the Business, including,
without limitation, lien waivers, surety agreements, bonds, warranties, guaranties, utility use

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  The Equipment listed on Schedule 1.1(ii) is a copy of Exhibit “A” to the MidFirst UCC Assignment, which may
include items already listed on Schedule 1.1(i).


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agreements, covenants, commitments, licenses, permits, certificates, regulatory approvals,
entitlements, service marks, intellectual property, trademarks, and trade names owned or
employed by Seller in conjunction with the operation of the Business (the “Intangible Property”)
as set out on Schedule 1.1(iv); and

               (v) to the extent permitted under applicable law, all of Seller’s claims,
lawsuits, and avoidance actions, including, without limitation, under 11 U.S.C. § 550 against
Buyer and its affiliates.

provided, however, that the Assets shall not include the “Excluded Assets,” as defined in Section
1.2 below.

        1.2      Excluded Assets. Notwithstanding anything to the contrary in Section 1.1, Seller
shall retain all of the following assets owned directly or indirectly by it, and such assets below
shall not be included in the Assets to be transferred to Buyer (collectively, the “Excluded
Assets”):

               (i)     cash, cash equivalents and short-term investments;

               (ii) all accounts receivable and proceeds therefrom for services provided prior
to the Closing Date;

               (iii)   all items listed in Schedule 1.2(iii);

                (iv) all claims, lawsuits, and avoidance actions under 11 U.S.C. § 550, except
those claims, lawsuits and avoidance actions against Buyer and its affiliates; and

               (v)     any applicable state and/or federal tax refunds.

      1.3  Liabilities Excluded. THIS AGREEMENT EXCLUDES, AND BUYER DOES
NOT ASSUME, ANY LIABILITIES OF SELLER NOT EXPRESSLY ASSUMED BY BUYER
IN WRITING IN THIS AGREEMENT OR IN ANY OTHER AGREEMENT
CONTEMPLATED HEREBY INCLUDING, BUT NOT LIMITED TO THE FOLLOWING
(COLLECTIVELY, THE “EXCLUDED LIABILITIES”): ALL OF SELLER’S ACCOUNTS
PAYABLE SPECIFICALLY NOT ASSUMED BY BUYER AND ALL OBLIGATIONS
ARISING OUT OF OR RELATED TO THE OPERATION OF THE BUSINESS PRIOR TO
THE EFFECTIVE TIME (AS DEFINED IN SECTION 1.6), INCLUDING COSTS,
EXPENSES AND OTHER LIABILITIES AND OBLIGATIONS ARISING FROM THE
OPERATION OF THE BUSINESS; LIABILITY FOR TORT CLAIMS; LIABILITY FOR
OVERPAYMENTS AND ANY FRAUD UNDER MEDICARE, MEDICAID OR ANY THIRD-
PARTY PAYOR AGREEMENT; ANY OBLIGATIONS UNDER ANY COLLECTIVE
BARGAINING AGREEMENT, EMPLOYMENT AGREEMENT, PENSION OR
RETIREMENT PLAN, PROFIT-SHARING PLAN, STOCK PURCHASE OR STOCK
OPTION PLAN, MEDICAL OR OTHER BENEFITS OR INSURANCE PLAN,
COMPENSATION OR BONUS AGREEMENT, VACATION OR SEVERANCE PAY PLAN
OR AGREEMENT AND ANY OTHER EMPLOYEE BENEFIT PLAN. ANY AND ALL
ACCOUNTS PAYABLE OR OTHER OBLIGATIONS ACCRUING TO AND EXISTING AS
OF THE EFFECTIVE TIME ARE AND SHALL REMAIN THE SOLE OBLIGATION AND


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RESPONSIBILITY OF SELLER EXCEPT AS EXPRESSLY ASSUMED BY BUYER IN
WRITING. WITHOUT IN ANY MANNER LIMITING THE GENERALITY OF THE
FOREGOING, THIS AGREEMENT SPECIFICALLY EXCLUDES, AND BUYER DOES
NOT ASSUME, ANY LIABILITY WHATSOEVER WITH RESPECT TO (A) ANY DEBT OF
SELLER, INCLUDING BUT NOT LIMITED TO ANY MORTGAGE DEBT OR OTHER
SECURED DEBT, OR ANY UNSECURED DEBT OF ANY TYPE OR CHARACTER, AND
(B) ANY DEBTOR-IN-POSSESSION FINANCING PROVIDED TO SELLER BY ANY
LENDER.

NOTWITHSTANDING THE FOREGOING, AT CLOSING, BUYER SHALL ASSUME OR
SHALL OTHERWISE BE RESPONSIBLE FOR ALL AMOUNTS PAYABLE AS CURE
AMOUNTS PURSUANT TO 11 U.S.C. § 365 (THE “ASSUMPTION CURE AMOUNTS”) BY
SELLER TO CONTRACTUAL COUNTERPARTIES UNDER ANY CONTRACTS
SPECIFICALLY SCHEDULED AND ASSUMED BY BUYER (THE “ASSUMED
CONTRACTS”).

       1.4     Liabilities Assumed. Buyer assumes liability for all (i) Assumption Cure
Amounts and (ii) any obligations arising on or after the Effective Time under any Assumed
Contracts (collectively, the “Assumed Liabilities”).

        1.5    AHCA License Approval Expenditures. Notwithstanding any other provision in
this Agreement, the parties recognize that effectuating the transfer of the Business will require
the transfer of the License. The transfer of the License will require approval of
AHCA. AHCA’s approval may require the payment of any outstanding balance owed to AHCA
related to the License and licensed operation of the Facility, including fines, penalties, and
assessments (including assessments for support of the Medicaid program) (collectively, the
“AHCA Payments”). To the best of Seller’s chief administrative officer’s (the “CAO”)
knowledge, Seller represents and warrants that a true and complete description of the nature and
amount of the AHCA Payments is set forth in Schedule 1.5. Buyer agrees to be solely
responsible for payment of said outstanding amounts and balances to AHCA as part of this
Agreement. Seller shall cooperate fully with Buyer in providing any information or records as
necessary to develop the applications and obtain AHCA’s approval of the transfer of the License.

        1.6     The Closing. The transaction contemplated hereby shall close (referred to herein
interchangeably as the “Closing,” the “Closing Date” or by similar words or phrases) within five
(5) business days of all of the conditions to Closing set forth in Articles 7 and 8 having been
satisfied or waived, or (ii) such other date agreed to in writing by Buyer and Seller. The Closing
shall be deemed to have occurred and to be effective as between the parties as of the Effective
Time. For purposes of this Agreement, the term “Effective Time” shall mean 12:01 A.M.
Eastern Time on the day after the Closing Date.

       1.7     Purchase Price.

               (i)   The aggregate purchase price (the “Purchase Price”) for the Assets shall be
as follows: (a) a credit bid by Buyer in the amount of the Term Note Balance plus the total
amount of the DIP Loan (collectively, the “Credit Bid Amount”); and (b) assumption of the




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Assumed Liabilities. The Purchase Price shall be allocated in accordance with Section 1.8
below.

               (ii) At the Closing, Buyer shall pay to Seller an amount equal to the Purchase
Price less the Credit Bid Amount, with any cash portion of such Purchase Price payable in
immediately available funds by wire transfer to Seller’s account pursuant to instructions to be
delivered to Buyer in advance of the Closing or as the Sale Order may otherwise direct.

        1.8     Allocation of Purchase Price. Within sixty (60) days after the Closing Date,
Buyer shall deliver to Seller a statement (the “Allocation Statement”) allocating, for tax
purposes, the Purchase Price among the Assets in accordance with Section 1060 of the Internal
Revenue Code and the Treasury Regulations promulgated thereunder. The parties to this
Agreement hereby agree to (i) be bound by the Allocation Statement, (ii) act in accordance with
the Allocation Statement in connection with the preparation, filing and audit of any Tax Return
(including, without limitation, in the filing of IRS Form 8594 and any other corresponding tax
forms), and (iii) take no position inconsistent with the Allocation Statement for any tax purpose
(including, without limitation, in any audit, judicial or administrative proceeding), provided,
however, that the Seller reserves the right to assert any reasonable good faith objection to the
accuracy, legality, validity or propriety of the Allocation Statement.

ARTICLE 2. BANKRUPTCY COURT.

        2.1    Seller is currently a debtor in possession in the Bankruptcy Case. In connection
with the transactions contemplated by this Agreement, the Seller shall file a motion with the
Bankruptcy Court on or about March 29, 2018, seeking, among other things, an order approving
the bidding procedures for the sale of the Assets (the “Bid Procedures”) and an order authorizing
the sale of substantially all of the Seller’s Assets free and clear of all Claims and Encumbrances
pursuant to the Sale Order (as defined below) (the “Bid Procedures Motion”), and shall use
reasonable efforts to cause the Bankruptcy Court to enter the associated bidding procedures order
on or before April 23, 2018 (the “Bid Procedures Order Deadline”) substantially in the form
attached hereto as Exhibit 2.1 (the “Bid Procedures Order”).

       2.2     The Seller shall provide notice to all required parties of the Bid Procedures
Motion, Bid Procedures and Sale, and shall use reasonable best efforts to cause the Bankruptcy
Court to enter an order approving the sale of the Assets, and assumption and assignment of
contracts and leases, consistent with this Agreement (the “Sale Order”), on or before June 22,
2018 and seek affirmation of the Sale Order in the event it is challenged or appealed.

        2.3     In connection with the Sale, the Seller shall include in its pleadings relief to
assume and assign all executory contracts and unexpired leases related to the Assets and the
Business, or, in the event that Buyer chooses not to take assignment of a contract or lease, to
reject such contract or lease. Buyer shall have the right until the later of Closing or
determination of cure amounts, in its sole and absolute discretion (including without limitation
because a cure amount is determined to be greater than anticipated), to determine whether such
contracts and leases are to be assumed and assigned; any such contracts and leases not assumed
and assigned to Buyer shall be rejected by the Seller. No assumption and assignment or rejection
shall be effective until the filing of a Notice of Closing and Contract Treatment (the “Closing


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Notice”), which shall be filed within two (2) days after Closing. At Buyer’s reasonable request,
Seller shall also file and serve any updates to the contract schedules which may be made prior to
the filing of the Closing Notice. Assumption and assignment of the Assumed Contracts shall
include any ancillary or related agreements, or rights appurtenant thereto, pursuant to which the
Seller has rights or licenses granted in connection with or under the Assumed Contracts, so long
as such ancillary or related agreements do not create additional obligations of Seller or Buyer
beyond those set out in the Assumed Contracts (unless Buyer subsequently agrees to such
obligations) or as set forth herein.

ARTICLE 3. REPRESENTATIONS AND WARRANTIES OF SELLER

Seller represents and warrants to Buyer that, as of the Effective Date, Closing Date and Effective
Time:

        3.1    Organization and Standing. Seller is a corporation duly organized and validly
existing under the Laws of the state of its incorporation. Seller is duly qualified to do business,
and is in good standing, in each jurisdiction in which the character or location of the property
owned, leased or operated or the nature of the business conducted makes such qualification
necessary.

        3.2      Capacity; Authority. Subject to the approval of the Bankruptcy Court, Seller has
full power, legal capacity and authority to execute and deliver this Agreement and the ancillary
agreements to be entered into herewith, to consummate the transactions contemplated hereby and
thereby, to perform its obligations under this Agreement and the ancillary agreements to be
entered into herewith and to own, lease and operate its properties and assets. Subject to the entry
of the Sale Order, the execution and delivery by Seller of this Agreement and the ancillary
agreements to be entered into herewith and the consummation by Seller of the transactions
contemplated hereby and thereby have been duly authorized by all necessary organizational
action on the part of Seller. This Agreement and the ancillary agreements to be entered into
herewith have been duly executed and delivered by Seller and, assuming the execution and
delivery by Buyer and the entry of the Sale Order, constitute valid and binding obligations of
Seller, enforceable against Seller in accordance with their respective terms, except the
availability of the remedy of specific performance or injunctive or other forms of equitable relief
may be subject to equitable defenses and would be subject to the discretion of the court before
which any proceedings therefor may be brought.

       3.3     No Violation; Consents. To the best of Seller’s CAO’s knowledge, neither the
execution and delivery by Seller of this Agreement and the ancillary agreements to be entered
into herewith nor the consummation of the transactions contemplated hereby or thereby nor
compliance with any of the provisions hereof or thereof by Seller will (i) conflict with or result
in any breach of any provision of the organizational documents of Seller, (ii) violate any
applicable law, statute, ordinance, regulation, rule, code or rule of common law or otherwise of,
or any order, judgment, injunction or decree issued, promulgated, enforced or entered by, any
Governmental Authority (as defined below) (“Laws”), (iii) except for licensing approvals from
AHCA, require any consent, approval, authorization or permit of, or filing with or notification to,
any Governmental Authority or other natural person, corporation, association, partnership, joint
venture or other entity (each, a “Person”) which has not otherwise been obtained or made, or (iv)


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result in the creation or imposition of any Claims and Encumbrances upon the Assets, except as
are excused by or unenforceable as a result of the filing of the Bankruptcy Case or the
applicability of any provision of, or any Law under, the Bankruptcy Code.

        3.4    Seller’s Broker. Other than Bayshore Partners, LLC (“Bayshore”), Seller has not
engaged any finder or broker in connection with the transactions contemplated hereby. Other
than with respect to the Transaction Fee to be paid to Bayshore (as described below), Seller
agrees to indemnify, defend and hold Buyer harmless from and against any and all losses, claims,
damages, costs or expenses (including attorneys’ fees) which Buyer may incur as a result of any
claim made by any individual or entity to a right to a sales or brokerage commission or finder’s
fee in connection with this transaction to the extent such claim is based, or purportedly based, on
the acts or omissions of Seller. In the event Buyer is the successful purchaser of the Assets in
accordance with the terms herein, Buyer shall provide the Seller with up to $300,000 to fund any
success fee due to Bayshore pursuant to the engagement agreement between Bayshore and the
Seller (the “Transaction Fee”). For the avoidance of doubt, Buyer’s obligation to fund the
Transaction Fee is subject to Bayshore obtaining Bankruptcy Court approval for the payment of
the Transaction Fee.

       3.5      Title to Assets. To the best of Seller’s CAO’s knowledge, Seller is the sole and
lawful owner of, and holds good, valid, and marketable title to, the Assets (or, in the case of
leased or licensed assets, good, valid, and marketable leasehold or license interests in and to the
Assets). Title to the Assets will be conveyed free and clear of all Claims and Encumbrances,
except as consented to in writing by Buyer. No officer, director or employee of Seller owns or
has any interest, directly or indirectly, in any of the Assets.

        3.6   Knowledge. For purposes of the Agreement, the term “knowledge” and other
similar knowledge qualifiers means actual knowledge after reasonable inquiry.

         3.7     Full Disclosure. To the best of Seller’s CAO’s knowledge, all of the Seller’s
warranties, representations and covenants in this Agreement: (i) constitute a material part of the
consideration hereunder; (ii) are true and complete, current and accurate as of the date hereof;
(iii) shall be true and complete, current and accurate as of the Closing Date; and (iv) and shall
survive the Closing Date. To the best of Seller’s CAO’s knowledge, none of the statements,
representations or warranties of Seller misstates or omits any fact which would make such
statements, representations or warranties incomplete, misleading or incorrect in any material
respect. Seller shall inform Buyer if any statement, representation or warranty becomes
incorrect, misleading or incomplete subsequent to the date hereof.

        3.8     Taxes. Except as set forth on Schedule 3.8 and to the best of the Seller’s CAO’s
knowledge, all material federal, state and local Tax Returns and other tax filings required to be
filed by Seller with respect to the Assets or Seller’s Business have been timely filed, and all such
Tax Returns are true, correct and complete in all material respects. Except as set forth on
Schedule 3.8, and to the best of the Seller’s CAO’s knowledge, no adjustment related to such
Tax Returns has been proposed formally or informally by any taxing authority. Except as set
forth on Schedule 3.8, and to the best of the Seller’s CAO’s knowledge, the Seller has timely
paid all taxes due with respect to the Assets or the Business, the non-payment of which would
result in a lien or other Claim and Encumbrance on any of the Assets or would result in Buyer


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becoming liable or responsible therefore. There are no Claims and Encumbrances for Taxes
upon the Assets. The Seller is not currently the beneficiary of any extension of time within
which to file any Tax Return. The Seller has withheld and paid all Taxes required with respect
to any employees. No power of attorney currently in force has been granted by the Seller with
respect to the Business that would be binding on the Buyer with respect to the taxable periods
commencing on or after the Closing Date. As used in this Agreement, (i) “Tax” and “Taxes”
means all federal, state, local or foreign taxes, charges, fees, levies or other assessments,
including income, excise, gross receipts, premium, ad valorem, sales, use, employment,
franchise, profits, gains, property, transfer, payroll, alternative or add-on minimum, estimated,
severance, occupation, value added, license and stamp taxes or other taxes (whether payable
directly or by withholding), custom, duty or governmental fee, or other like assessment or charge
of any kind whatsoever, imposed by the United States (or any of its political subdivisions) or any
other Government Authority, together with any interest and any penalties thereon or additional
amounts with respect thereto and (ii) “Tax Return” means any report, return, information return,
filing or other information, including any schedules, exhibits or attachments thereto, and any
amendments to any of the foregoing required to be filed or maintained in connection with the
calculation, determination, assessment or collection of any Taxes (including estimated Taxes).

        3.9     Regulatory Compliance. To the best of the Seller’s CAO’s knowledge, Seller
represents and warrants that Schedule 3.9 reflects all licenses, permits, certificates of need,
certificates of use, and other approvals from any government authority with respect to the Seller,
Assets and operation of the Business. Except as set forth herein, and to the best of Seller’s
CAO’s knowledge, Seller is in compliance with all applicable Laws and requirements of all
Governmental Authorities (as defined hereinafter) having jurisdiction over the Seller and the
Assets and the operations of the Assets and the Business.           As used in this Agreement,
“Governmental Authorities” shall mean any United States federal, state, local, possession or
foreign governmental, regulatory or administrative authority, agency or commission, or any
political subdivision thereof, or any court, tribunal or arbitral body (whether governmental or
not).

         3.10 Insurance Policies. To the best of Seller’s CAO’s knowledge, Schedule 3.10 sets
forth a true and complete list of all current policies or binders of fire, liability, product liability,
umbrella liability, real and personal property, workers’ compensation, vehicular, fiduciary
liability and other casualty and property insurance maintained by Seller relating to the Assets and
the Business (collectively, the “Insurance Policies”). All premiums due on such Insurance
Policies have either been paid or, if not yet due, accrued. All such Insurance Policies (a) are in
full force and effect and enforceable in accordance with their terms; (b) are sufficient for
material compliance with all legal requirements and of all agreements to which seller is a party
or by which it is bound (c) to Seller’s CAO’s knowledge, are provided by carriers who are
financially solvent; and (d) have not been subject to any lapse in coverage as of the Effective
Date and as of the Effective Time.

        3.11 Litigation. Other than as set forth on the Schedules of Assets and Liabilities and
Statement of Financial Affairs filed by Seller in its Bankruptcy Case, and to the best of Seller’s
CAO’s knowledge, there are no private or governmental actions, suits, proceedings, claims,
arbitrations, judgments or decrees or, to the best of Seller’s CAO’s knowledge, investigations
pending against Seller or, to the best of Seller’s CAO’s knowledge, affecting Seller or the Assets


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or the Assumed Liabilities, which (i) contest or challenge Seller’s authority, right or ability to
perform its obligations under this Agreement or any of the ancillary agreements to be entered
into herewith, as applicable, (ii) challenge Seller’s right, title or ownership in any of the Assets,
or (iii) would impair or have an adverse effect on Buyer’s right or ability to own, use,
commercialize or otherwise exploit any of the Assets, or impair or have an adverse effect on the
value of any of the Assets following the Closing. To the best of Seller’s CAO’s knowledge,
there are no proceedings threatened that assert any claim described in clauses (i), (ii) or (iii) of
the preceding sentence.

        3.12 Employees. Except as described in Schedule 3.12, Seller is not a party to any
labor, collective bargaining, employee association or other agreement which contains provisions
governing the terms and conditions of employment of any employee, and no labor union or
employee association has been certified as exclusive bargaining agent for any group of
Employees.

         3.13 Intellectual Property. To the best of Seller’s CAO’s knowledge, Seller has all
right, title, and interest to all such Intangible Property, without any conflict with the rights of
others. No Person other than Seller has the right to use the Intangible Property owned by Seller.
Seller has the valid right to use, pursuant to a valid, enforceable, written license, sublicense or
other agreement, any Intangible Property used in the operation of the Business that is owned by a
party other than Seller. To the best of Seller’s CAO’s knowledge, Schedule 3.13 sets forth a
complete list, as of the date hereof, of all registered and applied for Intangible Property owned by
Seller (whether registered with the United States Patent and Trademark Office, the United States
Copyright Office or otherwise). All such Intangible Property is subsisting, valid, and
enforceable and all fees necessary to maintain Intangible Property registrations and applications
in good standing have been paid. There is no action, suit, proceeding, claim, investigation, or
complaint pending, or, to the best of Seller’s CAO’s knowledge, threatened against Seller that
(A) challenges (y) the validity or ownership of any Intangible Property owned by Seller or (z)
Seller’s use of any Intangible Property, or (B) alleges infringement, dilution, misappropriation,
or other violation of the Intangible Property of any Person by Seller. To the best of Seller’s
CAO’s knowledge, no third Person’s operations or products infringe any Intangible Property
owned by or exclusively licensed to Seller in any material respect. To the best of Seller’s CAO’s
knowledge, Seller’s operations and products do not infringe, dilute, misappropriate, or otherwise
violate the Intangible Property of any third Person and there is no valid basis for such a claim.
Seller has not received during the two (2) year period preceding the date hereof any written claim
of infringement, dilution, misappropriation, or other violation with respect to any Intangible
Property owned by any third Person.

       3.14    Contracts and Leases.

                (i)   Contracts. To the best of Seller’s CAO’s knowledge, Schedule 3.14(a) sets
forth the complete list of contracts and agreements to which Seller is a party or by which it is
bound and that are used in or related to the Business or the Assets (the “Existing Contracts”).
Seller shall assign and transfer any Existing Contracts identified by Buyer provided that (i) such
Existing Contract is assumable and assignable, and (ii) at the time of Closing, Buyer will be
required to pay the applicable cure amounts and provide adequate assurance of future
performance.


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                (ii) Leases. To the best of Seller’s CAO’s knowledge, Schedule 3.14(b) sets
forth the complete list of leases, subleases, licenses, and other agreements to which Seller is a
party or by which it is bound (the “Existing Leases”). Seller shall assign and transfer to Buyer
those Existing Leases identified by Buyer provided that (i) such Existing Leases are assumable
and assignable, and (ii) at the time of Closing, Buyer will be required to pay the applicable cure
amounts and provide adequate assurance of future performance. Each Existing Lease (i) is the
legal, valid, binding, and enforceable obligation of Seller that is lessee thereunder, (ii) to the best
of Seller’s CAO knowledge, is in full force and effect and the binding obligation of the other
parties thereto, and (iii) will, if designated as an Assumed Contract, continue to be the legal,
valid, binding, and enforceable obligation of the Buyer following the consummation of the
transactions contemplated hereunder.

        3.15 Schedules. To the best of Seller’s CAO’s knowledge, the Schedules attached
hereto are accurate in all material respects subject to any disclaimers in the respective schedules.
If Seller shall elect to supplement, modify or update any Schedule, submit a Schedule not
attached at execution hereof, or add a new Schedule, through and including Closing, Buyer shall
be entitled to review any such changed or new Schedule, and to terminate this Agreement if the
disclosures revealed therein are (i) material and in an amount reasonably calculated to have an
negative effect upon the value of the Assets or Assumed Liabilities, and (iii) not acceptable to
Buyer, following a five (5) business day period during which Buyer and Seller shall attempt to
resolve any concerns expressed by Buyer as a result thereof; provided, however, Buyer shall not
be entitled to terminate this Agreement for updates to Schedules reflecting ordinary course
changes, and Buyer shall not be entitled to terminate this Agreement if Buyer receives a credit at
Closing against the Purchase Price for the change under this paragraph.

ARTICLE 4. REPRESENTATIONS AND WARRANTIES OF BUYER

        Buyer represents and warrants to Seller that, as of the Effective Date, Closing Date and
Effective Time:

        4.1     Organization and Standing. Buyer is a not-for-profit corporation formed, validly
existing, and in good standing under the Laws of its state of formation and is qualified, or will be
qualified at Closing, to do business under the Laws of the State. Subject to the approval of
certain Governmental Authorities, Buyer has the requisite power and authority to own and
operate the Assets in the manner in which they are presently being operated.

        4.2    Capacity; Authority. Buyer has full power, legal capacity and authority to
execute and deliver this Agreement, to consummate the transactions contemplated hereby and to
perform its obligations under this Agreement. The execution and delivery of this Agreement, the
consummation of the transactions contemplated hereby and the performance of Buyer’s
obligations hereunder have been duly authorized by Buyer’s sole member, members, board of
directors or other governing authority, as applicable, and no other proceedings on the part of
Buyer are necessary in connection therewith. This Agreement constitutes, and each other
instrument to be executed and delivered by Buyer will constitute, valid and binding obligations
of Buyer, enforceable against Buyer in accordance with their respective terms. The individual(s)
executing and delivering this Agreement on Buyer’s behalf are duly authorized and empowered
to bind the Buyer as contemplated hereby.


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        4.3    No Violation; Consents. Neither the execution and delivery by Buyer of this
Agreement and the ancillary agreements to be entered into herewith nor the consummation of the
transactions contemplated hereby or thereby nor compliance with any of the provisions hereof or
thereof by Buyer will (i) conflict with or result in any breach of any provision of the
organizational documents of Buyer, (ii) violate any applicable Law, or (iii) except as
contemplated by Section 5.2 of this Agreement, require any consent, approval, authorization or
permit of, or filing with or notification to, any Governmental Authority or other Person which
has not otherwise been obtained or made.

        4.4    No Brokers or Finders. Neither Buyer nor any affiliate of Buyer has engaged any
finder or broker in connection with the transactions contemplated hereby.

        4.5    Ability to Perform. Buyer has the ability to obtain funds in cash in amounts equal
to the Purchase Price less the Credit Bid Amount by means of credit facilities or otherwise and
will at the Closing have immediately available funds in cash, which are sufficient to pay the
Purchase Price less the Credit Bid Amount and to pay any other amounts payable pursuant to this
Agreement and to consummate the transactions contemplated by this Agreement.

       4.6     Full Disclosure. All of Buyer’s warranties, representations or covenants in this
Agreement: (i) constitute a material part of the consideration hereunder; (ii) are true and
complete, current and accurate as of the date hereof; (iii) shall be true, complete, current and
accurate as of the Closing Date and Effective Time; and (iv) and shall survive the Closing Date
and delivery of the Assets to Buyer. None of the statements, representations or warranties of
Buyer misstates or omits any fact which would make such statements, representations or
warranties incomplete, misleading or incorrect in any material respect. Buyer shall inform Seller
if any statement, representation or warranty becomes incorrect, misleading or incomplete
subsequent to the date hereof.

ARTICLE 5. MUTUAL COVENANTS

         5.1    General Covenants. Following the execution of this Agreement, Seller and Buyer
agree:

              (i)     To cooperate fully with each other in preparing, filing, prosecuting, and
taking any other actions which are or may be reasonable and necessary to obtain the consent of
any governmental instrumentality or any third party, to accomplish the transactions contemplated
by this Agreement;

               (ii) To deliver such other instruments of title, certificates, consents,
endorsements, assignments, assumptions and other documents or instruments, in form reasonably
acceptable to the party requesting the same and its counsel, as may be reasonably necessary to
carry out and/or to comply with the terms of this Agreement and the transactions contemplated
herein; and

               (iii) To confer on a regular basis with the other, report on material operational
matters and promptly advise the other orally and in writing of any change or event having, or
which, insofar as can reasonably be foreseen could have, a material adverse effect on such party



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or which would cause or constitute a material breach of any of the representations, warranties or
covenants of such party contained herein.

        5.2    Licensing. Buyer and Seller shall work in good faith and use commercially
reasonable efforts to cause Buyer to obtain prior to the Closing Date (or as soon thereafter as
practicable): (i) all consents, approvals, licenses, certifications, Medicare and Medicaid
enrollment participation and payor contracting to permit the consummation of the transactions
contemplated by this Agreement and to enable the Buyer to lawfully operate the Business
(collectively, the “Regulatory Approvals”); (ii) all consents required for the transfer or
assignment of any personal property leases to be assumed by Buyer; and (iii) all consents
required for the transfer or assignment of the Assumed Contracts. Seller shall cooperate in all
reasonable respects with Buyer in its efforts to obtain such consents, approvals and licenses.

        5.3     Public Announcements. Other than statements in pleadings or in open court made
in the Bankruptcy Case, or in furtherance of Bayshore’s duties as broker in the Bankruptcy Case,
the parties may not issue any press release or any written statement with respect to this
Agreement or the transactions contemplated hereby; provided, however, that nothing herein shall
be construed as prohibiting (i) public disclosures in connection with securing any licensing or
certification approvals, subject to the restriction in Section 5.2 of this Agreement, or complying
with regulations promulgated by the Securities and Exchange Commission or other government
agencies, or (ii) private disclosures to the employees, shareholders, agents, contractors,
consultants, attorneys, accountants, lenders and affiliates of the disclosing party or (iii) pursuant
to public announcements (including, without limitation, press releases) made with the prior
written approval of Seller and Buyer.

         5.4      Utilities. Buyer and Seller shall cooperate to take all steps necessary to transfer
all utilities related to the operation of the Business including without limitation electric service,
gas service, telephone service, cable service, internet service, sewage, water and trash removal,
into Buyer’s name, as directed by Buyer, effective as of the Effective Time.

ARTICLE 6. COVENANTS

       6.1     Covenants of Seller.

                (i)    Seller Information. Seller will provide Buyer with access to Bayshore’s
data room (the “Data Room”), as well as copies of any other materials relating to the transfer of
the Assets as may be reasonably requested by Buyer (collectively the “Seller Information”). If,
prior to the Closing Date, Seller receives, discovers or becomes aware of any material change in
the Assets or any matter affecting the Assets which would render any of the materials previously
given false or misleading, then Seller shall disclose such changes in writing to Buyer and deliver
any additional related materials in Seller’s possession to Buyer as soon as reasonably possible
after such receipt or discovery.

              (ii) Right of Inspection. From the date of this Agreement until the termination
of this Agreement or through the Closing Date, as applicable, and subject to Section 6.2, Seller
shall permit Buyer’s authorized representatives to have full access to the Facility during regular
business hours, shall make its officers and key employees available to confer with Buyer and its



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authorized representatives, shall make available to Buyer’s representatives all books and records
relating to the Business and the obligations and liabilities of Seller including, but not limited to
contracts and agreements, filings with any regulatory authority, any financial operating data and
any other information relating to Seller’s business activities with respect to the Business, as
Buyer may from time to time request; provided, that Seller shall not be obligated to make
available books and records or other information relating to the Excluded Assets.

               (iii) Operations Transfer Agreement. To the extent deemed necessary by the
Buyer, Seller shall execute the Operations Transfer Agreement in a form mutually acceptable by
Buyer and Seller on the Effective Date.

               (iv) Interim Management Agreement. If required under the terms of the
Operations Transfer Agreement, Seller shall execute an interim management agreement on or
before the Closing Date in a form mutually acceptable by Buyer and Seller on the Effective Date,
enabling Buyer to manage and operate the Business as contemplated by the Operations Transfer
Agreement (the “Interim Management Agreement”).

ARTICLE 7. CONDITIONS TO OBLIGATION OF BUYER TO PERFORM

        The obligations of Buyer under this Agreement are subject to the satisfaction, on or
before the Closing Date, of the following conditions (the “Closing Conditions”), each of which
are for the sole benefit of Buyer and may be waived by Buyer at Buyer’s sole option by delivery
to Seller of a written notice of such waiver.

       7.1     Compliance with Agreement. Seller shall have performed all of its obligations
hereunder, including, without limitation, completing all schedules hereto, and Seller’s
representations and warranties in this Agreement and in the Seller Closing Items (as defined in
Section 10.1) shall be true and correct in all material respects (without giving effect to any
materiality qualifiers therein) on and as of the Closing Date and the Effective Time.

         7.2    Regulatory Approvals. Buyer shall have received all approvals from AHCA
necessary to transfer the License to Buyer and to allow Buyer to operate the Business.
Additionally, Buyer shall not have received any notice, letter, omissions letter or other document
from the Centers for Medicare & Medicaid Services or any other Governmental Authority that
negatively impacts Buyer’s ability to operate the Business in such manner as Buyer determines
in its reasonable discretion.

        7.3    Operation Transfer Agreement. To the extent deemed necessary by the Buyer,
Seller and Buyer shall have entered into the Operations Transfer Agreement and shall not be in
default of any warranty, covenant, agreement, condition or other obligation under the Operations
Transfer Agreement.

        7.4   Interim Management Agreement. To the extent deemed necessary by the Buyer,
Seller and Buyer shall have entered into the Interim Management Agreement.

       7.5     Bankruptcy Court Approval. The Sale Order (a) shall have been entered by the
Bankruptcy Court in a form reasonably acceptable to Buyer and shall include a good faith
finding under section 363 of the Bankruptcy Code and provide for the sale of the Assets free and


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clear of all Claims and Encumbrances; (b) shall be unappealed, unappealable, unstayed, and not
subject to a motion for reconsideration (the “Final Order”) by no later than June 22, 2018, which
date may be waived or extended by mutual agreement of the parties, (c) shall not have been
stayed, modified, amended, dissolved, revoked or rescinded without Buyer’s consent, and (d)
shall be in full force and effect on the Closing Date. Buyer, in its sole discretion, may waive in
writing the requirement that the Sale Order shall be a Final Order.

        7.6     Unfavorable Action or Proceeding. On the Closing Date, no orders, decrees,
judgments or injunctions of any court or Governmental Authority shall be in effect, and no
claims, actions, suits, proceedings, arbitrations or investigations shall be pending or threatened in
writing to the Seller, which challenge or seek to challenge, or which could prevent or cause the
rescission of, the consummation of the transactions contemplated in this Agreement.

ARTICLE 8. CONDITIONS TO OBLIGATION OF SELLER TO PERFORM

        The obligations of Seller under this Agreement are subject to the satisfaction, on or
before the Closing Date, of the following conditions, each of which may be waived by Seller by
delivery to Buyer of a written notice of such waiver.

        8.1     Compliance with Agreement. Buyer shall have performed all of its obligations
hereunder, and Buyer’s representations and warranties in this Agreement and in the Buyer
Closing Items (as defined in Section 10.2) shall be true and correct in all material respects on and
as of the Closing Date and the Effective Time.

        8.2     Unfavorable Action or Proceeding. On the Closing Date, no orders, decrees,
judgments or injunctions of any court or Governmental Authority shall be in effect, and no
claims, actions, suits, proceedings, arbitrations or investigations shall be pending or threatened in
writing to the Seller, which challenge or seek to challenge, or which could prevent or cause the
rescission of, the consummation of the transactions contemplated in this Agreement; provided,
however, that Seller shall use commercially reasonable efforts to prevent the entry of such order,
decree, judgment or injunction before terminating this Agreement, and Buyer shall cooperate in
such efforts by Seller.

ARTICLE 9. TERMINATION

       9.1     Termination. This Agreement may be terminated prior to the Closing:

               (i)    by the Seller or Buyer if the Bid Procedures Motion is withdrawn prior to
the entry of the Bid Procedures Order or if, following entry of the Bid Procedures Order, the
Seller determines to abandon or end the sale process established pursuant thereto;

               (ii)    by mutual written consent of the Seller and Buyer;

               (iii)   by Buyer:

                      (a)     if there has been a material breach by Seller of any representation
or warranty contained herein or in the due and timely performance of any covenant or agreement
contained herein, the Seller has notified Buyer of such breach in writing, and the breach has not


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been cured within five (5) business days after delivery of such notice (or such longer notice and
cure period as may be set forth in any other provision of this Agreement);

                       (b)     if the Closing shall not have occurred within six (6) months of the
Sale Order or such later date as agreed to by the Buyer (the “Outside Closing Date”);

                       (c)     if the Sale Order shall not have been entered substantially in the
form of Exhibit 9.1(iii)(c) (unless any changes thereto have been approved by the Buyer), or if
the Sale Order has been entered but stayed as of such Outside Closing Date or if the Sale Order
has not been entered within ten (10) days of the conclusion of the Auction;

                       (d)      if the Seller has filed any pleading or entered into any agreement
(other than this Agreement and other than the Bid Procedures Motion) relating to or otherwise
regarding the sale, transfer, lease or other disposition, directly or indirectly, of all or a material
portion of the Assets or regarding an Alternative Transaction (as defined below);

                        (e)     if the Bankruptcy Court approves a sale, lease, or transfer of all or
a material portion of the Assets, directly or indirectly, to any other person or entity other than
Buyer, or if the Seller selects a bid by someone other than Buyer as the “highest and best offer”
in accordance with the Bid Procedures Order, and said selection is not overruled by the
Bankruptcy Court within seven (7) days following the conclusion of the Auction, or if the
Bankruptcy Court approves or the Seller consummates a sales, lease or transfer transaction
related to any of the Assets with a third party other than as contemplated in the Bid Procedures
Order (including in either instance, for the avoidance of doubt a credit bid, deed in lieu, exercise
of rights and remedies or foreclosure with respect to some or all of the Assets), or an Alternative
Transaction is approved by the Bankruptcy Court and consummated. The term “Alternative
Transaction” means, any transaction (other than the sale of Assets to Buyer under this
Agreement) involving: (i) the issuance, sale, transfer or other disposition of any class of equity
securities, ownership interests or voting securities of Seller, (ii) the merger, consolidation, asset
sale, recapitalization, business combination or other similar transaction involving Seller, or (iii)
the entry of an order confirming a Chapter 11 plan for Seller under which all or a material
portion of Assets vests in Seller or in a successor to Seller or another person or entity;

                      (f)    the Bid Procedures Order has not been entered substantially in the
form of Exhibit 2.1 (unless any changes thereto have been approved by the Buyer) on or before
the Bid Procedures Order Deadline (for which no cure period shall apply); or

                       (g)     this Agreement otherwise provides Buyer with a right of
termination.

               (iv)    by the Seller:

                      (a)     if there has been a material breach by Buyer of any representation
or warranty contained herein or in the due and timely performance of any covenant or agreement
contained herein, the Seller has notified Buyer of such breach in writing, and the breach has not
been cured within five (5) business days after delivery of such notice (or such longer notice and
cure period as may be set forth in any other provision of this Agreement); or



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                       (b)    if the Closing shall not have occurred on or before the Outside
Closing Date by reason of the failure of any condition precedent set forth in Article 8 (unless
such failure was solely within the control of the Seller); or

                      (c)    Buyer is not diligently pursuing the Closing so that such Closing
can occur on or before the Outside Closing Date, as determined by the Bankruptcy Court

        9.2     Effect of Termination. No termination of this Agreement pursuant to Section 9.1
shall be effective until written notice thereof is given to the non-terminating party specifying the
provision hereof pursuant to which such termination is made. If validly terminated pursuant to
Section 9.1 this Agreement shall be void and of no effect, and all further obligations of the
parties under or pursuant to this Agreement shall terminate without further liability of any party
to the other; provided that the provisions of any confidentiality agreement between the parties,
this Section 9.2 (Effect of Termination) and Section 12.3 (Miscellaneous) of this Agreement
shall survive the termination of this Agreement; provided, further, that nothing contained in this
Section 9.2 shall relieve any party from liability for any breach of this Agreement.

ARTICLE 10. CLOSING

        10.1 Seller’s Obligations at Closing. On or before the Closing Date, Seller shall
deliver or cause to be delivered directly to Buyer, all of the following, which are referred to
herein as “Seller Closing Items”:

              (i)    Evidence of all required board approvals authorizing the execution and
performance of this Agreement;

               (ii) The Operations Transfer Agreement, executed by Seller, if not previously
delivered to Buyer;

             (iii) If required under the terms of the Operations Transfer Agreement, the
Interim Management Agreement, executed by Seller;

                (iv) All necessary instruments of transfer, properly executed by Seller
acknowledged, conveying, transferring and assigning to Buyer all of Seller’s right, title and
interest in and to the Assets and any and all warranties or rights in connection therewith, all in
form and substance reasonably satisfactory to Buyer and Seller, including without limitation, a
Bill of Sale and Assignment and Assumption Agreement from Seller to Buyer; and

                (v) Such other forms and documents as Buyer may reasonably request in order
to effectuate the transactions contemplated hereby.

        10.2 Buyer’s Obligations at Closing. On or before the Closing Date, Buyer shall
deliver or cause to be delivered directly to Seller the following, which are referred to herein as
the “Buyer Closing Items”:

              (i)    The Purchase Price, with any cash portion thereof payable by wire transfer
of immediately available funds to Seller’s account;



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                (ii) If required by the Buyer, the Operations Transfer Agreement, executed by
Buyer, if not previously delivered to Seller;

               (iii)   If required by the Buyer, the Interim Management Agreement executed by
Buyer; and

             (iv) Such other documents, forms, certifications, instructions or items as Seller
may reasonably request to effectuate the transactions contemplated hereby.

      10.3 Costs and Prorations. The costs of the transaction and the expenses related to the
ownership and operation of the Facility shall be allocated between Seller and Buyer as follows:

               (i)     Buyer shall pay any sales tax due on the transfer of title to the Assets to
Buyer;

               (ii) Buyer shall pay any outstanding personal property taxes, assessments and
other impositions required to effectuate the Agreement;

               (iii)   Seller and Buyer shall each pay their own attorneys’ fees and costs;

                 (iv) Buyer shall pay all costs associated with obtaining and recording any
releases necessary to cause the full release of; (A) monetary liens or any other liens affecting the
Assets to be discharged in accordance with the terms of this Agreement, (B) any liens
encumbering the motor vehicles of Seller, and (C) any lien, encumbrance or other security
interest affecting any of the Assets which is unpaid as of the Closing; and

               (v)     Buyer shall pay any outstanding utility charges required to effectuate this
Agreement.

ARTICLE 11. POST-CLOSING ACCESS

        11.1 Access. In connection with (i) the transition of the Business pursuant to the
transaction contemplated by this Agreement, (ii) Seller’s rights to the Excluded Assets, and (iii)
Seller’s obligations under the Excluded Liabilities, Buyer shall after the Closing Date give
Seller, Seller’s affiliates and their respective representatives and any liquidating trust that may be
established pursuant to a plan of reorganization for the benefit of Seller’s estate access during
normal business hours to Buyer’s books, accounts and records and all other relevant documents
and information with respect to the assets, liabilities and operation of the Business as
representatives of Seller and Seller’s affiliates may from time to time reasonably request, all in
such manner as not to unreasonably interfere with the operations of the Business.

ARTICLE 12. GENERAL PROVISIONS

        12.1 Notices. All notices, requests, demands and other communications required under
this Agreement shall be in writing and shall be deemed duly given and received (i) if personally
delivered, on the date of delivery, (ii) if mailed, three (3) days after deposit in the United States
Mail, registered or certified, return receipt requested, postage prepaid and addressed as provided
below, (iii) if by a courier delivery service providing overnight or “next- day” delivery, on the


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next business day after deposit with such service, or (iv) electronic mail (with receipt of such
email acknowledged by the recipient (provided, that any email sent after 5:00 p.m. Eastern
Standard Time shall be deemed to have been sent as of 8:00 a.m. as of the next following
business day), addressed as follows:

                                    If to Seller:

                                    Miami International Medical Center, LLC
                                    5959 NW 7th Street
                                    Miami, Florida 33126-3129
                                    Attn: Jeffrey Mason
                                    Chief Administrative Officer
                                    Phone: (786) 646-5020
                                    Email: Jeffrey.Mason@miamimedicalcenter.com

                                    with a copy to:

                                    Peter Russin, Esq.
                                    Meland Russin & Budwick, P.A.
                                    3200 Southeast Financial Center
                                    200 South Biscayne Blvd.
                                    Miami, Florida 33131
                                    Phone: (305) 358-6363
                                    Email: prussin@melandrussin.com

                                    If to Buyer:

                                    Variety Children’s Hospital
                                    3100 S.W. 62nd Ave
                                    Miami, Florida 33155
                                    Attn: Tim Birkenstock
                                    Phone: (786) 624-5701
                                    Email: Tim.Birkenstock@nicklaushealth.org




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                                      with a copy to:

                                      Joshua Kaye, Esq.
                                      DLA Piper LLP (US)
                                      200 South Biscayne Boulevard, Suite 2500
                                      Miami, Florida 33131-5341
                                      Phone: (305) 423-8521
                                      Email: Joshua.Kaye@dlapiper.com

                                      and

                                      Thomas Califano, Esq.
                                      DLA Piper LLP (US)
                                      1251 Avenue of the Americas, 27th Floor
                                      New York, New York 10020-1104
                                      Phone: (212) 335-4990
                                      Email: Thomas.Califano@dlapiper.com

Any party may change its above-designated address by giving the other party written notice of
such change in the manner set forth herein.

       12.2 Effect of Termination. The termination of this Agreement shall operate to
terminate the Operations Transfer Agreement, the Interim Management Agreement, if any, and
any other agreements and documents executed in connection with the transfer of the Assets to
Buyer; provided, that such termination shall not diminish a party’s rights and remedies for a
breach or default by another party.

        12.3 Miscellaneous. This Agreement, and the related agreements referred to herein,
constitute the entire agreement among the parties and supersede all prior and contemporaneous
agreements and undertakings of the parties with respect to the subject matter hereof. No
supplement, modification or amendment of this Agreement shall be binding and enforceable
unless executed in writing by the parties hereto. No waiver of any of the provisions of this
Agreement shall be deemed, or shall constitute, a waiver of any other provision hereof (whether
or not similar) nor shall such waiver constitute a continuing waiver, and no waiver shall be
binding unless executed in writing by the party making the waiver. Schedules and Exhibits
referred to in this Agreement, whether attached hereto at the time of this Agreement’s execution
and delivery or thereafter, are hereby incorporated into this Agreement and made a part hereof.
This Agreement may be executed in one or more counterparts, each of which shall be deemed an
original, but all of which shall constitute one and the same instrument. In the event an action,
suit or arbitration proceeding is brought by any party hereto to enforce the terms of this
Agreement, the prevailing party shall be entitled to the payment of its reasonable attorneys’ fees
and costs, as determined by the judge of the court or the arbitrator, as applicable. The invalidity
or unenforceability of any particular provision, or any part thereof, of this Agreement shall not
affect the other provisions hereof and this Agreement shall be continued in all respects as if such
invalid or unenforceable provision were omitted. Except as otherwise provided herein, all
provisions of this Agreement shall be binding upon, inure to the benefit of, and be enforceable by
and against the respective heirs, executors, administrators, personal representatives, successors


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and assigns of any of the parties to this Agreement. The parties hereto agree that each party and
its counsel have reviewed this Agreement and that any rule of construction to the effect that
ambiguities are to be resolved against the drafting party shall not apply to the interpretation of
this Agreement. Headings contained in this Agreement are inserted only as a matter of
convenience and in no way define, limit, extend or describe the scope of this Agreement or of
any provision hereof. As used herein, the term “Medicaid” shall mean and refer to the Medicaid
program or any similar reimbursement program established by Florida. Time is of the essence
for all dates and time periods set forth in this Agreement and each performance called for in this
Agreement.

       12.4 Governing Law; Jurisdiction. Except as expressly provided herein, this
Agreement shall be construed in accordance with, and governed by, the Laws of Florida, without
regard to the application of conflicts of law principles. The parties agree that any legal suit,
action or proceeding arising out of or relating to this Agreement must be instituted in the
Bankruptcy Court, and they hereby irrevocably submit to the jurisdiction of any such court.
EACH OF THE PARTIES HERETO KNOWINGLY AND VOLUNTARILY WAIVES ANY
RIGHT WHICH IT MAY HAVE TO HAVE ANY DISPUTE WITH RESPECT TO THE
INTERPRETATION OR ENFORCEMENT OF THIS AGREEMENT TRIED BEFORE A
JURY AND AGREES THAT ALL SUCH DISPUTES SHALL BE TRIED BEFORE A JUDGE
AND NOT A JURY.

        12.5 Further Documentation. Each party will execute and deliver such further
instruments and do such further acts and things as may be reasonably required to carry out the
intent and purpose of this Agreement.

        12.6 Bulk Sales. Buyer hereby waives compliance by Seller with the requirements, if
any, of Article 6 of the Uniform Commercial Code as in force in any state in which the Assets
are located and all other similar Laws applicable to bulk sales and transfers.

         12.7 Business Day. As used in this Agreement, a “business day” shall mean a day
other than Saturday, Sunday or any day on which banking institutions in Miami, Florida, are
required or authorized by Law or other governmental action to close. All other references to
“days” or “calendar days” in this Agreement shall refer to calendar days. If any period expires,
or if any delivery date or any date on which a party is to take a specified action falls, on a date
that is not a business day under this Agreement, such period shall be deemed to expire and such
delivery date or such date for taking such specified action shall be deemed to fall on the next
succeeding business day.

        12.8 Subsequent Chapter 11 Plan/Conversion. In the event of a Closing, no Chapter 11
plan of reorganization or plan of liquidation subsequently proposed or confirmed in Seller’s
Bankruptcy Case shall contain any provisions which are inconsistent with or purport to override
the terms of this Agreement and the ancillary agreements to be entered into herewith, all of
which shall be expressly preserved under the terms of such plan. Further, in the event of a
conversion of the Bankruptcy Case to Chapter 7 or dismissal, the post-closing obligations under
this Agreement shall be unaffected and fully preserved, so that the Chapter 7 Trustee shall be
obligated and required to comply with all post-Closing duties, including further assurances,
without cost to, or the necessity of a motion or administrative claim from, Buyer.


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        12.9 Bankruptcy Approval. Seller is currently a debtor in a Bankruptcy Case pending
in the Bankruptcy Court, and, notwithstanding anything herein to the contrary, Seller’s
obligations hereunder are contingent upon the entry of an order from the Bankruptcy Court in
form acceptable to the Buyer which contains a finding pursuant to Bankruptcy Code Section
363(m) and provides for the transfer of the Assets free and clear of all liens, encumbrances and
claims.

     12.10 “AS IS” TRANSACTION. BUYER HEREBY ACKNOWLEDGES AND
AGREES THAT, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS
AGREEMENT OR IN ANY OTHER DOCUMENT, INSTRUMENT OR AGREEMENT
DELIVERED IN CONNECTION WITH THIS AGREEMENT, SELLER MAKES NO
REPRESENTATIONS OR WARRANTIES WHATSOEVER, EXPRESS OR IMPLIED, WITH
RESPECT TO ANY MATTER RELATING TO SELLER’S BUSINESS, TO THE ASSETS, TO
THE ASSUMED CONTRACTS OR TO THE ASSUMED LIABILITIES. WITHOUT IN ANY
WAY LIMITING THE FOREGOING, SELLER HEREBY DISCLAIMS ANY WARRANTY
(EXPRESS OR IMPLIED) OF MERCHANTABILITY OR FITNESS FOR ANY
PARTICULAR PURPOSE AS TO ANY PORTION OF THE ASSETS. IF THE CLOSING
OCCURS, BUYER WILL ACCEPT THE ASSETS, AT THE CLOSING DATE “AS IS,”
“WHERE IS,” SUBJECT TO THE PROVISIONS OF THIS AGREEMENT, THE SELLER
ANCILLARY DOCUMENTS, AND THE SALE ORDER PROVIDING, AMONG OTHER
THINGS, THAT THE SALE OF THE ASSETS IS FREE AND CLEAR OF ALL CLAIMS
AND ENCUMBRANCES.

      12.11 NO CONSEQUENTIAL OR PUNITIVE DAMAGES; LIMITATION OF
LIABILITY. NO PARTY (OR ITS AFFILIATES OR REPRESENTATIVES) SHALL,
UNDER ANY CIRCUMSTANCE, BE LIABLE TO ANY OTHER PARTY (OR ITS
AFFILIATES OR REPRESENTATIVES) FOR ANY CONSEQUENTIAL, EXEMPLARY,
SPECIAL, INCIDENTAL, OR PUNITIVE DAMAGES CLAIMS BY SUCH PARTY UNDER
THE TERMS OF OR DUE TO ANY BREACH OF THIS AGREEMENT, INCLUDING LOSS
OF REVENUE OR INCOME, DAMAGES BASED ON ANY MULTIPLIER OF PROFITS OR
OTHER VALUATION METRIC, COST OF CAPITAL, DIMINUTION OF VALUE OR LOSS
OF BUSINESS REPUTATION OR OPPORTUNITY. NOTWITHSTANDING ANYTHING IN
THIS AGREEMENT, OR IN ANY OTHER DOCUMENT, INSTRUMENT OR AGREEMENT
DELIVERED IN CONNECTION WITH THIS AGREEMENT, TO THE CONTRARY, THE
MAXIMUM AGGREGATE LIABILITY OF BUYER AND ITS REPRESENTATIVES TO
SELLER AND ITS REPRESENTATIVES ARISING OUT OF ANY AND ALL BREACHES
OR VIOLATIONS BY BUYER THAT OCCUR AT OR BEFORE THE CLOSING,
INCLUDING WITHOUT LIMITATION ANY BREACH BY BUYER OF ITS OBLIGATION
TO EFFECT THE CLOSING HEREUNDER, OR FAILURES AT OR BEFORE THE
CLOSING OF BUYER TO COMPLY WITH, THIS AGREEMENT OR SUCH OTHER
DOCUMENTS, INSTRUMENTS OR AGREEMENTS, SHALL NOT EXCEED AN AMOUNT
EQUAL TO TEN PERCENT (10%) OF THE PURCHASE PRICE.

                                   [Signature Page Follows]




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       IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
day and year first set forth above.

SELLER:                                        BUYER:

Miami International Medical Center, LLC, a     Variety Children’s Hospital d/b/a Nicklaus
Florida limited liability company              Children’s Hospital, a Florida not-for- profit
                                               corporation


By:                                            By:
      Name: Jeffrey Mason                            Name:
      Title: Chief Administrative Officer            Title:




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                    SCHEDULE 1.1(i)

                      INVENTORY
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Schedule 1.1(i)

                        The Miami Medical Center
                  Lsiting of Medical Equipment and Instruments



TRX Date         Originating DocumentOriginating
                                      Number Master Name


     9/22/2015 17558               OrthoScan                  Mini-Arm
     9/30/2015 500650083           GE Healthcare              Precision 500 D Used
     9/30/2015 500649811           GE Healthcare              Brivo System
     9/30/2015 520586757           GE Healthcare              GS Logiq
     10/8/2015 MIMC1146725GG02 Edward Don & Company           Kitchen Equipment
    10/14/2015 11134031            InterMetro                 Equipment
    10/25/2015 47809               Cosman Medical Inc         Generator - Radiofrequency
    10/25/2015 7629703             Hologic                    MySource Control Unit
    10/25/2015 2521710515          Medtronic USA Inc          AEX Generator
    10/25/2015 9338018             Mortara Instruments, Inc   EKG with Cart
    10/25/2015 361849              Steris Corporation         Water Control Sensor
    10/25/2015 2296037             Zoll                       Advisory R Series
    10/31/2015 AP601660B           Amico                      Oxygen Flowmeters
    10/31/2015 6003306612          Bayer Healthcare           Solarius
    10/31/2015 6000016049-4        Carefusion Solutions       pharmogistics
    10/31/2015 167650              GE Healthcare              Procedure Table
    10/31/2015 500657838           GE Healthcare              GS Logiq
    10/31/2015 500657848           GE Healthcare              GS Logiq
    10/31/2015             5759904 Steris Corporation         Carts
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10/31/2015 5748823             Steris Corporation           4 CEILING LIGHT
10/31/2015 5751039             Steris Corporation           OR LIGHTS (3)
10/31/2015             5768731 Steris Corporation           Connector Kit
10/31/2015 358094              Steris Corporation           SURG LIGHT W MONITOR MOUNT(14)
10/31/2015 358248              Steris Corporation           OR EQUIPMENT
10/31/2015             5760205 Steris Corporation           HARNESS ASSEMBLY
11/16/2015 PO TMMC-1041        Jeffrey Allen Inc            8 Passenger Vehicle
11/30/2015 6003304042          Bayer Healthcare             MARK 7 ARTERION PEDESTAL SYS
11/30/2015 11153750            InterMetro                   Back Panel of Equpment
11/30/2015 5759904-2           Steris Corporation           MEDVAC
11/30/2015 360528 2            Steris Corporation           VISION, PLUS TAX
11/30/2015 360459              Steris Corporation           VPRO, AMSCO- PLUS TAX
11/30/2015 361427              Steris Corporation           HARMONY AIR
11/30/2015 361512              Steris Corporation           CAVIWAVE PRO SONIC CONSOLE
11/30/2015             5886275 Steris Corporation           V-Pro Max
11/30/2015 5768731-2           Steris Corporation           CONNECTOR KITS (14)
11/30/2015 5760205-2           Steris Corporation           HARNESS ASSEMBLY
12/31/2015 OMMC77515689        Allen Medical Systems, Inc   Leg Holder System
12/31/2015 OMMC77515969        Allen Medical Systems, Inc   Chair Cart
12/31/2015 AA236065            Amico                        Adjustable Arm
12/31/2015 20165572            CLAFLINMedical Equipment Malignant Hyperthermia Deluxe Cart

12/31/2015 20165222            CLAFLINMedical Equipment Supplies: Medical Equipment

12/31/2015 520594937           GE Healthcare                Logiq Required Items
12/31/2015 24361555            HIll-Rom                     Vercacare Beds
12/31/2015 24365549            HIll-Rom                     Versacare Bed Accessories
                            Case 18-12741-LMI           Doc 84          Filed 03/30/18   Page 95 of 223


12/31/2015 24361554     HIll-Rom                   Equipment of beds
12/31/2015 117583       HIll-Rom                   Varsacare Beds asseccories
12/31/2015 2522054586   Medtronic USA Inc          Balloon Seeker
12/31/2015 2522475075   Medtronic USA Inc          Hydrodebrider
12/31/2015 2521906000   Medtronic USA Inc          Instrument kit
12/31/2015 2521993417   Medtronic USA Inc          Instrument Kit
12/31/2015 2521963816   Medtronic USA Inc          Instruments
12/31/2015 2-R          MIAMI CHILDREN'S HEALTH Elecom
                                                SYSTEMSystem and Hill-Rom Com

12/31/2015 3            MIAMI CHILDREN'S HEALTH Cerner
                                                SYSTEMHill-Rom Greenline

12/31/2015 4            MIAMI CHILDREN'S HEALTH Hill-Rom
                                                SYSTEM Lexmark RoundTower

12/31/2015 5            MIAMI CHILDREN'S HEALTH HIll-Rom
                                                SYSTEM IT outlet RoundTower

12/31/2015 166814       OEC Medical                Spectre footswitch
12/31/2015 169070       OEC Medical                12" Vascular 9800 upgrade kit
12/31/2015 166809       OEC Medical                9900 Elite motor driven
12/31/2015 166812       OEC Medical                9900 Elite motor driven
12/31/2015 0381703-IN   Pedigo Products, Inc       Cart with Casters
12/31/2015 14329070     Smith's Medical            Pump kits
12/31/2015 5897715      Steris Corporation         Universal Port Connection
12/31/2015 1811015M     Stryker Sales              Surgi Stool (2)
 1/11/2016 20341698     Alcon Laboratories, Inc    Constellation 3 kits
 1/11/2016 AA235834     Amico                      AHM Falcon station (65)
 1/11/2016 20165900     CLAFLINMedical Equipment Miller fiber optic blades

 1/11/2016 20165961     CLAFLINMedical Equipment Miller fiber optic blades

 1/11/2016 20167258     CLAFLINMedical Equipment Miller fiber optic blades

 1/11/2016 80189054     Datex Ohmeda, Inc          Infant warmer, care system
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1/11/2016 112009       HIll-Rom                   Wireless Bed
1/11/2016 24364523     HIll-Rom                   Patient Monitors
1/11/2016 24364523     HIll-Rom                   Patient Monitors
1/11/2016 23741552     Integra Lifescience        Light Source
1/11/2016 901158879    Intuitive Surgical         IS4000 Da Vinci System
1/11/2016 91731999     Olympus                    Cart
1/13/2016 20356513     Alcon Laboratories, Inc    Constellation LXT
1/13/2016 41036        DB Surgical                Table Clamp - Equipment
1/13/2016 INV096428    Innovative Medical Products, MorphBoards
                                                    Inc

1/13/2016 0600444380   Mindray                    Equipment
1/13/2016 932108355    PHILIPS HEALTHCARE         Patient Monitor
1/13/2016 932108126    PHILIPS HEALTHCARE         Equipment and Installation
1/13/2016 932108046    PHILIPS HEALTHCARE         Installation and quipment- OB
1/17/2016 11176678     InterMetro                 Shelving Assembly Charge
1/20/2016 14306733     Smith's Medical            Supplies: Medical
1/20/2016 14305590     Smith's Medical            Medfusion pump (16)
1/20/2016 693618       Verathon                   Equipment
1/20/2016 680432       Verathon                   Largyngoscope cart
1/31/2016 AA235953     Amico                      Falcon workstation accessories
1/31/2016 AP602805     Amico                      Bassinets
1/31/2016 90409471     Arthrex                    trimano adapter (2)
1/31/2016 90409470     Arthrex                    Positioners
1/31/2016 6044767938   Carl Zeiss, Meditec, Inc   Microscope
1/31/2016 7647176      Hologic                    Hysteroscope Equipment
1/31/2016 2523327026   Medtronic USA Inc          Tables and Frames
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1/31/2016 2523357352     Medtronic USA Inc            Foot Control Console
1/31/2016 7              MIAMI CHILDREN'S HEALTH Cerner,
                                                 SYSTEMComputer, and Zone inv

1/31/2016 91960508       Olympus                      airway mobilscope intubation s

1/31/2016 931852396      PHILIPS HEALTHCARE           Patient Monitor
1/31/2016 932116277      PHILIPS HEALTHCARE           Patient Monitor Station
1/31/2016 5997536        Steris Corporation           Medium Sterilizer
1/31/2016 5990089        Steris Corporation           Harmony Equipment
2/11/2016 912882378      Aesculap                     Medical Equipment
2/11/2016 912882379      Aesculap                     Medical Equipment
2/11/2016 912869685      Aesculap                     MEdical Equipment
2/11/2016 OMMC77515471   Allen Medical Systems, Inc   Medical Equipment
2/11/2016 6044765896     Carl Zeiss, Meditec, Inc     Kmat opmi Lumera 700
2/11/2016 22037820       Covidien                     Equipment
2/11/2016 IV068648       Keeler Instruments           Equipment
2/11/2016 2523386423     Medtronic USA Inc            Equipment
2/11/2016 2523505584     Medtronic USA Inc            Equipment
2/11/2016 1040313396     Natus                        Endo Screen Equipment
2/11/2016 1040278421     Natus                        Papoose Board
2/11/2016 6371933-E      Stryker Endoscopy            Video Cart
2/11/2016 6369427-E      Stryker Endoscopy            Cameras
2/11/2016 6377086-E      Stryker Endoscopy            Medical Equipment
2/11/2016 492426A        Stryker Sales                Equipment Drill
2/17/2016 22556607       Covidien                     monitors
2/21/2016 92026800       Olympus                      Ultra-Light Camera
2/21/2016 1798568M       Stryker Sales                Equipment
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2/29/2016 113015              ADVANCED ELECTRONICS      42" and 55" TV
2/29/2016 913227007           Aesculap                  Supplies: Instruments
2/29/2016 913018802           Aesculap                  Medical Insturments
2/29/2016           913386270 Aesculap                  Medical Insturments
2/29/2016           913273464 Aesculap                  Medical Insturments
2/29/2016 20663982            Alcon Laboratories, Inc   Equipment Medical
2/29/2016 20605317            Alcon Laboratories, Inc   Occular Implants
2/29/2016 90693744            Arthrex                   Medical Equipment
2/29/2016 90669372            Arthrex                   Supplies; Medical
2/29/2016 50209666            Baxter Healthcare Corp    IV Connector
2/29/2016 50211312            Baxter Healthcare Corp    pump implementation
2/29/2016 18906650            Edward Don & Company      Medical Stand
2/29/2016 18679956            Edward Don & Company      Ice Dispenser
2/29/2016 18679828            Edward Don & Company      Diswasher. Trash collector
2/29/2016 1234290             INtegrated Medical Systems Medium Autoclave

2/29/2016 30094147684         Merry X-Ray, Inc          Wheelchair equipment
2/29/2016 92039300            Olympus                   Instruments
2/29/2016 92054922            Olympus                   Medical Equipment
2/29/2016 92026799            Olympus                   Medical Equipment
2/29/2016 107572              Southern Medical          Dose Packing Machine
2/29/2016 6373977-e           Stryder Endscopy          Arthoscope
2/29/2016 k01191650104        Zones                     45 desks
2/29/2016 k01191650102        Zones                     wristbank printers and radios
2/29/2016 k01191650101        Zones                     image scanner
 4/1/2016 571314A             Stryker Insturments       Misc drills, saws, laproscopes
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4/23/2016 90680474           Arthrex                   Offset Guide
4/23/2016 90772186           Arthrex                   Ankle Arthoroscopy
4/23/2016 90630979           Arthrex                   Scope Sheath
4/23/2016 200718             HIll-Rom                  Affinity Mattress
4/23/2016 I0104876           MOPEC                     Disposal and Foot Pedal
4/23/2016 I0105003           MOPEC                     Equipement
4/23/2016 92226572           Olympus                   Optical Sheath
4/23/2016 6131284            Steris Corporation        INstall Sonic Console
4/23/2016 6130459            Steris Corporation        wire case with power
4/26/2016 90843353           Arthrex                   HD C Mount
4/26/2016 20165740           CLAFLINMedical Equipment Pediatric Scale Weighting Cart

4/27/2016 22969446           Covidien                  Platform
4/27/2016 107746             Southern Medical          Thermal label printer
4/29/2016 90827562           Arthrex                   Prep Board
4/29/2016 90823954           Arthrex                   Metal Cannula instruments
4/29/2016 20165769           CLAFLINMedical Equipment Insturments

4/29/2016 20166446           CLAFLINMedical Equipment Equipemnt

4/29/2016 20162492           CLAFLINMedical Equipment MRI & CT transfer Boards

4/29/2016 22505178           Covidien                  Monopolar Adapter
4/29/2016 92039301           Olympus                   Insturments
4/29/2016            92026802 Olympus                  Equipment
4/29/2016 92002689           Olympus                   Equipment
4/29/2016 723437             Verathon                  Equipment - Minor
6/30/2016                    Stryker                   Equipment
6/30/2016 80208233, 80208266 GE Healthcare             12 Anesthesia Machines
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 6/30/2016 500657848-2          GE Healthcare        Equipment
 6/30/2016           500554455 GE Healthcare         Equipment
12/31/2014                                           Assets Aquired from Metropolitan
10/14/2015 11133162             InterMetro           Lifeline Code Response cart
10/14/2015 11132872             InterMetro           Cart with Casters
10/25/2015 5845909              Steris Corporation   Camera and Supplies
10/31/2015            11139187 InterMetro            LINEN TRUCKS (7)
 1/20/2016 14305584             Smith's Medical      16 pumps
 3/31/2016           913394629 Aesulap               Cervical Curettes (8)
 3/31/2016           913386272 Aesulap               Misc drills, distractors
 3/31/2016            20847394 Alcon                 Passive Dr Filter (2)
 3/31/2016 OMMC77534236         Allen Medical        Allen Bow Frame
 3/31/2016            90711174 Arthrex               Misc Instruments
 3/31/2016            90729794 Arthrex               Ankle Arthroscopy Case
 3/31/2016            90734972 Arthrex               C-mount AR Scope
 3/31/2016            90666361 Arthrex               instrument sets (6)
 3/31/2016            90669371 Arthrex               ACL instrument set
 3/31/2016            90579721 Arthrex               Misc Equipment
 3/31/2016 90559609, 90559608 Arthrex                Misc Equipment
 3/31/2016        1002428440 Bausch and Lomb         Instrument Tray
 3/31/2016            20174439 Claflin               Mobile floor lift
 3/31/2016            20173115 Claflin               Laryng blades
 3/31/2016            20177488 Claflin               Misc Instruments
 3/31/2016           206165740 Claflin               Misc Instruments
 3/31/2016               158853 Conmed               Airseal IFS, 110V
 3/31/2016               161247 Conmed               IFS Cart with Valve
 3/31/2016                42382 DB Surgical          Cobb-type Elev w lighweight handle (6)
 3/31/2016                42410 DB Surgical          Kennison Rongeur Micro (4)
 3/31/2016           901167206 Intuitive             Mega Suturecut ND, IS4000
 3/31/2016           901169798 Intuitive             Instrument Starter Kit
 3/31/2016           915994134 Johnson & Johnson     CMC-V Generator System
 3/31/2016        2523994836 Medtronic               Misc Instruments
 3/31/2016               753477 Network              Misc Instruments
 3/31/2016 0389628-in           Pedigo               IV Stands (20)
 3/31/2016           932430944 Philips               Fetal monitoring system
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3/31/2016              932466766 Philips                    Fetal monitoring system
3/31/2016                 370093 Steris                     Anesthesia Armboard (6)
3/31/2016              500656538 Steris                     Eagle st3med Vac install labor
3/31/2016              500656542 Steris                     Eagle st3med Vac
3/31/2016                6124780 Steris                     Misc Instruments
3/31/2016                 362498 Steris                     Misc Instruments
3/31/2016 1845089 M               Stryker                   Eye Surgery Stretcher
3/31/2016                6701565 The Bimeco                 Transport Incubator
3/31/2016                7232437 Verathon                   Laryngiscope Cart
7/31/2016               11243282 Intermetro                 Chrome Med carts
8/31/2016             6074045545 Carl Zeiss, Meditec, Inc   Equipment
8/31/2016                1188627 intermetro                 Equipment
8/31/2016 92026801                Olympus                    Cam head (3), telescope (5)
            247348a               Stryker                   Equipment
1/31/2017 OMMC77569582            Allen Medical Systems     Pal Pro Stirrups with clamp
5/31/2017              901531779 Intuitive Surgical         IS3000 sealer
5/31/2017              901523772 Intuitive Surgical         Endoscopes (4)
2/29/2016 OW13192                 3m                        2 attest auto reader
4/27/2016 913304528               Aesculap                  Tenaculum Grasper (2)
4/27/2016 913273466               Aesculap                  Right Angle Dissector (2)
4/29/2016 913863987               Aesculap                  Henly Retractor Set w/ accessories
4/29/2016              913367819 Aesculap                   OB instruments
6/21/2016              914236163 Aesculap                   Micro Pituitary Rongeur
2/29/2016               20583256 Alcon                      forceps, scrappers
2/29/2016               93506863 Applied Medical            reusable grasper handle
3/31/2016               90630979 Arthex                     Con OBT Sheath w/ handle (7)
4/29/2016               90823954 Arthex                     metal cannula
2/29/2016               90619618 Arthrex                    Shoulder instrument set
2/29/2016               90618371 Arthrex                    Tenodesis Instrument set
4/29/2016               90843353 Arthrex                    coupler, zoom, hd, c mount (2)
4/29/2016             7053099359 cardinal                   Holder triple glove box stainless steel (14)
3/31/2016               20175206 CLAFLINMedical Equipment LED Exam lamp (2)
4/29/2016 20165750                CLAFLINMedical Equipment Wis-Hipple fiber optic blades
4/26/2016 901165434               Intuitive Surgical        Misc Instruments- forceps, graspers, endoscope assy
 5/1/2016                3561802 Labsco                     nerve Stimulator (3)
9/20/2016              600467500 Mindray                    Ultasonic Transducer
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4/29/2016     828804 network             mounting bracket
3/31/2016            Olympus             Vacuum curettage system
4/29/2016   92226572 Olympus             Optical Urethrotome Sheath
4/29/2016   9130459 steris               Extron USB extender Plus
5/31/2017      12813 Karl Storz          flexible cystoscope
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TRX Date      Originating Document Number
                                   Originating Master Name

     5/18/2015 3172                 BENSONWEDD, LLC              Conference Room Chairs
     7/10/2015 0360.15              JE & SON SUPPLY              tankless Water Heater
     9/22/2015 3214                 BENSONWEDD, LLC              Interior Design, IKEA furniture
     9/24/2015 3219                 BENSONWEDD, LLC              Signage
     10/8/2015 PO TMMC 1027         BENSONWEDD, LLC              Furniture
     10/8/2015 PO TMMC 1028         BENSONWEDD, LLC              Furniture
    10/14/2015 116004               Future Health Concepts Inc   Cabinet and Shelving (9)
    10/31/2015 500657764            GE Healthcare                File Holder Cabinets
    10/31/2015 23130349, 23160420   Direct Supply                Frigerators (49), Microwaves (14)
    10/31/2015 9865539515, 9865966023,
                                   Grainger
                                       9865539507                Trash Cans, fire blanket
    10/31/2015 0380993-in           Pedigo                       Carts, hampers, stools
    12/20/2015 102815               ADVANCED ELECTRONICS         TV (56) and Cables
    12/31/2015 3255R                BENSONWEDD, LLC              Furniture - 3rd floor support
    12/31/2015 3256R                BENSONWEDD, LLC              Furniture - patient room
    12/31/2015 3253R                BENSONWEDD, LLC              Furniture - 3rd floor ptnt rm
    12/31/2015 3254R                BENSONWEDD, LLC              Furniture - 2nd floor support
    12/31/2015 3252R                BENSONWEDD, LLC              Furniture - 2nd floor ptnt room
    12/31/2015 3223R                BENSONWEDD, LLC              Furniture Purchase
    12/31/2015 9000322141           MIZUHO                       Table and Traction Boot
    12/31/2015 9000324107           MIZUHO                       Control, Imaging TOp
    12/31/2015 3263                 BENSONWEDD, LLC              Furniture - 1st Floor Furn
    12/31/2015 3264                 BENSONWEDD, LLC              Furniture - 2nd floor
    12/31/2015 3265                 BENSONWEDD, LLC              Furniture - 1st Floor
    12/31/2015 3266                 BENSONWEDD, LLC              Furniture- 1st Floor
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12/31/2015 3267                  BENSONWEDD, LLC              QS Recliners
12/31/2015 3268                  BENSONWEDD, LLC              Furniture - 3rd floor add on
12/31/2015 3269                  BENSONWEDD, LLC              furniture - Mirror/Evac
12/31/2015 3270                  BENSONWEDD, LLC              Furniture installation
12/31/2015 F15344                ASR                          Keypad Control
12/31/2015 24340967              HIll-Rom                     2nd FLoor ICU
12/31/2015 301340                Schaerer Medical             Surgery Table
12/31/2015 96180698              Leica                        Microtome, Crystat
12/31/2015 6953000024            Maquet                       Universal Core and Freight
 1/31/2016 753478                Network                      Roll Towel Dispenser (400)
 2/11/2016 23199106              Direct Supply                Side by Side Fridge
 2/29/2016 80192070              Datex Ohmeda, Inc            Infant warmer system
 4/23/2016 2016022               BENSONWEDD, LLC              Mirrors and Plexi Glass
 4/27/2016 3219R                 BENSONWEDD, LLC              Signs in Braille
 4/29/2016 2016073               BENSONWEDD, LLC              Moulding Supplies
 4/30/2016              2016072 BENSONWEDD, LLC               Misc Furniture
 5/31/2016 10.1.15 - 01.01.16, Adj Payable
                                    Aramark, BensonWedd       Smallwares
 6/30/2016                  2511 Office Furniture Warehouse   Conference Table
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The Miami Medical Center - Anesthesia Inventory 10/27/2017
Description                                                      Cat #          QTY EA
ANESTHESIA CIRCUITS                                              AMN520X4                 120
LOWER BODY WARMING BLANKET                                       MA2250-PB                 80
UPPER BODY WARMING BLANKET                                       MA2260PMB                110
GLOVE NON-STERILE SMALL                                          8811NB                    14
GLOVE NON-STERILE MEDIUM                                         8812NB                    15
GLOVE NON-STERILE LARGE                                          8813NB                    14
CHLORAPREP 10.5ML                                                260715                    75
SYRINGE TB 1CC                                                   309626                    85
GAUZE SPONGE UNSTERILE 4X4                                       NON25444                  10
ALCOHOL PREP PAD                                                 PHX1007                    9
NEEDLE BLUNT FILLED 18G X 1-1/2"                                 305180                  1000
CANNISTER SUCTION 1200CC                                         65651-212                 58
CATH IV 20GA X 1.16"                                             381534                   200
CATH IV 18GA X 1.16"                                             381544                   200
CATH IV 22GA X 1"                                                381523                    75
DRESSING TEGADERM 4 X 4-3/4"                                     1626W                    350
DRESSING TEGADERM 2-1/4 X 2-3/4"                                 1624W                    400
ELECTRODE RED DOT                                                2259-50                    5
EYE GUARD ADULT                                                  S2020                      4
MEDISORB ABSORBER                                                M1173311                  37
D-FEND WATER TRAP                                                M1182629                  46
TEMP PROBE                                                       21090A                    24
GLIDESCOPE SIZE 3                                                0270-0769                 15
GLIDESCOPE SIZE 4                                                0270-0770                 12
SYRINGE 3ML W/18GA X 1-1/2" NEEDLE                               305060                   150
SYRINGE 5ML W/21GA X 1-2.5" NEEDLE                               309633                   120
SYRINGE 10ML W/BLUNT CANNULA                                     303348                   120
SYRINGE 30ML LUER-LOCK                                           302832                   240
SYRINGE 60ML LUER -LOCK                                          309653                    80
CANNULA O2 CO2 7FT ADULT                                         2812F-10                 160
NEEDLE ECHO STIM 20GA X 4"                                       333648                    60
NEEDLE ECHO STIM 22GA X 2"                                       333642                    45
CANNULA NASAL CURVED 14FT                                        001326                   105
MASK OXYGEN REBREATHER W/7FT TUBING                              001205                    90
TUBE NASOGASTRIC 14FR                                            DC4614                    60
TUBE NASOGASTRIC 16FR                                            DC4616                    45
TUBE NASOGASTRIC 18FR                                            DC4618                    50
TUBE BOUGIE 15FR                                                 9-0212-70                 15
INFUSER PRESSURE 1000ML                                          IN900012                  40
SET RANGER WARMING                                               24250                     13
SENSOR LNCS O2 ADULT                                             2317                      45
JELLY 3GRAM                                                      LJ33107                  100
I.V. START KIT                                                   01-9000A                  80
TONGUE BLADE                                                     T10446                   300
SENSOR BIS MONITOR                                               186-0106                  55
TRAY SPINAL 25GA X 3.5                                           405721                    33
TRAY CONTINUOUS EPIDURAL                                         332079                    16
PROECTOR EYE BLUE STERILE                                        9-0210-00                 55
STYLET 14FR                                                      85865                     60
TUBE ENDOTRACH 6MM                                               86109                     10
TUBE ENDOTRACH 6.5MM                                             86110                     10
TUBE ENDOTRACH 7.0MM                                             86111                     45
TUBE ENDOTRACH 7.5MM                                             86112                     40
TUBE ENDOTRACH 8.0MM                                             86113                     15
TUBE ENDOTRACH 8.5MM                                             86114                     12
AIRWAY GUEDEL 60MM                                               311060                    10
AIRWAY GUEDEL 70MM                                               311070                    10
AIRWAY GUEDEL 80MM                                               311080                   120
AIRWAY GUEDEL 90MM                                               311090                   150
AIRWAY GUEDEL 100MM                                              311100                   120
HANDLE YANKAUER SUCTION                                          K86                       65
AIRWAY I-GEL SIZE 3                                              8203000                   60
AIRWAY I-GEL SIZE 4                                              8204000                   75
AIRWAY I-GEL SIZE 5                                              8205000                   53
SET PRESSURE MONITORING A-LINE                                   PX284AN                    5
KIT MULTI-LUMEN CDC                                              AK-45703-CDC               4
TOTAL
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DESCRRIPTION                           CAT #          LOT#         EXP. DATE     QTY
MASK O2 NON-REBREATH ADULT 7FT         1211                                      1
SENSOR LNCS ADTX-3 ADULT               2317                                      5
SENSOR LNCS INFANT DISP                2319                                      5
TAPE SURG MEDIPORE 2INX10YD            2862                                      3
SHOECOVER DURA FIT XL 200/PR           4854                                      1
ULTRASOUND GEL 250ML BTL               5010                                      1
WASHCLOTH COMFORT MOIST ADULT          7900                                      4
TISSUE FACIAL 5.7X7IN 2PLY 40E         48550                                     1
BELT LIFE TRACE AB                     56101                                     1
SLEEVE SCD KNEE MEDIUM                 74022                                     9
SLEEVE SCD KNEE LARGE                  74023                                     6
FOOTWEAR HIGH RISK YELLOW LG           90381                                     1
SUTURE SURGIDAC ENDO STITCH 2-0 ES-9   173023         LBK069       1/31/2022     1
APPLICATOR 26ML 2 PERCENT              260815                                    2
SYR 10CC SLIP TIP                      301604                                    2
SYRINGE 20ML LUER SLIP                 302831                                    4
SYRINGE 30ML LUER LOCK                 302832                                    4
NDL HYPODRMIC SAFETY 21GX1             305915                                    2
NEEDLE HYPO 22GX1.5 IN                 309626                                    1
SYR INSLN 1CC 29GX1/2 SFTYLOK          329464                                    1
BACTEC LYTIC/10 ANAER                  442021                                    1
FOLEY CATHETER TRAY 16F STATLK         800361                                    1
MASK SUG FOG WITH EYESHIELD            1074635                                   1
12ML SYRINGE REGULAR LUER TIP          1181200555                                1
SYRINGE LUER LOCK WOUT TIP 35C         1183500777                                3
CUFF PHILIPS SMALL ADULT DISP          989803182291                              1
SPIROMETER INC DISP ADULT 4000         001902A                                   1
KIT IV START 1624 FREPP                01-9000A                                  1
SYR SALINE FLUSH 10ML                  14011-240      KJZ333       7/31/2021     1
SUTURE CHROMIC GUT 4-0 P-3 18"         1654G          LGK072       5/2022        1
SUTURE ETHILON 3-0 PS-1 18"            1663H          LEH105       4/30/2022     1
SUTURE ETHILON 5-0 PS-2 18"            1666H          LJJ294       7/31/2022     1
SUTURE ETHILON 4-0 PS-2 18"            1667H          LDP549       3/31/2022     1
SUTURE ETHILON 3/0 18IN BLACK PS-2     1669H          LCH391       2/28/2022     1
SUTURE ETHILON 3/0 18IN BLACK PS-2     1669H          JMB848       10/31/2020    1
SUTURE ETHILON 3-0 PS-2 18"            1669H          LEJH555      4/30/2022     1
SUTURE PROLENE 9-0 TG140-8 6"          1754G          KMJ078       10/31/2021    1
SUTURE PROLENE 9-0 TG140-8 6"          1754G          JPP145       11/30/2020    1
SUTURE ETHIBOND 9-0 BV130-5            2809G          KMZ865       10/31/2021    2
SUTURE ETHILON 8-0 BV130-4             2815G          LAM919       12/31/2021    1
TOWEL OR 17X24 BLUE STER 4/PK          28700-004                                 8
RESUSCITATOR BAG NEONATE               2K7201                                    1
BACTEC PEDS PLUS/F                     4402194A                                  1
SUTURE CHROMIC GUT 1 BP 27"            48G            JMH305       10/31/2020    1
SUTURE ETHILON 2 LR 30"                490T           JDJ615       7/2019        1
SUTURE ETHILON 2-0 FS 18"              664H           KLH120       9/30/2021     1
FOOTWEAR PATIENT XL GREY               68123-GRY                                 1
FOOTWEAR PATIENT LARGE TAN             68123-TAN                                 1
SUTURE ETHILON 5-0 P-3 18"             698H           LHH410       6/30/2022     1
SUTURE ETHILON 4-0 P-3 18"             699H           KPH494       11/30/2021    1
SUTURE ETHILON 4-0 P-3 18"             699H           KLH799       9/30/2020     1
SUTURE ETHILON 4-0 P-3 18"             699H           KJQ202       7/31/2021     1
FOLEY CATHETER KIT 5CC 16FR            710016S                                   1
BAG BELONGING PERSONAL                 75-834-190                                1
SUTURE CHROMIC GUT 2-0 CT-1 27"        811H           JL6348       9/2020        1
SUTURE CHROMIC GUT 0 27IN CT-1         812H           LDM988       3/31/2022     1
SUTURE CHROMIC GUT 0 27IN CT-1         812H           JMH956       10/31/2020    1
SUTURE PROLENE 2-0 CT-2 30"            8411H          JMJ602       10/31/2020    1
SUTURE PROLENE 3-0 CT-1 30"            8422H          JME576       10/31/2020    1
SUTURE PROLENE 1 CT-1 30"              8425H          LEJ217       4/30/2022     1
SUTURE PROLENE 3-0 SH 36"              8522H          JKP513       8/31/2020     1
SUTURE PROLENE 2-0 SH 36"              8523H          JLJ482       9/30/2020     1
SUTURE PLAIN 2/0 27IN CT GS-24 CT      853H           LGK304         5/31/2021   1
SUTURE PROLENE 4-0 RB-1 36"            8557H          JMJ468       10/31/2020    1
SUTURE PROLENE 3-0 KS 30"              8622H          JEQ775       4/1/2020      1
SUTURE PROLENE 3-0 PS-2 18"            8687H          LCH849       2/28/2022     1
SUTURE PROLENE 6-0 RB-2 30"            8711H          LCJ941       2/28/2022     1
SUTURE PROLENE 5-0 C-1 36"             8720H          LBB369       1/31/2022     1
SUTURE PROLENE 5-0 C-1 36"             8720H          KLQ081       9/30/2021     1
SUTURE PROLENE 2-0 SH 30"              8833H          LAJ203       12/31/2021    1
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SUTURE ETHILON 10-0 CS140-8 10"         9033G        JLZ470            9/30/2020     1
SUTURE CHROMIC GUT 2-0 CTX 36"          903H         JLK816            9/2020        2
SUTURE CHROMIC GUT 0 36IN CTX           904H         JLQ670            9/30/2020     3
SUTURE CHROMIC GUT 0 36IN CTX           904H         KJS899            7/31/2021     3
SUTURE CHROMIC GUT 0 CTX 36"            904H         JL5390            9/2020        1
SUTURE CHROMIC GUT 2/0 36IN CT-1        923H         KEB902            4/30/2021     1
                                                                       7/31/2021-
                                                     KJ2728 -KHM635
SUTURE CHROMIC GUT 2/0 36IN CT-1        923H                           6/30/21       4
SUTURE CHROMIC GUT 0 CT-1 36"           924H         KM6740            10/2021       1
SUTURE CHROMIC GUT 1 36IN CT-1          925H         KKJ519            8/31/2021     1
SUTURE CHROMIC GUT 1 36IN CT-1          925H         LEM661            4/30/2021     1
SUTURE CHROMIC GUT 1 CT-1 36"           925H         JL6853            9/2020        1
SUTURE CHROMIC GUT 1 V-34 36"           945H         JK5591            8/2020        2
CLOTH CHLORHEXIDINE GLUCONATE           9707A                                        1
CIRCUIT ANES ADULT 72IN LIMBO           AMN520X4                                     1
SET COMB AND BRUSH BABY                 BBRCMSET                                     1
CANNULA NASAL CRVD 14FT                 CF1326                                       1
TUBING SUCTION CONNECTING 10'           CFN510                                       2
SUTURE ETHIBOND 0 CT-1 18"              CX21D        KLQ183            9/30/2021     1
SUTURE CHROMIC GUT 4-0 SH 27"           G121H        JMK870            10/2020       1
SUTURE CHROMIC GUT 2/0 27IN SH          G123H        LC6866            2/28/2022     1
SUTURE CHROMIC GUT 2/0 27IN SH          G123H        LAM104            12/31/2021    1
SUTURE CHROMIC GUT 2 TP-1 60"           GL31G        JEP433            4/2020        1
UNDERPAD 30X30 SUPERABSORB              H-3030/5                                     8
SUTURE VICRYL 4-0 STRAND 12X18"         J109T        JKM365            8/31/2020     1
SUTURE VICRYL 4-0 RB-1 27"              J214H        KLK437            9/30/3021     1
SUTURE VICRYL 3-0 RB-1 27"              J215H        KMM822            10/31/2021    1
SUTURE VICRYL 3-0 RB-1 27"              J215H        LD6725            3/31/2022     1
SUTURE VICRYL 3-0 CT-2 27"              J232H        LG2324            5/31/2022     2
SUTURE VICRYL 0 CT-2 27"                J270H        LA7875            12/31/2021    1
SUTURE VICRYL 3-0 CT-1 36"              J344H        LJ8026            7/31/2022     2
SUTURE VICRYL 0 CT 36"                  J358H        KH2997            6/30/2021     1
SUTURE VICRYL 0 CT 36"                  J358H        LG2811            5/31/2022     1
SUTURE VICRYL 1 CTX 27"                 J365H        KHZ049            6/30/2021     1
SUTURE VICRYL 1 CTX 27"                 J365H        KM6930            10/31/2021    2
SUTURE VICRYL 0 CTX 36"                 J370H        LGZ328            5/31/2022     1
SUTURE VICRYL 1 36IN VIOLET CTX         J371H        LAP477            12/31/2021    3
SUTURE VICRYL 1 36IN VIOLET CTX         J371H        KKK858            8/31/2021     4
SUTURE VICRYL 2/0 27IN UNDYED           J417H        KG7101              5/31/2021   2
SUTURE VICRYL 2-0 SH 27"                J417H        LG8530            5/31/2022     1
SUTURE VICRYL 4-0 PS-2 27"              J426H        LAG911            12/31/2021    1
SUTURE VICRYL 5-0 P-3 18"               J493H        KPZ766            11/30/2021    1
SUTURE VICRYL 4-0 P-3 18"               J494H        KJM936            7/31/2021     1
SUTURE VICRYL 2-0 UR-6 27"              J602H        JM6373            10/31/2020    2
SUTURE VICRYL 2-0 STRAND 54"            J607H        LAZ439            12/31/2021    1
SUTURE VICRYL 0 STRAND 54"              J608H        JLK274            9/30/2020     1
SUTURE VICRYL 0 STRAND 54"              J608H        LHM383            6/30/2022     1
SUTURE VICRYL 0 STRAND 54"              J608H        JLK274            9/30/2020     1
SUTURE VICRYL 2-0 STRAND 3X18"          J645H        LAM733            12/31/2021    1
SUTURE VICRYL 2 TP-1 4X27"              J649G        KDM026            5/31/2021     1
SUTURE VICRYL 2-0 SH 8X18"              J775D        LBK156            1/31/2022     2
SUTURE VICRYL 2-0 SH 8X27"              J785G        LAK455            12/31/2021    5
SUTURE VICRYL 0 CT-1 8X18"              J840D        LJ2301            7/31/2022     1
SUTURE VICRYL 3/0 36IN UNDYED CT-1      J912G        JMH735            10/31/2020    1
SUTURE VICRYL 3/0 36IN UNDYED CT-1      J912G        JMK382            10/31/2020    1
SUTURE VICRYL 1 STRAND 12X18"           J913G        JKM234            8/31/2020     1
SUTURE VICRYL 4-0 PS-1 27"              J935H        KE6963            4/30/2021     1
SUTURE VICRYL 3/0 36IN UNDYED CT-1      J944H        KEJ512            4/30/2021     2
SUTURE VICRYL 3/0 36IN UNDYED CT-1      J944H        LDK091            3/31/2021     2
SUTURE VICRYL 2-0 CT-1 36"              J945H        LJZ826            7/31/2022     1
SUTURE VICRYL 0 CT-1 36"                J946H        JK6426            8/31/2020     1
SUTURE VICRYL 1 CT-1 36"                J947H        LGZ880            5/31/2022     1
                                                     KLZ664/KGZ522/K   9/30/2021-
SUTURE VICRYL 1 36IN UNDYED CTX GS-25   J977H        JM479             5/31/21       5
SUTURE VICRYL 1 CTX 36"                 J977H        LEZ479            4/30/2022     1
SUTURE VICRYL 0 36IN UNDYED CTX         J978H        LE6708              4/30/2022   1
SUTURE VICRYL 0 CT-1 8X27"              JJ41G        LJ7027            7/31/2022     1
SUTURE PERMAHAND SILK 0 SH 30"          K834H        LDP757            3/31/2022     1
SUCTION YANKAUER CLEAR BULB TP          K86                                          1
CIRCUIT NEONATAL T-PIECE                M1091335VS                                   3
SUTURE ETHIBOND 5 V-40 30"              MB46G        LB6393            1/31/2022     1
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MESH PANTS LARGE                                MP71040                                   1
SUTURE MERSILENE 12IN WHITE CTX                 RS22         KPB982         11/30/2021    1
SUTURE MERSILENE 12IN WHITE CTX                 RS22         JLJ131         8/30/2020     1
SUTURE MERSILENE 5.0MM CTX 12"                  RS22         KGD908         5/31/2021     1
SUTURE MERSILENE 5.0MM CTX 12"                  RS22         KLQ568         9/30/2021     1
SUTURE CHROMIC GUT 1 STRAND 54"                 S115H        JKZ922         8/2020        1
SUTURE CHROMIC GUT 2-0 STRAND 12X18"            SG13T        JH2998         6/2020        1
SUTURE CHROMIC GUT 0 STRAND 12X18"              SG14T        KH6557         6/2021        1
SUTURE CHROMIC GUT 1 STRAND 12X18"              SG15T        JK5423         8/2020        1
SUTURE STRATAFIX 3-0 SH                         SXMD1B405    KA6415         12/31/2020    1
SUTURE STRATAFIX 3-0 RB-1 16X16                 SXMD2B402    KP2982         11/30/2021    3
SUTURE STRATAFIX 2-0 CT-1                       SXPD1B400    KP2101         11/30/2021    2
SUTURE STRATAFIX 1 CTX 36X36CM                  SXPD2B405    AAA0292        12/31/2021    2
SUTURE STRATAFIX 2-0 MH 36X36                   SXPD2B412    LB6629         1/31/2022     2
SUTURE STRATAFIX 1 CT-1 18"                     SXPP1A404    LC6970         2/28/2019     2
SUTURE STRATAFIX 1 CT-1 18"                     SXPP1A404    LB1416         1/31/2019     1
SUTURE VICRYL ANTIBACTERIAL 2-0 12X18"          VCP111G      LGM081         5/31/2022     1
SUTURE VICRYL ANTIBACTERIAL 0 6X18"             VCP112G      LHZ715         6/30/2022     1
SUTURE VICRYL ANTIBACTERIAL 1 CT-2 27"          VCP335H      KB7CB5         1/31/2021     1
SUTURE VICRYL ANTIBACTERIAL 1 CT-2 27"          VCP335H      KD2637         3/31/2021     1
SUTURE VICRYL ANTIBACTERIAL 3-0 PS-2 27"        VCP427H      KEZ539         4/30/2021     1
SUTURE VICRYL ANTIBACTERIAL 1 MO-4 8X18"        VCP702D      LCZ708         2/28/2022     2
SUTURE VICRYL ANTIBACTERIAL 0 CT 8X18"          VCP752D      KP2527         11/30/2021    1
SUTURE VICRYL ANTIBACTERIAL 0 CT 8X18"          VCP752D      KPZ155         11/30/2021    1
SUTURE VICRYL ANTIBACTERIAL 0 CT 8X18"          VCP752D      LHZ581         6/30/2022     2
SUTURE VICRYL ANTIBACTERIAL 2-0 CP-2 18"        VCP762D      KPM885         11/30/2021    2
SUTURE VICRYL ANTIBACTERIAL 2-0 MO-6 18"        VCP789D      LA6574         12/31/2021    1
SUTURE VICRYL ANTIBACTERIAL 1 CT-1 8X18"        VCP841D      KL8213         9/30/2021     1
SUTURE VICRYL RAPIDE 4-0 PS-2 18"               VR496        LE7067         4/30/2022     1
SUTURE VICRYL RAPIDE 3/0 27IN UNDYED PS1        VR935        LBJ483         1/31/2022     1
SUTURE VICRYL RAPIDE 3/0 27IN UNDYED PS1        VR935        AE9282         4/30/2021     1
BONE WAX                                        W31G         AE8552         3/31/2021     1
SUTURE ETHIBOND 0 30IN GREEN CT-1               X424H        EKHZ552        6/30/2021     4
SUTURE ETHIBOND 0 30IN GREEN CT-1               X424H        JMH964         04/31/2020    1
SUTURE ETHIBOND 0 CT-1 30"                      X424H        KLJ021         9/30/2021     1
SUTURE ETHIBOND 1 OS-4 30"                      X518H        LDM814         3/31/2022     2
SUTURE ETHIBOND 2-0 SH 36"                      X523H        JMZ686         10/31/2020    1
SUTURE ETHIBOND 1 CTX 30"                       X865H        KM6646         10/31/2021    3
SUTURE ETHIBOND 0 V-7 36"                       X905H        LBZ573         1/31/2022     1
SUTURE MONOCRYL 4-0 RB-1 27"                    Y214H        J7F1846X       6/30/2022     1
SUTURE MONOCRYL 3-0 RB-1 27" UNDYED             Y215H        MDVM730        3/31/2022     1
SUTURE MONOCRYL 3-0 RB-1 27" VIOLET             Y305H        MDTJ910        5/31/2021     1
SUTURE MONOCRYL 2-0 CT-1 27"                    Y339H        MDVM720        3/31/2022     1
SUTURE MONOCRYL 0 36IN VIOLET CTX GS-25         Y398H        KJZ800           7/31/2021   4
SUTURE MONOCRYL 1 36IN VIOLET CTX GS-25         Y399H        KKM015           8/31/2021   3
SUTURE MONOCRYL 4-0 SH 27"                      Y415H        JMM824         10/31/2020    4
SUTURE MONOCRYL 3-0 SH 27"                      Y416H        MBAN420        2/28/2021     2
SUTURE MONOCRYL 3-0 SH 27"                      Y416H        JMZ686         10/31/2020    3
SUTURE MONOCRYL 4-0 P-3 18"                     Y494G        MDVA950        10/31/2021    3
SUTURE MONOCRYL 4-0 PS-1 27"                    Y935H        MDVG620        1/31/2022     1
SUTURE MONOCRYL 4-0 PS-1 27"                    Y935H        JLZ470         9/30/2020     2
SUTURE MONOCRYL 0 4X27IN VIOLET CT1             YY31G        KHM431           6/30/2021   4
SUTURE PDS II CT-2 27"                          Z334H        JMM386         10/31/2020    2
SUTURE PDS II 2/0 27IN CT-1                     Z339H        KKJ009         8/31/2021     2
SUTURE PDS II 2/0 27IN CT-1                     Z339H        KJZ804         8/31/2021     2
SUTURE PDS II 0 CT-1 27"                        Z340H        JL6547         9/30/2020     2
SUTURE PDS II 1 36IN CTX GS-25 CTX/GS-25/T-20   Z371T        KCM872           2/28/2021   1
SUTURE PDS II 0 CT-1 8X18"                      Z740D        JLK295         9/30/2020     2
SUTURE PDS II CT-1 8X18"                        Z741D        JLZ280         9/30/2020     2
CUTTER PROXIMATE LINEAR 55MM                    TLC55        N4LAIA         2/28/2021     3
CUTTER PROXIMATE LINEAR 55MM                    TLC55        N4L82W         2/28/2021     3
CUTTER PROXIMATE LINEAR 75MM                    TLC75        M4JA56         11/30/3020    6
APPLIER LIGACLIP LARGE                          MCL20        N4LX28         7/31/2021     6
APPLIER LIGACLIP LARGE                          MCL20        N4M474         9/30/2021     6
APPLIER ENDOCLIP 5MM                            176620       N6K0760CX      10/31/2021    2
APPLIER ENDOCLIP 5MM                            176620       N5C0703X       3/31/2020     5
STAPLER PROXIMATE LINEAR 60MM                   TX60B        M4J77J         10/31/2020    6
STAPLER SKIN INSORB                             2030         170901         2/1/2019      6
STAPLER SKIN INSORB                             2030         170701         2/1/2019      6
STAPLER SKIN INSORB                             2030         172601         6/1/2019      6
TROCAR WITH SLEEVE 12MM X 100MM                 CB12LT       P4RA1G         2/28/2022     6
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BAG ENDO RETRIEVAL 4" X 6"            POUCH     P4T207        8/31/2022   6
ENDO PADDLE RETRACTOR 12MM            173046    P7G0262X      7/31/2021   8
ENDO STITCH DEVICE 10MM               173016    J7D0665X      4/30/2022   1
LIGASURE CURVED LARGE JAW 36MM-18CM   LF4418    7006010Y      1/5/2020    8
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CL CATHETER EXT SET/LUER ACT.V     2N8378    200
0.9% SODIUM CHL IRRIGATION,500               192
Y-TYPE TUR-BLADDER IRRIGATIONS       2C4041 384
CONTINU-FLO SOLN. SET, 3 LUERA       2C8537 408
CL NON-DEHP EXT SET 43",2 CLSI       2H8631 576
CLEARLINK DUO-VENT C-FLO SET10       2C8541 351
CLEARLINK EXTENSION SET, 2INJ        2C8612 372
CLEARLINK EXTENSION SET, 2INJ        2C8931 1584
DUAL LUER LOCK CAP, PACKAGED -       2C6250 1006
DUAL LUER LOCK CAP, PACKAGED -       2c8720 1104
IV FAT EMULSION ADMINISTRATION       2c1145 125
1.2 MICRON EXTENSION SET             2c1103 226
CL SECONDARY MED SET, LUERLOCK       2C8720 768
0.9% SOD CHL INJ, USP VIAFLEXP       2b1324x 615
LACTATED RINGER INJECTION, USP       2B2324X 222
1.2 MICRON EXTENSION SET             7n8399 700
0.9% SOD CHL IRRIG, USP, 3000M       2b7477 104
CL SECONDARY MED SET, LUERLOCK       2C7462 716
SOLUTION SET LUER VALVE 60 DPM       2C8402 96
                                     2C8607 144
EXTENSION SET CLEARLINK 4 WAY STOPCOCK
SOLUTION SET INTERLINK N-DEHP        2H6490 48
1.5% GLYCINE FOR IRRIG USP, 30       2b7317 48
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The Miami Medical Center - OR/SPD Core Inventory 10/27/2017
Description                                                       Cat #            QTY EA
PENCIL BOVIE CAUTERY                                              E2350H                     35
BLADE ELECTRODE 6.5"                                              E1450-6                    91
BLADE ELECTRODE 6.5"                                              E1450-6                    34
BLADE ELECTRODE 3"                                                E1450G                     63
CATHETER RED RUBBER 10FR                                          0094010                    50
CATHETER TRAY W/16FR CATH LATEX-FREE                              907316                     22
CATHETER 2-WAY SILICONE 20FR/30CC                                 0166V20S                   11
DRAINAGE BAG 2000ML                                               154102                     10
DRAPE ARTHROSCOPY                                                 9414                       15
TABLE COVER                                                       8377                       50
DRAPE BEACH CHAIR SHOULDER                                        29369                      12
DRAPE BILATERAL EXTREMITY                                         29417                       8
DRAPE C-ARMOR                                                     5523                       45
DRAPE IMPERVIOUS SPLIT                                            89331                      35
IOBAN 2 DRAPE 23" X 17"                                           6650EZ                    100
DRAPE LAVH                                                        29474                      10
STERI-DRAPE IRRIGATION POUCH 1016                                 1016                       75
STERI-DRAPE U-DRAPE 1015                                          1015                       50
STERI-DRAPE INSTRUMENT POUCH 1018                                 1018                       40
STERI-DRAPE 1010                                                  1010                       80
SHEET EXTREMITY                                                   29405                      17
DRAPE HAND                                                        29427                      25
DRAPE HIP                                                         29439                      10
DRAPE LAP CHOLECYSTECTOMY                                         9428                       10
SHEET LAPAROTOMY                                                  9412                       15
MAYO STAND COVER REGULAR                                          8337                       88
MAYO STAND COVER X-LARGE                                          8339                       45
DRAPE MINOR PROCEDURE                                             29496                      15
LEGGINGS                                                          8430                       42
SHEET THRYROID                                                    89258                      10
SHEET SPLIT                                                       29440                      30
BANDAGE WRAP ACE STERILE LATEX FREE 4"                            23593-14LF                 58
BANDAGE WRAP ACE STERILE LATEX FREE 6"                            23593-16LF                 70
BANDAGE STRETCH 3"                                                2232                       50
BANDAGE STRETCH 6"                                                2238                       15
STERI-STRIP 1/2" X 4"                                             R1547                      75
DRESSING NON-ADHERENT STRIP 3" X 3"                               6112                       50
DRESSING NON-ADHERENT STRIP 3" X 8"                               6113                       50
DRESSING XEROFORM 1" X 8"                                         8884433301                 75
DRESSING XEROFORM 5" X 9"                                         8884433605                 20
DRESSING SPONGE 2" X 2"                                           1806                       65
MASTISOL                                                          0523                       50
VAGINAL PACKING                                                   31-140                     20
DRESSING TELFA 4" X 3"                                            1050                       75
DRESSING TELFA 8" X 3"                                            1238                       50
CAST PADDING WEBRIL 4"                                            2502                       52
SPONGE IV DRAIN 4 X 4                                             441407                     75
DRESSING SPONGE 4 X 4 (10 EACH PER TRAY)                          6939                       65
DRESSING KERLIX                                                   441106                     40
STOCKINETTE 8" X 48"                                              9608-48                    25
STOCKINETTE 10" X 48"                                             23646-960                  23
STERI-STRIP BENZOIN TINCTURE .5ML                                 C1544                      10
DRESSING OPSITE 11-3/4" X 11"                                     4987                       25
ATHLETIC SUPPORTER LARGE                                          02570                       5
WET SKIN SCRUB PACK                                               4468                       21
BANDAGE WRAP COBAN LATEX-FREE 6"                                  1586S                      42
GLOVE SMT STERILE SIZE 6-1/2                                      2D72PT65X                  50
GLOVE SMT STERILE SIZE 6                                          2D72PT60X                  50
GLOVE SMT STERILE SIZE 7-1/2                                      2D72PT75X                 100
GLOVE SMT STERILE SIZE 7                                          2D72PT70X                 100
GLOVE SMT STERILE SIZE 8-1/2                                      2D72PT85X                 100
GLOVE SMT STERILE SIZE 8                                          2D72PT80X                 100
LIGACLIP CLIP APPLIER LARGE                                       MCL20                      15
ENDO CLIP APPLIER 5MM                                             176620                      7
LIGACLIP CLIP APPLIER 10MM                                        ER320                       6
COTTON BALL STERILE                                               C15000-300                 60
NEEDLE COUNTER 60/100                                             4FM100SBBL                 30
SUCTION HANDLE MEDI-VAC                                           K61                        10
FRAZIER SUCTION 10FR CONTROL VENT TIP                             0033100                    36
FRAZIER SUCTION 10FR OLIVE TIP                                    DC3311                    100
SUCTION POOLE                                                     K770                       10
SURGIFOAM 100                                                     1974                        2
SURGICEL HEMOSTAT 4" X 8"                                         1952                       20
LIGACLIP CLIP APPLIER MEDIUM                                      MCM20                      10
LIGACLIP CLIP APPLIER SMALL                                       MCS20                       7
BAG DECANTER                                                      2002S                      40
SURGI-BRA BREAST SUPPORT MEDIUM                                   46518-02LF                  3
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VACURRETTE CURVED 8MM                           20317                 8
VACURRETTE CURVED 10MM                          21553                10
VACURRETTE CURVED 11MM                          21554                11
VACURRETTE CURVED 12MM                          21555                14
VACURRETTE CURVED 7MM                           21853                 9
RELOAD PROXIMATE BLUE 75MM                      TCR75                12
CAUTERY TIP CLEANER                             300-2SS             220
CERIFY VISUALIZATION SYSTEM                     21-345               23
COLLECTION TUBING SET                           23116                10
SPONGE X-RAY                                    441002               25
EVACUATOR 100CC                                 0073310              20
DRY SKIN SCRUB TRAY                             41523                35
LAP SPONGE 18" X 18"                            23250-400A           75
DRAPE LITHOTOMY                                 29455                17
CATHETER TRAY W/16FR CATH LATEX                 800361               12
TRAY ADULT PUNCTURE                             4301C                 2
SPONGE NEURO 1/2" X 1/2"                        30-054               28
SPONGE NEURO 1" X 1"                            30-059               56
PEANUT SPONGE                                   30-106               24
BLADE #15                                       371115              100
EVACUATOR 100CC                                 0070740              30
PEN SURGICAL MARKING STERILE                    250PRL               50
MASK SURGICAL BLUE ANTI-FOG                     AT54535               6
O.R. TOWEL BLUE                                 704-B                53
LIGASURE IMPACT OPEN INSTRUMENT 36MM-18CM       LF4418                2
SHEET TRANSVERSE LAP                            89281                10
WET SKIN SCRUB PACK                             4420                 18
TROCAR BLADELESS 5MM X 100MM                    B5LT                 12
MAXILOOP RED                                    30-742               13
ULNAR FOAM PROTECTOR PINK                       31143095             36
ARM SLING LARGE                                 8017-53              10
ARM SLING MEDIUM                                8017-52              10
ARM SLING X-LARGE                               8017-54              10
SURGI-BRA BREAST SUPPORT LARGE                  46518-03LF            4
ALCOHOL 16-OZ                                                         5
ACE SHEARS HARMONIC CURVED 5MM X 36CM           HAR36                 5
STAPLER SKIN 35 WIDE                            PXW35                24
NEEDLE TRU-CUT 14GA X 15CM                      2N2704X               7
NEEDLE HYPODERMIC 18GA X 1-1/2"                 305196              150
SYRINGE CONTROL 10ML                            309695               30
NEEDLE HYPODERMIC 25GA X 1-1/2"                 305127              100
NEEDLE HYPODERMIC 22GA X 1-1/2"                 305159               50
NEEDLE SPINAL 18GA X 3-1/2"                     405184               40
NEEDLE SPINAL 22GA X 3-1/2"                     BF405181A            25
SYRINGE 10ML LUER LOCK                          309604               25
SYRINGE 20ML LUER LOCK                          302830               25
SYRINGE 60ML LUER LOCK                          309653               15
SYRINGE ASEPTO BULB 60CC                        0035280              16
TUBING SUCTION 10'                              N510                 42
TUBING CONNECTOR 5-IN-1                         501                  50
ELECRODE MEGADYNE 2.5"                          0012                 10
INTERPULSE HANDPIECE                            0210-114-000         15
HOOD FLYTE PEEL AWAY                            0408-800-100         75
DRAPE THREE QUARTER                             29350                50
GLOVE BIOGEL SIZE 7                             30470-01             50
GLOVE BIOGEL SIZE 7-1/2                         30475-01             50
GLOVE BIOGEL SIZE 8                             30480-01             50
GLOVE BIOGEL SIZE 8-1/2                         30485-01             50
DERESSING ABD                                   7196D                72
PAD MAGNETIC INSTRUMENT                         200-16B              53
SUCTION COAGULATOR 10FR / CH-6"                 E3310                25
PIN CASPAR DISTRACTION 14MM                     FF904SB              15
COVER LIGHT HANDLE                              LB53                100
HAND PODIATRY PACK                              SOP22HAMMA           12
NEEDLE INSUFFLATION ULTRA VERESS 120MM          UV120                12
HYDROGEN PEROXIDE 16-OZ                                               4
CHLORAPREP 26ML                                 260815               50
D AND C PACK                                    SMA22DIMMA           25
BLADE #11                                       D2865-11             50
GLOVE BIOGEL SIZE 6-1/2                         304650               50
CULTURE SWAB RED CAP                                                 46
LIMB HOLDER                                     M2029                10
RETINA CUSTOM PACK                              16921-01              8
ROBOTIC CUSTOM PACK                             SBA22GRBAB            2
NEEDLE INSUFFLATION 150MM                       PN150                 8
HEMOVAC SUCTION KIT 400CC / 15FR                0043630              16
SEAL MYOSURE                                    40-902               15
BUR FLUSHCUT OVAL 6-FLUTE 5.5MM X 13CM          AR-8550FOS            5
BLADE DOUBLECUT 4.0MM                           AR-8400DC             2
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FLOSEAL 5ML                                               1503350                 12
ALCOHOL 4-OZ                                                                      10
HIBICLENS 4-OZ                                                                    10
BASIN SETUP PACK                                          SUT22BAMMA               6
OSTEOCELL MEDIUM                                          5016005                  7
CANNULA LOW PROFILE 5MM X 7CM                             AR-6548                  5
SHAVER SABRETOOTH STRAIGHT 4.0MM                          AR-8400ST               10
GENERAL LAPAROTOMY CUSTOM PACK                            SLC22GLMMA               4
NEURO CUSTOM PACK                                         SNE22NPMMA               6
EVICEL 2ML                                                3902                     8
EVICEL 5ML                                                3905                     3
CANNULA TWIST-IN 7MM X 7CM                                AR-6570                  5
SHAVER SABRETOOTH STRAIGHT 5.5MM                          AR-8550ST                5
ABLATOR ASPIRATING COOLCUT 90                             AR-9803A-90              6
BUR CLEARCUT OVAL 8-FLUTE 5.5MM X 13CM                    AR-8550COE               5
ZIP 16 CLOSURE DEVICE                                     PS1160                   5
CANNULA TWIST-IN NOTCHED                                  AR-6530N                 5
MILL BLADE STRYKER                                        5400-701-000             6
MIXER CEMENT MIXEVAC 3 BIONE                              0206-015-000            10
MASK SURGICAL GREEN ANTI-FOG                              49215                   15
MYOSURE X-LARGE                                           50-503XL                 4
DEVICE MYOSURE X-LITE                                     30-403LITE               2
TUBE SET AQUILEX INFLOW                                   AQL-110                 15
TUBE SET AQUILEX OUTFLOW                                  AQL-111                 15
RELOAD ECHELON VASCULAR 2.5MM                             VASECR35                12
STAPLER VASCULAR ECHELON POWERED FLEX 35MM                PVE35A                   6
LINEAR STAPLER PROXIMATE GREEN 30MM                       TX30G                    3
RELOAD ECHELON 3.8MM GOLD                                 GST60D                   2
RELOAD ECHELON 4.1MM GREEN                                GST60G                  12
BALL TIP PROBE NIM SPINE                                  9450015                  5
BONE CUTTER 4.0MM                                         AR-8400BC                5
BONE CUTTER 5.5MM                                         AR-8550BC                5
TUBING INFLOW                                             AR-6410                 10
SHAVER SABRETOOTH STRAIGHT 5.0MM                          AR-8500ST               10
SHAVER TORPEDO CURVED 4.0MM X 13CM                        AR-8400CTD               5
STARSLEEVE                                                AR-1606C                10
CEMENT SIMPLEX P WITH TOBRAMYACIN                         6197-9-010              11
CEMENT SIMPLEX HV WITH GENTAMIACIN                        6195-1-010              15
FALOPE-RING                                               FRB-30                  25
TUBE SET AIRSEAL TRI-LUMEN                                ASM-EVAC                10
OBTURATOR AIRSEAL BLADELESS 12MM X 120MM                  iAS12-120LPi            15
POWERPICK 30-DEGREE 1.5MM X 13CM                          AR-8150PP-30             5
ANTI-FOG SOLUTION WITH FOAM PAD FRED                      CF1001                  30
SURGIFOAM POWDER                                          1978                    15
LEG BAG                                                   150103                  10
MIDAS REX ATTACHMENT BALL DIAMOND 5MM                     14BA50D                  1
HEMOVAC SUCTION KIT 400CC / 10FR                          0043610                 15
MIDAS REX BUR MATCH HEAD FLUTED 3.0MM X 14CM              14MH30                   3
MIDAS REX ATTACHEMENT METAL CUTTNG CARBIDE 1.6MM          MC16                     5
CEMENT SIMPLEX P                                          6191-1-010              17
BANDAGE WRAP COBAN LATEX-FREE 4"                          2084S                   52
CONTAINER SPECIMEN STERILE 4-OZ                           13594-130               50
MASK SURGICAL BLUE                                        AT51035                  6
STERI-DRAPE 125" X 83"                                    1014                    15
SYRINGE TOOMEY                                            041170                  20
CATHETER LUB-TIP 3-WAY LATEX 22FR/30CC                    0167SL22                 5
SCULPS CEMENT                                             0206-716-000             6
BUTTTON ELECTRODE HF-RESECTION 24-28FR                    WA22557C                 8
ELECTRODE HF-RESECTION LOOP MEDIUM 24FR / .2MM WIRE       WA22302D                10
BLADE SYSTEM 6 / 13MM X 90MM X .05MM                      6113-127-090            10
CEMENT PALACOS                                            00-1112-140-01           5
DRAPE MICROSCOPE                                          306071-0000-000          3
DRAIN FLUTED HUBLESS ROUND 15FR                           072228                  10
IRRISEPT WOUND DEBRIDEMENT                                IRRISEPT403             14
DRESSING AQUACEL AG 3.5" X 10"                            412011                   5
STENT URETERAL PERCUFLEX PLUS 6FR X 24CM                  M0061752620              2
BIPOLAR CORD                                              135166                  50
STERI-DRAPE 23" X 17"                                     1050                    10
BLADE ELECTRODE INSULATED 6.5"                            E1455-6                 48
SUCTION COAGULATOR 10FR CANNULA                           050-005                  8
PROBE COVER TIP                                           934402                  25
PRINEO 22CM                                               CLR222US                 3
DRAPE UNDER BUTTOCKS                                      8487                    15
ROBOTIC CUSTOM DRAPE                                      SMA22GRKMA               2
BLADE ELECTRODE INSULATED 4"                              E1455-4                 75
CEMENT PALACOS WITH GENTAMIACIN                           00-1113-140-01           5
1/2 DRAPE UNIVERSAL WITH BAND                             5233345                 36
DRESSING LEUKOMED CONTROL 1" X 5"                         73230-05                 5
DRESSING SORBACT LEUKOMED 4" X 10"                        76199-04                 3
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BLADE DOUBLECUT 5.5MM                                  AR-8550DC                5
HERNIA SYSTEM PROLENE                                  PHSE                     3
EVICEL SEALANT APPLICATOR 35CM                         3908                    22
BUR ROUND FLUTED SOFT TOUCH 4.0MM                      5820-010-140            10
ABDOMINAL BINDER 9"                                    13663008                 5
LIGASURE LAPAROSCOPIC BLUNT TIP 5MM-37CM               LF1637                   8
DISSECTOR SONICISION ULTRASONIC 39CM                   SCD396                   5
TROCAR BLADELESS 5MM X 100MM OPTIVIEW                  2B5LT                   12
TROCAR SLEEVE 5MM X 100MM                              CB5LT                    6
TROCAR BLADELESS 12MM X 100MM OPTIVIEW                 2B12LT                  12
TROCAR SLEEVE 12MM X 100MM                             CB12LT                   6
OSTOMY KIT 1-3/4 POUCH AND WAFER                       401920                   3
OSTOMY KIT 2-3/4 POUCH AND WAFER                       401921                   2
DRAPE INSTRUMENT ARM                                   470015                  15
TROCAR Kii FIOS 5MM X100MM                             CFF03                    5
SURGICEL HEMOSTAT SNOW 4" X 4"                         2083                    15
ACE 7 SHEARS HARMONIC CURVED 5MM X 36CM                HARH36                   6
TUBE SET PNEUMO SURE                                   0620-040-660            10
CANNISTER HOLOGIC GREEN LID                            AQL-BEMIS               17
TROCAR Kii SHIELDED BLADED Z-THREAD 12MM X 100MM       CTB73                    3
TOURNIQUET CUFF STERILE 34"                            5921-034-135             5
FILSHIE CLIP                                           AVM-851J                 2
TROCAR Kii SHIELDED BLADED Z-THREAD 5MM X 100MM        CTB03                    5
CANNULA SEAL 5-8MM                                     470361                  45
BERKELY SAFETOUCH COLLECTION SYSTEM                    003984-901              16
CANNULA CRYSTAL PARTIAL THREAD 5.75MM X 7CM            AR-6564                  5
STRYKEFLOW II SUCTION IRRIGATOR                        250-070-520              8
TOURNIQUET CUFF STERILE 18"                            5921-018-135            15
URINE METER                                            153202                  15
BLADE DOUBLECUT CURVED 4.0MM                           AR-8400CDC               5
CONTAINER SPECIMEN UNSTERILE 32-OZ                     C8842-32B               30
CONTAINER SPECIMEN UNSTERILE 190-OZ                    C8842-190A              20
SHUNT BARD JAVID CAROTID BYPASS                        007714                   8
SPONGE TONSIL MEDIUM                                   7201                    50
SPONGE TONSIL LARGE                                    7202                    20
TROCAR BLADELESS 5MM X 150MM OPTIVIEW                  2B5XT                    6
BONE CUTTER 3.8MM                                      AR-8380BC                5
CATHETER PLUG                                          000076                   5
TUBE SET INSSUFLATION HIGH FLOW                        0620-040-690             9
CATHETER COUDE LUB-TIP 2-WAY 16FR/5CC                  0102L16                 12
CATHETER COUDE LUB-TIP 2-WAY 18FR/5CC                  0102L18                 12
CATHETER LUB-TIP 2-WAY COUNCIL 20FR/5CC                0196L20                 12
CATHETER LUB-TIP 2-WAY COUNCIL 22FR/5CC                0196L22                  6
CATHETER HEMATURIA 2-WAY 22FR/30CC                     2556H22                  6
CATHETER HEMATURIA 3-WAY 22FR/30CC                     2557H22                  6
DRESSING WOUND VAC MEDIUM                              M82575096/5              5
SYRINGE SALINE FLUSH 10ML                              14011-240               50
MIDAS REX ATTACHEMNT BALL 5MM                          14BA50                  15
CATHETER HEMATURIA 3-WAY 24FR/30CC                     2557H24                  6
SINGLE ACTION PUMPING SYSTEM                           M0067201001             10
SHEATH ACCESS NAVIGATOR HD 11FR X 28CM                 M0062502210              5
STENT URETERAL CONTOUR PERCUFLEX 6FR X 22CM            M0061802210              4
ABLATOR PROBE APOLLP RF                                AR-9811                  6
ANNULEX X-CLOSE                                        XC-201-01                3
FORCEPS TRICEP MINI-THROW 120CM X 30FR                 M0063701010              2
RELOAD ECHELON 4.2MM BLACK                             GST60T                  12
RELOAD ECHELON 3.6MM BLUE                              GST60B                  12
CUTTER LINEAR POWERED ECHELON FLEX 60MM X 440MM        PLEE60A                  2
SUTURE ENDO STITCH SURGIDAC 48" ES-9 TAPER             173023                  12
ENDO PADDLE RETRACT 12MM                               173046                   9
ENDOSTITCH DEVICE 10MM                                 173016                   4
PUNCTURE CLOSURE DEVICE                                PCD10                   11
CLIP LIGATING HEM-O-LOK EXTRA LARGE                    544250                  10
O.R.TABLE PAD                                          31163457                 8
LIGACLIP CLIP APPLIER 12MM                             ER420                    5
MASK SURGICAL WHITE                                    AT73035                  4
STAPLER SKIN 35 REGULAR                                PMR35                    6
NEEDLE ELECTRODE 2.8"                                  E1452                   70
CATHETER DUAL LUMEN URETERAL 10FR X 54CM               M0064051000              4
TROCAR Kii OPTICAL Z-THREAD 8MM X 100MM                C0Q19                    5
SLEEVE TROCAR Kii Z-THREAD 12MM X 100MM                CTS22                   12
SLEEVE TROCAR Kii Z-THREAD 5MM X 100MM                 CTS02                   12
SCISSORS EPIX LAPAROSCOPIC 5MM X 35CM                  CB030                    5
GLOVE SMT STERILE SIZE 9                               2D72PT90X               50
GLOVE BIOGEL SIZE 9                                    30490-01                50
SHEARS HARMONIC FOCUS CURVED 9CM                       HAR9F                   12
TUBING HI-VAC MENTOR                                   B5558                   10
CUTTER LINEAR POWERED ECHELON FLEX 60MM X 340MM        PSEE60A                  3
CYSTO PACK                                             SPP99CY1AA               6
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BLADE SYSTEM 6 / 18MM X 90MM X .05MM                6118-127-090          5
ELECTROLUBE                                         MLEL101A             30
HEAD REST FOAM ROUND PURPLE                         FP-HEADM             36
SKIN PREP GEL TRAY                                  11-7011              65
BANDAGE ESMARK 4"                                   99302                35
LAP SPONGE 4" X 18"                                 SM-0418-PS           50
IOBAN DRAPE 125" X 83"                              6617                 15
STENT URETERAL POLARIS ULTRA 6FR X 22CM             M0061921310           3
RELOAD ECHELON 2.5MM WHITE                          GST60W               12
ACE 7 SHEARS HARMONIC CURVED 5MM X 45CM             HARH45               12
TUR PACK                                            SPP99TU2AA            6
ABDOMINAL BINDER 12"                                79-89091             13
CATHETER SILICONE 2-WAY 16FR/5CC                    165816               12
CATHETER SILICONE 2-WAY 18FR/5CC                    165818               12
CATHETER SILICONE 2-WAY 20FR/5CC                    165820               12
CATHETER COUDE LUB-TIP 2-WAY 14FR/5CC               0102L14              12
CATHETER COUDE LUB-TIP 2-WAY 12FR/5CC               0102L12              12
CATHETER LUB-TIP 2-WAY 12FR/5CC                     0165L12              12
CATHETER LUB-TIP 2-WAY 14FR/5CC                     0165L14              12
CATHETER LUB-TIP 2-WAY 16FR/5CC                     0165L16              12
CATHETER LUB-TIP 2-WAY 18FR/5CC                     0165L18              12
STAPLER SKIN INSORB                                 2030                 26
CAST PADDING STERILE 4"                             23626-540            40
CAST PADDING STERILE 6"                             23626-560            40
BONE CUTTER 5.0MM                                   AR-8500BC            10
BUR OVAL 8-FLUTE 4.0MM X 13CM                       AR-8400OBE            5
BUR OVAL 8-FLUTE 5.0MM X 13CM                       AR-8500OBE            2
SHAVER SABRE SJ                                     AR-7300SR            17
CONTAINER SPECIMEN UNSTERILE 86-OZ                  C8842-86A            25
LOOP CUTTING MONOPOLAR ANGLED 24FR                  27050G-S              2
ELECTRODE BALL MONOPOLAR COAGULATING 5MM 24FR       27050NK-S             5
KNIFE SACHSE STRAIGHT COLD                          27069K-S              3
TRIMANO BEACH CHAIR KIT                             AR-1644               8
SPONGE NEURO 1" X 1-1/2"                            30-056               56
SPONGE NEURO 1/2" X 1"                              30-055               40
RETRACTOR SYSTEM TLC MALE UROLOGY                   TLC5042-0             1
BLADE ELECTRODE INSULATED 2.75"                     E1455                60
STANDARD PREP BLADE                                 CAH4406D             50
STOCKINETTE 12" X 48"                               1587                 50
THE PINK PAD                                        40580                10
TUBING Y-TYPE TUR/BLADDER                           2C4041               12
PIN CASPAR DISTRACTION 12MM                         FF912SB              15
PIN MAYFIELD                                        A1083                48
TROCAR Kii OPTICAL Z-THREAD 15MM X 100MM            C0R37                 9
TROCAR BLUNT TIP 12MM X 100MM                       C0R85                 8
TROCAR BALLOON BLUNT TIP 12MM X 100MM               C0R47                 7
TROCAR CONE                                         C0707                20
RETRIEVAL SYSTEM 10/15MM                            CD004                 5
DISSECTOR EPIX LAPAROSCOPIC 5MM X 35CM              CY010                10
WOUND PROTECTOR/RETRACTOR X-SMALL                   C8312                 2
CANNULA GEMINI SR8                                  AR-6572               5
CANNULA TWIST-IN 8.25MM X 9CM                       AR-6540               5
BANANA KNIFE 254MM                                  AR-6527-05            9
POWERPICK 45-DEGREE 1.5MM X 13CM                    AR-8150PP-45          5
POWERASP 4.0MM X 13CM                               AR-8400PR            11
POWERASP 5.5MM X 13CM                               AR-8550PR             5
TUBING OUTFLOW                                      AR-6430              20
MESH 3D MAX LARGE RIGHT                             0115321               1
MESH 3D MAX MEDIUM LEFT                             0115310               1
MESH PLUG LARGE                                     0112770               2
MESH PLUG XLARGE                                    0112780               2
DRAINAGE BAG 4000ML                                 153509               15
CATHETER RED RUBBER 8FR                             0094080              40
GLOVE ENCORE SIZE 7                                 5787003              50
GLOVE BIOGEL OPTIFIT ORTHO SIZE 8                   AC31080              50
GLOVE BIOGEL OPTIFIT ORTHO SIZE 8-1/2               AC31085             120
GLOVE ENCORE ORTHO SIZE 7-1/2                       5788004              25
GLOVE ENCORE ORTHO SIZE 8                           5788006              25
MASK SURGICAL WITH EYE SHIELD                       AT54635               8
ARM SLING SMALL                                     8017-51              10
HEAD HALTER                                         6102-00              15
OPTHALMIC CUSTOM PACK                               SPP99EY2AA           15
U-DRAPE                                             8475                 35
IOBAN 2 DRAPE 23" X 23"                             M6648EZ              50
DRAPE ORTHO BAR                                     KM89381              12
DRESSING AQUACEL AG 3.5" X 4"                       412009                1
DRESSING AQUACEL AG 3.5" X 6"                       412010               12
DRESSING AQUACEL AG 3.5" X 12"                      420670               14
GLOVE RADIATION ANSELL SIZE 7-1/2                   20873075              3
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GLOVE RADIATION ANSELL SIZE 8-1/2                           20873085               8
J-HOOK ELECTRODE                                            E2772-36               3
EZ CLEAN BALL ELECTRODE MEGADYNE 5"                         0009                   5
NEEDLE HYPODERMIC 27GA X 1-1/2"                             88-827112             10
NEEDLE HYPODERMIC 30GA X 1/2"                               305106               100
NEEDLE TUOHY 20GA X 3.5"                                    183A12                 8
STERI-DRAPE 23" X 33"                                       M1051                 12
BANDAGE ESMARK 6"                                           99303                  5
CONNECTOR SIMS 3/16 X 3/16                                  8888270207            35
MAXILOOP BLUE                                               D30-723B              25
MINILOOP BLUE                                               D30-713A              38
CATHETER URETERAL 5FR X 70CM                                M006400201            20
UROMAX ULTRA KIT 18FR X 4CM                                 M0062251220            3
UROMAX ULTRA KIT 18FR X 10CM                                M0062251370            3
ADAPTOR UROLOK II                                           M0067301400           10
NITINOL WIRE STRAIGHT TIP 150CM X 0.035"                    M0066703080            5
NITINOL WIRE STRAIGHT TIP 150CM X 0.038"                    M0066703210           15
GUIDEWIRE AMPLATZ SUPER STIFF 145CM X 0.038"                M00664010900           4
BASKET NITINOL STONE RETRIEVAL ZERO TIP 1.9FR X 120CM       M0063901050            2
BASKET NITINOL STONE RETRIEVAL ZERO TIP 2.4FR X 120CM       M0063901010            2
STENT URETERAL POLARIS ULTRA 6FR X 26CM                     M0061921330            3
URETEROSCOPE DIGITAL FLEXIBLE SINGLE-USE                    M0067913500           20
CATHETER RED RUBBER 14FR                                    0094014               40
CATHETER RED RUBBER 16FR                                    0094016               20
GLOVE PERRY ORTHO SIZE 8                                    100648                40
GLOVE PERRY ORTHO SIZE 9                                    100650                 5
GLOVE PERRY SIZE 7                                          5711103               60
GLOVE PERRY SIZE 7-1/2                                      5711104               30
MAXIFIRM LITE STAFF VEST                                    300                    1
INSTRUMENT INTRODUCER 8MM                                   342562                10
NEEDLE SPINAL 24GA X 3-1/2"                                 BF405133               2
NEEDLE SPINAL 25GA X 3-1/2"                                 BF405180              20
LIGACLIP CLIP APPLIER MEDIUM SHORT                          MSM20                  5
TAPE MEDIPORE UNSTERILE 4"                                  M2964                 15
TAPE MEDIPORE UNSTERILE 6"                                  M2966                 15
COTTON TIP APPLICATOR 8"                                    SMC-37603            250
CATHETER TAUT CHOLANGIOCATH 4.5FR                           20018-M55             10
CATHETER TAUT CHOLANGIOCATH 7.5FR                           20018-010             10
DRAPE TOWEL                                                 7553                  30
DRESSING PRIMAPORE 2-7/8" X 2                               7133                  60
DRAIN PENROSE 1-1/4" X 12"                                  GR101                  7
NEEDLE JAMSHIDI 11GA X 10CM                                 DJ4011X                6
DRESSING VASELINE GAUZE 1" X 36"                            8884412600            50
CAST PADDING WEBRIL 3"                                      KC2394                25
CAST PADDING WEBRIL 2"                                      KC2666                55
HEMOVAC SUCTION KIT 400CC / 19FR                            0043620               18
DRAIN J-P FLUTED 19FR WITH TROCAR                           JP-2191               35
DRAIN FLAT 10FR                                             SU130-1311             7
DRAIN ROUND HUBLESS 19FR                                    2232                  10
DRAIN FLAT HUBLESS 7MM                                      0070430               10
ABLATOR ASPIRATING COOLCUT 50                               AR-9803A-50            5
ABLATOR HOOK COOLCUT 90                                     AR-9801                3
CERVICAL RIPENING BALLOON                                   G48149                29
OPEN-END FLEXI-TIP URETERAL CATHETER                        021305                10
BALLOON STENT UTERINE                                       G17562                 5
FALLOPIAN TUBE CATH SET                                     G10992                 2
MIXTER CHOLOANGIOGRAPHY SET 5FR                             G09331                 5
ELECTRODE LEEP 2CM X 1CM                                    R2010                  8
ELECTRODE LEEP 2.5CM X 1CM                                  R2510                  5
ELECTRODE LEEP 1.5CM X .7CM                                 R1507                 10
ELECTRODE LEEP 2CM X .8CM X 12CM                            R2008                  5
ELECTRODE LEEP TONGSTUN 1CM X 1CM                           R1010                  5
ELECTRODE LEEP TONGSTUN 1CM X .7CM                          R1007                  5
ELECTRODE LEEP BALL 5MM DIA / 5.5CM SHAFT                   B0555                  2
ELECTRODE LEEP BALL 5MM DIA / 12CM SHAFT                    B0512                  5
ELECTRODE LEEP BALL 3MM DIA / 12CM SHAFT                    B0312                  5
PLUG ULTRAPRO SMALL                                         UPPS                   2
PLUG ULTRAPRO MEDIUM                                        UPPM                   7
RELOAD ENDOWRIST STAPLER 45 BLUE                            48645B                12
RELOAD ENDOWRIST STAPLER 45 GREEN                           48445G                 8
SHEATH FOR ENDOWRIST STAPLER                                410370                10
TIP COVER ACCESSORY                                         400180                 5
12MM STAPLER CANNULA SEAL                                   470380                 6
OBTURATOR BLADELESS LONG 8MM                                470358                20
REDUCER 8MM-12MM                                            470381                15
SURGICEL HEMOSTAT FIBRILLAR 4" X 4"                         1963                  15
CLIP LIGATING HEM-O-LOK MEDIUM LARGE                        544230                20
CUTTER LINEAR ECHELON FLEX POWERED 45MM X 340MM             PSE45A                 4
RELOAD ECHELON 4.1MM GREEN                                  ECR45G                12
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RELOAD ECHELON 3.5MM BLUE                              ECR45B                  14
RELOAD ECHELON 2.0MM GRAY                              ECR45M                   9
LINEAR CUTTER PROXIMATE 75MM                           TLC75                    6
LINEAR CUTTER PROXIMATE 55MM                           TLC55                    6
LINEAR STAPLER PROXIMATE BLUE 60MM                     TX60B                    6
LINEAR STAPLER PROXIMATE GREEN 60MM                    TX60G                   12
RELOAD PROXIMATE GREEN 30MM                            XR30G                   12
RELOAD PROXIMATE GREEN 60MM                            XR60G                   12
RELOAD PROXIMATE BLUE 60MM                             XR60B                   12
RELOAD PROXIMATE BLUE 55MM                             TCR55                   12
SEALER SUPER JAW TISSUE ENSEAL G2                      NSEALX22L                4
SEALER TISSUE CURVED G2 5MM X 35CM                     NSLG2C35A                4
DISSECTOR BLUNT TIP 5MM                                BTD05                   12
MESH PROLENE SOFT 6" X 6"                              SPMH                     5
MESH PROLENE 3" X 6"                                   PMII                     4
MESH PROLENE 1.8" X 4"                                 PMSK                     7
MESH PROLENE 2.4" X 5.4"                               PMLK                    12
STRATTICE BPS                                          CON1006                  1
ALLODERM CONTOUR MEDIUM THIN                           CM1516                   5
ALLODERM CONTOUR MEDIUM THICK                          CM1520                   1
NEEDLE QUINCKE 20GA X 8"                               183142                  18
MIDAS REX IRRIGATING TUBING SET                        IRD300                  13
STYLET MALLEABLE SUCTION MEDIUM ANGLE TIP              9735017                  2
PROBE PRASS STANDARD MONOPOLAR STIMULATOR              8225101                 10
CARPAL TUNNEL SELECT RELEASE SYSTEM                    81010-6                 26
HANDPIECE MINERVA ABLATION                             MIN9770                  5
MISONIX BONE SHAVER MICRO HOOK                         MXB-SI                   5
MISONIX BONE SCALPEL 25MM BLUNT                        MXB-25                   4
MISONIX BONE SCALPEL 20MM BLUNT                        MXB-20                   4
MISONIX BONE SCALPEL 10MM BLUNT                        MXB-10                   4
MISONIX IRRIGATION TUBE SET                            MXB-T                    5
WAND REFLEX ULTRA PTR                                  EICA4835-01              1
WAND PRECISE MAX                                       EICA8898-01              2
WAND TURBINATOR                                        EIC6895-01               1
WAND TOPAZ EZ MICRODEBRIDER                            96006-01                 1
MICRO CLAW SPETZLER SUPER LONG                         5450-800-303             6
BUR STRAIGHT MICRO                                     5450-800-309             2
BUR SPETZLER LARGE BARRACUDA                           5450-800-306             4
KNIFE SONIC CONTROL SERRATED AGGRESSIVE                5450-815-114             9
TUBING SET SONOPET                                     5450-850-003             3
BUR ROUND TAPERED EXTENDED 3.0MM                       5820-010-330            10
BLADE SAGITAL SAW PRECISION THIN 9 X .38 X 25          2296-003-111             5
BLADE SAGITAL SAW PRECISION THIN 9 X .38 X 18.5        2296-003-105             5
BLADE RECIPROCATING SAW PRECISION THIN 27 X .38        5100-137-233             5
BLADE RECIPROCATING SAW HEAVY DUTY LONG                0277-96-325              5
BUR ROUND TAPERED EXTENDED 3.0MM                       5220-010-230             8
BUR MEDIUM 5.5MM X 9.9MM X 47.8MM                      5300-10-903             10
BUR MEDIUM 4MM X 7.7MM X 48MM                          5300-10-901             10
BLADE SYSTEM 4 48.5MM X .64MM X 61MM                   2108-197-000            10
BLADE DUAL-CUT 1.27MM X 25MM X 90MM                    4125-127-090            10
BUR ZYPHER ROUND FLUTED 2.0MM                          5820-10-620             10
BUR ROUND SJ 8-FLUTE 3.0MM                             AR-7300RBE               5
SHAVER TORPEDO SJ 4.0 X 7CM                            AR-7400TD                5
BONE CUTTER HL 4.2MM X 19CM                            AR-6420BC                5
BUR ROUND 8-FLUTE 4.0MM X 13CM                         AR-8400RBE               5
BUR ROUND HL 8-FLUTE 4.0MM X 19CM                      AR-6400RBE               5
BUR ROUND 8-FLUTE 5.0MM X 13CM                         AR-8500RBE              10
BUR CLEARCUT ROUND 8-FLUTE 5.5MM X 13CM                AR-8550CRE              11
BUR ROUND HL 8-FLUTE 5.0MM X 19CM                      AR-6500RBE               5
BUR ROUND CONCAVE CURVED HL 8-FLUTE 5.0MM X 19CM       AR-6500VBE               3
BUR PAYNER 360                                         5450-800-312             6
BUR ROUND FLUTED SOFT TOUCH 5.0MM                      5820-010-150            10
BLADE SAGITAL SAW PRECISION THIN 9 X .38 X 31          2296-003-125             5
BUR ZYPHER ROUND FLUTED 2.5MM                          5820-10-625             10
TOURNIQUET CUFF STERILE 24"                            5921-024-135            12
TOURNIQUET CUFF STERILE 44"                            5921-044-135            14
KIT BIOPREP BONE                                       0206-710-000             5
SUTURE ANCHOR MINI CORKSCREW FT                        AR-1319FT                8
SUTURE ANCHOR MINI CORKSCREW FT                        AR-1318FT                8
SPONGE NEURO 1/2" X 3"                                 30-057                  20
PEAK PLASMA BLADE TnA                                  PS300-002                6
ELECTRODE MONOPOLAR COAGULATING POINTED 24FR           27050L-S                 5
ELECTRODE BIPOLAR COAGULATING BALL 24FR                27040NB-S                5
MESH ULTRAPRO ADVANCED                                 UPA37615                 1
KYPHON BONE CEMENT KIT                                 C01B                     2
KYPHON CURETTE TIP                                     A13A                     2
KYPHON BALLOON EXPRESS II                              KEX152EB                 1
TRIGGER-FLEX BIPOLAR SYSTEM 40CM RICHARD WOLF          DTF-40                   3
CANNULA SPINAL 1.25MM X 150MM RICHARD WOLF             4792.803                 5
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CANNULA SPINAL 1.25MM X 250MM RICHARD WOLF        4792.802                 7
BURR DIAMOND ROUND 3MM X 250MM RICHARD WOLF       40990.3930               2
INSERT CARDINAC BURR RICHARD WOLF                 499751704               20
DRAPE COLUMN                                      470341                  30
DRESSING PRIMAPORE 4" X 3-1/8"                    66000317                30
MANIPULATO.R. UTERINE SMALL                       UE-TVPRO-32              5
MANIPULATO.R. UTERINE MEDIUM                      UE-TVPRO-35              6
MANIPULATO.R. UTERINE LARGE                       UE-TVPRO-40              1
UTERINE MANIPULATOR ZAMI                          AI-6003                 10
TROCAR BLADELESS 12X100MM                         2B12XT                   6
AQUAMANTYS                                        23-112-1                 2
GUIDEWIRE J-CURVED                                M001491180               4
GUIDEWIRE BENTSON                                 M001491750               5
GUIDEWIRE AMPLATZ                                 M001465090               5
GUIDEWIRE V18                                     M001468600               5
JOURNEY                                           M001391280               5
SHEATH PINNACLE CROSS-CUT STRAIGHT 6FR 45CM       RSR01                    5
GLIDEWIRE ANGLED .038"X180CMX3CM                  GR3508                   4
GLIDEWIRE STRAIGHT .038"X180CMX3CM                GR3503                   5
SHEPHERD FLUSH 5FR 65CM                           565365SHP-NB             4
CATHETER RIM BRAIDED 5FR 65CM                     56535RIM                 5
CATHETER BRAIDED 5FR 100CM HH 1                   510038HH1-H              5
CATHETER IMPRESS BERENSTEIN 4FR 100CM             410035BER                5
CATHETER QUICK-CROSS .035X150CM                   518-038                  5
CATHETER QUICK-CROSS .018X150CM                   518-035                  5
SOLUTION 0.9% SODIUM CHLORIDE 3000ML BAG          2B7477                  65
SOLUTION 0.9% SODIUM CHLORIDE 1000ML BAG          2B1324                  60
SOLUTION LACTATED RINGERS 3000ML BAG              2B7487                   5
SOLUTION LACTATED RINGERS 1000ML BAG              2B2324                  75
SOLUTION 0.9% SODIUM CHLORIDE 1000ML BTL          2F7124                   2
SOLUTION 0.9% SODIUM CHLORIDE 500ML BTL           2F7123                  40
SOLUTION 1.5% GLYCINE 3000ML BAG                  2B7317                  15
COAPTITE 1CC                                      M0068903000              5
SIDEKICK NEEDLE                                   M0068903040              1
OBTRYX II HALO SLING SYSTEM                       M0068505110              1
SUTURE CAPIO                                      M0068331241             26
CAPIO DEVICE                                      M0068318260             11
TISSUE RESECTION DEVICE 9FR                       R9-3X                    2
TISSUE RESECTION DEVICE 5FR                       R5-3X                    3
DERMATOME BLADE                                   00-8800-000-10          12
DERMACARRIER                                      00-2195-012-00          12
HTA GENESYS PROCEDURE SET                         M006580210               4
ACELL 5CC                                         ABS-2009-05              1
AVANCE NERVE GRAFT 1-2MM                          111230                   3
AVANCE NERVE GRAFT 2-3MM                          211230                   2
ALLOGRAFT ACHILLES TENDON                         893                      1
ALLOGRAFT GRACILIS TENDON                         FRGRACILIS               2
ALLOGRAFT HUMERAL HEAD                            FHH                      1
ALLOGRAFT ANTERIOR TIBIALIS TENDON                FANT/TIB/T               1
GRAFTLINK                                         FGL                      4
ALLOGRAFT PERONEOUS LONGUS TENDON                 0336                     1
ALLOGRAFT EXTENSOR TENDON                         2163                     1
STIMUBLAST DBM GEL 5CC                            ABS-2002-05              1
BIOCARTILAGE 1CC                                  ABS-1010-BC              1
AXOGUARD NERVE PROTECTOR 7X40MM                   AG0740                   2
AXOGUARD NERVE CONNECTOR 2X15MM                   AGX215                   4
AXOGUARD NERVE CONNECTOR 3X15MM                   AGX315                   2
AXOGUARD NERVE CONNECTOR 5X15MM                   AGX515                   1
FIBULA SHAFT 100MM                                425                      1
CORTICAL CANCELLOUS STRUT                         404                      2
DURAGEN PLUS MATRIX 2X2"                          DP-1022                  1
ILIAC CREST WEDGE 10                              ICW1                     1
ILIAC CREST WEDGE 12                              ICW2                     1
ARTHROFLEX DERMIS 4.0X7.0CM                       AFLEX301                 3
FIBULA SHAFT 15CM                                 0049                     1
CORTICAL POWDER 15CC                              1620                     2
MAXCORE BIOPSY INSTRUMENT 18GAX20CM               MC1820                   5
CLIP GUN KIT                                      GS8900                   1
LENS INTRAOCULAR 1.0D                             MA60MA                   2
LENS INTRAOCULAR 4.0D                             MA60MA                   1
LENS INTRAOCULAR 18.5D                            MTA3U0                   2
LENS INTRAOCULAR 18.5D                            MTA4U0                   2
LENS SOFPORT 18.0D                                LI61AO                   2
LENS SOFPORT 18.5D                                LI61AO                   2
LENS SOFPORT 21.5D                                LI61AO                   2
LENS AKREOS                                       AO60                     1
KIT ACCESSORY 4-ARM DRAPE                         420291                   6
TOTAL
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Description                                                       Cat #              QTY EA
MASK O2 NON-REBREATHER ADULT                                      001211                       35
BEDPAN CONVENTIONAL                                               CBEDPANGRY                    7
SCE SLEEVE MEDIUM                                                 74022                        15
SCD SLEEVE LARGE                                                  74023                         7
CAP TEMP THERMOMETER EXERGEN                                      134203A                      10
CATHETER PLUG                                                     000076                        5
KIT FOLEY CATHETER 16FR                                           710016S                       1
STRAINER URINE                                                    1211                         16
LEG BAG LARGE                                                     150103                        4
URINARY DRAINAGE BAG 2000ML                                       154102                        1
TRAY FOLEY CATHETER 16FR                                          800361                        4
BOUFFANT CAPS                                                     3274                          5
SHOE COVERS X-LARGE                                               4854                        200
PAPER EKG MORTARA                                                 9100-026-52                  12
TISSUE/KLEENEX                                                    48550                        10
CAVI WIPES                                                        13-5100                      14
CHLORAHEXIDINE WIPES                                              9707                         21
PROBE COVER SMART TEMP                                            M090A-30-6212830             23
CANNULA NASAL 7FT                                                 001325                       42
TEGADERM 2-1/4 X 2-3/4"                                           1624W                        94
TONGUE DEPRESSOR                                                  25-705-ALL                   86
ELECTRODE RED DOT                                                 2259-50                       5
PAD SANITARY                                                      2022A                         3
INCENTIVE SPIROMETER                                              001902A                       3
SYRINGE INSULIN 1CC W/29GA X 1/2" NEEDLE                          329464                       54
SLIPPER MEDIUM                                                    68123-BLU                     3
SLIPPER LARGE                                                     68123-TAN                    18
SLIPPER XLARGE                                                    68123-GRY                    11
DRESSING GAUZE STERILE 4X4                                        3033                         61
TUBING IV PRIMARY                                                 2C8537                       54
TUBING IV SECONDARY                                               2C7462                       50
HANDLE YANKAUER SUCTION                                           K86                          50
I.V. START KIT                                                    01-9000A                     27
COTTON TIP APPLICATOR                                             C15053-006                   71
CUFF BLOOD PRESSURE ADULT                                         9.89803E+11                  87
EMESIS BAG GREEN                                                  NS30835CARD                  62
MARKER SKIN SURGICAL UNSTERILE                                    2715BN                      100
NEEDLE BLUNT FILTER 18GA                                          305180                      138
MARKER SKIN SURGICAL STERILE                                      250PRL                       10
SENSOR O2 PULSE OX                                                2317                        108
BAG AMBU RESUSCITATION                                            2K8005                       43
CANNISTER SUCTION 1200ML                                          65651-212                    30
AIRWAY ORAL 90MM                                                  311090                       26
AIRWAY ORAL 100MM                                                 311100                       35
AIRWAY NASOPHARYNGEAL SIZE 32                                                                   9
AIRWAY NASOPHARYNGEAL SIZE 34                                                                  43
AIRWAY NASOPHARYNGEAL SIZE 28                                                                  31
TUBING SUCTION                                                    CFN510                       40
ICE PACK                                                          11300-100                    28
INFUSOR PRESSURE 1000ML                                           IN900012                      3
RESTRAINT WRIST                                                   M2029                        10
CATH I.V. 20GA X 1.16IN                                           381534                       52
CATH I.V. 18GA X 1.16IN                                           381544                       11
CATH I.V. 22GA X 1IN                                              381523                       10
BAND BLOOD                                                        2436-16-PDB                   2
CONTAINER SPECIMEN STERILE 4-OZ                                   13594-130                     9
STERILE WATER FOR IRRIGATION 1000ML                               2F7114                       14
ARM SLING                                                         8017-52                       5
BABY WIPES                                                        2BWPU-42                      2
UNDERPAD BLUE                                                     H-3030/5                      7
ALCOHOL PREP PAD                                                  PHX1007                       1
CUP DENTURE                                                       DCUPMAV                      16
BAG BIOHAZARD 6X9                                                 CH6X9BIO                     50
STATLOCK CATH HOLDER DEVICE                                       FOL0102                       1
ABDOMINAL BINDER                                                  13530007                      3
DRESSING KERLIX                                                   441106                        1
MASK SURGICAL                                                     51035                       150
PAD ABD                                                           7196D                        36
GLOVE UNSTERILE SMALL                                             8811NB                       25
GLOVE UNSTERILE MEDIUM                                            8812NB                       25
GLOVE UNSTERILE LARGE                                             8813NB                       24
GLOVE UNSTERILE X-LARGE                                           8814NB                        1
TOTAL
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   SUTURE TYPE    SIZE      CODE      Qty
Vicryl           4-0 J496H                   55
BONEWAX                W31G                  32
Chromic Gut      2-0 G123H                   65
PLAIN GUT        5-0 1915G                   30
ETHIBOND         0     CX21D                 17
ETHIBOND         0     X424H                108
PROLENE          2-0 8423H                   48
PROLENE          2-0 8411H                   55
Vicryl           0     VCP112G                9
Vicryl           0     J608H                 85
PROLENE          0     8412H                 60
PROLENE          0     8834H                 68
Vicryl           1     J977H                 30
Vicryl           1     J947H                 45
Vicryl           0     J978H                 42
Vicryl           0     J270H                 46
PDS              2-0 Z339H                   25
ETHILON          2     490T                  50
ETHILON          2-0 1697H                   60
ETHILON          3-0 1663H                   48
ETHILON          4-0 699H                    85
ETHILON          3-0 1669H                   45
ETHILON          5-0 698H                    38
ETHILON          8-0 2815G                   50
PROLENE          3-0 8687H                   70
PROLENE          3-0 8522H                   46
PROLENE          3-0 8622H                   70
PROLENE          3-0 8422H                   68
PROLENE          4-0 8557H                   60
PROLENE          5-0 8556H                   40
PROLENE          6-0 8709H                   65
PROLENE          6-0 8711H                   50
PERMAHAND SILK   2     SA8H                  50
PERMAHAND SILK   0     A186H                 50
PERMAHAND SILK   3-0 A184H                   55
PERMAHAND SILK   2-0 A185H                   65
STRATAFIX PDO    2-0 SXPD2B414               20
Surgical Steel   6     M654G                 12
Monocryl         1     Y399H                100
ETHIBOND         2-0 X523H                   62
ETHILON          5-0 1666H                   50
Strata Fix       0     SXPD1B400             36
ETHIBOND         5     MB46G                 24
Chromic Gut      0     904H                  40
Chromic Gut      0     SG14T                 18
Chromic Gut      1     925H                  48
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Chromic Gut      1     813H                   30
Chromic Gut      1     SG15T                  20
Chromic Gut      1     945H                   55
Chromic Gut      1     S115H                  50
Chromic Gut      2     GL31G                  12
Chromic Gut      2-0   SG13T                  20
Chromic Gut      2-0   903H                   55
Chromic Gut      2-0   811H                   58
Chromic Gut      3-0   G122H                  48
Chromic Gut      4-0   G121H                  36
Dermabond              DNX12                  45
ETHIBOND         0     CX31D                  15
ETHIBOND         1     X865H                 108
ETHIBOND         1     X518H                  72
Ethibond         2     519H                   62
ETHILON          4-0 1667H                    66
ETHILON          10-0 9033G                    5
Fiber Wire           5 AR-7211                10
Fibertape              AR-7237                 8
Fiberwire              AR-7200B               12
Fiberwire              AR-7242                13
Fiberwire              AR-7227-01             36
Fiberwire              AR-7230-01             11
Goretex                CV8                    12
MERSILENE        5MM RS22                     12
Monocryl         2-0 Y417H                    36
Monocryl         3-0 Y427H                    12
Monocryl         4-0 Y494G                    24
Monocryl         4-0 Y426H                    12
Monocryl         2-0 Y339H                    50
PDS              1     Z341H                  36
PDS              1     PDP371T                48
PDS              1     880G                   30
PERMAHAND SILK   0     K834H                  58
PERMAHAND SILK   0     580H                   48
Permahand Silk   2-0 583H                     45
PERMAHAND SILK   2-0 K833H                    57
PERMAHAND SILK   2-0 623H                     42
PERMAHAND SILK   2-0 1588H                    56
PERMAHAND SILK   3-0 C013D                    24
PERMAHAND SILK   4-0 A183H                    60
PLAIN GUT        2-0 853H                     48
PLAIN GUT        3-0 852H                     36
PROLENE          0     8424H                  56
PROLENE          0     C845G                  17
PROLENE          0     C821G                  16
PROLENE          0     C841G                  24
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PROLENE          1     8425H                50
PROLENE          2-0   8523H                61
PROLENE          2-0   C822G                12
PROLENE          2-0   C826G                12
PROLENE          4-0   8682H                48
PROLENE          4-0   8699G                22
PROLENE          5-0   8720H                72
PROLENE          6-0   M8706                24
PROLENE          7-0   M8702                22
PROLENE          9-0   1754G                14
Strata Fix       1     SXPDB401             23
Strata Fix             SXPDB405             37
Strata Fix       4-0   SXMD2B409            12
Strata Fix       2-0   SXMD2B402            30
Strata Fix       1     SXPP1A404            72
STRATAFIX SYMM   1     SXPP1A400            24
Surgical Steel   7     M655G                12
Tiger link             AR-7275               6
Vicryl           0     VCP260H              24
Vicryl           0     VCP603H              50
Vicryl           1     VCP335H              36
Vicryl           1     J913G                12
Vicryl           1     VCP814D              12
Vicryl           1     VCP702D              12
Vicryl           2-0   VCP111G              12
Vicryl           2-0   VCP762D              36
Vicryl           2-0   J785G                24
Vicryl           2-0   J775D                36
Vicryl           2-0   JJ42G                24
Vicryl           2-0   VCP839D              24
Vicryl           2-0   VCP789D              36
Vicryl           2-0   VCP417D              12
Vicryl           2-0   J269H                65
Vicryl           2-0   J459H                36
Vicryl           2-0   J602H                40
Vicryl           3-0   J285G                36
Vicryl           3-0   VCP864D              24
Vicryl           3-0   J683H                48
Vicryl           3-0   VCP427H              55
Vicryl           3-0   VCP416H              62
Vicryl           3-0   J944H                36
Vicryl           4-0   J109T                24
Vicryl           4-0   J935H                36
Vicryl           4-0   J214H                44
Vicryl           4-0   J494H                56
Vicryl           5-0   J493H                36
Vicryl           7-0   J546G                12
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Vicryl                  J232                 12
Vicryl                  VCP945G              12
Vicryl Rapide     4-0   VR496                20
Vicryl Rapide     5-0   VR493                12
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FB APPLICATOR WOOD 6IN 864/PK                                  A5000-1              1000
NDL REG BEVEL 18GX1 .5                                         305196               43
BLADE TONGUE 6IN ST SR                                         25-705-ALL           7
KIT ARTERIAL BLOOD GAS HEPARIN                                 4599P-1              5
SOLUTION SKIN PREP PROVIDONE                                   BSWS1S               8
SPONGE GAUZE 4X4IN 12-PLY 2'S                                  3033                 16
SYR 3ML LL STER                                                309577               2
SYRINGE 1ML SLIP TIP                                           309659               2
NDL BLUNT FILL 18G X 1-1/2                                     305180               91
SYRINGE 5CC LUER-LOK TIP STERILE                               309646               3
SYRINGE 5ML LUER-LOCK                                          309646               10
PAD ABD                                                        7196D                11
PAD ABD 5X9                                                    KC7196D              143
SYRINGE 3ML LUER-LOK W/BLUNT FILL NEEDLE 18GX1                 305060               2
NEEDLE HYPO 22GX1.5 IN                                         309626               52
SYRINGE/NEEDLE COMBI 21G X 1-1/2 5CC                           309633               7
TOURNIQUET STRAP 1X18IN BLUE                                   PC279T1-CH-5060      15
UNDERPAD 23X24"                                                1547                 42
SYR INSLN 1CC 29GX1/2 SFTYLOK                                  329464               16
SYRINGE INSULIN 1CC 29GX1/2                                    329464               12
DRESSING TEGADERM TRANSPARENT W/LABEL                          1634                 9
SYRINGE 60M LUER-LOCK                                          309650               15
NEEDLE FILTER 18GA X 1-1/2"                                    8881305117           50
GLV EXAM NITRILE SINGLE PF STRL MED TEXTURED FINGER TIPS       N8821                10
GLOVE EXAM NITRILE STERILE MEDIUM                              N8821                75
SPONGE DERMACEA 4X4IN 12PLY STERILE STERILE                    442214               15
SPONGE DERMACEA 4X4IN                                          442214               12
SYRINGE 30ML LUER LOCK                                         302832               62
30ML LUER-LOK SYRINGE                                          302832               200
NEEDLE 25GA X 1-1/2"                                           305127               10
NEEDLE BLUNT FILL 18GA X 1-1/2"                                305180               10
NEEDLE 22GA X 1-1/2"                                           305900               10
NEEDLE 25GA X 5/8"                                             305901               6
NEEDLE 23GA X 1"                                               305902               5
NEEDLE 18GA X 1-1/2"                                           305918               9
NEEDLE HYPODERMIC 27X5/8IN                                     305921               3
NEEDLE 27GA X 5/8"                                             305921               7
NEEDLE FILTER 18GA X 1-1/2"                                    8881305117           10
DRESSING TEGADERM 2 1/4 -2 3/4                                 1624W                9
NEEDLE HYPODERMIC 27X5/8IN GA SFTY GLIDE                       305921               3
DRS VENI GARD ADULT IV STABI                                   705-4431             49
CONTAINER PLASTIC 32 OZ GRADUA                                 H972-01              7
CATHETER SUCT W/CONTROL 10FR                                   T61C                 20
CLAMP UMBIBLICAL CORD                                          6833                 4
SYRINGE 12ML LUER-LOCK                                         118120077            45
CANNULA CRVD N-FLAIR TIP W/7FT                                 *001325              12
SYRINGE 1ML LUER LOCK                                          309628               30
CONTAINER SPECIMEN 4OZ STERILE TYVCK BLISTER POUCH SCREW TOP   13594-130            85
SYR SALINE FLUSH 10ML                                          14011-240            202
CAP CATHETER PLUG STER                                         76                   13
SPONGE GAUZE 4X4IN 12-PLY TRAY                                 6939                 9
VASELINE 1.0 OZ TUBE WHITE PETROLEUM                           4430200              200
SUCTION YANKAUER CLEAR BULB TP                                 K86                  34
GAUZE VASELINE PETROLATUM                                      8884417601           26
BNDG ELAS 2INX5.8YD NS LF SELFCLOSE                            23593-02LF           14
RAZOZR DISP GOOD NEWS                                          4417GN               6
DERMACEA X-RAY 4X4 16                                          441002               2
MASK N95 MED LARGE                                             N95ML                350
MESH PANTS LARGE                                               MP71040              350
SWAB STERILE DOUBLE&TRANSPORT                                  4320135              33
CATH-N-GLOVE SET 2-GLOVE                                       4893T                109
CATHETER SUCT 2GLOVE                                           4895T                11
BANDAGE ROLL KERLI STERILE LARGE                               6716                 2
GAUZE PETRO XERFRM 5X9IN STRIP                                 8884433605           5
BANDAGE KERLIX 4X4                                             441106               14
TAPE SURG MEDIPORE 2INX10YD                                    2862                 5
TUBE MICROTAINER SST MICROGARD                                 365978               9
TAPE SURGICAL DURAPORE 1IN X 1                                 1538-1               5
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BLOOD TRANSFER DEVICE                               364880              10
DRESSING TEGADERM TRANS IV                          M1620               8
BANDAGE SPOT 7/8IN STERILE                          44107               100
BDG STRETCH CONFORD 6X82IN, ST                      KC2238              29
K-SHIELD ADVANTAGE WINGED BLOOD                     DBMA-21G            123
K-SHIELD ADVANTAGE SAFETY BLOOD COLLECTI            DBMA-25G            22
DEVICE BD LUER-LOK ACCESS PACKG                     364902              21
NDL BD ULTRA FINE 5MM STER                          320119              1
PEDI URINE COLLECTOR                                145501              2
APPLICATOR FREPP CHLORAPREP 1.5ML                   260299              40
FOOTWEAR PATIENT MEDIUM BLUE                        68123-BLU           6
DRSG TEGADERM 4 X 4 3/4                             1626W               16
LOWER BODY PLUS BLANKET                             MA2250PM            35
SLEEVE STERILE                                      599                 25
ICE BAG, LARGE, 6.5X13IN                            11300-100           5
SUCTION TUBING 6'                                   N612                30
STAPLE REMOVAL KIT                                  *06-6700            56
COVER PROBE SURETEMP THERM                          05031-125           140
IV START 1624 FREPP                                 01-9000a            4
COVER MAYO STAND                                    8337                1
STERI-STRIP SKIN 1/2 X 4                            MR1547              11
EMESIS BAG PLASTIC BIODEGRADEA                      NS30835CARD         11
PEROXIDE HYDROGEN 3 PRCT 16 OZ                      D0012               3
BANDAGE FABRIC FLEX 3/4IN STER                      44100               50
TUBE ENDOTRACHEAL UNCUFFED 2.5MM                    211025U             3
TUBE ENDOTRACHEAL UNCUFFED 3.5MM                    211035U             3
BLUE UNDERPAD                                       H-3030/5            26
TUBE ENDOTRACHEAL UNCUFFED 5.5MM                    21105U              1
TUBE ENDOTRACHEAL UNCUFFED 2.5MM                    ETT211025U          2
SANITARY PAD                                        2022A               9
MASK NON-REBREATHER ADULT                           *001211             6
TUBING O2 VINYL TIP 25FT                            *001305             45
MASK NON-REBREATHER ADULT                           001211              18
DRESSING PRIMAPORE 11-3/4X4                         66000321            13
DRESSING PRIMAPORE 11-3/4X4                         66000321            12
DRESSING PRIMAPORE 11-3/4 X 4"                      66000321            10
FAN-FOLDED HALF SHEET, ASTOUND                      9358                12
PISTON SYRINGE 70 CC IRRIGATION                     *0038470            4
UNDERGLOVE BIOGEL SIZE 7                            31270-01            150
TUBE TRACH UNCUFFED 3.0 MURPHY TIP                  86223               2
TUBE LO PRO UNCUFFED 4.                             86225               6
ET TRACH TUBE 3.0                                   86225               1
TUBE TRACH UNCUFFED 3.0 MURPHY TIP                  86223               5
TUBE LO PRO UNCUFFED 4.0                            86225               6
PAD PREP ALCOHOL 70% ISOPROPYL                      PHX1007             50
SUTURE REMOVAL                                      7196                2
SHIELD FACE LF 3/4 FOAM TP ELA                      NONFS400            2
SECURLINE BLOOD WRISTBAND                           2436-16-PDB         16
TUBE 2.5MM UNCUFF TRACH MURPHY                      5-10405             16
TUBE 3.0MM UNCUFF TRACH MURPHY                      5-10406             30
TUBE NASOGASTRIC 16FR STERILE                       *0042160            13
ABG KIT                                             4640P-1             12
SPONGE GAUZE CURITY 2X2IN 2                         1806                2
SPONGE GAUZE CURITY 2X2IN                           1806                1
EXTENSION SET MICROBE 60                            2C9203              60
GLOVE STERILE BLUE SIZE 6                           2D73EB60            50
SPECIMAN TRAP STERILE 40CC                          8884724500          17
SUTURE SILK 2/0 30IN BLACK KS                       623h                2
CANNULA CUSHION INFANT W/7FT TB                     *002601             144
CLEANSING ENEMA SET                                 2562                20
CONNECTOR STERILE 5 IN 1                            501                 16
SPONGE LAP 18" X 18"                                23250-400A          12
SPONGE GAUZE 2X2IN 200PK                            2252                4
TRAY SYRINGE PISTON IRRIGATION W/60CC               750301              1
CUFF BLOOD PRESSURE NEONATE 4 20EA/CS               *011445             36
CUTTER CORD CLAMP                                   72-700              25
IV START 1620 PVP PAD                               ST010               2
SUTURE VICRYL 2-0 CT-1 27"                          J339H               6
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SUTURE VICRYL 2-0 SH 27"                                    J417H               32
TAPE SURG DURAPORE 3IN X 10YD                               1538-3              1
SUTURE VICRYL 3-0 SH 27"                                    J416H               8
CATH IV 22GA X 1.16"                                        381523              1
CATH IV 20G 1.16IN WNGD SFTY                                381534              30
CATH IV 20GA X 1.16"                                        381534              3
CATH IV 18G 1.16IN WGND SFTY                                381544              14
CATH IV 18GA X 1.16"                                        381544              3
CATH IV 16GA X 1.16"                                        381554              1
CATH IV ANGIOCATH 20G X 1.88                                381704              1
CATH IV ANGIOCATH 18G X 1.16                                381705              12
CATH IV 22G 1IN WNGD SFTY                                                       49
CATH IV ANGIOCATH 18G X 1.16                                                    9
CATHETER INFANT KIT 5FR                                     *0035630            6
SUTURE VICRYL 1 CT-1 27"                                    J261H               12
SUTURE VICRYL 4-0 SH 27"                                    J415H               20
CATHETER SUCTION 6FR PEDIATRIC                              36626               15
ELECTRODE PUPPY DOG 1041PTS                                 31424780            7
SUTURE VICRYL 0 CT-1 36"                                    J946H               10
SUTURE VICRYL 3-0 CTX 36"                                   J980H               30
AIRWAY PVC SOFT NASOPHARYNGEAL 20FR                         NA20FR              2
AIRWAY PVC SOFT NASOPHARYNGEAL                              NA24FR              2
AIRWAY PVC SOFT NASOPHARYNGEAL 36FR                         NA36FR 2            2
SUTURE VICRYL 0 CTX 36"                                     J370H               58
CANNULA CUSHION NEONATE W/7FT                               *002611             145
SUTURE VICRYL 2-0 CTX 36"                                   J369H               24
SUTURE VICRYL 1 CTX 36"                                     J371H               20
BLOOD COLLECTION SET SAF-T HOLDER                           96000               17
MASTISOL                                                    0523                30
ARWY NASOPHARYN 32F                                         888247056           2
TAPE HYTAPE PLASTIC 1/2INX5YD                               5LF                 24
BP CUFF ADULT                                               30503313SA          27
DUAL LUER LOCK CAP, PACKAGED -                              2C6250              509
MASK FACE INFANT ANESTHESIA 20EA                            5220                3
MASK FACE INFANT ANEST                                      5220                1
MASK INFANT                                                 5220                15
MASK FACE SNGLE USE NEONATAL                                5210                28
ARWY NASOPHARYN 24 FR                                       888247015           2
ARWY NASOPHARYN 28 FR                                       888247031           2
MASK NEONATE SIZE 1                                         1012                4
BLADE, SURGICAL CLIPPER                                     CAH4406D            31
FACIAL TISSUE 8"X8.33                                       10325-100           27
EXTENSION SET CLEARLINK 44IN CLEARLINK                      2C8612              260
WRIST RESTRAINT-UNIV                                        M20209              8
BAG ENEMA DISP W/ TUBE                                      145540              14
SOLUTION SET LUER VALVE 60 DPM CLEARLINK SYSTEMS            2c8402              138
MASK BUBBLE GUM INFANT SIZE 2 ANESTHESIA                    K1122               27
KIT STANDARD DELIVERY APPAREL                               GS90MAT4A           12
GROUNDING PAD                                               E7507               13
SUTURE PDS II 1 36IN CTX                                    Z371                18
STOCKING TED ANTIEMB SML KNEE                               7071                8
SPIROMETER INC DISP ADULT 4000                              001902A             8
PACKING VAGINAL STERILE 2X72                                31-140              36
EXTENSION SET MICROBORE Y-TYPE                              2N8371              53
BAG URINE DRAINAGE 2000ML LATEX-FREE                        154102              4
BAG URINE DRAINAGE 200ML                                    154102              6
CONTAINER SPECIMEN BULK PACK NON-STERILE                    C8827-14            4
SUTURE CHROMIC GUT 0 CT-1 27"                               812H                10
STOCKING TED ANTIEMB MED KNEE                               7115                2.59
STOCKING TED ANTIEMB XLRG LONG                              7802                4.53
SUTURE PLAIN GUT 3-0 CT 27"                                 852H                36
LEGGINGS, IN-VIEW, CLEAR POLY                               8430                8
LEGGINGS, IN-VIEW, CLEAR                                    8430                10
SOLUTION SET CONTINU-FLO 3 LUER                             2c8537s             1
CHLORAPREP ORG SM 10.5ML                                    260715              17
DRAPE UNDER BUTTOCKS W/FLUID COLLECTION POUCH               8482                8
SUTURE CHROMIC GUT 4-0 SH 27"                               G121H               24
SUTURE CHROMIC GUT 3-0 SH 27"                               G122H               15
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TUBE LO PRO UNCUFFED 3.5 MURPHY                         86224                3
TUBE LO PRO UNCUFFED 3.5 MURPHY                         86224                3
TUBE LO PRO UNCUFFED 3.5 MURPHY                         86224                2
SUTURE CHROMIC GUT 0 CT-1 36"                           924H                 5
SUTURE PLAIN GUT 0 STRAND 54"                           L104G                20
SUTURE CHROMIC GUT 3-0 CT-1                             922H                 32
SUTURE CHROMIC GUT 2-0 CT-1 36"                         923H                 15
COVER INSTR EQUIP 10INX16IN ST                          31140570             14
SUTURE CHROMIC GUT 1 CT-1 36"                           925H                 5
PAD, NURSING 36 DISP                                    NPAD36               7
ELECTRODE FETAL SCALP SINGLE SPIRAL                     989803137631.00      2
SUTURE CHROMIC GUT 0 CTX 36"                            904H                 1
SUTURE CHROMIC GUT 1 CTX 36"                            905H                 18
ET TRACH TUBE 2.5                                       ETT2110250           1
ET TRACH TUBE 3.5                                       ETT2110350           1
BANDAGE 4 IN X 5.5 YD                                   31140                56
PAD TEMPERATURE THERAPY 13X18IN PLASTIC                 8002-062-012         11
WIPE CLEANSING BULK 9X13                                3101                 5
BAG SPECIMEN 6X9                                        CH6X9BIO             10
FOLEY CATHETER KIT 5CC 16FR                             710016S              4
NDL HYPODRMIC SAFETY 22GX1.5                            305900               1
NDL HYPODRMIC SAFETY 25GX5/8                            305901               1
NDL 23 X 1 SFTY                                         305902               1
NDL HYPODRMIC SAFETY 21GX1                              305915               1
NDL HYPODRMIC SAFTY 18G X 1.5                           305918               1
STOCKING TED ANTIEMB LG KNEE                            7203                 3
CHLORAPREP 10.5ML                                       260715               2
STOCKING ANTI-EMB THIGH XL                              23640-680            17
CATHETER LEGBAND ADULT                                  316                  12
STOCKING ANTI EMB THIGH XL/REG                          23640-680            4
LINE GAS SAMPLING                                       *0523                41
TRAP DELEE MUCUS 8 FR CATH VACUUM BREAKER               8888257477           11
SINGLE-USE VAGINAL SPECULUM BUILT-LIGHT                 c020310              1
CL NON-DEHP EXT SET 43",2 CLSI                          2H8631               175
MEDICINE CUP 2 OZ                                       mcup2                2
TIP BOVIE TEFLON                                        12                   33
TIP BOVIE TEFLON 12EA                                   *0012                41
IV FAT EMULSION ADMINISTRATION                          2c1145               48
FILTERED HEAT AND MOISTURE EXCHANGE                     2866                 6
AMBU BAG ADULT                                          2K8005               3
DISK BIOPATCH 1IN 7MM                                   4152                 8
GLOVE UNSTERILE SMALL                                   8811NB               3
GLOVE UNSTERILE MEDIUM                                  8812NB               1
GLOVE UNSTERILE LARGE                                   8813NB               2
PENCIL ELECTROSURG ROCKER SWITCH EDGE COATED            E2350H               17
HYPERINFLATION SYSTEM                                   900-000-607          5
TRAP DELEE MUCUS 10 FR CATH                             8888257469           100
SOLUTION SET BLOOD Y-TYPE                               2c8750s              3
STOCKING TED ANTIEMB LG KNEE                            7203                 5
NEBULIZER SIDESTREAM W/TEE FLEX TB 50/CS                *002175              1.06
APPLICATOR 26ML 2 PERCENT                               260815               17
NEWBORN BILI-BONNET PHOTOTHERAPY                        01B                  3
SYRINGE 10CC LUER-LOK TIP                               309604               3
CKT FLITER DEP W/FILTER 10 PK                           1065832              24.68
DEVICE STATLOCK CATH STABILZAT                          FOL0102              7
STAPLER PROXIMATE SKIN                                  PXW35                3
STAPLER SKIN 35 WIDE                                    PXW35                2
SPINDLE FOR THERMAL PAPER                               420400               1
DRESSING PRIMAPORE 11-3/4X4 DO                          66000321             5
ASPIRATOR MECONIUM                                      N10101               92
CATH REPLOGLE 10 FR                                     256503               5
SUCTION CATHETER 10FR                                   8888256503           5
CL CATHETER EXT SET/LUER ACT.V                          2N8378               71
HOLDER TUBEENDO NEO PEDI 2.5MM                          H4051                7
SET, ADMIN, CADD                                        21-7339-24           12
DRESSING TRANS THUMB 4.0X4.75                           TD-26C               0.55
CATH TRAY WITH 16FR CATHETER                            800361               6
CHART PAPER, MARQUETTE                                  1272335              23
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STOCKINGS TED THIGH MED REG                                  3416LF              2
SENSOR LNCS ADTX-3 ADULT                                     2317                10
CANN CRVD N-FLAIR TIP W/7FT                                  1325                0.25
KIT, DRESSING CHANGE                                         03-400              6
T-PIECE NEONATAL PATIENT CIRCUIT KIT,                        1091335VS           7
SUTURE VICRYL 0 CTX 36" UNDYED                               J724D               10
CIRCUIT KIT NEONATAL                                         M10191335VS         14
PAPER RECORDER 80MM FAN FOLD                                  8000-0300          2
FLOW STD WITH EXTENSION                                      24250               1
PAD NON ADH TELFA 3INX8IN STER                               1238                0.06
FILTER EXHALATION SPU DX800                                  DX800               9
SLEEVE SCD KNEE MEDIUM                                       74022               23.19
SHOECOVER, IMPERVIOUS HIGH-TOP UNIVERSAL                     8457                5
STATC02 END TIDAL C02                                        10-55371            7
RESUS,INFANT,NEO MSK,RESV BAG,PEEP                           2K7201              41
4% CHG E-Z SCRUB IMPREGNATED SCRUB BRUSH W/4% CHG            371073              2
JOHNSON'S BABY LOTION 3OZ                                    103005              3
20 GA. X 4" STIM ULTRA                                       333648              14
BLADE B-P SURGICAL CARB S STER SZ 10                         371110              4
BLADE B-P SURGICAL CARB S STER SZ 20                         371120              5
B-P CARBON RIB-BACK BLADES, SIZE 22                          371122              2
SPONGE COUNTER BAG                                           31144127            1
RAM CANNULA - NEWBORN                                        N4902 Newborn       10
CATHETER SUCTION 8FR PEDIATRIC                               36826               7
CO2 DETECTOR                                                 CO2 DEC             30
KIT SUCTION CLOSED 14FR                                      2205                5.95
TUBE ENDO TRACH UNCUFFED REINFO 3.0MM                        86542               2
MASK LRG EXHALATION ELBOW LEAK 1 CAPSTRP                     1072629             84.5
TUBING CONNECTING 6MM 20FT                                   N620A               1.11
16FRBARDEXI.C. COMPLETE CARE 350ML METER                     A303316A            2
LITHOTOMY DRAPE PACK WITH SCREEN                             44214               5
CENTRAL LINE DRESSING TRAY                                   6853                10
L AND D PACK CUSTOM                                          SMA22LDMMA          28
PAPER THERMAL                                                M4816A              2
DRESSING LEUKOMED SORBACT STER                               7619904             12
DEVICE BLOOD TRANSFER PACKAGING                              364880              2
DRESSING MEPILEX AG 8X8                                      287400              4
BLOOD COLLECTION SET SAF-T HOLDER                            96000               2
SYR 10CC LL                                                  309604              0.07
BAG INFUSOR 1000ML                                           IN900012            1
DRESSING AG AQUACEL SURGICAL 3.5 X 9.75                      412011A             4
LANCET SAFE-T-PRO STERILE                                    *03136752001        1
TUBE 2.0ML FLAT TOP BLUE POLYPROPYLENE                       4053                3
DRESSING AQUACEL AG                                          412012              1
SYR 3ML LL STER                                              309657              0.04
SPECULA FOR OTOSCOPE 3MM                                     52133               1
BOPPY DISPOSABLE SLIPCOVERS                                  1348102K            4
GLOVE BIOGEL SURG PF SZ 8.0                                  30480-01            1
TUBE TRACH SZ 6 SHILEY ADULT REG                             6LPC                1
ELEC RED DOT FOAM MONITORING                                 2259-50             5.61
CENTRAL VENOUS CATHETER SET                                  G03117              1
VACUUM DELIVERY KIWI                                         VAC-6000M           46
SUTURE MONOCRYL 2/0 27IN                                     Y339H               1
KIWI OMNICUP VACUUM DELIVERY SYSTEM                          VAC-6000C           9
SUTURE MONOCRYL 1 36IN VIOLET CTX                            Y399h               2
SUTURE VICRYL 2-0 STRAND 12X18"                              J911T               1
HEMOSTAT 3X4 NU-KNIT STRL ABSORBABLE                         1943                10
SUTURE MONOCRYL 0 4X27IN                                     YY31G               1
MASK LRG EXHALATION ELBOW LEAK                               1072629             20
SUTURE MONOCRYL 3/0 2                                        Y523H               1
STAPLER SKIN ABSORB WOUND CLOSURE STERIL                     2030                6
SUTURE PLAIN GUT 2-0 CT 27"                                  853H                1
SUTURE CHROMIC GUT 2-0 SH 27"                                G123H               1
COVER PROBE                                                  *05031              1
RAM CANNULA - INFANT                                         N4903 Infant        1
HEMOSTAT 2X4 FIBRILLAR                                       1962                5
SUTURE MONOCRYL 4/0 27IN UNDYED P-2                          Y426H               1
SUTURE MONOCRYL 4/0 18IN UNDYED P-2                          Y946H               1
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HEMOSTAT ABSORBABLE SURGICEL STERILE SNOW                          2083                6
BABY SHAMPOO/BODYWASH 1OZ DYE FREE, FRAGRANCE FREE                 3712                2
ELECTRODE EDGE COATED BLADE EXT 6.5IN                              E1450-6             1
ONE-LINK NEEDLE-FREE IV CONNECTOR                                  7N8399              1
1 45CM STRATAFIX SYMMETRIC                                         SXPP1A400           1
INTRAN PLUS TRANSDUCER IUPC                                        IUP-500             1
RETRACTOR ALEXIS L&D LARGE                                         G6313               11
RETRACTOR C-SECTION X-LARGE                                        G6314               1
COOK BAKRI POSTPARTUM BALLOON                                      G24237              3
SPONGE GAUZE 2X2                                                   1806                0.12
TI-CRON™ Polyester Suture, Penetrating Taper, Size 4-0,            31073               8
SCALPEL 11 PROTECTED                                               372611              10
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           IV Solution                                           Quantity
2B0062Q    5% Dextrose 250 mL inj                                       35
  2B7177   Sodium Chloride 0.9% 3000 mL inj                             56
2B7074X    Lactated Ringer's and 5% Dextrose 1000 mL inj              143
2B1064X    5 % Dextrose and Sodium chloride 0.9% 1000 mL inj            42
2B1074X    5% Dextrose and 0.45% Sodium Chloride 1000 mL inj            67
2B2073Q    5% Dextrose 500 mL inj                                       24
2B1323Q    Sodium Chloride 0.9% 500 mL inj                              70
2B1322Q    Sodium Chloride 0.9 250 mL inj                             151
 2B2324X   Lactated Ringer's 1000 mL inj                              765
2F7124     Sodium Chloride 0.9% 1000 mL inj                           324
2B1307     Sodium Chloride 0.9% 100 mL inj                            326
2B0040     Dextrose 5% inj 50 mL inj                                    99
2B1308     Sodium Chloride 0.9% 50 mL inj                             152
2B0063Q    Dextrose 5% inj 500 mL inj                                   41
2B7487     Lactated Ringer's 3000 mL                                    70
2B1314X    Sodium Cholirde 0.45% 1000 mL inj                            45
2B7117     Sterile Water 3000 mL inj                                    28
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COLLAR MIAMI SUPER SGORT                           79-83201            1
SHOE POST-OP FEM                                   D2044-08            4
FOAM ABDUCTION PILLOW LARGE                        FP-ABDUCTL         10
SHOE POST OP MALE LRG                              D2044-03            4
COLLAR CERVICAL                                    D2044-03            9
SHOE POST OP                                       B3-013-03-D         2
PILLOW ABDUCTION SHOULD SUP                        D2044-03            2
ALUMINUM WALKER STANDARD W/ WHEELS                DWLK02-W             3
CRUTCH AXILLARY TALL 70-78 300LB PUSH BUTTON      CA901TL              3
CRUTCH AXILLARY ADULT 62-70 300LB PUSH            CA901AD              6
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WIPE SANI-CLOTH SUPER LRG                     Q55172           10
BLOOD COLLECTION SET 23X.75 SAFETY LOK               368653      6
BLOOD COLLECTION SET 21X.75                         368652       6
1/2 DRAPE UNIVERSAL WITH BAND                 1000-0100        18
PROBE COVER TIP                                    9344408     10
COVER CASSETTE XRAY                                   8720       6
KIT ANGIOGRAPHY 200mL                         SDS-CTP-SCS      36
Y TUBING CONTRAST                                   801106     98
CATH IV VIALON SFTY 22G 25MM S                381423           12
CATH IV 18G 1.16IN WGND SFTY                  381544           18
CATH IV 20G 1.16IN WNGD SFTY                  381534           31
1.2 MICRON EXTENSION SET                      7n8399          36
BORE CATHETER EXTENSION SET NEEDLE-FREE             783601     26
PAD PREP ALCOHOL 70% ISOPROPYL                PHX1007            2
CATH IV ANGIOCATH 20G X 1.88                  381704             3
URINAL WITH HANGING HANDLE                    H140-01          13
BEDPAN FRACTURE MAUVE                         FBEDPANMAV         6
DENTURE CUP 8OZ MAUVE                         DCUPMAV          34
H/S CATHETER WITH BALLOON 5 FR                UA61-5005          9
TRAY/HSG/6-CS                                        600701    11
APPLICATOR RAYON OBGYN POLYSTYRENE 8IN STERILE       57603     50
SOLUTION BETADINE 4 OZ                        BSOL04             2
BANDAGE CURITY FAB 2X3.75 XL S                44102            73
SPONGE GAUZE 2X2                              1806             24
SPONGE GAUZE 4X4IN 12-PLY 2'S                 3033            178
DRESSING TEGADERM 2 1/4 -2 3/4                1624W            91
MASK, SURGICAL                                AT71035            6
MASK, SURGICAL SOFT-TOUCH SENSITIVE           AT73035            1
GLOVE SURGICAL PROTEXIS PI 8.5                2D72PT85X          9
GLOVE SURGICAL PROTEXIS PI 7.5                2D72PT75X        30
GLOVE SURGICAL PROTEXIS PI 7.0                2D72PT70X        36
TUBING 60 INCH COILED 300 PSI                        601195    48
LUBRICANT JELLY 4OZ SURGILUBE                 281020537A       10
E-Z GAS II                                            793        5
CATHETER IV WITH REM PRN BL                          383322      6
CATHETER IV SAF-T-INTIMA 24X                        383312       4
CATHETER IV WITH REM PRN BL                         383335       1
PROBE COVER 6" X 48" WITH BAND                PC-0648            1
EARPLUGS PILLOW PACK                          310-1001         39
GLV NITRILE II LT BLUE S                      8811NB             5
GLV NITRILE II LT BLUE L                      8813NB             6
GLV NITRILE II LT BLUE M                      8812NB             1
NEEDLE SPINAL 24G TW X 3 1/                          405133      2
NEEDLE SPINAL S/SU 22G 3-1/2                  405181A            1
NEEDLE SPINAL S/SU 18G                             405184        1
NDL REG BEVEL 18GX1 .5                        305196           49
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NDL BLUNT FILL 18G X 1-1/2                 305180          1
SOLUTION TRANSEPTIC 250ML                           43003  6
GEL AQUASONIC 100                                   12420 27
BORE CATHETER EXTENSION SET NEEDLE-FREE      7N8301        1
CATHETER INFANT KIT 5FR GLOVES IODOPHOR SWABS       35630  1
SYRINGE 30ML LUER LOCK                       302832       33
SYRINGE 20ML LUER LOCK                       302830       17
SYR 2 OZ CATHETER TIP                        309620       50
SYR 10CC LL                                  309604       57
KIT IV START 1624 FREPP                      01-9000A     19
CANN CRVD N-FLAIR TIP W/7FT                  1325         20
SYR SALINE FLUSH 10ML                        14011-240    66
EMESIS BAG PLASTIC BIODEGRADEA               NS30835CARD 11
NDL HYPODRMIC SAFETY 25GX5/8                 305901        1
GEL AQUASONIC 100 SINGLE USE PACKETTES       *01-20        6
GEL AQUASONIC 100                            *01-10        2
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SPIROMETER INC DISP ADULT 4000   001902A        22
CATH IV ANGIOCATH 16GA X 3.25    382258         23
CATH IV ANGIOCATH 20G X 1.88     381704         127
CATH IV 18G 1.16IN WGND SFTY     381544         212
CATH IV 20G 1.16IN WNGD SFTY     381534         160
CATH IV VIALON SFTY 22G 25MM S   381423         11
ELEC RED DOT FOAM MONITORING     2259-50        5
CATHETER INFANT KIT 5FR          35630          44
BAG URINE DRAINAGE 200ML         154102         15
GOWN ISOLATION PPSB/SMS MEDIUM   SMS100-25      40
BANDAGE CURITY FAB 2X3.75 XL S   44102          350
BANDAGE FABRIC FLEX 3/4IN STER   44100          200
BANDAGE SPOT 7/8IN STERILE       44107          50
BDG STRETCH CONFORD 6X82IN, ST   KC2238         24
STERI-STRIP SKIN 1/2 X 4         MR1547         53
DRSG TEGADERM 4 X 4 3/4          1626W          150
DRESSING TEGADERM 2 1/4 -2 3/4   1624W          205
DRS VENI GARD ADULT IV STABI     705-4431       46
GAUZE PETRO XERFRM 5X9IN STRIP   8884433605     74
SPONGE GAUZE 2X2                 1806           700
PAD NON ADH TELFA 3INX8IN STER   1238           75
DRAIN SPONGE 4X4 6PLY            441407         65
SPONGE GAUZE 2X2IN 200PK         2252           19
SPONGE GAUZE 4X4IN 12-PLY 2'S    3033           450
SPONGE GAUZE 4X4IN 12-PLY TRAY   6939           109
BANDAGE KERLIX 4X4               441106         76
STOCKING TED ANTIEMB LG KNEE     7203           13
STOCKING TED ANTIEMB MED KNEE    7115           6
STOCKING TED ANTIEMB SML KNEE    7071           4
STOCKING TED ANTIEMB XL KNEE     23640-580      21
STOCKING TED ANTIEMB XLRG LONG   7802           7
GAUZE CONFORM 4 X 75"" STER""    FBEDPANMAV     7
DRESSING TRANS THUMB 4.0X4.75    TD-26C         13
TRAY SKIN PREP PVP-1 SCRUB       4468           33
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GLV NITRILE II LT BLUE L             8813NB          32
GLV NITRILE II LT BLUE M             8812NB          26
GLV NITRILE II LT BLUE S             8811NB          22
GLV NITRILE II LT BLUE XL            8814NB          18
GLOVE SURGICAL PROTEXIS PI BLU       2D73EB80        50
GLOVE SURGICAL PROTEXIS PI BLU       2D73EB75        150
GLV SURIGCAL PROTEXIS PI 7.5         2D72PL75X       86
GLV SURGICAL PROTEXIS PI BLUE        2D72PL70X       74
GLOVE SURGICAL PROTEXIS PI 6.5       2D72PT65X       100
GLOVE SURGICAL PROTEXIS PI 6.0       2D72PT60X       100
GLOVE SURGICAL PROTEXIS PI 7.5       2D72PT75X       200
GLOVE SURGICAL PROTEXIS PI 7.0       2D72PT70X       150
GLOVE SURGICAL PROTEXIS PI 8.5       2D72PT85X       100
GLOVE SURGICAL PROTEXIS PI 8.0       2D72PT80X       100
SHOECOVER DURA FIT XL 200/PR         4854            800
CAP SURGEON W/TIE UNISEX ONE S       4359            800
KIT ARTERIAL BLOOD GAS HEPARIN       4599P-1         50
APPL COTTON TIP 6 ST""               C15053-006      200
BAG ENEMA DISP 60IN TUBE 1400M       145540          46
BAG POST MORTEM CURVE ZIPR WHI       9070            6
uNDERPAD 30X30 SUPERABSORB           42411-01        49
LUBRICANT JELLY 4OZ SURGILUBE        281020537A      20
MASK N95 MED LARGE                   N95ML           45
MASK CONE CERT SMALL N95             N95             855
CAVICIDE 1-MIN DISINFENCTANT         13-5024         13
PAD ADHESIVE REMOVER                 B16400          18
PAD PREP ALCOHOL 70% ISOPROPYL       PHX1007         20
BLADE TONGUE 6IN ST SR               25-705-ALL      100
BLADE TONGUE 5 1/2 JR                711-ALL         500
FB APPLICATOR WOOD 6IN 864/PK        A5000-1         100
CAP BOUFFANT 24IN BLUE               3274            11
FOLEY CATHETER KIT 5CC 16FR          710016S         31
CATHETER LEGBAND ADULT               316             3
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STRAP LEG BAG DRAIN DELUX FABR   150507          52
STOCKING ANTI EMB THIGH XL/REG   23640-680       7
STOCKINGS TED THIGH MED REG      3416LF          6
CONTAINER PLASTIC 32 OZ GRADUA   H972-01         36
DENTURE CUP 8OZ MAUVE            DCUPMAV         75
DERMACEA X-RAY 4X4 16 PLY STRL   441002          1375
GOWN POLY-COATED W/THUMB BLUE    4211PG          50
FOLEY CATHETER TRAY 16F STATLK   800361          14
MEDICINE CUP 2 OZ                mcup2           11
MEDICINE CUP 2 OZ                MCUP2           86
KIT MINI TRACH 4MM INTRO         500100          30
SHIELD FACE LF 3/4 FOAM TP ELA   NONFS400        3
SPECIMEN PAN URINE HAT           SPECPAN01       50
BAG SPEC BIOH 6X9 PRINTED M/CS   CH6X9BIO        453
SPECIMAN TRAP STERILE 40CC       8884724500      37
BLADE #15 CARBON STEEL           371115          100
MASK SURG DUCKBILL               1054535         300
SCALPEL PROTECTED DISPO SZ 10    372610          24
SCALPEL SURGICAL #11             371611          10
TOWEL OR 17X24 BLUE STER 4/PK    28700-004       750
TRAY URETHRAL CATH RUBBER 15FR   772415          9
TRAY SKIN SCRUB W 2OZ PVP        4420            33
BABY WIPES SENSITIVE FRAG FREE   S-WTB042        32
BEDPAN FRACTURE MAUVE            FBEDPANMAV      33
DEODORANT ANTIPERS ROLLON SCNT   B01K752CA       51
EMESIS BASIN 500ML/16 OZ MAUVE   EBASINMAV1      132
TISSUE FACIAL 5.7X7IN 2PLY 40E   48550           240
DIAPER NEWBORN SWAD TO 10LB      30374           27
PAD NAIL POLISH REMOVER          10551101        100
BAG BELONGING PERSONAL           75-834-190      325
FOOTWEAR HIGH RISK YELLOW LG     90381           48
PITCHER 28 OZ MAUVE              CARAFEMAV       109
PAD SANITARY OVERNIGHT           2022A           20
SHAVE CREAM 1.5OZ                AG-SC1          15
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TOOTHBRUSH ADULT X-SOFT              OC-TBADXS1        92
TOURNIQUET STRAP 1X18IN BLUE         PC279T1-CH-5060   299
UNDERPAD 30X30 SUPERABSORB           H-3030/5          240
WASH BASIN MAUVE                     DYND80347A        31
ARWY NASOPHARYN 24 FR                8888247015        8
ARWY NASOPHARYN 28 FR                8888247031        20
ARWY NASOPHARYN 32F                  8888247056        18
NASOPHARYNGEAL AIRWAY 20FR           321050            8
NASOPHARYNGEAL AIRWAY 24FR           321060            8
NASOPHARYNGEAL AIRWAY 36FR           321090            8
MASK RESUS AD MAN W/TUBE 40          2K8005            7
CANN CRVD N-FLAIR TIP W/7FT          1325              68
MASK O2 NON-REBREATH ADULT 7FT       1211              76
ALCOHOL ISOPROPYL RUBBING 16OZ       D0022             12
APPLICATOR SEPP CHLORAPREP 0.6       260449            180
CHLORAPREP ORG SM 10.5ML             260715            54
SOLUTION SKIN PREP PROVIDONE         BSWS1S            54
SUTURE REMOVAL KIT TRAY              1899414           54
NDL BLUNT FILL 18G X 1-1/2           305180            476
NDL FILTER 18GX1-1/2                 8881305117        103
NDL REG BEVEL 18GX1 .5               305196            100
NDL REG BEVEL 19X1.5                 305195            100
NDLSHORT BEV 20GX1.5                 305187            200
NDL SHORT BEVEL 22GX1.5              305159            104
NDL REG BEVEL 25G X 1 1/2            305127            100
NDL HYPODRMIC SAFTY 18G X 1.5        305918            437
NDL HYPODRMIC SAFETY 21GX1           305915            325
NDL HYPODRMIC SAFETY 22GX1.5         305900            132
NDL 23 X 1 SFTY                      305902            130
NDL HYPODRMIC SAFETY 25GX5/8         305901            4
SYR 10CC LL                          309604            58
SYR 10CC SLIP TIP                    301604            328
SYR 2 OZ CATHETER TIP                309620            37
SYRINGE 20ML LUER LOCK               302830            71
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SYRINGE 20ML LUER SLIP               302831          46
SYRINGE 30ML LUER LOCK               302832          230
SYRINGE BD 60ML LUER-LOK TIP G       309653          25
SYRINGE 60ML LUER-SLIP               SY35060LS       90
SYR 2 OZ CATHETER TIP                35280           44
SYRINGE LUER LOCK WOUT TIP 35C       1183500777      150
SYR PISTON IRRIGATION                38470           17
SYR 1CC TB 27G X 1/2                 8881501368      350
SYR TB SYR ONLY 501                  81-501400       45
SYR 3ML LL STER                      309577          199
NEEDLE HYPO 22GX1.5 IN               309626          186
SYR INSLN 1CC 29GX1/2 SFTYLOK        329464          188
TUBING SUCTION CONNECTING 10'        CFN510          90
TAPE ADHESIVE 3                      2950-3          4
TAPE SOFT CLOTH MEDIPORE 1IN         2861            20
TAPE SURGICAL DURAPORE 1IN X 1       1538-1          13
TAPE DURAPORE 2INX10YD               1538-2          8
TAPE SURG DURAPORE 3IN X 10YD        1538-3          16
TAPE SURG MEDIPORE 2INX10YD          2862            39
TAPE MICROFOAM 3 INCH                M1528-3         6
TAPE SURG MICROPORE 1INX10YD         M1528-3         49
TAPE SURG TRANSPORE 1IN X 10YD       1530-1          27
ICE BAG 6.5X13                       11300-100       81
ICE BAG SM/TIES 5'' X 12''           11400-100       7
12ML SYRINGE REGULAR LUER TIP        1181200555      475
12ML SYRINGE LUER LOCK TIP           1181200777      475
DRESSING TEGADERM TRANS IV           M1620           100
GLOVE BIOGEL SIZE 7                  30470-01        100
GLOVE BIOGEL SIZE 7-1/2              30475-01        100
GLOVE BIOGEL SIZE 8                  30480-01        100
GLOVE BIOGEL SIZE 8-1/2              30485-01        150
SYR 3ML LL STER                      309657          209
PAD ABD 5X9                          KC7196D         202
CLOSURE SKIN STERI-STRIP 1/4X4       R1546           98
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PEROXIDE HYDROGEN 3 PRCT 16 OZ   D0012           7
SUCTION YANKAUER CLEAR BULB TP   K86             86
APPLICATOR 26ML 2 PERCENT        260815          75
NEEDLE HYPO 22GX1.5 IN           4288            80
RAZOZR DISP GOOD NEWS            4417GN          65
SYRINGE 60 CC TOOME              8881560265      20
16 FR EXI.C. COMPL CARE 350ML    A303316A        11
BOTTLE PERI FOR IRRIGATION       20338-305A      36
SYRINGE BULB 3OZ STER SINGLE     35830           95
PACK COLD BASIC PERINEAL         11500-010       14
CATH SUCTION 6FR PEDIATRIC       36626           50
CATH SUCTION 8FR PEDIATRIC       36826           5
GLOVE SURGICAL SIZE 8 STER PER   5711105         100
KIT IV START 1624 FREPP          01-9000A        176
RESUS BAG PEDIATRIC MANUAL 6/C   2K8008          6
SWAB STERILE DOUBLE&TRANSPORT    4320135         50
CANNISTER SUCTION 1200CC         65651-212       80
CANNISTER SUCTION 3000CC         65651-230       60
SOLUTION BETADINE 4 OZ           BSOL04          12
EMESIS BAG PLASTIC BIODEGRADEA   NS30835CARD     301
BANDAGE STRETCH CONFORM 2X75IN   2231            20
AMNIHOOK                         D9601           54
MESH PANTS LARGE                 MP71040         150
ULTRASOUND GEL 250ML BTL         5010            98
KIT STANDARD DELIVERY APPAREL    GS90MAT4A       28
CAVIWIPES1, REGULAR-160 WIPES,   13-5100         8
CATH IV 16GA 1.16IN WNGD SFTY    381554          450
CATH IV 24G 0.75IN WNGD SFTY     381512          170
CATH IV 22GA 1IN WNGD SFTY       381523          100
LIP BALM                         MSC092915       13
SENSOR LNCS INFANT DISP          2319            118
MASK O2 PED TODDLER SIZE 3       KS1032          20
LUBRICATING JELLY 3GM FOIL PK    LJ33107         468
MASK SUG FOG WITH EYESHIELD      1074635         100
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BATTERY AA                       PC1500          90
BATTERY C 1.5V                   PC1400          24
SENSOR LNCS ADTX-3 ADULT         2317            103
SPECULA OTOSCOPE 4.25MM ADULT    52434-U         5100
DISK BIOPATCH 1IN 7MM            4152            56
CLOTH CHLORHEXIDINE GLUCONATE    9707A           82
WASHCLOTH COMFORT MOIST ADULT    7900            166
ALCOHOL ISOPROPYL 70% 4OZ        I0020           10
FOOTWEAR PATIENT XL GREY         68123-GRY       54
FOOTWEAR PATIENT LARGE TAN       68123-TAN       84
FOOTWEAR PATIENT MEDIUM BLUE     68123-BLU       38
KIT SUCTION CLOSED 14FR          2205            20
BATTERY PROCELL AAA PK/4         LINERPL         12
NDL BD ULTRA FINE 5MM STER       320119          1600
CATH-N-GLOVE 5FR                 4893T           75
CATH SUCTION 8FR                 4897T           75
CATH SUCTION 10FR                4895T           100
STRAINER URINE CALCULI           4712            96
AIRWAY NASOPHARYNGEAL 14FR       123314          10
HIBICLENS 4 OZ                   57504           15
BAG SPONGE COUNTER BLUE BACK     5096            50
MOUTHWASH 4OZ ALCOHL FREE MINT   B01I9220WDL     68
RAZOR TWIN BLADE STD BLUE        CH-RAZ2         75
CONDITIONER HAIR 1 OZ            B252CD010       14
CUFF PHILIPS SMALL ADULT DISP    989803182291    32
COVER PROBE SURETEMP THERM       05031-125       40
WASHCLOTH PAPER SGL USE 13X10    2503            12
BEDPAN CONVENTIONAL MAUVE        CBEDPANGRY      75
BELT LIFE TRACE AB               56101           150
CUFF PHILIPS ADULT X-LG DISP     989803182311    16
KIT SYMPHONY DBL BREAST PUMP     67099           11
SLEEVE SCD KNEE LARGE            74023           40
SLEEVE SCD KNEE MEDIUM           74022           45
PACK C-SECTION                   SMA22CPMMB      10
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TUBING MAIN PUMP ARTHREX             AR-6410           20
BEANIE UNISEX NEWBORN                52000010          150
BAG URINARY LEG STERILE LARGE        150103            10
COVER PROBE SMARTEMP                 M09A-30-6212830   95
CIRCUIT ANES ADULT 72IN LIMBO        AMN520X4          20
CANNULA NASAL CRVD 14FT              CF1326            94
MASK SURG DUCKBILL                   AT51035           224
BINDER ABD 8IN MED 32-38             D13530006         2
CIRCUIT NEONATAL T-PIECE             M1091335VS        50
SITE-SCRUB                           3882025           50
CUTTER CORD CLAMP                    72-7000           18
SET COMB AND BRUSH BABY              BBRCMSET          46
BATH SITZ 2000ML                     BSITZGRY          3
DRESSING LEUKOMED SORBACT STER       7619904           20
PAPER RECORDER DEFIB ZOLL            8000-0301         5
ELECTRODE DEFIB ADULT ZOLL           8900-0214-01      6
BACTEC PEDS PLUS/F                   4402194A          50
BACTEC LYTIC/10 ANAER                442021            50
BINDER ABD 8IN LARGE                 D13530007         2
PAD THEMP THERAPY                    8002062012        20
RESUSCITATOR BAG NEONATE             2K7201            38
CAP CATHETER PLUG STER               76                26
TAPE TRANSPORE 2IN                   1527-2            9
DEVICE STATLOCK CATH STABILZAT       FOL0102           20
CLAMP FOLEY CATH PLASTIC             3913-2            80
SYR SALINE FLUSH 10ML                14011-240         450
DRESSING MEPILEX AG 8X8              287400            20
BRIEF QUILTED LARGE WINGS            66034             36
PACK CENTRAL LINE DSG CHANGE         03-0400           24
HOLDER BLOOD COLLECTION SAF-T        96000             20
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                                  Originating
                                      NumberMaster Name       Description


     6/30/2016                     Advanced Electronics       TV for conference room
    12/31/2015                1257 Greenline Home Theater     TV's
     1/31/2015 25691               MAVICOR LLC                Ipads (20)
     3/11/2015 25902               MAVICOR LLC                Air Mac book
                              26600 MAVICOR LLC               Phones (10)
                              26598 MAVICOR LLC               Mcbook Pro
     6/30/2016                24809 MAVICOR LLC               Network Hardware
    11/30/2015 1                   MIAMI CHILDREN'S HEALTH SYSTEM
                                                              EQUIPMENT PURCHASE
    11/30/2015 2                   MIAMI CHILDREN'S HEALTH SYSTEM
                                                              CABLING, PHONES, PC EQUIP
                                 9 MIAMI CHILDREN'S HEALTH SYSTEM
                                                              CABLING, PHONES, PC EQUIP
    11/30/2014 NH3119              NUETERRA HOLDINGS          Macbook
    12/31/2015 27293, 27294        Oppor                      SERVERS
    12/31/2015 P5339               Security 101               Security equipment
                 P5288             Security 101               Security equipment
     1/31/2016 IN71963             Strategic                  128 Motorola systems
    12/31/2015 K01366920102        Zones                      Scanners (10)
    10/14/2015 0176167-001         Business Essentials        Commercial Brewer
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                    SCHEDULE 1.1(ii)

               EQUIPMENT FROM UCC_3
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Schedule 1.1(ii)



                                                      EXHIBIT "A

                                                  Assigned Assets List




1    Furniture fic Fixtures   BENSONWEDO, UC                     Msc Furniture
2    Furniture fir Fixture!   BENSONWEDO, UC                     Furniture - 2nd floor ptnt room
3    Furniture fir Fixtures   BENSONWEDO, LLC                    Furniture * 3rd floor ptnt rm
4    Furniture fir Fixtures   MIZUHO                             Control, Imaging TOp

5    Furniture fir Fixtures   BENSONWEDO, LLC                    Furniture - 1st Floor
6    Furniture fir Fixtures   BENSONWEDO, LLC                    Final Payment
7    Furniture fir Fixtures   BENSONWEDO, LLC                    furniture Purchase
8    Furniture & Fixtures     BENSONWEDO, LLC                    Signage
9    Furniture fir Fixtures   Pedigo                             Carts, hamper* stools
10   Furniture fir Fixtures   BENSONWEDO, LLC                    Furniture installation
12   Furniture fir Fixtures   BENSONWEDO, LLC                    installation
13   Furniture fir Fixtures   MIZUHO                             Table and Traction Boot
14   Furniture fir Fixtures   BENSONWEDO, LLC                    50% Deposit furniture
15   Furniture & Fixtures     ASP                                Keypad Control
16   Furniture fir Fixtures   ADVANCED ELECTRONICS               TV (56) and Cables
17   Furniture & Fixtures     Direct Supply                      Frigerators (49j, Microwaves (14)
18   Furniture fir Fixtures   Schaerer Medical                   Surgery Table
19   Furniture & Fixtures     Date* Ohrada, Inc                  hfant warmer system
20   Furniture fir Fixtures   BENSONWEDO, LLC                    Furniture • 1st Floor Furn
21   Furniture fir Fixtures   BENSONWEDO, LLC                    Mirro rs and Piexi Class
22   Furniture fit Fixtures   BENSONWEDO, LLC                    Furniture - 3rd floor support
24   Furniture fir Fixtures   BEN50NWEDD, LLC                    irrniture • Mirror/Evac
25   Furniture fir Fixtures   BENSONWEDO, LLC                    Furniture safes tax paid
26   Furniture fir Fixtures   Maquet                             Universal Core and Freight
27   Furniture fir Fixtures   BENSONWEDO, LLC                    Furniture - 2nd floor
28   Furniture fir Fixtures   Leica                              Microtomy Gystat
29   Furniture & Fixtures     Future Health Concepts Inc         Cabinet and Shelving (9)
30   Furniture fir Fixtures   Aramark, BensonWedd                Smallwares
31   furniture fir Fixtures   BENSONWEDO, UC                     Furniture * 2nd floor support
32   Furniture fir Fixtures   BENSONWEDD, LtC                    Furniture • patient room
33   Furniture fir Fixtures   GE Healthcare                      File Holder Cabinets
34   Furniture fir Fixtures   Grainger                           Trash Cans, fire blanket
35   Furniture fir Fixtures   Direct Supply                      Side by Side Fridge
36   Furniture fit Fixtures   BENSONWEDO, LtC                    Furniture- 1st Floor




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SB   Furniture fit Fixtures   BENSONWEOO, LLC                      Furniture
39   Furniture fir Fixtures   Network                              Roll Towel Dispenser (400)
40   Furniture (Si Fixtures   BENSQNWEDD, LLC                      Moulding Supplies
41   Furniture fit Fixtures   BENS0NWEDD, LLC                      QS Recliners
42   Furniture fir Fixtures   BENSONWEOO, LLC                      Furniture
43   Furniture fir Fixtures   BENSONWEOO, LLC                      Signs in Braille
44   Furniture fir Fixtures   BENSONWEOO, LLC                      Interior Design, IKEA furniture
45   Furniture & Fixtures     BENSONWEOO, LLC                      Furniture • 3rd floor add on
46   Furniture fir Fixtures   BENSONWEOO, LLC                      Conference Room Chairs
47   Furniture & Fixtures     HIII'Rom                             Contract Invoice
48   Furniture & Fixtures     Office Furniture Warehouse           Conference Table
49   Furniture fir Fixtures   Cort Business                                                                             0
50   Furniture fir Fixtures   Hill-Rom                             2ndFLooriCU
51   Furniture & Fixtures     JE fir SON SUPPLY                    tankless water Heater
52   Hardware                 MIAMI CHILDREN'S HEALTH SYSTEM       Cemer Startup and Testing
53   Hardware                 MIAMI CHILDREN'S HEALTH SYSTEM       CABLING, PHONES PC EQUIP
54   Hardware                 MIAMI CHILDREN'S HEALTH SYSTEM       Final payment to S5M contract
55   Hardware                 GHX                                  Hiding Partner Acceleration Provider Exchange
56   Hardware                 Strategic                            12B Motorola systems
57   Hardware                 MIAMI CHILDREN'S HEALTH SYSTEM       EQUIPMENT PURCHASE
56   Hardware                 Security 101                         Security equipment and install
59   Hardware                 MAVlCORLLC                           Network Hardware
60   Hardware                 Mindray                              BOM SOFTWARE
61   Hardware                 Greenline Home Theater               TV's
62   Hardware                 Oppor                                SERVERS
63   Hardware                 Smith's Medical                      Medication Safety Software
64   Hardware                 AB&A                                 Website development
65   Hardware                 MAVlCOR LLC                          lpads(20)
66   Hardware                 Zones                                Scanners (10)
67   Hardware                 MAVlCOR LLC                          Phones (10)

66   Hardware                 Security 101                         Security equipment
69   hardwift                 Advanced Electronics                 TV for conference room
70   Hardware                 MAVlCORLLC                           Installation and Air Mac book

71   Hardwire                 MAVlCOR LLC                          Mcbook Pro
72   Hardware                 NUETERRA HOLDINGS                    Macbook for L. Huntley
73   instruments              Intuitive Surgical                   Msc Instruments- forceps* graspers, endoscope assy




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74     instruments         Arthrex                              Shoulder muniment set
75     Instruments         Arthrex                              Tenodesis Instrument set
76     Instruments         Applied Medical                      reusable grasper handle
77     Instruments         Carefusion                           Puos machine
76     Instruments         Karl Store                           flexible cysto scope

79     Instruments         Olympus                              Vacuum curettage system

60     Instruments         Alcon                                forceps, scrappers

B1     Instruments         Arthrex                              coupler, ioorr\ hd, c mount (2)
62     Instruments         Mindray                              llta sonic Transducer
63     Instruments         Labsco                               nerve Stimulator (3)
6S     Instruments         network                              mounting bracket
86     Instruments         3m                                   2 attest auto reader
87     instruments         Steris                               Install Sonic Console

88     Instruments         steris                               Catron US8 extender Plus
89     Instruments         Arthex                               metal cannula
90     instruments         Aesculap                             Mcro Pituitary Rongeur
91     Instruments         Aescufap                             Tenaculum G rasper (2)

92     Instruments         Olympus                              Optical Urethrotome Sheath

93     Instruments         Aescufap                             Right Angle Dissector (2)
94     Instruments         Arthex                               Con OBT Sheath W handle (7)
95     Instruments         cardinal                             Holder triple glove box stainless sted (14)
96     Instruments         Aesculap                             Henty Retractor Set w/ accessories
97     Instruments         QLAfUNMedlcal Equipment              LEO Examfamp (2)
96     Instruments         Aesculap                             06 instruments
99     Instruments         ClAFUNMedicai Equipment              Wis* Hippie fiber optic blades
100    Medical Equipment   intuitive Surgical                   IS4000 Oa Vtnci System
101    Medical Equipment   Steris Corporation                   OR EQUIPMENT
1 02   Medical Equipment   Stryker Insturments                  Msc drills, saws, laproscopes
104    Medical Equipment   Gt Healthcare                        12 Anesthesia Machines
105    Medical Equipment   HIII'Rom                             Equipment of beds
107    Medical Equipment   PHILIPS HEALTHCARE                   Patient Monitor Station
106    Medical Equipment   Aesculap                             Medical Instvumerrts
110    Medical Equipment   Steris Corporation                   SURG LIGHT W MONITOR MOUNT(14>
111    Medical Equipment   Stryker Endoscopy                    Cameras

1 12   Mrdical Equipment   MIAMI CHILDREN'S HEALTH SVSTEM       KlhRom Lexmark RoundTower

113    Medical Equipment   Carl Zeiss, Meditec, Inc             KmatopmiLurnera 700




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114    Medical Equipment    GE Healthcare                         Precision 500 0 Used
115    Medical Equipment    Stiyker Sales                         Equipment

116    Medical Equipment    Covidien                              Equipment
1 17   Medical Equipment    Data* Ghnrveda, Inc                   hfint warmer, care system

1 1B   Medical Equipment    Stens Corporation                     WRO, AMSCO- PLUS TAX
119    Medical Equipment    Zoll                                  Advisory R Series
120    Medical Equipment    Olympus                               Equipment

121    Medical Equipment    PHILIPS HEALTHCARE                    Patient Monitor
122    Medical Equipment    Steris Corporation                    V-Pro Max

123    Medical Equipment    PHILIPS HEALTHCARE                    installation and quipment- OB
124    Medical Equipment    Baxter Healthcare Corp                IV Connector
125    Medical Equipment    Steris Corporation                    OR LIGHTS | J)

1 26   Medical Equipment    MIAMI CHILDREN'S HEALTH SYSTEM        Cemer Hill-Rom Greenline
1 27   Medical Equipment    Help                                  Equipment Planning

128    Medical Equipment    Edward Don fir Con^any                Equipment 2nd Deposit

129    Medical Equipment    OEC Medical                           9900 Elite motor driven
130    Medical Equipment    OEC Medical                           9900 Elite motor driven
1 31   Medical Equiprrent   Smth's Medical                        ftrmp kits
132    Medical Equipment    Stem Corporation                      instillation of Equipment

1 33   Medical Equipment    Afcon Laboratories* Inc               Constellation LXT
134    Medical Equipment    Medtronic USA inc                     Balloon Seeker
135    Medical Equipment    Steris Corporation                    VISION, PLUS TAX
136    Medical Equipment    Edward Don & Company                  Diswasher. Trash collector
137    Medical Equipment    MIAMI CHILDREN'S HEALTH SYSTEM        Hill-Rom IT outlet RoundTower
1 38   Medical Equipment    Steris Corporation                    CAVIWAVE PRO SONIC CONSOLE
139    Medical Equipment    Amico                                 AHM Falcon station (65)
140    Medical Equipment    MIAMI CHILDREN'S HEALTH SYSTEM        Cemtf, Computer, and Zone inv
141    Medical Equipment    Steris Corporation                    nstallation of Equipment

142    Medical Equipment    Hill Rom                              dinical training
143    Medical Equipment    OrthoScan                             Mni-Arm

144    Medical Equipment    GE Healthcare                         Trade In

1 45   Medical Equipment    GE Healthcare                         GSlogiq
146    Medical Equipment    GE Healthcare                         Wifeless Connectivity
147    Medical Equipment    GE Healthcare                         Brivo System
148    Medical Equipment    Smith's Medical                       Medfusion pump (1 5)

149    Medical Equipment    MIAMI CHILDREN'S HEALTH SYSTEM        Betom System and Hill-Rom Com




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150    Medical Equipment    GE Healthcare                                                                 0
1521   Medical Equipment    Amico                              Bassinets

152    Medical Equipment    Medtronic USA Inc                  Foot Control Console
154    Medical Equipment    PHILIPS HEALTHCARE                 Patient Monitor

155    Medical Equipment    Hl!l*Rom                           VercacireBeds

155    Medical Equipment    Hill Rom                           dinical training

157    Medical Equipment    St/yker Sain                       Equipment Drill
158    Medical Equipment    Stryker                            CLEAR OUT GP ACTIVITY
160    Medical Equipment    Awculip                            Medical Equipment
1 61   Medical Equipment    Steri* Corporation                 HARMONY AIR

162    Medical Equipment    Aesculap                           MEdical Equipment
162    Medical Equipment    Medtronic USA Inc                  instrument kit
164    Medical Equipment    Bayer Healthcare                   Sol anus
1 65   Medical Equipment    Medtronic USA Inc                  Equipment

166    Medical Equipment    Carefusron Solution*               pharmogistic*
167    Medical Equiprrent   Integra Lifescience                Light Source
169    Medical Equipment    Hill Rom                           din'toel training

170    Medical Equipment    DEC Medical                        12" Vascular 9800 upgrade kit
171    Medical Equipment    Edward Don & Company               ke Dispenser
1 72   Medical Equipment    Olympus                            Ultra-light Camera
1 72   Medical Equipment    Mindray                            Equipment
174    Medical Equipment    GE Healthcare                      Procedure Table
1 75   Medical Equipment    Steris Corporation                 4 CEILING LIGHT
1 76   Medical Equipment    Medtronic USA Inc                  kutrumenU

177    Medical Equipment    Stryker Endoscopy                  Medical Equipment
1 78   Medical Equiprrvnt   Allen Medical System*, inc         Medical Equipment

179    Medical Equipment    QAFUNMedicil Equipment             Equipemnt
180    Medical Equipment    Hill-Rom                           Versacare Bed Accessories
181    Medical Equipment    Hill Rom                           dinical training
182    Medical Equipment    PHILIPS HEALTHCARE                 Equipment and Installation
183    Medical Equipment    Hologic                            fvtySource Control Unit
184    Medical Equipment    Baxter Healthcare Corp             pump implementation
185    Medical Equipment    Aesculap                                                                       0

186    Medical Equiprrwt    3M                                 Coding System
187    Medical Equipment    /nterMetro                         Equipment
188    Medical Equipment    Medtronic USA inc                  Tables and Frames




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     1 89   Medical Equipment   Hill Rom                                dinical training
     190    Medical Equipment   Stryker Endoscopy                       Video Cart

     191    Medical Equipment   Carl Zeiss, Meditec, Int                Mcroscope

     192    Medical Equipment   Bayer Healthcare                        MARK 7 ARTEAION PEDESTAL SYS
     193    Medical Equipment   Arthre*                                 Positioners
     194    Medical Equipment   CE Healthcare                           Logiq Required Items

     195    Medical Equipment   Amico                                   Oxygen Flowmeters
     196    Medical Equipment   Medtronic USA Inc                       AEX Generator
     197    Medical Equipment   D8 Surgical                             Table Clanv - Equipment
     198    Medical Equipment   Hill-Rom                                Patient Monitors
     200    Medical Equipment   Olympus                                 hsturments

     201    Medical Equipment   Hill Rom                                dinical training

     202    Medical Equipment   GE Healthcare                           Wireless Connectivity

     203    Medical Equipment   Verithon                                Urgyngoscope cart

     204    Medical Equipment   Verathon                                Equipment - Minor
     205    Medical Equipment   Medtronic USA Inc                       Instrument Kit
     206    Medical Equipment   Medtronic USA Inc                       Equipment
     207    Medical Equipment   Cosman Medial Inc                       Generator - Radiofrequerrty

     208    Medical Equipment   Help                                                                               0

     209    Medical Equipment   Covidien                                monitors
     210    Medical Equipment   ADVANCED ELECTRONICS                    42" and 55" TV
     211    Medical Equipment   Olympus                                 Medical Equipment
     212    Medical Equipment   Hill Rom                                dinical training
     213    Medical Equipment   Mortara Instruments, Inc                BCG with Cart
     214    Medical Equipment   GE Healthcare                                                                      0

     215    Medical Equipment   Hill Rom                                dinical training

     217    Medical Equipment   Verathon                                Equipment

     218    Medical Equipment   MOPEC                                   Equipement

     219    Medical Equipment   Natus                                   Endo Screen Equipment
     220    Medical Equipment   Natus                                   Pipoose Board

     221    Medical Equipment   Olympus                                 Cart
     222    Medical Equipment   Keeiet instruments                      Equipment
     224    Medical Equipment   Amico                                   Falcon workstation accessories
     225    Medical Equipment   MIAMI CHILDREN'S HEALTH SYSTEM          Sales Tax
     226    Medical Equipment   Stem Corporation                        Water Control Sensor
     227    Medical Equipment   Olympus                                 hstruments




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228   Medical Equipment       Hill-Rom                           Patient Monitor*
229   Medical Equipment       Aesculap                           Medical Equipment
230   Medical Equipment       Jeffrey Adenine                    8 Passenger Vehicle
231   Medical Equipment       InterMetro                         Equipment storage

232   Medical Equipment       Aesculap                           Supplies: Instrument*
233   Medical Equipment       Alcon laboratories, Inc            Equipment Medical
234   Medical Equipment       Zones                              45 desks
235   Medical Equipment       InterMetro                         Assembly Charge
236   Medical Equipment       Hill Rom                           dinkal training
237   Medical Equipment       Olympus                            airway mobilscope intubation s
238   Medical Equipment       Pedigo Products, inc               Cart with Caster*

239   Medical Equipment       CLAFUNMedical Equipment            Mlier fiher optic blades
240   Medical Equipment       ClAFLlNMedical Equipment           Supplies: Medical Equipment
241   Medical Equipment       InterMetro                         delving Assembly Charge

242   Medical Equipment       Hologic                            Hysteroscope Equipment
243   Medical Equipment       Southern Medical                   Oose Packing Machine
244   Medical Equipment       MQPEC                              Disposal and Foot Pedal
245   Medical Equipment       Aesculap                                                                     0

246   Medical Equipment       Steris Corporation                 Connector Kit
247   Medical Equipment       Steris Corporation                 CONNECTOR KITS (14)
248   Medical Equipment       Olympus                            Medical Equipment
249   Medical Equipment       Zones                              wristhank printers and radios

250   Medical Equipment       Alcon laboratories, inc            Constellation 3 kits
251   Medical Equipment   '   OEC Medical                        Spectre footswitch
252   Medical Equipment       Olympus                            Equipment
254   Medical Equipment       CLAFUNMedical Equipment            hsturments

255   Medical Equipment       Stem Corporation                   Harmony Equipment
256   Medical Equipment       ClAFLlNMedical Equipment           Pediatric Scale Weighting Cart
257   Medical Equipment       Sbryder Endscopy                   Arthostope

258   Medical Equipment       AJIen Medical Systems, Inc         Leg Holder System

259   Medical Equipment       Zones                              image scanner
260   Medical Equipment       Medtronic USA Inc                  Hydrodeb rider

261   Medical Equipment       Hill-Rom                           Varsacare Bedsasseccories
262   Medical Equipment       kinovstive Medical Products, Inc   MorphBoirds

263   Medical Equipment       Arthrex                            HDC Mount
264   Medical Equipment       CLAFUNMedical Equipment            Mller fiber optic blades




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    302    Medical Equipment         Olympus                                        taxev 7%
    BOS    Medical Equipment         Arthrex                                        Ankle Arthroscopy
    306    Medical Equipment         MIAMI CHILDREN'S HEALTH SYSTEM                 Taxes for Dell Hardware
    307    Medical Equipment         Steris Corporation                             funnel and cap assembly
    306    Medical Equipment         Covidien                                       Monopolar Adapter

    309    Medical Equipment         Hill-Rom                                       Wireless Bed
    310    Medical Equipment         Alcon Laboratories, Inc                        Supplies; Medical
    311    Medical Equipment         Steris Corporation                             Double Sink
    312    Medical Equipment         Steris Corporation                             Double Sink
    313    Medical Equipment         Arthrex                                        Supplies; Medical
    314    Medical Equipment         Arthrex                                        Offset Guide
    315    Medical Equipment         Covidien                                       flatform
    316    Moveable Med Equipment    Arthrex                                                                                 0
    317    Moveable Med Equipment    Stryker                                                                                 0
    318    Moveable Med Equipnvnt    Carl Zeiss* Meditrc, Inc                                                                0
    319    Moveable Med Equipment    Intuitive Surgical                             Endoscopes (4)

    320    Moveable Med Equipment    Arthrex                                        instrument sets (6)
    321    Moveable Med Equipment    Olympus                                        Cam head (3), telescope |S)
    322   - Moveable Med Equipment                                                  Reel Assets after sale
    323    Moveable Med Equipment    Arthrex                                        ACl instrument set
    324    Moveable Med Equipment    InterMetio                                     Cart with Casters
    325    Moveable Med Equipment    Johnson fir Johnson                            CMC'V Generator System
    326    Moveable Med Equipment    Conmed                                        AirseallfS, 110V
    327    Moveable Med Equipment    kitu'rtive                                     Instrument Starter Kit
    329    Moveable Med Equipment    InterMetro                                     lifeline Code Response cart
    330    Moveable Med Equipment    inturtrve Surgical                             IS3 000 sealer
    331    Moveable Med Equipment    Venrthon                                       laryngiscopeCart
    332    Moveable Med Equipment    Steris Corporation                             Camera and Supplies
    333    Moveable Med Equipment    Stryker                                        Eye Surgery Stretcher
    334    Moveable Med Equipment    Smith's Medical                                l6pumps
    335    Moveable Med Equipment    Carefusion                                                                              0
    336    Moveable Med Equipment    The Bimeco                                    Transport Incubator
    337    Moveable Med Equipment    Network                                                                                 0
    338    MoveableMed Equipment     InterMetro                                    UNEN TRUCKS (7)
    339    Moveable Med Equipment    Inter metro                                   Chrome Med carts
    340    MoveableMed Equipment     MfirS factory Systems installations inc       linen Trucks Installation




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                    SCHEDULE 1.1(iii)

             PERSONAL PROPERTY LEASES
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Schedule 1.1(iii) and 3.14(b)

                                    Parties                       Name of Contract/Lease                            Contract Type             Purpose of Contract             Cure Amount
CareFusion Solutions, LLC                          Master Agreement                                                     Lease       Pyxis Pharmaceutical Services Unit Dose       TBD
                                                                                                                                               Vending Machines

De Lage Landen Financial Services, Inc. - Lessor   Microscope Lease                                                    Lease             Operating Microscope Lease              TBD
Carl Zeiss Meditec - Vendor




DEX Imaging, Inc.                                  Lease Agreement (assigned to U.S. Bank)                             Lease        Printer and Copier Lease from Dex but        TBD
                                                                                                                                               through US Bank

GE HFS, LLC (General Electric)                                                                                         Lease              64 Slice LiteSpeed CT Lease            TBD




General Electric Capital Corporation               Master Lease Agreement dated as of 08/13/2015                       Lease                 1.5 Tesla MRI Lease                 TBD


General Electric Capital Corporation               Equipment Schedule Dated as of 08/13/2015 to Master                 Lease                    CT Table Lease                   TBD
                                                   Lease Agreement Dated as of 08/13/2015

HealthTronics Mobile Solutions, L.L.C.             Equipment and Service Rental Agreement- (Per Click                  Lease            Litho, Cryo, HIFU rental vendor          TBD
                                                   Arrangement)

Intuitive Surgical, Inc.                           Use, License & Service Agreement                                    Lease          Lease of the older Si DaVinci Robot        TBD




Medtronic Surgical Technologies                    Medtronic Surgical Technologies Capital Placement Program           Lease        Lease program to allow for equipment         TBD
                                                                                                                                     needed to do Medtronic placement
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                                    Parties                    Name of Contract/Lease                         Contract Type            Purpose of Contract                 Cure Amount
Olympus America, Inc.                                                                                             Lease         Master Lease Agreement for leased              TBD
                                                                                                                                       Olympus Equipment




Olympus America, Inc.                         Fixed Periodic Payment Schedule No. 001 to Master Lease            Lease             Periodic Payment Schedule 001              TBD
                                              Agreement No. 0016716




Olympus America, Inc.                         Fixed Periodic Payment Schedule No. 002 to Master Lease            Lease             Periodic Payment Schedule 002              TBD
                                              Agreement No. 0016716

Olympus America, Inc.                         Fixed Periodic Payment Schedule No. 003 to Master Lease            Lease             Periodic Payment Schedule 003              TBD
                                              Agreement No. 0016716


Piramal Critical Care, Inc.                   Sevoflurane Vaporizer Agreement                                    Lease           Lease Agreement for SevoFlurane              TBD
                                                                                                                                            Vaporizers
Pitney Bowes                                  Pitney Bowes Lease Agreement                                       Lease        Agreement to lease and intermittently fill      TBD
                                                                                                                                postage machine with U.S. postage.

Stericycle, Inc.                              Exhibit H-4 Premier National Master Lease Agreement                Lease            Lease for Medical Waste Disposal            TBD
                                              (Hazardous Waste Disposal) as part of GPO Agreement                                            Equipment
                                              effective 6/1/13 b/w Premier and Stericycle

U.S. Bank                                     See Dex Imaging Lease above which was assigned to U.S.             Lease         Lease for copiers and printers from Dex        TBD
                                              Bank per WD 2071709                                                                              Imaging

Variety Children's Hospital, Inc.             Amended and Restated Lease Agreement (assignment of                Lease        Real Estate Building and Property Lease         TBD
                                              Lease between HC-5959 and Variety Children's Hospital)
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                            SCHEDULE 1.1(iv)

                        INTANGIBLE PROPERTY

[See Schedule 1.1(iii), Schedule 3.9, Schedule 3.13, Schedule 3.14(a) and (b)]
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                    SCHEDULE 1.2(iii)

                    EXCLUDED ASSETS
                                                      Case 18-12741-LMI    Doc 84      Filed 03/30/18               Page 159 of 223
Excluded Assets defined in Section 1.2(iii)*
Creditor                                  Contract/Lease       UCC No.                                                 Specific Equipment Listed

U.S. Bank Equipment Finance, A Division
                                              Lease          20150596748                Thirtyone (31) M3540IDN Copiers; Two (2) 3051CI Copiers; One (1) M6530 CDN Copier
of U.S. Bank National Association
                                                                                                One (1) GE Healthcare VCT 64 1700 Table Internal Order Ref. # 4306479
General Electric Capital Corporation          Lease         201504722157
                                                                                          One (1) GE Healthcare Signa HDxT 1.5T 16ch System Internal Order Ref. # 4306488
General Electric Capital Corporation          Lease         20150472173X
                                                                                      One (1) GE Healthcare Lightspeed VCT Installed Base Options and Signa HDxt 1.5 IB Options
GE HFS, LLC (General Electric)                Lease         201606393047
                                                                                                                    Inrernal Reference #4377028

Intuitive Surgical, Inc.                      Lease         201701051476     One (1) Certified Pre-owned da Vinci Si with Firefly Fluorescence Imaging Surgical System (with single console)

                                                                                                      Two (2) A4674A A4674A 3MM Telescope 30Deg Wide Angle;
                                                                                                     Two (2) A4673A A4673A 3mm Telecscope 12Degree Autoclav;
                                                                                                   Two (2) WA05970A WA05970A HIQ+ STERILIZATION TRAY W/ LID;
                                                                                                     Two (2) A5976 A5976 TRAY INSERT UROLOGY PRE- MOLDED;
Olympus America, Inc.                         Lease         201609273662                             Two (2) A4825 A4825 SEMI-RIGID FOREIGN BODY GRASP 5Fr;
                                                                                                           Two (2) A4826 A4826 SEMI-RIGID SCISSORS 5FR;
                                                                                                      Two (2) A4827 A4827 SEMI-RIGID GRASP FORECEPS RAT 5Fr;
                                                                                                     Two (2) A4770 A4770 Single Flow 4MM HYS-Sheath for 3MM

                                                                                                A4674A A4674A 3MM Telescope 30Deg Wide Angle 762124 1 1009225
                                                                                                A4674A A4674A 3MM Telescope 30Deg Wide Angle 762132 1 1009225
                                                                                                   A4673A A4673A 3mm Telecscope 12Degree Autoclav 725668 1
                                                                                                   A4673A A4673A 3mm Telecscope 12Degree Autoclav 727484 1
                                                                                                     WA05970A WA05970A HIQ+ STERILIZATION TRAY W/ LID 2
Olympus America, Inc.                         Lease         201609178724                             A4825 A4825 SEMI-RIGID FOREIGN BODY GRASP 5Fr NA 2
                                                                                                           A4826 A4826 SEMI-RIGID SCISSORS 5FR NA 2
                                                                                                     A4827 A4827 SEMI-RIGID GRASP FORECEPS RAT 5Fr NA 2
                                                                                                     A5976 A5976 TRAY INSERT UROLOGY PRE- MOLDED NA 2
                                                                                                     A4770 A4770 Single Flow 4MM HYS-Sheath for 3MM NA 2

                                                                                                         One (1) A4772 5.5 MM CF HYS-SHEATH 5FR FOR 3MM
Olympus America, Inc.                         Lease         201609273670
                                                                                                              One (1) 777000 GYRUS, G400 GENERATOR;
                                                                                                             One (1) 700000 CART,SP/G400 GENERATOR;
Olympus America, Inc.                         Lease         201701247133                                     One (1) 744010 Gyrus, PK-SP FOOTSWITCH;
                                                                                                       One (1) 560085-002 CORD ANGLE CONNECTOR HOSPITAL




 *The items listed herein are leased by the Debtor and therefore not subject to sale.
 However, the leases identified below may be subject to assumption pursuant to 11 U.S.C.
 § 365.
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                      SCHEDULE 1.5

                    AHCA PAYMENTS
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Schedule 1.5

Payments due AHCA:

Current liabilities to AHCA totals $239,647 for the PMATF and HCTF assessments combined.

At the start of each quarter (beginning April 1, 2018), the Debtor shall make a payment of
$59,911.75 to pay down the $239,647 currently due to AHCA for the PMATF and HCTF
combined assessments.

The current inactive license expires on October 29, 2018. No later than 60 days before, an
application to extend the inactive license must be filed. The fees to AHCA to extend the inactive
license will be $2,308.74

The Debtor currently owes the Florida Birth-Related Neurological Injury Compensation
Association (NICA) $11,450 for the year 2016 and $19,450 for the year 2017. The Debtor is
currently attempting to negotiate a payment plan with NICA, which payment plan (if accepted by
NICA and approved by the Bankruptcy Court) will pay down a portion of the foregoing amounts.
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                      SCHEDULE 3.8

                         TAXES
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Schedule 3.8

Taxes Due and Owing

Florida Department of Revenue
5050 W Tennessee St
Tallahassee, FL 32399
in the amount of $187,321.70
for Sales and Use Tax: Voided Stipulation Agreement 923321544

Department of the Treasury – Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346
in the amount of $22,206.32
for taxes per 11 U.S.C. § 507(a)(7) forWT-FICA and FUTA
See Proof of Claim No. 4 – all “unassessed-No Return” and subject to objection by Debtor
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                      SCHEDULE 3.9

              REGULATORY COMPLIANCE
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                                                                       The Miami Medical Center

Schedule 3.9                                                          Current Licenses and Permits


             Permit / Action                     Agency             License
                                                                    Number
National Provider Identifier                     NPPES            1427470418


Medicare Number                                   CMS               100328


Hospital License- Inactive                       AHCA                4008


Hospital Accreditation Program              Det Norski Veritas    200496-2016-
                                                                   AHC-USA-
                                                                     NIAHO
Pharmacy License - Institutional Class II   Board of Pharmacy       PH 29506
(Board of Pharmacy)




Sterile Compounding Permit                  Board of Pharmacy       PH 29742




Controlled Substance Registration                D.E.A.            FM5654466
Certificate



Radiation Machine Registration [Hospital Department of Health –     Reg No.
Facility]                                 Bureau of Radiation     JR 02671000
                                                Control
Alarm System Permit                          City of Miami           82348


Industrial Waste 5 -Annual Operating        Miami Dade County     IW5-000616-
Permit                                                             2017/2018

Stratospheric Ozone Protection Annual       Miami Dade County     APCF-002143-
Operating Permit                                                   2017/2018


                                                                                 1 of 2
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                                                               The Miami Medical Center

                                                              Current Licenses and Permits


Air Pollution Annual Operating Permit   Miami Dade County   AP003013-
(Regulatory and Economic Resources-                         2017/2018
Environmental Resources Management




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                      SCHEDULE 3.10

                    INSURANCE POLICIES
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Schedule 3.10
                                               CONFIRMATION OF INSURANCE
Agent
and/or                                     Phone          Policy                 Coverage                          Expiration
Carrier                                    Number         Number                 Type                              Date
Marsh USA Risk & Insurance
Services/Affiliated FM                     913-387-0504   SX682                  Property                              6/1/2018

Marsh USA Risk & Insurance
Services/Tokio Marine Specialty Ins. Co. 913-387-0504     PSD1247466             Directors & Officers                  6/1/2018

Marsh USA Risk & Insurance                                                       Automobile Liability - Hired
Services/The First Liberty Ins. Corp.      913-387-0504   AS6-Z11-B6P63V-017     Autos & Non-Owned Autos               6/1/2018
Marsh USA Risk & Insurance
Services/Tarian Ins Co.                    913-387-0504   PH1700689              Cyber                                 6/1/2018
Marsh USA Risk & Insurance                                                       Health Care Facility
Services/Allied World Surplus Lines Ins.                                         Professional/General Liability-
Co.                                        913-387-0504   0310-0011              1 yr ERP                             2/21/2019
Marsh USA Risk & Insurance                                                       Medical Office Bldg General
Services/Liberty Mutual Fire Ins Co.       913-387-0504   TB2-Z11-B6P63V-027     Liability                            2/21/2019
Marsh USA Risk & Insurance
Services/Liberty Mutual Fire Ins Co.       913-387-0504   TH7-Z11-B6P63V-037     General Liability-Excess              6/1/2018
Marsh USA Risk & Insurance
Services/Allied World Surplus Lines Ins.
Co.                                        913-387-0504   3105837                Environmental Legal Liability         3/1/2019
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                      SCHEDULE 3.12

                    EMPLOYEE MATTERS
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Schedule 3.12


                                    Client Services Agreement


This Client Services Agreement (Agreement) is entered into by and between Creative Staffing
(Agency) and Miami International Medical Center, LLC d/b/a The Miami Medical Center
(Client). This Agreement is effective as of 12:01 a.m. on February   , 201 8 (the Effective Date).
Before entering into this Agreement, Client provided Agency with information to assess whether
Client was an appropriate candidate for Agency's services. Client represents that the information
provided was and continues to be accurate and complete as of the Effective Date.


    (1) The Parties' Relationship with Each Other and with the Worksite Employees. The
parties intend to create an arrangement so that Agency, as the Employer of Record (EOR), can
provide human resources Services (defined in Section (4)) to Client (the EOR Relationship). In
the EOR Relationship the parties share in certain responsibilities and allocate such
responsibilities among each other as described in this Agreement. With respect to the allocation
of responsibilities regarding the Worksite Employees (Worksite Employees is defined in Section
(2)), Agency will have sufficient authority so as to maintain a right of direction and control over
Worksite Employees assigned to Client's location. Client will, however, retain sufficient
direction and control over the Worksite Employees as is necessary to conduct Client's business
and without which Client would be unable to conduct its business, discharge any fiduciary
responsibility that it may have, or comply with any applicable licensure, regulatory, or statutory
requirement of Client. Client's authority includes the right to accept or cancel the assignment of
any Worksite Employee. Additionally, Client will have sole and exclusive control over the day-
to-day job duties of Worksite Employees and over the Job site at which, or from which, Worksite
Employees perform their services. Client expressly absolves Agency of liability which results
from control over the Worksite Employee's day-to-day job duties and the job site at which, or
from which, Worksite Employees perform their services. Further, Client retains full
responsibility for its business, products, and services, worksite premises, property, and any
actions by any third party, contractor, independent contractor or non-Worksite Employee,

   (2) Employment of the Worksite Employees.            The Term "Worksite Employees" means
individuals hired by Agency and assigned to Client's worksite. During this Agreement, both
Client and Agency will employ each Worksite Employee. This Agreement does not change the
underlying employment relationship between any Worksite Employee and Client that existed
prior to or may be created after the Effective Date. Further, this Agreement does not create any
rights for any Worksite Employee that did not previously exist (e.g., creating an employment
contract with the Worksite Employee). Any responsibility and/or liability with regard to any
employment contracts, including agreements for severance, commissions, vacation, paid time off
accruals, bonus payments (Employment Agreements) between Client and any Worksite
Employee remains the exclusive responsibility and liability of Client (such as negotiation,
performance compliance, interpretation, renewal, enforcement, and termination of such
Employment Agreements). Agency's involvement with respect to any Employment Agreement
is limited to processing Worksite Employee payroll in conformity with information provided by
Client.


    (3) Responsibilities   of the    Parties;   Mutual Duty     to   Cooperate.   (3)(A)   General
Provisions.   In recognition of the effort necessary to provide the services described in this


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Agreement, both parties agree to cooperate with each other. The parties acknowledge that the
duty to cooperate is a material tenn of this Agreement. Agency agrees to inform Client about
potential and actual employee issues as they arise to the extent Agency knows about the issues.
The duty to cooperate survives the termination or expiration of this Agreement if there is an
employment related claim, demand or litigation based on a cause of action that arose during this
Agreement. The duty to cooperate does not apply to any claim in which the parties are litigation
against each other.


    (3)(B) Reporting to Agency. Promptly upon the occurrence or discovery of the information,
Client agrees to accurately inform Agency about issues relating to the Worksite Employees,
including hours worked; complaints, allegations, threats, or incidents of tortious misconduct, or
workplace safety violations; work-related injuries or accidents; change in job functions and
duties; any misclassifications regarding workers' compensation; change in worksite safety
exposure; union organizational activities; claims of harassment or unfair treatment; or any
employment-related claims (whether oral or written), charges, lawsuits, governmental
investigations or audits, etc., involving the Worksite Employee(s) whether threatened or filed
against Agency, Client, or both parties. Client also agrees to timely and accurately inform
Agency about Worksite Employee changes in status such as leaves of absences, reduction in
hours from full time to part time, new hires, and terminations.


  (3)(C) Consulting with Agency. Client agrees to consult with Agency before taking any
employment action, including but not limited to, hiring, firing, promoting, etc. (whether oral or
written) regarding any Worksite Employee.


    (4) Agency's Services and Responsibilities. Agency will provide Client and the Worksite
Employees with human resource Services, maintenance of Worksite Employee records, and
related administrative Services described in this Section (4) Services. To provide the Services
and fulfill the responsibilities described in this Section, Client agrees that it must provide Agency
with the necessary information and ability to furnish such Services or fulfill such responsibilities
as required in Sections (3), Mutual Duty to Cooperate and (5), Clients Responsibilities. Client
acknowledges that Agency's provision of its Services is dependent upon the completeness,
accuracy and timeliness of the information that Client provides to Agency.


    (4)(A) Agency's Responsibility Regarding the Payment of Wages. As the EOR, Agency
assumes responsibility for paying wages to Worksite Employees. Agency also assumes full
responsibility for the collection and payment of payroll taxes on the Worksite Employees'
compensation. Notwithstanding anything in this Agreement to the contrary, Agency will not be
responsible for paying wages to Worksite Employees that relate to severance, bonuses,
commissions, vacation, time off accrual programs, incentives, or other comparable forms of
compensation (Nonstandard Wages) in the event Client fails to make payment to Agency for the
appropriate amounts of the Nonstandard Wages.


     (4)(B) Workers' Compensation Coverage. During this Agreement, Agency will maintain
workers' compensation coverage for each Worksite Employee in accordance with the laws of the
states in which Agency provides services under this Agreement. Agency is also responsible for
the management of workers compensation claims, claims filings, and related procedures.


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    (4)(C)   Employment       Practices    Liability   Insurance.   Agency   agrees   to   provide an
Employment Practices Liability (EPL) insurance policy with an endorsement that extends
coverage to Client for claims brought by a Worksite Employee against Client alleging wrongful
employment practices, as defined in the policy. Client's coverage is subject to annual aggregate
limits (including limits applicable to claims in the aggregate made by all Agency clients and
against Agency) and deductibles, among other terms and conditions contained in the policy. The
terms of the EPL insurance policy govern the rights of the parties in the event there is a conflict
between this Agreement and the policy. Agency reserves the right to change the EPL policy
terms, cancel, and/or to decide to self-insure any EPL coverage after notifying Client.

    (4)(D) Health Insurance. Worksite Employees must meet the eligibility requirements (and
governing law) under any group health and other related benefits (e.g. dental, vision) the parties
decide to offer the Worksite Employees through an Agency sponsored plan.


    (5) Client's Responsibilities. Client agrees that it is responsible for complying with the
laws affecting or regulating its business. Worksite Employees, Independent contractors, etc.
Client recognizes that Agency's provision of Services does not relieve Client of responsibility
and liability for those matters over which it has control. Client also understands that there may
be laws that apply because of the EOR arrangement with which Client must now comply (e.g.,
FMLA). Given that possibility, Client agrees to comply with those laws.

     (5)(A) Wage and Hour Laws. Client is responsible for setting the level of wages to be paid
at or above the applicable minimum wage and/or salary requirements. Client agrees to (i) provide
Agency with complete and correct information regarding hours worked, job classifications,
exempt and non-exempt status, and other data needed to compute accurately wages, taxes, etc.;
(ii) collect, verify and transmit to Agency's administrative office not less than three (3) business
days before each payroll date any information required to determine accurately the amount due
to the Worksite Employee and Agency, and (iii) promptly make any necessary corrections to
correct a violation of the FLSA or comparable state laws. Client acknowledges that it remains
responsible for compliance with the FLSA.


    (5)(B) Compliance with the ADA and Other Comparable Laws. Because the ADA and
comparable laws impose affirmative obligations on employers to provide a reasonable
accommodation to a qualified individual with a disability and to make a public facility
reasonably accessible, Client is responsible for complying with these laws and associated costs.
Client acknowledges that it, and not Agency, is responsible for complying with Title III of the
ADA (i.e., public access to facilities).


    (5)(C) Workers' Compensation. Client agrees to immediately inform Agency of all
workplace accidents, injuries, and workers' compensation code misclassiflcations. To contain
the cost of workers' compensation insurance, Client agrees to participate in a modified duty
program. Modified duty, light duty, or transitional work are terms that used to describe the type
of work an injured employee is able to perform within the physical limitations set by an
authorized treating physician. Client agrees that, during this Agreement, it will not employ
anyone not covered by this Agreement (e.g., non-Worksite Employees) without Agency's


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knowledge. Client agrees that, if its hires non-Worksite Employees, it will obtain full workers'
compensation coverage (or in the case of contracting with independent contractors, Client will
require its independent contractors to enter into independent contractor agreements with Client
and to maintain workers' compensation coverage). Under these circumstances, Client also
agrees to provide Agency with a certificate naming it as a certificate holder, obtain a labor
contractor endorsement (or the equivalent) in favor of Agency, and require that Client's insurer
notify Agency in advance of any termination of coverage.


     (6) Payment. Client agrees to deposit $20,000.00 with Agency upon the execution of this
Agreement, which amount will be used to fund the initial weekly payment required under this
Agreement. Thereafter, Client will pay all invoices from Agency upon receipt, which invoices
will be for payments required under this Agreement the following week. The markup for all PTP
(Payroll Transfer Plan) employees will be 35%,       The bill rate includes all payroll taxes,
unemployment taxes, general liability insurance, workers compensation insurance, etc. for our
employees. The Agency will additionally add a 2% surcharge onto its total invoice to pass an at
cost charge for ACA. Agency agrees that it will not adjust the pricing for the first year of this
Agreement, except for the portion of the fee relating to employee benefits and the portion of the
fee relating to state and federal taxes. With respect to the benefits portion of the fee, benefits will
always adjust in accordance with the benefit plan or insurance policy renewal or anniversary
date, if any.     With respect to the state and federal tax portion of the fee, (e.g., state
unemployment insurance), the fee may be adjusted in accordance with state and federal
increases, as applicable. Thereafter, the pricing may be adjusted with thirty (30) days' written
notice. Client acknowledges that Agency retains any Section 125 savings as part of its service
fee. Client acknowledges that, if Agency consents to the hiring of new individuals who should
be classified in workers' compensation codes not previously listed, the pricing will be adjusted
accordingly. Agency retains the discretion to adjust the price if the information Client gave
before executing this Agreement (e.g. gross payroll, workers' compensation classification codes,
etc.) changed from the time Agency gave a Client a quote. In the event a Worksite Employee is
discovered to be misclassified by either Agency of Client, Agency will adjust the price in
accordance with the appropriate class code change on a prospective basis only.                If a
misclassification is due to the gross negligence or willful misconduct of either party, Agency will
adjust the price in accordance with the appropriate class code change retroactive to the beginning
of the policy year in effect at the time of the misclassification correction.

     (7) Miscellaneous Provisions, (7)(A) The Parties' Authority to Execute this Agreement.
The parties represent that each is a legal entity authorized to conduct business in the state where
the services of this Agreement will be performed and that the officers who sign on behalf of the
party are duly authorized to enter into this Agreement.


     (7)(B) The Scope of Client's Authority. The parties acknowledge that neither is an agent
of the other. Each agree that it will not hold itself out as an agent of the other, directly or
indirectly. Neither party is authorized to bind the other in any fashion (either through
representations or actions) unless such act is specifically authorized and ratified by the other in
writing. However, Client acknowledges and agrees Agency may act on the behalf of Client as
contemplated by this Agreement.




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    (7)(C) Integration; Modification; Waiver. This Agreement constitutes the entire
agreement between the parties regarding the subject matter contained in this Agreement and
supersedes any other agreement between them, whether oral or written. Any modification to this
Agreement must be in writing and signed by the party against which enforcement is to be sought.
Failure by either party to act when required or to claim a breach of any provision of this
Agreement will not be construed as a waiver of any subsequent breach.


     (7)(D) Governing Law. This Agreement is governed by, and shall be construed in
accordance with, the laws of Florida, both substantive and remedial, without reference to the
choice of law principles. All suits and special proceedings arising out of this Agreement must be
brought in the courts in and for Miami-Dade County, Florida. Each party agrees to the exercise
of personal jurisdiction by any court of competent jurisdiction described above.


     (7)(E) Attorney's Fees and Costs. In the event of any litigation arising out of or related to
this Agreement, the prevailing party shall be entitled to an award of reasonable attorneys' fees
and costs incurred at all trial and appellate levels.


    (7)(F) Attachment; Counterparts; Notice; Captions. Any addendum described in this
Agreement is specifically incorporated into and made a part of this Agreement. This Agreement
may be executed in two or more counterparts, each of which will constitute an original but taken
together constitute an entire agreement.   Any notice by this Agreement shall be delivered to
Agency and to Client at the respective address and person designated below. The captions in this
Agreement are provided for convenience only and are not part of the terms and conditions of this
Agreement.


     (7)(G) Survival. No termination or expiration of this Agreement affects or impairs any
obligations, duties, indemnities, and liabilities shall not terminate or expire, but rather survive
such termination or expiration and continue in full force and effect until the longer of (i) such
time as all the obligations have been paid in full, or (ii) such time as is expressly provided in this
Agreement.


     (8) Agency's Indemnification. Agency agrees to indemnify, protect, defend, release, and
hold harmless Client, its parent(s), subsidiaries, affiliates, directors, officers, and agents from and
against any and all liability, expenses, losses, and claims for damages arising from or in
connection with (i) any actions or inactions of the Worksite Employees, Agency's Corporate
Employees, officers, directors, agents or independent contractors while under Agency's
direction, supervision, or control; (ii) Agency's breach of this Agreement; or (iii) Agency's
negligent, fraudulent,   willful, or reckless performance or non-performance of any of its
responsibilities described in this Agreement.


    (9) Term; Termination. This Agreement has an initial one (1) year term starting on the
Effective Date. After the first year, this Agreement renews automatically on its anniversary date
for successive one year terms. Either party may terminate this Agreement by giving the other
party thirty (30) days' written notice or may terminate it immediately and without prior notice
for Cause, as defined below. Cause includes non-payment of any amount when due; a material
violation of law; a breach of a material term of this Agreement; or Client's assigning Worksite



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Employees to operations which contain a workers' compensation code different from that
disclosed prior to executing this Agreement without Agency's prior consent. Upon termination,
Agency has all rights and remedies available under law, whether in law or in equity, including
but not limited to, and without further notice or demand to Client: (i) acceleration of all
obligations, together with all accrued, unpaid charges, so that they are immediately due and
payable and may be collected immediately regardless of the due date; and (iii) to set off and
deduct any amount due from any account or deposit that Client may have with Agency or other
monies to which Agency may be entitled from Client (including a letter of credit). Any
termination shall not relieve Client of any obligation, including but not limited to, its payment
obligation to Agency.


     (10) Notices. All notices must be in writing and will be deemed to have been duly given and
received 1). on the day delivered by hand to the addresses indicted below, 2). on the day
delivered if delivered by overnight mail, or 3). On the day of transmission to the facsimile
number provided by each party to the other or to such changed facsimile number as either party
may have fixed by notice, provided the receipt of such facsimile is confirmed by telephone by a
representative of the receiving party, if delivered by facsimile.     '

Agency and Client execute this Agreement, in their respective corporate names by their duly
authorized officers, on the       day of   UvAPvClUAfSLV        , 201 8.



Creatwe'StilJmg                                      Client Company Name


By;       C2                  &                      By:                                ::




Name:    Aki aj    /wfvC-i-l- A-Ug.
Title:
Address:")-?^      nJ , kjgAT&AiUL, iX-
                                                     s^lSS
                                                     Address:   £TJ£3_ A/i*J         srz
City/State/Zip Code:          FL .E AUfU             City/State/Zip Code:             F/.,
Federal I.D. Bar Number:                             Federal I.D. Bar Number:    37 — 1 7 W ?£ D




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                     SCHEDULE 3.13

              INTELLECTUAL PROPERTY
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Schedule 3.13

All Intellectual Property of Seller

Internet domain names and websites:
www://miamimedicalcenter.com
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                    SCHEDULE 3.14(a)

                EXISTING CONTRACTS
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Schedule 3.14(a)
                                 Parties                                                     Name of Contract/Lease                          Contract Type                  Purpose of Contract           Cure Amount
3E Company Environmental, Ecological and Engineering                       Subscription Agreement                                          Executory Contract     Hotline for Environmental Emergencies       TBD




3M Health Information Systems                                                                                                              Executory Contract       Health Information Management-           TBD
                                                                                                                                                                            (Coding) Software

ABT Medical (Hamandi Corp)                                                                                                                 Executory Contract      Release of Medical Records Services       TBD
ACD Sign Language                                                                                                                          Executory Contract      Sign Language Provider for the Deaf       TBD
                                                                                                                                                                                   Patient
Advanced Clinical Employment Staffing                                                                                                      Executory Contract             Clinical Staffing Agency           TBD
Advanced Medical Resources, LLC                                            Services Agreement                                              Executory Contract             Clinical Staffing Agency           TBD




Aetna Health, Inc.                                                         Hospital Services Agreement                                   Managed Care- Domestic         Health Insurer- Domestic             TBD

Aetna Health, Inc. (Coventry)                                              Rental Network Amendment to Hospital Services Agreement       Managed Care- Domestic         Health Insurer- Domestic             TBD

Aetna Health, Inc. (Coventry)                                                                                                            Managed Care- Domestic         Health Insurer- Domestic             TBD

Alcon Laboratories, Inc.                                                   Alcon Laboratories, Inc. Custom Pack Sales Agreement            Executory Contract      Vendor for Custom Surgical Packs for      TBD
                                                                                                                                                                        Ophthalmology Surgery




Alemany Building Solutions (Fire Alarm)                                                                                                    Executory Contract       HVAC Controls and Fire Protection        TBD
All Better Bracing, LLC and Team Post OP                                   Partnership Program Service Agreement                           Executory Contract       Orthotics and Prosthetics Service        TBD


Allied Monitoring Innovations, LLC d/b/a American Monitoring Innovations   Monitoring Services Agreement, (Per-Click Arrangement)          Executory Contract       Intraoperative Neurophysiological        TBD
                                                                                                                                                                     Monitoring Services Agreement




Alta Language Services, Inc.                                               Service Agreement (Per click, Billed by Usage)                  Executory Contract            Translation Services                TBD
American College of Cardiology                                             Pacemaker Registry                                              Executory Contract       Pacemaker Registry Mandatory to          TBD
Foundation                                                                                                                                                                    Participate
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                                 Parties                   Name of Contract/Lease                              Contract Type                    Purpose of Contract               Cure Amount
American Horizon Financial                 The Miami Medical Center Business Associate Agreement             Executory Contract            Personal Injury Funding Solution           TBD
                                           2017




Aramark (EVS)                              Environmental Services Agreement                                  Executory Contract           Environmental Services Contract            TBD
Aramark (Food Services)                    Food Services Agreement                                           Executory Contract                Food Services Contract                TBD
Aramark (Valet Services)                   Valet Services Addendum                                           Executory Contract              Valet Services Addendum                 TBD
Arthrex                                                                                                      Executory Contract        Vendor Agreement for Orthopedic Total         TBD
                                                                                                                                                  Joint Equipment
AvMed, Inc. d/b/a AvMed Health Plans       Outpatient Medical Services Agreement - Medicare               Managed Care- Domestic             Health Insurer- Domestic                TBD
                                           Advantage, Medicare Advantage Prescription Drug
                                           Amendment
Baxter Healthcare Corporation                                                                                Executory Contract                Frozen Premix Tools                   TBD
Baxter Healthcare Corporation              Temperature Control Equipment Agreement                           Executory Contract        Vendor providing Temperature Control          TBD
                                                                                                                                                    Equipment




Baxter Healthcare Corporation              Premier Healthcare Alliance, LP Letter of Participation                  LOP                   Purchasing Cooperative Contract            TBD
                                           (Exhibit L)

Bayshore Partners, LLC                                                                                       Executory Contract         Investment Banker providing Business         TBD
                                                                                                                                                 Brokerage Services
BCBS of Florida                                                                                           Managed Care- Domestic              Health Insurer- Domestic               TBD
Bella Baby Photography                     (Per-Click Arrangement)                                          Executory Contract            Baby Photography Services for OB           TBD
                                                                                                                                                       Patients
Benefit Management                                                                                           Executory Contract          NueHealth Subsidiary which provides         TBD
                                                                                                                                       Claim Adjudication for Bundled Payment
                                                                                                                                                      Contracts
Best Doctors                                                                                             Managed Care- International         Health Insurer- International           TBD
Boca Radiology (Radiologist)                                                                                Executory Contract              Provided Radiology Reads via             TBD
                                                                                                                                        TeleRadiology, reimbursement for T-1
                                                                                                                                                   Line to Hospital
Bone Bank Allografts                       Bone Bank Allografts Product Consignment & Service Fee            Executory Contract        Bone Bank Vendor for surgical allografts      TBD
                                           Agreement
BUPA                                                                                                     Managed Care- International        Health Insurer- International            TBD
Cactus Software                                                                                             Executory Contract           Credentialing Software Cloud-based          TBD
                                                                                                                                                       Provider

Cardinal Health 200, LLC                   Schedule G Letter of Participation                                Executory Contract         Vendor for Pharmaceuticals, Surgical         TBD
                                                                                                                                                Packs and Supplies
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                                   Parties                      Name of Contract/Lease                          Contract Type                   Purpose of Contract               Cure Amount
Cardinal Health Pharmacy Services, LLC         Pharmacy Services Agreement                                    Executory Contract           Vendor for night shift Pharmacist          TBD
                                                                                                                                                       Services
CareFusion Solutions, LLC                      Amendment to Master Agreement                                  Executory Contract        Pharmacy Carousel Purchase Agreement         TBD

CareFusion Solutions, LLC                      Hospital Services Agreement                                    Executory Contract                         BAA                         TBD


Careplus                                                                                                        Managed Care                  Health Insurer- Domestic               TBD
Chemtreat                                                                                                     Executory Contract           Treats Boiler Water to Minimize           TBD
(Boiler & Chiller Treatment)                                                                                                                         Calcification
Cigna Healthcare of Florida, Inc.              Hospital Services Agreement (Managed Care)                  Managed Care- Domestic             Health Insurer- Domestic               TBD




Citadel Outsource Group, LLC                   The Miami Medical Center Business Office Services              Executory Contract           Master Patient Accounts Revenue           TBD
                                               Agreement                                                                                        Collection Agreement




Citadel Outsource Group, LLC                   The Miami Medical Center Agreement Addendum                    Executory Contract        Addendum to Citadel Master Agreement         TBD
                                                                                                                                           expanding the Scope of Services




CollectRX                                                                                                     Executory Contract        Collections Company that specializes in      TBD
                                                                                                                                          Out of Network (OON) Collections

Comcast                                                                                                       Executory Contract            Cable Feed for Patient Rooms             TBD

Comcast                                        Business Service Order Agreement                              Executory Contract           Cable and Internet for MOB/Casitas         TBD
Corvel International Health Plan                                                                          Managed Care- International         Health Insurer- International          TBD
Coventry Health Care Inc. (Aetna Subsidiary)                                                               Managed Care- Domestic              Health Insurer- Domestic              TBD
Creative Staffing                              Creative Staffing Agreement                                   Executory Contract         Staffing Services for Bankruptcy Period      TBD

Digicel Parking Lot Lease                                                                                     Executory Contract         To provide Leased Parking space to a        TBD
                                                                                                                                           local business in need of parking
DP Landauer Medical Physics                                                                                   Executory Contract            Physicist Services for radiology         TBD
(Imaging Physics)                                                                                                                                equipment calibration
Edge Information Management                                                                                   Executory Contract        Background Screening and Drug Testing        TBD
                                                                                                                                                  for Pre-Employment
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                                   Parties                                                 Name of Contract/Lease                          Contract Type                      Purpose of Contract               Cure Amount
ESR Diagnostic                                                                                                                           Executory Contract                     SED Rate Testing                    TBD
Falck Southeastern Disaster &                                             (Per Click Arrangement)                                        Executory Contract              Ambulance Services for Patient             TBD
Evacuation (American Ambulance)                                                                                                                                                  Transportation
Fifth Avenue CVO                                                                                                                         Executory Contract          Credentialing Verification Organization       TBD
                                                                                                                                                                   that provided Primary Source Verification
                                                                                                                                                                                     Services
Fleishman-Hillard Inc.                                                                                                                   Executory Contract         Public Relations and Advertising Services      TBD
                                                                                                                                                                                     Provider
Frost - Arnett                                                                                                                          Executory Contract                      Collections Agent                  TBD
Gallagher Bassett Services on behalf of The Florida College System Risk   Letter of Agreement                                         Managed Care- Domestic       Worker's Comp Manager for Miami-Dade            TBD
Management Consortium (FCSRMC)                                                                                                                                                    Public Schools




Global Excel/Olympus Cost Containment                                                                                                Managed Care- International         Health Insurer- International             TBD
GMMI                                                                                                                                 Managed Care- International         Health Insurer- International             TBD
Gregoria Arias Contractor                                                 (Per Click Arrangement)                                       Executory Contract               Housekeeping Contractor for               TBD
                                                                                                                                                                                 MOB/Casitas


Guardian Life of the Caribbean                                                                                                       Managed Care- International         Health Insurer- International             TBD
Healthspring (Leon/Cigna)                                                 Provider Services Agreement                                 Managed Care- Domestic              Health Insurer- Domestic                 TBD
HealthSun Health Plans, Inc.                                              Letter of Agreement Physician/Provider                      Managed Care- Domestic              Health Insurer- Domestic                 TBD


Hologic (MA) LLC                                                          Pricing Agreement                                              Executory Contract        Breast and GYN Surgical Products Vendor         TBD




Humana                                                                                                                                Managed Care- Domestic              Humana Insurer- Domestic                 TBD
Intuitive Surgical, Inc.                                                  Sales, License, and Service Agreement                         Executory Contract           Sales and Service Agreement for the           TBD
                                                                                                                                                                            newer Xi DaVinci Robot




IPA                                                                                                                                      Executory Contract          ScrubEx Linen Controlled Distribution         TBD
                                                                                                                                                                                    System

KCI V.A.C.                                                                KCI V.A.C. Ready-Care Program and Storage Agreement            Executory Contract               Wound Healing Vac System                 TBD
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                                      Parties                         Name of Contract/Lease                          Contract Type                     Purpose of Contract               Cure Amount
Laser Surgical of Florida, Inc.                     Laser Rental Agreement                                          Executory Contract            Surgical Laser Rental Agreement             TBD




LifeFlight - Nicklaus Children's Hospital           (Per Click Arrangement)                                         Executory Contract         Critical Condition Children Transport         TBD
                                                                                                                                               Agreement between NCH and TMMC

MCG Health                                          Access to Care Guidelines                                       Executory Contract               Access to Care Guidelines               TBD


MCHS Reimbursement Agreement                                                                                        Executory Contract        Agreement to reimburse NCH for their           TBD
                                                                                                                                                expenditures made to set up and
                                                                                                                                               maintain TMMC Information System

Mead Johnson Nutrition                                                                                              Executory Contract             Enfamil Baby Formula Provider             TBD
MedRevenue Solutions, LLC                           (Per-Click Arrangement)                                         Executory Contract         Provider used to collect payment from         TBD
                                                                                                                                               Insurers using the PPACA and EMTALA
                                                                                                                                                         regulations approach
Meridian Institute of Surgical Assisting, INC       (Per-Click Arrangement)                                         Executory Contract            Surgical Assistant Program Clinical        TBD
                                                                                                                                                 Location Agreement- STFA Training
Miami Anesthesia Services                                                                                           Executory Contract        To arrange for the exclusive provision of      TBD
                                                                                                                                              anesthesia services, including overnight
                                                                                                                                                     in-house call on a 24-7 basis

Miami Dade Ambulance                                (Per-Click Arrangement)                                         Executory Contract          For access to Ambulance, Patient             TBD
                                                                                                                                                     Transportation Services
MidFirst Bank                                       Assignment of Development and Management Agreement              Executory Contract           To Assign the Development and               TBD
                                                                                                                                              Management Agreement to MidFirst as
                                                                                                                                                       the Secured Lender
Miriam Espinosa                                     (Per-Click Arrangement)                                         Executory Contract         Housekeeping Contract for MOB and             TBD
                                                                                                                                                             Casitas
Misonix                                             Purchase Agreement for Bone Scalpel System                      Executory Contract            Bone Scalpel System Purchase               TBD




Molina In-Patient Services, INC                     Hospitalist Services Contract                                  Executory Contract           Dr. Molina et al Hospitalist Contract        TBD
National Distribution Service, Inc.                 National Distribution Service Agreement                        Executory Contract           Logistics and Warehousing contract           TBD
National Healthcare Solutions, Inc. [NHSI (VUMI)]   Participating Provider Agreement                            Managed Care- International         Health Insurer- International            TBD
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                                   Parties                            Name of Contract/Lease                         Contract Type                  Purpose of Contract                    Cure Amount
Neuro Surgical Resources, LLC dba Intact Pathways   Neurodiagnostic Services Agreement- (Per-Click                 Executory Contract         Neuromonitoring Services Agreement               TBD
                                                    Arrangement)
Nicklaus Children's Hospital                        Information Services Management Agreement                      Executory Contract            Management Services Agreement                TBD
                                                                                                                                             designed to allow NCH to provide TMMC
                                                                                                                                                 with IT services, EMR (Cerner) and
                                                                                                                                                 related network development and
                                                                                                                                                               support.
Nueterra Equity Partners, LLC (Developer)           Development and Management Agreement                           Executory Contract            Management Services Agreement                TBD
via: Miami Hospital Holdings, LLC (Manager)                                                                                                   designed to allow NueHealth to provide
                                                                                                                                                corporate management services to
                                                                                                                                                  TMMC to include finance, human
                                                                                                                                               resources, managed care contracting,
                                                                                                                                                                 etc.
OneBlood Inc                                                                                                       Executory Contract         Blood BankingContract with provider of          TBD
                                                                                                                                                       Blood Banking Services
Orkin, LLC                                          Pest Control National Service Agreement                        Executory Contract        Pest Control Services for hospital building      TBD
                                                                                                                                                   and grounds, MOB, and Casitas

Paramount Refreshment Solutions, Inc.               Paramount Refreshment Solutions Equipment Rental               Executory Contract          Vending Services for the Hospital Deli         TBD
                                                    Agreement                                                                                              and Cafeteria
Pershing Yoakley & Associates, P.C.                                                                                Executory Contract         Accounting Firm from Atlanta, GA., who          TBD
                                                                                                                                              was hired to do a "black box" managed
                                                                                                                                                care analysis or contracts between
                                                                                                                                             TMMC and University of Miami (Uhealth)

PICC Lines Plus, LLC                                (Per-Click Arrangement)                                        Executory Contract        Contract for PIC Line Placement services         TBD
                                                                                                                                             for the occasional patient that requires
                                                                                                                                                     an intravenous PIC line.

Precision Lithotripsy of South Broward, LLC         Provider Service Agreement- (Per-Click Arrangement)            Executory Contract          Vendor who leases lithotripsy mobile           TBD
                                                                                                                                                   equipment and personell.


Precyse (HIM)                                                                                                      Executory Contract        Vendor who provides Health Information           TBD
                                                                                                                                              Management services to the facility to
                                                                                                                                                include medical records access for
                                                                                                                                              patients and coding services for proper
                                                                                                                                                               billing.
Progressive Waste                                                                                                  Executory Contract         Contracted Waste Hauler who disposes            TBD
(Waste Management)                                                                                                                                   of the non-medical waste.
Quality Health Management                                                                                      Managed Care- International          Qualit Insurer- International             TBD
Redbridge                                                                                                      Managed Care- International          Redbri Insurer- International             TBD
Roche Diagnostics Corporation                       Roche Diagnostics Corporation Encompass Agreement             Executory Contract          Vendor providing Laboratory products            TBD
                                                                                                                                              for the UM lab and pathology contract
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                                  Parties                               Name of Contract/Lease                           Contract Type                     Purpose of Contract                 Cure Amount
Rovy Repair                                                                                                            Executory Contract           Vendor providing installation and              TBD
(Generator Maintenance)                                                                                                                              support/maintenance of Power
                                                                                                                                                    Generators and Transfer Switches
Sanus                                                                                                              Managed Care- International         Health Insurer- International              TBD
Scent Air                                                                                                             Executory Contract         Provider of aromatherapy scent services          TBD
                                                                                                                                                     for waiting areas of the facility.

Shred-it USA, LLC                                     Attachment B: GPO End User Agreement                             Executory Contract           Confidential document disposal and            TBD
                                                                                                                                                         mobile shredding services
Smith & Nephew, Inc.                                  Acknowledgement of Participation (to Hip/Knee Implant            Executory Contract           Vendor for hip and knee total joint           TBD
                                                      Pricing Program)                                                                                 implants and related products
Specialty Care                                        (Per-Click Arrangement with Subsidy)                             Executory Contract        Provider of surgical assisting services for      TBD
                                                                                                                                                   surgical cases through PA's, SA's, and
                                                                                                                                                              House Physicians
SPH Analytics                                                                                                          Executory Contract           Vendor providing Patient Feedback             TBD
                                                                                                                                                 Survey Services including collection and
                                                                                                                                                                  reporting
SRI Healthcare, LLC                                   Service Agreement                                                Executory Contract          Vendor supplying the Quality System            TBD
                                                                                                                                                  Registrar that TMMC used for tracking
                                                                                                                                                             quality programs.
SSI (Billing)                                                                                                          Executory Contract         Vendor supplying the Electronic Claims          TBD
                                                                                                                                                  Submission (ECS) of patient claims for
                                                                                                                                                     payment from the health insurers.

Standard Register, Inc. d/b/a Taylor Communications                                                                    Executory Contract         Marketing, Signs, and Graphics Vendor           TBD

Stericycle, Inc.                                      Premier National Master Service Agreement (Pharmaceutical        Executory Contract               Master Service Agreement                  TBD
                                                      Waste Disposal) as part of GPO Agreement effective 6/1/13
                                                      b/w Premier and Stericycle

Stericycle, Inc.                                      Premier National Master Service Agreement (Regulated             Executory Contract          Medical Waste Hauling and Disposal             TBD
                                                      Medical Waste Disposal) as part of GPO Agreement effective                                               Contract
                                                      6/1/13 b/w Premier and Stericycle

Stericycle, Inc.                                      Premier National Master Service Agreement (Sharps                Executory Contract         Containeers and Service Agreement to            TBD
                                                      Agreement) as part of GPO Agreement effective 6/1/13 b/w                                     dispose of sharps contaminated with
                                                      Premier and Stericycle                                                                                medical biohazards.
Stryker Instruments                                   Product Service Plan Agreement                                   Executory Contract           Service Plan Agreement for Stryker            TBD
                                                                                                                                                                Equipment
Stryker Orthopedics                                   Acknowledgement of Participation (to Implant Pricing             Executory Contract        Vendor providing total joint implants and        TBD
                                                      Program)                                                                                               instrumentation.
Stryker Sales Corporation                             Equipment Usage Agreement                                        Executory Contract          Usage Agreement for Stryker surgical           TBD
                                                                                                                                                         systems for orthopedics.
Suddath Relocation                                    National Distribution Service Agreement- (Per-Click              Executory Contract            Moving and Relocation Company                TBD
                                                      Arrangement)
SunMed International                                                                                               Managed Care- International        SunMed Insurer- International               TBD
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                                   Parties                                                      Name of Contract/Lease                          Contract Type                  Purpose of Contract                Cure Amount
Surgi-Staff, Inc.                                                                                                                             Executory Contract     Staffing Agent for clinical staffing needs       TBD
                                                                                                                                                                                 of the hospital.
Sysco, Inc.                                                                                                                                   Executory Contract        Food Services Contract for dietary           TBD
                                                                                                                                                                                     services
Tactical Management (Coding)                                                                                                                  Executory Contract          Vendor for Coding Consultants              TBD
Team Post-OP                                                                  Partnership Program Service Agreement                           Executory Contract      Vendor for home-based DME (durable             TBD
                                                                                                                                                                               medical equipment).
The Stroud Group, Inc.                                                        Procurement Agreement                                           Executory Contract                                                     TBD
TruBridge, LLC                                                                                                                                Executory Contract       Information Tech- EMR used for the            TBD
                                                                                                                                                                     Metropolitan medical records connection
                                                                                                                                                                           to the Rad server at TMMC.

UHS- Universal Hospital Services                                                                                                              Executory Contract     Vendor providing biomedical engineering         TBD
                                                                                                                                                                     services for the electronic equipment of
                                                                                                                                                                                    the hospital.

United - Neighborhood                                                                                                                       Managed Care- Domestic          Health Insurer- Domestic                 TBD
UnitedHealthcare Insurance Company, contracting on behalf of itself, United   Facility Participation Agreement                              Managed Care- Domestic          Health Insurer- Domestic                 TBD
Healthcare of Florida, Inc.

University of Miami Pathology                                                                                                                 Executory Contract       Laboratory Services for the hospital,         TBD
Services (Lab Service)                                                                                                                                                      outsourced to UHealth Lab
US Lawns (Landscaping)                                                                                                                        Executory Contract                   Landscaping                       TBD
Validity Screening Solutions                                                  (Per-Click Arrangement)                                         Executory Contract      Background Checking and Drug Testing           TBD
                                                                                                                                                                        for HR pre-employment screening.

Variety Children's Hospital                                                                                                                   Executory Contract              Neonatology Services                   TBD
(Neonatology)
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                    SCHEDULE 3.14(b)

                    EXISTING LEASES
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Schedule 1.1(iii) and 3.14(b)

                                    Parties                       Name of Contract/Lease                            Contract Type             Purpose of Contract             Cure Amount
CareFusion Solutions, LLC                          Master Agreement                                                     Lease       Pyxis Pharmaceutical Services Unit Dose       TBD
                                                                                                                                               Vending Machines

De Lage Landen Financial Services, Inc. - Lessor   Microscope Lease                                                    Lease             Operating Microscope Lease              TBD
Carl Zeiss Meditec - Vendor




DEX Imaging, Inc.                                  Lease Agreement (assigned to U.S. Bank)                             Lease        Printer and Copier Lease from Dex but        TBD
                                                                                                                                               through US Bank

GE HFS, LLC (General Electric)                                                                                         Lease              64 Slice LiteSpeed CT Lease            TBD




General Electric Capital Corporation               Master Lease Agreement dated as of 08/13/2015                       Lease                 1.5 Tesla MRI Lease                 TBD


General Electric Capital Corporation               Equipment Schedule Dated as of 08/13/2015 to Master                 Lease                    CT Table Lease                   TBD
                                                   Lease Agreement Dated as of 08/13/2015

HealthTronics Mobile Solutions, L.L.C.             Equipment and Service Rental Agreement- (Per Click                  Lease            Litho, Cryo, HIFU rental vendor          TBD
                                                   Arrangement)

Intuitive Surgical, Inc.                           Use, License & Service Agreement                                    Lease          Lease of the older Si DaVinci Robot        TBD




Medtronic Surgical Technologies                    Medtronic Surgical Technologies Capital Placement Program           Lease        Lease program to allow for equipment         TBD
                                                                                                                                     needed to do Medtronic placement
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                                    Parties                    Name of Contract/Lease                         Contract Type            Purpose of Contract                 Cure Amount
Olympus America, Inc.                                                                                             Lease         Master Lease Agreement for leased              TBD
                                                                                                                                       Olympus Equipment




Olympus America, Inc.                         Fixed Periodic Payment Schedule No. 001 to Master Lease            Lease             Periodic Payment Schedule 001              TBD
                                              Agreement No. 0016716




Olympus America, Inc.                         Fixed Periodic Payment Schedule No. 002 to Master Lease            Lease             Periodic Payment Schedule 002              TBD
                                              Agreement No. 0016716

Olympus America, Inc.                         Fixed Periodic Payment Schedule No. 003 to Master Lease            Lease             Periodic Payment Schedule 003              TBD
                                              Agreement No. 0016716


Piramal Critical Care, Inc.                   Sevoflurane Vaporizer Agreement                                    Lease           Lease Agreement for SevoFlurane              TBD
                                                                                                                                            Vaporizers
Pitney Bowes                                  Pitney Bowes Lease Agreement                                       Lease        Agreement to lease and intermittently fill      TBD
                                                                                                                                postage machine with U.S. postage.

Stericycle, Inc.                              Exhibit H-4 Premier National Master Lease Agreement                Lease            Lease for Medical Waste Disposal            TBD
                                              (Hazardous Waste Disposal) as part of GPO Agreement                                            Equipment
                                              effective 6/1/13 b/w Premier and Stericycle

U.S. Bank                                     See Dex Imaging Lease above which was assigned to U.S.             Lease         Lease for copiers and printers from Dex        TBD
                                              Bank per WD 2071709                                                                              Imaging

Variety Children's Hospital, Inc.             Amended and Restated Lease Agreement (assignment of                Lease        Real Estate Building and Property Lease         TBD
                                              Lease between HC-5959 and Variety Children's Hospital)
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                       EXHIBIT 2.1

               BID PROCEDURES ORDER
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Exhibit 2.1




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                          Miami Division
                                        www.flsb.uscourts.gov

 In re:

 MIAMI INTERNATIONAL MEDICAL CENTER, LLC 1                                     Case No. 18-12741-LMI
 d/b/a THE MIAMI MEDICAL CENTER,                                               Chapter 11

           Debtor.
                                                                     /

              ORDER (A) APPROVING BIDDING PROCEDURES;
 (B) APPROVING CERTAIN PROTECTIONS TO STALKING HORSE PURCHASER;
      (C) APPROVING FORM AND MANNER OF NOTICES; (D) APPROVING
  FORM OF ASSET PURCHASE AGREEMENT; (E) AUTHORIZING THE SALE OF
  ALL OR SUBSTANTIALLY ALL OF THE ASSETS OF THE DEBTOR FREE AND
 CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES AND OTHER INTERESTS; (F)
       AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
 EXECUTORY CONTRACTS AND UNEXPIRED LEASES; (G) SCHEDULING DATES

 1The   Debtor’s current mailing address is 5959 NW 7 St, Miami, FL 33126 and its EIN ends 4362.




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  TO CONDUCT AUCTION AND HEARING TO CONSIDER FINAL APPROVAL OF
              SALE; AND (H) GRANTING RELATED RELIEF

        THIS CAUSE came before the Court on April ___, 2018 at __:__ _.m., upon the motion

(the “Motion”) of the above-captioned debtor in possession (the “Debtor”) for entry of an order

(A) approving Bidding Procedures,2 substantially in the form attached hereto as Exhibit 1, (B)

approving certain protections to Variety Children’s Hospital, d/b/a Nicklaus Children’s Hospital,

a Florida non-profit corporation (the “Stalking Horse Purchaser”), (C) approving form and

manner of notices, (D) approving form of asset purchase agreement, (E) authorizing the sale of

substantially all of the Debtor’s Assets free and clear of all liens, claims, encumbrances and other

interests, (F) authorizing the assumption and assignment of certain executory contracts and

unexpired leases, (G) scheduling dates to conduct an auction and hearing to consider final

approval of sale, and (H) certain related relief (this “Bidding Procedures Order”); and the Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before the Court (the “Hearing”); and the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the

relief granted herein; and upon all of the proceedings had before the Court; and after due

deliberation and sufficient cause appearing therefor, it is

FOUND, CONCLUDED AND DETERMINED THAT:

        A.       The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Rule 7052 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), made applicable to this proceeding pursuant to Bankruptcy Rule 9014.


2Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion,
the Asset Purchase Agreement, or the Bidding Procedures, as applicable.




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       B.      The Court has jurisdiction over the Motion and the transactions contemplated by

the Asset Purchase Agreement pursuant to 28 U.S.C. §§ 157 and 1334, and this matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). Venue in this district is proper

under 28 U.S.C. §§ 1408 and 1409.

       C.      The statutory bases for the relief requested in the Motion are sections 105(a), 363,

and 365 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”); Bankruptcy

Rules 2002(a)(2), 6004, and 6006; and Rules 2002-1(C)(2), 6004-1, and 6006-1 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

Southern District of Florida (the “Local Bankruptcy Rules”).

       D.      Good and sufficient notice of the Motion and the relief sought therein has been

given under the circumstances, and no other or further notice is required except as set forth

herein with respect to the Sale Hearing.        A reasonable opportunity to object or be heard

regarding the relief provided herein has been afforded to parties in interest.

       E.      The Debtor’s proposed notice of the Bidding Procedures is appropriate and

reasonably calculated to provide all interested parties with timely and proper notice of the

Auction, the sale of substantially all of the Debtor’s Assets, the Bidding Procedures to be

employed in connection therewith, and the Sale Hearing.

       F.      The Cure Notice (defined below) attached hereto as Exhibit 2 is reasonably

calculated to provide all non-Debtor counterparties (the “Contract Parties”) to the Debtor’s

executory contracts and unexpired leases (each a “Contract or Lease” and, collectively, the

“Contracts and Leases”) with proper notice of the potential assumption and assignment of their

executory contract or unexpired lease and any Cure Amounts (defined below) relating thereto,

although the mere listing of any executory contract or unexpired lease on the Cure Notice does



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not require or guarantee that such executory contract or unexpired lease will be assumed and

assigned, and all rights of the Debtor with respect to such Contracts and Leases are reserved.

        G.      The Debtor has articulated good and sufficient reasons for the Court to:

(1) approve the Bidding Procedures; (2) set the Sale Hearing and approve the manner of notice of

the Motion and the Sale Hearing; (3) approve the procedures for the assumption and assignment

of certain executory contracts and unexpired leases (collectively, the “Assigned Contracts”),

including notice of proposed Cure Amounts (defined below); and (4) approve the Break-Up Fee

as provided in the Asset Purchase Agreement and in this Bidding Procedures Order.

        H.      The Break-Up Fee to be paid under the circumstances described herein to the

Stalking Horse Purchaser (1) is an actual and necessary cost of preserving the Debtor’s estate

within the meaning of Bankruptcy Code section 503(b); (2) is commensurate to the real and

substantial benefits conferred upon the Debtor’s estate by the entry of the Stalking Horse

Purchaser into the Asset Purchase Agreement; and (3) is reasonable and appropriate in light of

the size and nature of the proposed transaction, the commitments that have been made and the

efforts that have been or will be expended by the Stalking Horse Purchaser.

        I.      The Debtor has demonstrated a compelling and sound business justification for

authorizing the payment of the Break-Up Fee to the Stalking Horse Purchaser under the

circumstances, timing and procedures set forth in the Motion.

        J.      The entry of this Bidding Procedures Order is in the best interests of the Debtor,

its estate, its creditors, and other parties in interest.

        K.      The Bidding Procedures are reasonably designed to maximize the value to be

achieved for the Assets.

        L.      The proposed sale of the Assets is consistent with section 363(b)(1)(A) of the



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Bankruptcy Code and the Debtor’s existing privacy policy, and no consumer privacy

ombudsman is necessary in connection with the sale or sales of the Debtor’s Assets.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1. The Motion is GRANTED to the extent set forth herein.

        2. Any and all objections and responses to the Motion that have not been withdrawn,

waived, settled or resolved, and all reservations of rights included therein, are hereby overruled

and denied.

        3. The Bidding Procedures, attached hereto as Exhibit 1, are hereby approved in all

respects and shall govern all bid and bid proceedings relating the sale of the Debtor’s Assets.

The Debtor is authorized to take any and all actions necessary to implement the Bidding

Procedures.

        4. The failure specifically to include or reference any particular provision of the Bidding

Procedures in this Order shall not diminish or impact the effectiveness of such procedure, it

being the intent of the Court that the Bidding Procedures be authorized and approved in their

entirety.

        5. The Debtor may pursue a sale of the Assets and enter into the transactions

contemplated by the Asset Purchase Agreement by conducting an Auction in accordance with

the Bidding Procedures.

        6. The Bid Deadline is [______________].          All Potential Bidders are required to

provide copies of their bids so as to be received by the following parties on or before the Bid

Deadline: [INSERT PARTIES].

        7. The Auction, if necessary under the Bidding Procedures, shall take place on

[__________] at 10:00 a.m. (prevailing Eastern Time) at the offices of counsel for the Debtor,



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Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200 South Biscayne

Boulevard, Miami, Florida 33131, or such other place and time as the Debtor shall notify all

Qualified Bidders, including, without limitation, the Stalking Horse Purchaser, counsel for the

Stalking Horse Purchaser and other invitees. The Auction shall be conducted in accordance with

the Bidding Procedures.

       8. The Sale Hearing shall be held before the Court on [_________ at __:_0 _.m.

(prevailing Eastern Time)].

       9. Objections, if any, to the sale of the Assets and the transaction contemplated by the

Asset Purchase Agreement, or the relief requested in the Motion must: (a) be in writing;

(b) comply with the Bankruptcy Rules and the Local Bankruptcy Rules; (c) be filed with the

clerk of the Bankruptcy Court for the Southern District of Florida (or filed electronically via

CM/ECF), on or before 4:00 p.m. (prevailing Eastern Time) on [_____________] (the

“Sale Objection Deadline”); and be served such that they are actually received by the Sale

Objection Deadline to: (a) the Debtor, 5959 NW 7 St, Miami, FL 33126, Attn: Jeffrey Mason;

(b) counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center,

200 South Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and Daniel

N. Gonzalez, Esq.; (c) counsel to the Stalking Horse Purchaser, DLA Piper LLP (US), 200 South

Biscayne Boulevard, Suite 2500, Miami, Florida 33131, Attn: Joshua Kaye, Esq., Thomas

Califano, Esq., and Rachel Nanes, Esq.,; and (d) Bayshore Partners, LLC, 401 E. Las Olas Blvd,

Suite 2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman.

       10. The Stalking Horse shall constitute a Qualified Bidder (as defined in the Bidding

Procedures) for all purposes and in all respects with regard to the Bidding Procedures.    The




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Stalking Horse is permitted to credit bid the Credit Bid Amount pursuant to section 363(k) of the

Bankruptcy Code.

       11. The Debtor is hereby authorized, in the exercise of its sound business judgment, to

pay the Stalking Horse, as set forth in the Asset Purchase Agreement and pursuant to the Bidding

Procedures, and the Break-Up Fee, subject to the terms of this Bidding Procedures Order and the

Asset Purchase Agreement. The payment of the Break-Up Fee shall be conditioned on the

consummation of a sale to a party that is not the Stalking Horse Purchaser.

       12. The notice of the proposed sale of the Debtor’s Assets, substantially in the form

attached hereto as Exhibit 3 (the “Sale Notice”), is hereby approved.

       13. On or before three (3) business days after entry of this Bidding Procedures Order, the

Debtor will cause the Sale Notice to be sent by first-class mail postage prepaid, to the

following: (a) all creditors or their counsel known to the Debtor to assert a lien (including any

security interest), claim, right, interest or encumbrance of record against all or any portion of the

Assets; (b) the U.S. Trustee; (c) the creditors listed on the Debtor’s list of 20 largest unsecured

creditors; (d) all applicable federal, state and local taxing and regulatory authorities of the Debtor

or recording offices or any other governmental authorities that, as a result of the sale of the

Assets, may have claims, contingent or otherwise, in connection with the Debtor’s ownership of

the Assets or have any known interest in the relief requested by the Motion; (e) counsel to the

Stalking Horse Purchaser; (f) all parties in interest who have requested notice pursuant to

Bankruptcy Rule 2002; (g) all parties to any litigation involving the Debtor; (h) all Contract

Parties of the Debtor; and (i) all potential Bidders previously identified or otherwise known to

the Debtor.




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       14. The notice of potential assumption and assignment of the Contracts and Leases,

substantially in the form attached hereto as Exhibit 2 (the “Cure Notice”), is hereby approved.

       15. On or before ten (10) business days after the entry of this Bidding Procedures Order,

the Debtor shall serve by first class mail, overnight delivery, facsimile or electronic mail, as the

case may be and in the Debtor’s sole discretion, the Cure Notice on all Contract Parties. The

Cure Notice shall identify the Contracts and Leases and provide the corresponding cure amounts

that the Debtor believes must be paid to cure all prepetition defaults under the Contracts and

Leases (the “Cure Amounts”).

       16. Unless the Contract Party to any Contract or Lease files an objection to its scheduled

Cure Amount or to the assumption and assignment of a Contract or Lease, and serves a copy of

the such objection so as to be received no later than the Sale Objection Deadline to: (a) the

Debtor, 5959 NW 7 St, Miami, FL 33126, Attn: Jeffrey Mason; (b) counsel for the Debtor,

Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200 South Biscayne

Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and Daniel N. Gonzalez, Esq.; (c)

counsel to the Stalking Horse Purchaser, DLA Piper LLP (US), 200 South Biscayne Boulevard,

Suite 2500, Miami, Florida 33131, Attn: Joshua Kaye, Esq., Thomas Califano, Esq. and Rachel

Nanes, Esq.; and (d) Bayshore Partners, LLC, 401 E. Las Olas Blvd, Suite 2360, Fort

Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman; such Contract Party shall be

forever barred and estopped from objecting (1) to the Cure Amount and from asserting that any

additional amounts are due or defaults exist, (2) that any conditions to assumption and

assignment must be satisfied under such Contract or Lease before it can be assumed and assigned

or that any required consent to assignment has not been given or (3) that the Stalking Horse

Purchaser has not provided adequate assurance of future performance.



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       17. In accordance with the Bidding Procedures, promptly following the Debtor’s

selection of the Successful Bid and the conclusion of the Auction, the Debtor shall announce the

Successful Bid and shall file with the Bankruptcy Court a notice of the Successful Bid and

Successful Bidder. Only if the Stalking Horse Purchaser is not the Successful Bidder for the

Debtor’s assets, the Contract Parties shall have until the Sale Hearing to object to the assumption

and assignment of a Contract or Lease solely on the issue of whether the Successful Bidder (if

not the Stalking Horse Purchaser) can provide adequate assurance of future performance as

required by section 365 of the Bankruptcy Code (each an “Adequate Assurance Objection”);

provided, however, that if the Stalking Horse Purchaser is the sole Successful Bidder, all

Adequate Assurance Objections must be filed by the Sale Objection Deadline. All objections to

the assumption and assignment of Contracts and Leases that do not relate to the issue of whether

the Successful Bidder can provide adequate assurance of future performance must be filed by the

Sale Objection Deadline.

       18. In the event of a timely filed objection and dispute regarding: (a) any Cure Amount

with respect to any of the Contracts and Leases; (b) the ability of the Successful Bidder

(including the Stalking Horse Purchaser) to provide adequate assurance of future performance as

required by section 365 of the Bankruptcy Code, if applicable, under a Contract or Lease; or (c)

any other matter pertaining to assumption, the Cure Amount shall be paid as soon as reasonably

practicable after the Closing and following the entry of a final order resolving the dispute and

approving the assumption of such Contract of Lease; provided, however, that the Debtor is

authorized to settle any dispute regarding the amount of any Cure Amount or assignment to the

Successful Bidder (including the Stalking Horse Purchaser) without any further notice to or

action, order or approval of the Court.



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        19. Within five (5) business days after the Closing Date, the Debtor will file a complete

list of the Contracts and Leases that were assumed and assigned as Assigned Contracts, as of the

Closing Date, in connection with the sales of the Assets.

        20. The Auction and/or Sale Hearing may be continued by the Debtor from time to time,

for an aggregate period of up to five business (5) days without further notice to creditors or other

parties in interest other than by announcement of said continuance before the Court on the date

scheduled for the Sale Hearing.

        21. Except as otherwise provided in the Asset Purchase Agreement or this Bidding

Procedures Order, the Debtor’s rights are reserved, as they may reasonably determine to be in the

best interests of its estate, to: (a) determine which bidders are Qualified Bidders; (b) determine

which Bids are Qualified Bids; (c) determine which Qualified Bid is the highest and best

proposal and which is the next highest and best proposal; (d) reject any Bid that is (1) inadequate

or insufficient, (2) not in conformity with the requirements of the Bidding Procedures or the

requirements of the Bankruptcy Code or (3) contrary to the best interests of the Debtor and its

estate; (e) waive terms and conditions set forth herein with respect to all potential bidders; (f)

impose additional terms and conditions with respect to all potential bidders; (g) extend the

deadlines set forth herein; (h) continue or cancel the Auction and/or Sale Hearing in open court

without further notice; and (i) modify the Bidding Procedures or implement additional

procedural rules that are reasonable under the circumstances for conducting the Auction so long

as such rules are not inconsistent in any material respect with the Bidding Procedures or the

Asset Purchase Agreement. Notwithstanding the foregoing, the Stalking Horse Purchaser shall

be deemed a Qualified Bidder and shall be entitled to credit bid the Credit Bid Amount in the

Sale.



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         22. To the extent that any Chapter 11 plan confirmed in this case or any order confirming

any such plan or any other order in this case (including any order entered after any conversion of

this case to a case under Chapter 7 of the Bankruptcy Code) alters, conflicts with or derogates

from the provisions of this Bidding Procedures Order, the provisions of this Bidding Procedures

Order shall control, including, without limitation, provisions related to the payment of the Break-

Up Fee to the Stalking Horse Purchaser. The Debtor’s obligations under this Bidding Procedures

Order, the provision of this Bidding Procedures Order and the portions of the Asset Purchase

Agreement pertaining to the Bidding Procedures (including all obligations to pay the Expense

Reimbursement) shall survive confirmation of any plan of reorganization or discharge of claims

thereunder and shall be binding upon the Debtor, and the reorganized or reconstituted Debtor, as

the case may be, after the effective date of a confirmed plan in the Debtor’s case (including any

order entered after any conversion of this case to a case under Chapter 7 of the Bankruptcy

Code).

         23. Notwithstanding anything to the contrary contained herein, (1) any payment made, or

authorization contained, hereunder shall be subject to the requirements imposed on the Debtor

under any order approving debtor-in-possession financing (a “DIP Order”), and (2) any claim for

which payment is authorized pursuant to this Order that is treated as an administrative expense of

the Debtor’s estate shall be and is subject and subordinate to any and all claims, liens, security

interests, and priorities granted to the Lender (as defined in the DIP Order) in accordance with

and subject to the terms of the applicable DIP Order, and payment on any such claim shall be

subject to any and all restrictions on payments in the DIP Order and any other order of the Court.

         24. The stays provided for in Bankruptcy Rules 6004(h) and 6006(d) are hereby waived

and this Bidding Procedures Order shall be effective immediately upon its entry.



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       25. All time periods set forth in this Bidding Procedures Order shall be calculated in

accordance with Bankruptcy Rule 9006(a).

       26. The Debtor is authorized to take all actions necessary to effectuate the relief granted

pursuant to this Bidding Procedures Order in accordance with the motion.

       27. The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Bidding Procedures Order.


                                                ###

Submitted By:
Peter D. Russin, Esquire
Florida Bar No. 765902
prussin@melandrussin.com
MELAND RUSSIN & BUDWICK, P.A.
Attorneys for Debtor-in-Possession
3000 Southeast Financial Center
200 South Biscayne Boulevard
Miami, Florida 33131
Telephone:     (305) 358-6363
Telefax:       (305) 358-1221

Copies Furnished To:
Peter D. Russin, Esquire, is directed to serve copies of this Order on all parties in interest and to
file a Certificate of Service.




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                       EXHIBIT 1

                    Bidding Procedures
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                                                                         1
                                       BIDDING PROCEDURES

       By the Motion dated March [__], 2018, Miami International Medical Center, LLC d/b/a
The Miami Medical Center (the “Debtor”), sought approval of, among other things, the
procedures through which it will determine the highest or otherwise best price for the sale of
substantially all of its assets (the “Assets”) described in the Asset Purchase Agreement by and
among, Variety Children’s Hospital d/b/a Nicklaus Children’s Hospital, as purchaser (the
“Stalking Horse Purchaser”), and the Debtor, as seller, dated as of March [__], 2018 (the “Asset
Purchase Agreement”), a copy of which is attached as Exhibit C to the Motion.

       On [________], 2018 the United States Bankruptcy Court for the Southern District of
Florida (the “Bankruptcy Court”) entered an order (the “Bidding Procedures Order”), which,
among other things, authorized the Debtor to determine the highest or otherwise best price for
the Assets through the process and procedures set forth below (the “Bidding Procedures”).

                                             Marketing Process

        (a)      Contact Parties: The Debtor, in consultation with Bayshore, will develop a list of
                 parties (in addition to the Stalking Horse Purchaser) who the Debtor and Bayshore
                 believe may potentially be interested in consummating a competing transaction
                 for the Assets (any such transaction, an “Alternative Transaction”) and have the
                 financial ability to do so, which list includes both potential strategic investors and
                 potential financial investors (each, individually, a “Contact Party”, and
                 collectively, the “Contact Parties”). The Debtor and Bayshore will contact the
                 Contact Parties to explore their interest in pursuing an Alternative Transaction.
                 The Contact Parties may include parties whom the Debtor or its advisors have
                 previously contacted regarding a transaction, regardless of whether such parties
                 expressed any interest, at such time, in pursuing a transaction. The Debtor will
                 continue to discuss and may supplement the list of Contact Parties throughout the
                 marketing process, as appropriate.

        (b)      Information Package: The Debtor may distribute to each Contact Party an
                 “Information Package,” comprising:

                 (i)     A cover letter;

                 (ii)    A copy of these Bidding Procedures and the Motion;

                 (iii)   A copy of a confidentiality agreement; and

1   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion
    for approval of, among other things, these Bidding Procedures or in the Asset Purchase Agreement, as
    applicable.




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       (iv)    Such other materials as the Debtor and Bayshore deem appropriate under
               the circumstances including, but not limited to, preliminary “teaser”
               information.

(c)    Access to Diligence Materials: To receive access to due diligence information
       (the “Diligence Materials”), a party must submit to the Debtor an executed
       confidentiality agreement in the form and substance satisfactory to the Debtor and
       the Debtor shall have a reasonable basis to believe that the party has the financial
       capability to consummate an Alternative Transaction. A party who qualifies for
       access to Diligence Materials shall be a “Preliminary Interested Buyer.” All due
       diligence requests must be directed to Bayshore.

(d)    Due Diligence from Bidders: Each Preliminary Interested Buyer and Qualified
       Bidder (as defined below) shall comply with all reasonable requests for additional
       information and due diligence access by the Debtor or its advisors regarding such
       Bidder and its contemplated transaction. Failure by a Preliminary Interested
       Investor to comply with requests related to due diligence access will be a basis for
       the Debtor to determine that such bidder is not a Qualified Bidder. Failure by a
       Qualified Bidder (other than the Stalking Horse Purchaser) to comply with
       requests for additional information and due diligence access will be a basis for the
       Debtor to determine that a bid made by such Qualified Bidder is not a Qualified
       Bid.

                         Auction Qualification Process

(a)    To be eligible to participate in the Auction, each offer, solicitation or proposal
       (each, a “Bid”), and each party submitting such a Bid (each, a “Bidder”), must be
       determined by the Debtor to satisfy each of the conditions set forth below. A Bid
       will not be considered qualified for the Auction if such Bid does not satisfy each
       of the following conditions:

       (i)     Good Faith Deposit: Each Bid must be accompanied by a deposit in the
               amount of $1,500,000 to an non-interest-bearing escrow account to be
               identified and established by the Debtor (the “Good Faith Deposit”). The
               Stalking Horse Purchaser shall not be required to submit a Good Faith
               Deposit.

       (ii)    Bids for Portions of Debtor’s Assets: A Bid may offer to purchase all or
               substantially all of the Debtor’s Assets or only a portion of the Debtor’s
               Assets; provided that the Debtor determine, in its sole discretion, that the
               aggregate consideration offered by any Bid or combination of Bids for all
               or substantially all of the Debtor’s assets satisfies the “Minimum Bid”
               requirements set forth in clause (v) below.

       (iii)   Same or Better Terms: Each Bid must be on terms that, in the Debtor’s
               business judgment, are the same or better than the terms of the Asset
               Purchase Agreement.

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 (iv)    Executed Agreement: Each Bid must be based on the Asset Purchase
         Agreement and must include executed transaction documents, signed by
         an authorized representative of such Bidder, pursuant to which the Bidder
         proposes     to    effectuate    an    Alternative    Transaction    (the
         “Modified Purchase Agreement”). A Bid shall also include a copy of the
         Asset Purchase Agreement marked against the Modified Purchase
         Agreement to show all changes requested by the Bidder (including those
         related to purchase price and to remove all provisions that apply only to
         the Stalking Horse Purchaser).

 (v)     Minimum Bid: A Bid or any combination of Bids for all or substantially
         all of the Debtor’s Assets must propose a minimum purchase price equal
         to or greater than $[XX] in cash, which amount would equal the Credit
         Bid Amount of the Stalking Horse Purchaser and include an additional
         $150,000, plus any Assumed Liabilities, plus any adjustments required, if
         applicable, necessary to pay all transaction fees (including to the Debtor’s
         Investment Banker) to the extent the sale to an entity other than the
         Stalking Horse Purchaser produces insufficient cash to pay such
         transaction fees.

 (vi)    Designation of Assigned Contracts and Leases: A Bid must identify any
         and all executory contracts and unexpired leases of the Debtor that the
         Bidder wishes to have assumed and assigned to it at closing pursuant to an
         Alternative Transaction.

 (vii)   Assumption of Liabilities: A Bid must provide for the payment or
         assumption of at least all or substantially all of the Assumed Liabilities.

 (viii) Corporate Authority: A Bid must include written evidence reasonably
        acceptable to the Debtor demonstrating appropriate corporate
        authorization to consummate the proposed Alternative Transaction;
        provided that, if the Bidder is an entity specially formed for the purpose of
        effectuating the Alternative Transaction, then the Bidder must furnish
        written evidence reasonably acceptable to the Debtor of the approval of
        the Alternative Transaction by the equity holder(s) of such Bidder.

 (ix)    Proof of Ability to Perform: A Bid must include written evidence that the
         Debtor concludes in its sole discretion (in consultation with its advisors)
         demonstrates that the Bidder has the ability to close the Alternative
         Transaction and provide adequate assurance of future performance under
         all contracts to be assumed and assigned in such Alternative Transaction.
         Such information must include, inter alia, the following:




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                             a. contact names and numbers for verification of financing
                                sources;

                             b. evidence of the Bidder’s internal resources and proof of
                                unconditional debt or equity funding commitments to close the
                                Alternative Transaction;

                             c. evidence of the Bidder’s ability to satisfy regulatory and
                                licensing requirements;

                             d. the Bidder’s current financial statements (audited if they exist)
                                or other similar financial information reasonably acceptable to
                                the Debtor; and

                             e. any such other form of financial disclosure or credit-quality
                                support information or enhancement reasonably acceptable to
                                the Debtor demonstrating that such Bidder has the ability to
                                close the Alternative Transaction.

              (x)     Contingencies: Each Bid (a) may not contain representations and
                      warranties, covenants, or termination rights materially more onerous in the
                      aggregate to the Debtor than those set forth in the Asset Purchase
                      Agreement and (b) may not be conditioned on obtaining financing or any
                      internal approval, or on the outcome or review of due diligence, but may
                      be subject to the accuracy in all material respects of specified
                      representations and warranties at the Closing.

              (xi)    Irrevocable: Each Bid must be irrevocable through the Auction date,
                      provided that if such Bid is accepted as the Successful Bid or the Backup
                      Bid at the Auction, such Bid shall continue to remain irrevocable, subject
                      to the terms and conditions of the Bidding Procedures.

              (xii)   Bid Deadline: The following parties must receive a Bid in writing, on or
                      before [two business days before the Auction] at 4:00 p.m. (prevailing
                      Eastern Time) (the “Bid Deadline”): (a) the Debtor, 5959 NW 7 St,
                      Miami, FL 33126, Attn: Jeffrey Mason; (b) counsel for the Debtor,
                      Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200
                      South Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin,
                      Esq., and Daniel N. Gonzalez, Esq.; (c) counsel to the Stalking Horse
                      Purchaser, DLA Piper LLP (US), 200 South Biscayne Boulevard, Suite
                      2500, Miami, Florida 33131, Attn: Joshua Kaye, Esq., Thomas Califano,
                      Esq. and Rachel Nanes, Esq.; and (d) Bayshore Partners, LLC, 401 E. Las
                      Olas Blvd, Suite 2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders
                      and Steve Zuckerman.

       A Bid received from a Bidder before the Bid Deadline that meets the above
requirements for the applicable assets shall constitute a “Qualified Bid” for such assets, and
such Bidder shall constitute a “Qualified Bidder” for such assets. Notwithstanding anything
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herein to the contrary, the Asset Purchase Agreement submitted by the Stalking Horse Purchaser
shall be deemed a Qualified Bid, and the Stalking Horse Purchaser a Qualified Bidder. In
addition, the Stalking Horse Purchaser will receive a copy of any Bids submitted to the Debtor,
and the Debtor shall inform counsel to the Stalking Horse Purchaser whether the Debtor will
consider such Bids to be Qualified Bids no later than three (3) days prior to the Auction.

                                             Auction

        If one or more Qualified Bids for the Debtor’s assets (other than the Asset Purchase
Agreement submitted by the Stalking Horse Purchaser) are received by the Bid Deadline, the
Debtor will conduct an Auction to determine the highest and best Qualified Bid or combination
of Qualified Bids for any of the Debtor’s Assets. This determination shall take into account any
factors the Debtor reasonably deems relevant to the value of the Qualified Bid to the estate and
may include, among other things, the following: (a) the amount and nature of the consideration;
(b) the number, type, and nature of any changes to the Asset Purchase Agreement requested by
each Bidder; (c) the extent to which such modifications are likely to delay closing of the sale or
sales of the Debtor’s Assets and the cost to Debtor of such modifications or delay; (d) the total
consideration to be received by Debtor; (e) the likelihood of the Bidder’s ability to close a
transaction, obtain necessary regulatory and licensing approvals and the timing thereof; and
(f) the net benefit to the Debtor’s estate (collectively, the “Bid Assessment Criteria”). If no
Qualified Bid (other than the Asset Purchase Agreement) is received by the Bid Deadline, the
Debtor may determine not to conduct the Auction. Unless otherwise agreed to by the Stalking
Horse Purchaser in its sole discretion, only Qualified Bidders may participate in the Auction.

                                    Procedures for Auction

       The Auction shall take place on [________________] at 10:00 a.m. (prevailing Eastern
Time) at the offices of counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200 Southeast
Financial Center, 200 South Biscayne Boulevard, Miami, Florida 33131, or such other place and
time as the Debtor shall notify all Qualified Bidders, including, without limitation, the Stalking
Horse Purchaser, counsel for the Stalking Horse Purchaser and other invitees. The Auction shall
be conducted according to the following procedures:

       Only the Debtor, Bayshore, the Stalking Horse Purchaser, and any other Qualified
Bidder, in each case, along with their representatives and counsel, shall attend the Auction in
person, and only the Stalking Horse Purchaser and any other Qualified Bidders will be entitled to
make any Bids at the Auction.

       (b)     The Debtor Shall Conduct the Auction: The Debtor and its professionals shall
               direct and preside over the Auction. Other than as expressly set forth herein, the
               Debtor may conduct the Auction in the manner it determines will result in the
               highest, best, or otherwise financially superior offer for the Debtor’s Assets. At
               the start of the Auction, the Debtor shall describe the terms of the highest and best
               Qualified Bid or Qualified Bids received prior to the Bid Deadline (each such
               highest and best Qualified Bid, the “Auction Baseline Bid”). Each Qualified
               Bidder participating in the Auction must confirm that it (a) has not engaged in any


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 collusion with respect to the bidding or sale of any of the assets described herein
 and (b) has reviewed and understands and accepts the Bidding Procedures.

 (i)     Terms of Overbids: An “Overbid” is any bid made at the Auction
         subsequent to the Debtor’s announcement of the respective
         Auction Baseline Bid for such Auction. To submit an Overbid for
         purposes of this Auction, a Bidder must comply with the following
         conditions:

 (ii)    Minimum Overbid Increments: Any Overbid after and above the
         respective Auction Baseline Bid shall be made in increments valued at not
         less than $100,000. Additional consideration in excess of the amount set
         forth in the respective Auction Baseline Bid may include cash and/or
         noncash consideration.

 (iii)   Stalking Horse Purchaser May Credit Bid: The Stalking Horse Purchaser
         shall be permitted to bid at the Auction, if any, and shall be permitted to
         credit bid the Credit Bid Amount pursuant to any Overbid in connection
         with each round of bidding in the Auction.

 (iv)    Remaining Terms Are the Same as for Qualified Bids: Except as modified
         herein, an Overbid at the Auction must comply with the conditions for a
         Qualified Bid set forth above, provided, however, that the Bid Deadline
         shall not apply. Any Overbid must remain open and binding on the Bidder
         until and unless the Debtor accept a higher Overbid.

         At the Debtor’s discretion, to the extent not previously provided (which
         shall be determined by the Debtor), a Bidder submitting an Overbid at any
         Auction must submit, as part of its Overbid, written evidence (in the form
         of financial disclosure or credit-quality support information or
         enhancement reasonably acceptable to the Debtor) demonstrating such
         Bidder’s ability to close the Alternative Transaction proposed by such
         Overbid.

 (v)     Announcement of Overbids: The Debtor shall announce at the Auction
         the material terms of each Overbid.

 (vi)    Consideration of Overbids: The Debtor reserves the right, in its
         reasonable business judgment, to make one or more continuances of the
         Auction to, among other things: facilitate discussions between the Debtor
         and individual Bidders; allow individual Bidders to consider how they
         wish to proceed; and give Bidders the opportunity to provide the Debtor
         with such additional evidence as the Debtor in its reasonable business
         judgment may require, that the Bidder has sufficient internal resources, or
         has received sufficient non-contingent debt and/or equity funding
         commitments, to consummate the proposed Alternative Transaction at the
         prevailing Overbid amount.

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(c)    Backup Bidder: Notwithstanding anything in the Bidding Procedures to the
       contrary, if an Auction is conducted, the Bidder or Bidders with the next highest
       or otherwise best Bid or combination of Bids at the Auction, as determined by the
       Debtor, in the exercise of its business judgment, will be designated as the
       potential backup bidder (collectively, the “Potential Backup Bidder”). In the
       event that a Bidder or Bidders other than the Stalking Horse Purchaser are
       identified by the Debtor as the Potential Backup Bidder, such Bidder or Bidders
       shall be required to serve as the backup bidder or backup bidders (collectively, the
       “Backup Bidder”). Except for the Stalking Horse Purchaser, the Backup Bidder
       shall be required to keep its initial Bid or combination of Bids (or if the Backup
       Bidder submitted one or more Overbids at the Auction, the final respective
       Overbid) (the “Backup Bid”) open and irrevocable until the earlier of 5:00 p.m.
       (prevailing Eastern Time) on the date that is thirty (30) days after the date of the
       Auction (the “Outside Backup Date”) or the closing of the transaction with the
       Successful Bidder, which is later.

       Following the Sale Hearing, if the Successful Bidder fails to consummate an
       approved transaction, because of a breach or failure to perform on the part of such
       Successful Bidder, the Debtor may designate the Backup Bidder to be the new
       Successful Bidder, and the Debtor will be authorized, but not required, to
       consummate the transaction or transactions, with the Backup Bidder without
       further order of the Bankruptcy Court. In such case, the defaulting Successful
       Bidder’s deposit shall be forfeited to the Debtor, and the Debtor specifically
       reserves the right to seek all available damages from the defaulting Successful
       Bidder. The deposit of the Backup Bidder shall be held by the Debtor until the
       earlier of 72 hours after (i) the closing of the transaction or transactions with the
       Successful Bidder and (ii) the Outside Backup Date.

(d)    Additional Procedures: The Debtor may announce at the Auction additional
       procedural rules that are reasonable under the circumstances for conducting the
       Auction so long as such rules are not inconsistent in any material respect with the
       Bidding Procedures or the Asset Purchase Agreement.

(e)    Consent to Jurisdiction as Condition to Bidding: The Stalking Horse Purchaser,
       all Qualified Bidders, and all Bidders at the Auction shall be deemed to have
       consented to the core jurisdiction of the Bankruptcy Court to enter an order or
       orders, which shall be binding in all respects, in any way related to the Debtor,
       this chapter 11 case, the Bidding Procedures, the Asset Purchase Agreement, the
       Auction, or the construction and enforcement of any Alternative Transaction
       documents and waived any right to a jury trial in connection with any disputes
       relating to the Debtor, this Chapter 11 case, the Bidding Procedures, the Asset
       Purchase Agreement, the Auction, or the construction and enforcement of any
       Alternative Transaction documents.

(f)    Sale Is As Is/Where Is: The Assets of the Debtor sold pursuant to the Bidding
       Procedures, shall be conveyed at Closing in their then-present condition, “AS IS,
       WITH ALL FAULTS, AND WITHOUT ANY WARRANTIES

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               WHATSOEVER, EXPRESS OR IMPLIED,” as further detailed in the Asset
               Purchase Agreement.

       (g)     Closing the Auction: The Auction shall continue until there is only one Qualified
               Bid or combination of Qualified Bids for the Assets of the Debtor sold pursuant to
               the Bidding Procedures that the Debtor determines in its reasonable business
               judgment, after consultation with its financial and legal advisors, is the highest
               and best Qualified Bid at the Auction for the Assets. Thereafter, the Debtor shall
               select one Qualified Bid, which produces the highest and best recovery to the
               estate, as the overall highest and best Qualified Bid (the “Successful Bid,” and
               each Bidder submitting such Successful Bid, a “Successful Bidder”). In making
               this decision, the Debtor, in consultation with its financial and legal advisors,
               shall consider the Bid Assessment Criteria.

               The Auction shall close when the Successful Bidder for the Debtor’s Assets
               submits fully executed sale and transaction documents memorializing the terms of
               the Successful Bid.

               Promptly following the Debtor’s selection of the Successful Bid and the
               conclusion of the Auction, the Debtor shall announce the Successful Bid and
               Successful Bidder and shall file with the Bankruptcy Court notice of the
               Successful Bid and Successful Bidder.

                                  Return of Good Faith Deposit

        The Good Faith Deposits of all Qualified Bidders shall be held in one or more non-
interest-bearing escrow accounts by the Debtor, but shall not become property of the Debtor’s
estate absent further order of the Court. The Good Faith Deposit of any Qualified Bidder that is
neither a Successful Bidder nor a Backup Bidder shall be returned to such Qualified Bidder not
later than five (5) business days after the Sale Hearing. The Good Faith Deposit of the Backup
Bidder, if any, shall be returned to the respective Backup Bidder on the date that is the earlier of
72 hours after (a) the closing of the transaction with the Successful Bidder for the Assets and (b)
the Outside Backup Date. If a Successful Bidder timely closes its winning transaction, its Good
Faith Deposit shall be credited towards the purchase price.

                                      Reservation of Rights

         Except as otherwise provided in the Asset Purchase Agreement, the Bidding Procedures
or the Sale Order, the Debtor further reserves the right as it may reasonably determine to be in
the best interest of its estate, to: (a) determine which bidders are Qualified Bidders; (b)
determine which Bids are Qualified Bids; (c) determine which Qualified Bid is the highest and
best proposal and which is the next highest and best proposal; (d) reject any Bid that is (1)
inadequate or insufficient, (2) not in conformity with the requirements of the Bidding Procedures
or the requirements of the Bankruptcy Code or (3) contrary to the best interests of the Debtor and
its estate; (e) waive terms and conditions set forth herein with respect to all potential bidders; (f)
impose additional terms and conditions with respect to all potential bidders; (g) extend the
deadlines set forth herein; (h) continue or cancel the Auction and/or Sale Hearing in open court

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without further notice; and (i) modify the Bidding Procedures or implement additional
procedural rules that are reasonable under the circumstances for conducting the Auction so long
as such rules are not inconsistent in any material respect with the Bidding Procedures or the
Asset Purchase Agreement. Notwithstanding the foregoing, the Stalking Horse Purchaser shall
be a Qualified Bidder and shall be entitled to credit bid the Credit Bid Amount.

Dated [_______]

                                                   s/ Peter D. Russin
                                                   Peter D. Russin, Esquire
                                                   Fla. Bar No. 765902
                                                   prussin@melandrussin.com
                                                   Daniel N. Gonzalez, Esquire
                                                   Fla. Bar No. 592749
                                                   dgonzalez@melandrussin.com
                                                   MELAND RUSSIN & BUDWICK, P.A.
                                                   3200 Southeast Financial Center
                                                   200 South Biscayne Boulevard
                                                   Miami, Florida 33131
                                                   Telephone: (305) 358-6363
                                                   Facsimile: (305) 358-1221
                                                   Counsel for Debtor in Possession




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                       EXHIBIT 2

                       Cure Notice
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division
                                      www.flsb.uscourts.gov

In re:

MIAMI INTERNATIONAL MEDICAL CENTER, LLC 1                                      Case No. 18--12741-LMI
d/b/a THE MIAMI MEDICAL CENTER,                                                Chapter 11

         Debtor.
                                                                    /

             NOTICE TO COUNTERPARTIES TO POTENTIALLY ASSUMED
               EXECUTORY CONTRACTS AND UNEXPIRED LEASES2

        PLEASE TAKE NOTICE that on March [___], 2018, Miami International Medical
Center, LLC d/b/a The Miami Medical Center (the “Debtor”), filed a motion [ECF No. [XX]]
(the “Sale Motion”) with the United States Bankruptcy Court for the Southern District of Florida
(the “Bankruptcy Court”) which seeks approval of key dates, times and procedures related to the
sale of substantially all of the Debtor’s Assets (the “Assets”) to Variety Children’s Hospital d/b/a
Nicklaus Children’s Hospital (the “Stalking Horse Purchaser”) contemplated by the Asset
Purchase Agreement. On [______], 2018, the Bankruptcy Court approved the Bidding
Procedures. On [________], 2018, the Debtor intends to seek approval of, among other things,
the sale of the Assets, including the assumption and assignment of certain executory contracts
and unexpired leases. To the extent that there are any inconsistencies between the
Bidding Procedures and the summary description of the terms and conditions contained in this
Notice, the terms of the Bidding Procedures shall control.

     YOU ARE RECEIVING THIS NOTICE BECAUSE YOU OR ONE OF YOUR
AFFILIATES IS A COUNTERPARTY TO AN EXECUTORY CONTRACT OR
UNEXPIRED LEASE WITH THE DEBTOR AS SET FORTH ON EXHIBIT A
                 3
ATTACHED HERETO.

       PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures, the
Debtor may assume and assign to the Stalking Horse Purchaser the executory contract(s) or
unexpired lease(s) listed on Exhibit A attached hereto (each, an “Assigned Contract”) to which
you are a counterparty. The Debtor has conducted a review of its books and records and has
determined that the cure amount for unpaid monetary obligations under such Assigned Contract

1   The Debtor’s current mailing address is 5959 NW 7 St, Miami, FL 33126 and its EIN ends 4362.

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bidding
    Procedures or the Bidding Procedures Order, as applicable.

3   This Notice is being sent to counterparties to Executory Contracts and Unexpired Leases. This Notice is not an
    admission by the Debtor that such contract or lease is executory or unexpired.




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is as set forth on Exhibit A attached hereto (the “Cure Amount”). If you disagree with the
proposed Cure Amount, object to the proposed assignment to the Stalking Horse
Purchaser of the Assigned Contract(s) or object to the Stalking Horse Purchaser’s ability
to provide adequate assurance of future performance with respect to any Assigned
Contracts, you must file an objection with the Bankruptcy Court no later than 4:00 p.m.
(prevailing Eastern Time) on [______________](the “Objection Deadline”) and serve such
objection upon: (a) the Debtor, 5959 NW 7 St, Miami, FL 33126, Attn: Jeffrey Mason; (b)
counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200
South Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and Daniel N.
Gonzalez, Esq.; (c) counsel to the Stalking Horse Purchaser, Joshua Kaye, Esq., Thomas
Califano, Esq., and Rachel Nanes, Esq., DLA Piper LLP (US), 200 South Biscayne Boulevard,
Suite 2500, Miami, Florida 33131; and (d) Bayshore Partners, LLC, 401 E. Las Olas Blvd, Suite
2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman.

        PLEASE TAKE FURTHER NOTICE that the Debtor proposes that if no objection to
(a) the Cure Amount(s), (b) the proposed assignment of the Assigned Contract(s) to the Stalking
Horse Purchaser or (c) adequate assurance of the Stalking Horse Purchaser’s ability to perform is
filed by Objection Deadline, (1) you will be deemed to have stipulated that the Cure Amount(s)
as determined by the Debtor is correct, (2) you shall be forever barred, stopped, and enjoined
from asserting any additional cure amount under the Assigned Contract(s) and (3) you will be
forever barred from objecting to the assignment of the Assigned Contract(s) to the Stalking
Horse Purchaser.

       PLEASE TAKE FURTHER NOTICE that, promptly following the Debtor’s selection
of the Successful Bid and the conclusion of the Auction, the Debtor shall file with the
Bankruptcy Court notice of the Successful Bid and Successful Bidder. In the event the Stalking
Horse Purchaser is not the Successful Bidder at the Auction, any counterparty to an Assigned
Contract shall have the right to object to the Successful Bidder’s ability to perform on or before
the Sale Hearing scheduled for [___________] at [_____] (prevailing Eastern Time). To the
extent such counterparty does not object in accordance herewith, the Bankruptcy Court may
enter an order forever barring such counterparty to an Assigned Contract from objecting to the
adequate assurance of the Successful Bidder’s ability to perform.

        PLEASE TAKE FURTHER NOTICE that with respect to any Assigned Contract
assumed and assigned to the Successful Bidder (including the Stalking Horse Purchaser), no
assumption and assignment or rejection shall be effective until the filing of a Notice of Closing
and Contract Treatment, which shall be filed within two (2) days after Closing. In addition, the
assumption of each such Assigned Contract may be conditioned upon the disposition of all issues
with respect to such Assigned Contract.

        PLEASE TAKE FURTHER NOTICE that pursuant to the Bidding Procedures, with
respect to any Assigned Contract, in the event of a dispute regarding: (a) the amount of any Cure
Amount; (b) the ability of the Successful Bidder (including the Stalking Horse Purchaser) to
provide “adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code), if applicable, under such Assigned Contract; or (c) any other matter
pertaining to assumption, the Cure Amounts shall be paid as soon as reasonably practicable after
the Closing and following the entry of a final order resolving the dispute and approving the
assumption of such Assigned Contract; provided, however, that the Debtor may settle any
dispute regarding the amount of any Cure Amount or assignment to the Successful Bidder

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(including the Stalking Horse Purchaser) without any further notice to or action, order or
approval of the Bankruptcy Court.

        PLEASE THAT FURTHER NOTICE THAT notwithstanding anything herein, this
Notice shall not be deemed to be an assumption, adoption, rejection or termination of the
Assigned Contracts. Moreover, the Debtor explicitly reserves its rights, in its sole discretion, to
reject or assume each Assigned Contract pursuant to section 365(a) of the Bankruptcy Code and
nothing herein (a) alters in any way the prepetition nature of the Assigned Contracts or the
validity, priority or amount of any claims of a counterparty to an Assigned Contract against the
Debtor that may arise under such Assigned Contract, (b) creates a postpetition contract or
agreement, or (c) elevates to administrative expense priority any claims of an counterparty to an
Assigned Contract against the Debtor that may arise under such Assigned Contract.


Dated [_______]

                                                     s/ Peter D. Russin
                                                     Peter D. Russin, Esquire
                                                     Fla. Bar No. 765902
                                                     prussin@melandrussin.com
                                                     Daniel N. Gonzalez, Esquire
                                                     Fla. Bar No. 592749
                                                     dgonzalez@melandrussin.com
                                                     MELAND RUSSIN & BUDWICK, P.A.
                                                     3200 Southeast Financial Center
                                                     200 South Biscayne Boulevard
                                                     Miami, Florida 33131
                                                     Telephone: (305) 358-6363
                                                     Facsimile: (305) 358-1221
                                                     Counsel for Debtor in Possession




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                                      EXHIBIT A

[Counterparty Name]          [Contract/Lease]                         Cure Amount
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                       EXHIBIT 3

                        Sale Notice
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                        Miami Division
                                      www.flsb.uscourts.gov

In re:

MIAMI INTERNATIONAL MEDICAL CENTER, LLC1                                       Case No. 18-12741-LMI
d/b/a THE MIAMI MEDICAL CENTER,                                                Chapter 11

         Debtor.
                                                                    /

                          NOTICE OF AUCTION AND SALE HEARING

PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.      On March [__], 2018, Miami International Medical Center, LLC d/b/a The Miami
                 Medical Center (the “Debtor”), filed a motion for entry of an order (the “Bidding
                 Procedures Order”), among other things, (a) approving Bidding Procedures2 for
                 the sale of substantially all of the assets owned by the Debtor (the “Assets”), as
                 described in the Asset Purchase Agreement by and between Variety Children’s
                 Hospital d/b/a Nicklaus Children’s Hospital (the “Stalking Horse Purchaser”) and
                 the Debtor, dated as of [_______], 2018 (the “Asset Purchase Agreement”);
                 (b) approving the Asset Purchase Agreement and payments thereunder;
                 (c) approving the form and manner of notice of the Auction on the Assets and the
                 Sale Hearing; (d) approving procedures relating to the assumption and assignment
                 of contracts and leases; and (e) scheduling a sale hearing (the “Sale Hearing”) to
                 consider the sale of the Assets and setting objection and bidding deadlines with
                 respect to the Sale. The motion additionally requests entry of an order (the “Sale
                 Order”) approving (1) the sale of the Assets free and clear of liens, claims,
                 encumbrances and interests contemplated by the Asset Purchase Agreement; (2)
                 assumption and assignment of certain executory contracts and unexpired leases;
                 and (3) certain related relief.

         2.      On April [______], 2018, the United States Bankruptcy Court for the Southern
                 District of Florida entered the Bidding Procedures Order [ECF No. ___].
                 Pursuant to the Bidding Procedures Order, the Auction for the Assets shall take
                 place on [________], 2018 at 10:00 a.m. (prevailing Eastern Time) at the
                 offices of counsel for the Debtor, Meland, Russin & Budwick, P.A., 3200
                 Southeast Financial Center, 200 South Biscayne Boulevard, Miami, Florida
                 33131, or such other place and time as the Debtor shall notify all Qualified

1   The Debtor’s current mailing address is 5959 NW 7 St, Miami, FL 33126 and its EIN ends 4362.

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the motion.




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      Bidders, including, without limitation, the Stalking Horse Purchaser. Only parties
      that have submitted a Qualified Bid in accordance with the Bidding Procedures,
      attached to the Bidding Procedures Order as Exhibit 1, by no later than [_____],
      2018 at 4:00 p.m. (Eastern Time) (the “Bid Deadline”) may participate at the
      Auction. Any party that wishes to take part in this process and submit a bid for
      the Assets must submit a competing bid prior to the Bid Deadline and in
      accordance with the Bidding Procedures. Parties interested in receiving
      information regarding the sale of the Assets should contact the Debtor’s
      investment bankers, Bayshore Partners, LLC, 401 E. Las Olas Blvd, Suite 2360,
      Fort Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman,
      telephone (954) 358-3800 x302 for Scott Saunders and x308 for Steve
      Zuckerman,      and     email    addresses      ssaunders@farlieturner.com    and
      szuckerman@farlieturner.com.

3.    The Sale Hearing to consider approval of the Sale of the Assets to the Stalking
      Horse Purchaser or to a Successful Bidder (as defined in the Bidding Procedures)
      free and clear of all liens, claims and encumbrances will be held before the
      Honorable [_____], United States Bankruptcy Judge, [__________________],
      Courtroom No. [___] Miami, Florida 33131 on [____________], 2018 at [_____]
      (prevailing Eastern Time), [or at such earlier date as counsel may be heard].
      The Sale Hearing may be continued from time to time without further notice to
      creditors or parties in interest other than by announcement of the continuance in
      open court on the date scheduled for the Sale Hearing.

4.    Objections, if any, to the sale of the Assets contemplated by the Asset Purchase
      Agreement, or the relief requested in the motion (including with respect to Cure
      Amounts and adequate assurance) must: (a) be in writing; (b) comply with the
      Bankruptcy Rules and the Local Rules; (c) be filed with the clerk of the
      Bankruptcy Court for the Southern District of Florida, [___________________],
      Miami, Florida 33131 (or filed electronically via CM/ECF), on or before 4:00
      p.m. (prevailing Eastern Time) on [__________], 2018, or such earlier date and
      time as the Debtor may agree and (d) be served, so as to be received no later than
      4:00 p.m. (prevailing Eastern Time) on the same day, upon: (a) the Debtor, 5959
      NW 7 St, Miami, FL 33126, Attn: Jeffrey Mason; (b) counsel for the Debtor,
      Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200 South
      Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and
      Daniel N. Gonzalez, Esq.; (c) counsel to the Stalking Horse Purchaser, Joshua
      Kaye, Esq., Thomas Califano, Esq. and Rachel Nanes, Esq., DLA Piper LLP
      (US), 2500 Southeast Financial Center, 200 South Biscayne Boulevard, Miami,
      Florida 33131; and (d) Bayshore Partners, LLC, 401 E. Las Olas Blvd, Suite
      2360, Fort Lauderdale, FL 33301, Attn: Scott Saunders and Steve Zuckerman.

5.    In the event that the Stalking Horse Purchaser is not the Successful Bidder at the
      Auction, the non-Debtor party to any Assigned Contract(s) will have until the
      Sale Hearing to object to the Successful Bidder’s ability to perform under such
      Assigned Contract(s).

6.    This Notice and the Sale Hearing are subject to the fuller terms and conditions of
      the motion, the Bidding Procedures Order and the Bidding Procedures, which


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             shall control in the event of any conflict and the Debtor encourages parties in
             interest to review such documents in their entirety. Copies of the motion, the
             Asset Purchase Agreement, the Bidding Procedures, and/or the Bidding
             Procedures Order may be obtained by written request to counsel to the Debtor,
             Meland, Russin & Budwick, P.A., 3200 Southeast Financial Center, 200 South
             Biscayne Boulevard, Miami, Florida 33131, Attn: Peter D. Russin, Esq., and
             Daniel N. Gonzalez, Esq. In addition, copies of the aforementioned pleadings
             may be found on the Pacer website, http://ecf.flsb.uscourts.gov.

Dated [_______]

                                                s/ Peter D. Russin
                                                Peter D. Russin, Esquire
                                                Fla. Bar No. 765902
                                                prussin@melandrussin.com
                                                Daniel N. Gonzalez, Esquire
                                                Fla. Bar No. 592749
                                                dgonzalez@melandrussin.com
                                                MELAND RUSSIN & BUDWICK, P.A.
                                                3200 Southeast Financial Center
                                                200 South Biscayne Boulevard
                                                Miami, Florida 33131
                                                Telephone: (305) 358-6363
                                                Facsimile: (305) 358-1221
                                                Counsel for Debtor in Possession




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                    EXHIBIT 9.1(iii)(c)

                FORM OF SALE ORDER

                     [To Be Provided]
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                       APPENDIX I

         OPERATIONS TRANSFER AGREEMENT

                     [To Be Provided]
